(1 of 300), Page 1 of 300   Case: 24-565, 04/17/2024, DktEntry: 10.7, Page 1 of 300




                                                No. 24-565
                            UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                              MARK BAIRD
                                             Plaint Appellant,
                                                      v.
                                  ROB BONTA, in his official capacity as
                                 Attorney General of the State of California,
                                           Defendant-Appellee,

                Appeal from United States District Court for the Eastern District of California
                 Civil Case No. 2: 19-cv-00617-KJM-AC (Honorable Kimberly J. Mueller)
                               APPELLANT'S EXCERPTS OF RECORD
                                        VOLUME 6 of 7




                                                            THE BELLANTQNI LAW FIRM, PLLC
                                                            2 Overkill Road, Suite 400
                                                            Scarsdale, New York 10583
                                                            (914) 367-0090 (t)
                                                            (888) 763-9761(f)
                                                            abell@bellantoni-law.com

                                     Attorneys for Plaint     Appellant
(2 of 300), Page 2 of 300    Case: 24-565, 04/17/25£l22,.EPl(lt5@ry: 10.7, Page 2 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 171 of 347


             such offender shall have and receive by order of such justice any number of lashes
             not exceeding thirty nine on his or her back, well laid for every such offense.

             1859 Ky. Acts 245, An Act to Amend An Act Entitled "An Act to Reduce to One
             the Several Acts in Relation to the Town of Harrodsburg, § 23 .
             If any person, other than the parent or guardian, shall sell, give or loan, any pistol,
             dirk, bowie knife, brass knocks, slung-shot, colt, cane-gun, or other deadly
             weapon, which is carried concealed, to any minor, or slave, or free negro, he shall
             be fined fifty dollars.

             LOUISIANA

             1813 La. Acts 172, An Act Against Carrying Concealed Weapons, and Going
             Armed in Public Places in an Unneccessary Manner, § 1.
             Carrying Weapons | Louisiana | 1813
             Be it enacted by the senate and house of representatives of the state of Louisiana,
             in general assembly convened, That from and after the passage of this act, any
             person who shall be found with any concealed weapon, such as a dirk, dagger,
             knife, pistol, or any other deadly weapon concealed in his bosom, coat, or in any
             other place about him that do not appear in full open view, any person so
             offending, shall on conviction thereof before any justice of the peace, be subject to
             payafine....
             Henry A. Bullard & Thomas Cuny, 1 A New Digest of the Statute Laws of the
             State of Louisiana, from the Change of Government to the Year 1841 at 252 (E.
             Johns & Co., New Orleans, 1842).
             Carrying Weapons | Louisiana | 1842
             [A]ny person who shall be found with any concealed weapon, such as a dirk,
             dagger, knife, pistol, or any other deadly weapon concealed in his bosom, coat, or
             in any other place about him, that do not appear in full open view, any person so
             offending, shall, on conviction thereof, before an justice of the peace, be subject to
             pay a fine not to exceed fifty dollars, nor less than twenty dollars ....

             Louisiana 1855 law 1855 La. L. Chap. 120, Sec. 115, p. 148
             Sec. 115, Be it further enacted, &c., That whoever shall carry a weapon or
             weapons concealed on or about his person, such as pistols, bowie knife, dirk, or
             any other dangerous weapon, shall be liable to prosecution by indictment or
             presentnient, and on conviction for the first offence shall be fined not less than two
             hundred and fifty dol1ars nor more than five hundred dollars, or imprisonment for
             one month, and for the second offence not less than five hundred dollars nor more
                                                        34
(3 of 300), Page 3 of 300   Case: 24-565, 04/17/2E£R,.EPl(lt5l7try: 10.7, Page 3 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 172 of 347


             than one thousand dollars, or imprisonment in the parish prison at the discretion of
             the court, not to exceed three months, and that it shall be the duty of the Judges of
             the District Courts in this State to charge the Grand Jury, specially as to this
             section.
             https://babel.hathitrust.org/cgi/pt?id=osu.32437123281277&view=lup&seq=300&
             ql=Bowie

             1870 La. Acts 159-60, An Act to Regulate the Conduct and to Maintain the
             Freedom of Party Election ... , § 73.
             Subject(s): Sensitive Places and Times
             [I]t shall be unlawful for any person to carry any gun, pistol, bowie knife or other
             dangerous weapon, concealed or unconcealed, on any day of election during the
             hours the polls are open, or on any day of registration or revision of registration,
             within a distance of one-half mile of any place of registration or revision of
             registration, any person violating the provisions of this section shall be deemed
             guilty of a misdemeanor, and on conviction shall be punished by a fine of not less
             than one hundred dollars, and imprisonment in the parish jail not less than one
             month ....

             La. Const. of 1879, art. III.
             Post-Civil War State Constitutions | Louisiana | 1879
             A well regulated militia being necessary to the security of a free State, the right of
             the people to keep and bear arms shall not be abridged. This shall not prevent the
             passage of laws to punish those who carry weapons concealed.




                                                       35
(4 of 300), Page 4 of 300   Case: 24-565, 04/17/25£l22,.EPl(lt58ry: 10.7, Page 4 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 173 of 347


             MAINE

             An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the Evil
             Consequences Thereof, reprinted in CUMBERLAND GAZETTE (Portland, MA.),
             Nov. 17, 1786, at l. On October 26, 1786 the following was passed into law by the
             Massachusetts Assembly: That from & after the publication of this act, if any
             persons, to the number of twelve, or more, being armed with clubs or other
             weapons, or if any number of persons, consisting of thirty, or more, shall be
             unlawfully, routously, rioutously or tumultuously assembled, any Justice of the
             Peace, Sheriff, or Deputy or Constable shall openly make [a] proclamation
             [asking them to disperse, and if they do not disperse within one hour, the officer is]
                empowered, to require the aid of a sufficient number of persons in arms and if
             any such person or persons [assembled illegally] shall be killed or wounded, by
             reason of his or their resisting the persons endeavoring to disperse or seize them,
             the said Justice, Sheriff, Deputy-Sheriff, Constable and their assistants, shall be
             indemnified, and held guiltless.

             The Revised Statutes of the State of Maine, Passed October 22, 1840, To Which
             are Prefixed the Constitutions of the United States and of the State of Maine, and
             to Which Are Subjoined the Other Public Laws of 1840 and 1841 , with an
             Appendix Page 709, Image 725 (1847) available at The Making of Modern Law:
             Primary Sources.
             Justices of the Peace, § 16.
             Any person, going armed with any dirk, dagger, sword, pistol, or other offensive
             and dangerous weapon, without a reasonable cause to fear an assault on himself, or
             any of his family or property, may, on the complaint of any person having cause to
             fear an injury or breach of the peace, be required to find sureties for keeping the
             peace for a term, not exceeding one year, with the right of appeal as before
             provided.

             1841 Me. Laws 709, oh. 169, § 16.
             If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
             and dangerous weapon, without reasonable cause to fear an assault or other injury
             or violence to his person, or to his family or property, he may, on complaint of any
             person having resortable cause to fear an injury or breach of the peace, be required
             to find sureties for keeping the peace, for a term not exceeding six months, with the
             right of appealing as before provided.




                                                       36
(5 of 300), Page 5 of 300   Case: 24-565, 04/17/2E£R,.EPl(lt5l9ry: 10.7, Page 5 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 174 of 347


             The Revised Statutes of the State of Maine, Passed August 29, 1883, and Taking
             Effect January 1, 1884 Page 928, Image 955 (1884) available at The Making of
             Modern Law: Primary Sources.
             Prevention of Crimes, § 10.
             Whoever goes armed with any dirk, pistol, or other offensive and dangerous
             weapon, without just cause to fear an assault on himself, family, or property, may,
             on complaint of any person having cause to fear an injury or breach of the peace,
             be required to find sureties to keep the peace for a term not exceeding one year,
             and in case of refusal, may be committed as provided in the preceding sections.

             MARYLAND

             The Laws Of Maryland, With The Charter, The Bill Of Rights, The Constitution
             Of The State, And Its Alterations, The Declaration Of Independence, And The
             Constitution Of The United States, And Its Amendments Page 465, Image 466
             (181 l) available at The Making of Modem Law: Primary Sources.
             Sentence Enhancement for Use of Weapon | Maryland 1809 If any person shall be
                                                                       n

             apprehended, having upon him or her any picklock, key, crow, jack, bit or other
             implement, with an intent feloniously to break and enter into any dwelling-house,
             ware-house, stable or out-house, or shall have upon him or her any pistol, hanger,
             cutlass, bludgeon, or other offensive weapon, with intent feloniously to assault any
             person, or shall be found in or upon any dwelling-house, warehouse, stable or out-
             house, or in any enclosed yard or garden, or area belonging to any house, with an
             intent to steal any goods or chattels, every such person shall be deemed a rouge
             and vagabond, and, on being duly convicted thereof, shall be sentenced to undergo
             a confinement in the said penitentiary for a period of time not less than three
             months nor more than two years, to be treated as law prescribes.

             1872 Md. Laws 57, An Act To Add An Additional Section To Article Two Of The
             Code Of Public Local Laws, Entitled "Anne Arundel County," Sub-title
             "Annapolis," To Prevent The Carrying Of concealed Weapons In Said City, § 246.
             Carrying Weapons | Maryland 1872n

             It shall not be lawful for any person to carry concealed, in Annapolis, whether a
             resident thereof or not, any pistol, dirk-knife, bowie-knife, sling-shot, billy, razor,
             brass, iron or other metal knuckles, or any other deadly weapon, under a penalty of
             a fine of not less than three, nor more than ten dollars in each case, in the discretion
             of the Justice of the Peace, before whom the same may be tried, to be collected...

             John Prentiss Poe, The Maryland Code : Public Local Laws, Adopted by the
             General Assembly of Maryland March 14, 1888. Including also the Public Local
                                                       37
(6 of 300), Page 6 of 300    Case: 24-565, 04/17/2E£R,.EPl(lt5@ry: 10.7, Page 6 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 175 of 347


             Acts of the Session of 1888 incorporated therein Page 1457, Image 382 (Vol. 2,
             1888) available at The Making of Modern Law: Primary Sources.
             Sensitive Places and Times | Maryland 1874
                                                      n

             Election Districts-Fences. § 99.
             It shall not be lawful for any person in Kent county to carry, on the days of
             election, secretly or otherwise, any gun, pistol, dirk, dirk-knife, razor, billy or
             bludgeon, and any person violating the provisions of this section shall be deemed
             guilty of a misdemeanor, and on conviction thereof before any justice of the peace
             of said county, shall be fined not less than five nor more than twenty dollars, and
             on refusal to pay said fine shall be committed by such justice of the peace to the
             jail of the county until the same shall be paid.

             John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
             General Assembly of Maryland March 14, 1888. Including also the Public Local
             Acts of the Session of 1888 Incorporated Therein Page 522-523, Image 531-532
             (Vol. 1, 1888) available at The Making of Modern Law: Primary Sources.
             Sentence Enhancement for Use of Weapon | Maryland 1884    n

             City of Baltimore, § 742.
             Whenever any person shall be arrested in the city of Baltimore, charged with any
             crime or misdemeanor, or for being drunk or disorderly, or for any breach of the
             peace, and shall be taken before any of the police justices of the peace of the said
             city, and any such person shall be found to have concealed about his person any
             pistol, dirk knife, bowie-knife, sling-shot, billy, brass, iron or any other metal
             knuckles, razor, or any other deadly weapon whatsoever, such person shall be
             subj ect to a fine of not less than five dollars nor more than twenty-five dollars in
             the discretion of the police justice of the peace before whom such person may be
             taken, and the confiscation of the weapon so found, which said fine shall be
             collected as other fines are now collected, provided, however, that the provisions
             of this section shall not apply to those persons who, as conservators of the peace
             are entitled or required to carry a pistol or other weapon as a part of their official
             equipment.

             1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
             Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
             Election in said County, Within One Mile of the Polls § l:
             That from and after the passage of this act, it shall not be lawful for any person in
             Calvert County to carry, on the days of election and primary election within three
             hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
             razor, billy or bludgeon, and any person violating the provisions of this act, shall
             be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
                                                          38
(7 of 300), Page 7 of 300   Case: 24-565, 04/17/25£l22,.EPl(lt5l1try: 10.7, Page 7 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 176 of 347


             of Calvert County ... shall be fined not less than ten nor more than fifty dollars for
             each such offense...

             John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
             General Assembly of Maryland March 14, 1888. Including also the Acts of the
             Session of 1888 Incorporated Therein, and Prefaced with the Constitution of the
             State Page 468-469, Image 568-569 (Vol. 1, 1888) available at The Making of
             Modern Law: Primary Sources.
             Carrying Weapons | Maryland 1886 n

             Concealed Weapons, § 30.
             Every person, not being a conservator of the peace entitled or required to cany
             such weapon as a part of his official equipment, who shall wear or carry any pistol,
             dirk-knife, bowie- knife, slung-shot, billy, sand-club, metal knuckles, razor, or any
             other dangerous or deadly weapon of any kind whatsoever, (penknives excepted,)
             concealed upon or about his person, and every person who shall carry or wear any
             such weapon openly, with the intent or purpose of injuring any person, shall, upon
             conviction thereof, be fined not more than five hundred dollars, or be imprisoned
             not more than six months in jail or in the house of correction.




                                                        39
(8 of 300), Page 8 of 300    Case: 24-565, 04/17/2E£R,.EPl(lt5l2ry: 10.7, Page 8 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 177 of 347


             John Prentiss Poe, The Baltimore City Code, Containing the Public Local Laws of
             Maryland Relating to the City of Baltimore, and the Ordinances of the Mayor and
             City Council, in Force on the First Day of November, 1891, with a Supplement,
             Containing the Public Local Laws Relating to the City of Baltimore, Passed at the
             Session of 1892 of the General Assembly, and also the Ordinances of the Mayor
             and City Council, Passed at the Session of 1891-1892, and of 1892-1893, up to the
             Summer Recess of 1893 Page 297-298, Image 306-307 (1893) available at The
             Making of Modem Law: Primary Sources.
             Carrying Weapons | Maryland 1890 n

             Ordinances of Baltimore, § 742A.
             Every person in said city of Baltimore not being a conservator of the peace,
             entitled or required to carry such weapons as a part of his official equipment, who
             shall wear or carry any pistol, dirk-knife, bowie-knife, sling-shot, billy, sand-club,
             metal knuckles, razor or any other dangerous or deadly weapon of any kind
             whatsoever, (pen knives excepted.) concealed upon or about his person, and every
             person who shall cany or wear such weapons openly, with the intent or purpose of
             injuring any person, shall, upon a conviction thereof, be fined not more than five
             hundred dollars, and be imprisoned not more than six months in jail or in the house
             of correction, that this act shall not release or discharge any person or persons
             already offending against the general law in such cases made and provided, but any
             such person or persons may be proceeded against, prosecuted and punished under
             the general law of this State as if this act had not been passed.

             MASSACHUSETTS

             1750 Mass. Acts 544, An Act For Preventing And Suppressing Of Riots, Routs
             And Unlawful Assemblies, chap. 17, § l.
             If any persons to the number of twelve or more, being armed with clubs or other
             weapons... shall be unlawfully, riotously, or tumultuously assembled ... (Read
             riot act, if don't disperse) ... It shall be lawful for every officer ... to seize such
             persons, and carry them before a justice of the peace, and if such persons shall be




                                                        40
(9 of 300), Page 9 of 300   Case: 24-565, 04/17/2E£R,.EPl(lt5@ry: 10.7, Page 9 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 178 of 347


             killed or hurt by reason of their resisting .. officers and their assistants shall be
             indemnified and held guiltless.

             1814 Mass. Acts 464, An Act In Addition To An Act, Entitled "An Act To Provide
             For The Proof Of Fire Arms, Manufactured Within This Commonwealth," oh. 192,
             § 1, 2.
             A11 musket barrels and pistol barrels, manufactured within this Commonwealth,
             shall, before the same shall be sold, and before the same shall be stocked, be
             proved by the person appointed according to the provisions of an act ... , § 2 That
             if any person of persons, from and after the passing of this act, shall manufacture,
             within this Commonwealth, any musket or pistol, or shall sell and deliver, or shall
             knowingly purchase any musket or pistol, without having the barrels first proved
             according to the provisions of the first section of this act, marked and stamped
             according the provisions of the first section of the act.

             Theron Metcalf, The Revised Statutes of the Commonwealth of Massachusetts,
             Passed November 4, 1835, to Which are Subjoined, an Act in Amendment
             Thereof, and an Act Expressly to Repeal the Acts Which are Consolidated Therein,
             Both Passed in February 1836, and to Which are Prefixed, the Constitutions of the
             United States and of the Commonwealth of Massachusetts Page 750, Image 764
             (1836) available at The Making of Modem Law: Primary Sources.
             Of Proceedings to Prevent the Commission of Crimes, § 16.
             If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
             and dangerous weapon, without reasonable cause to fear an assault or other injury,
             or violence to his person, or to his family or property, he may, on complaint of any
             person having reasonable cause to fear an injury, or breach of the peace, be
             required to find sureties for keeping the peace, for a term not exceeding six
             months, with the right of appealing as before provided.

             1850 Mass. Gen. Law, chap. 194, §§ 1, 2, as codified in Mass. Gen. Stat., chap.
             164 (1873)§ 10.
             Whoever when arrested upon a warrant of a magistrate issued against him for an
             alleged offense against the laws of this state, and whoever when arrested by a
             sheriff, deputy sheriff , constable, police officer, or watchman, while committing a
             criminal offense against the laws of this state, or a breach or disturbance of the
             public peace, is armed with, or has on his person, slung shot, metallic knuckles,
             bills, or other dangerous weapon, shall be punished by fine ...

             1850 Mass. Gen. Law, chap. 194, §§ 1, 2 as codified in Mass. Gen. Stat., chap. 164
             (1873) § 11.

                                                       41
(10 of 300), Page 10 of 300 Case: 24-565, 04/17/2(ER.[3}<'q®4'y: 10.7, Page 10 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 179 of 347


             Whoever manufactures, or causes to be manufactured, or sells, or exposes for sale,
             any instrument or weapon of the kind usually known as slung shot, or metallic
             knuckles, shall be punished by fine not less than fifty dollars, or by imprisonment
             in the jail not exceeding six months.

             Third Annual Report of the Park Commissioners of the City of Lynn for the year
             ending December 20, 1891, at 23, Ordinances. 1891
             The Board of Park Commissioners of the City of Lynn, by virtue of its authority to
             make rules for the use and government of the Public Parks of said City, and for
             breaches of such rules to affix penalties, hereby ordains that within the limits of
             Lynn Woods, Meadow Park and Oceanside, except with the prior consent of the
             Board, it is forbidden: ...
             3. To throw stones or other missiles, to discharge or cany firearms, except by
             members of the police force in the discharge of their duties, to discharge or carry
             fire - crackers, torpedoes or fireworks, to make fires, to have any intoxicating
             beverages, to sell, to offer or expose for sale any goods or wares, to post or display
             signs, placards, flags or advertising devices, to solicit subscriptions or
             contributions, to play games of chance, or have possession of instruments of
             gambling, to utter profane, threatening, abusive or indecent language, or to do any
             obscene or indecent act, to bathe or fish, to solicit the acquaintance of, or follow,
             or otherwise annoy other visitors.

             Rules and Regulations Governing the Public Parks within the City of Lowell, at 58
             (1903)
             The Board of Park Commissioners of the City of Lowell, by virtue of its authority
             to make rules and regulations for the use and government of the Public Parks and
             Commons of said City, and to fix penalties for breaches of rules and regulations,
             hereby ordains that, within such Public Parks and Commons, except by and with
             the consent of the Board: ...
             3. It is forbidden to throw stones, balls or other missiles, to discharge or carry
             firearms, fire crackers, torpedoes or fire-works, to make fires, to have any
             intoxicating beverages, to sell, offer or expose for sale any goods or wares, to post
             or display signs, placards, flags or advertising devices, to solicit subscriptions or
             contributions, to play games of chance, or to have possession of instruments of
             gambling, to utter profane, threatening, abusive or indecent language, or to commit
             any obscene or indecent act, to solicit the acquaintance of, or to follow, or in any
             way annoy visitors to said Parks and Commons.

             1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, oh.
             326, § 5 (amending §10)
                                                       42
(11 of 300), Page 11 of 300 Case: 24-565, 04/17/2(ER.[3}<'q35'y: 10.7, Page 11 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 180 of 347


             Carrying Weapons | Massachusetts 1927n

             Whoever, except as provided by law, carries on his person, or carries on his person
             or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
             possesses a machine gun as defined in section one hundred and twenty-one of
             chapter one hundred and forty... or whoever so carries any stiletto, dagger, dirk
             knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
             arrested upon a warrant for an alleged crime or when arrested while committing a
             crime or a breach or disturbance of the public peace, is armed with, or has on his
             person, or has on his person or under his control in a vehicle, a billy or dangerous
             weapon other than those herein mentioned, shall be punished by imprisonment for
             not less than six months nor more than two and a half years in a jail ...

             MICHIGAN

             1887 Mich. Pub. Acts 144, An Act to Prevent The Carrying Of Concealed
             Weapons, And To Provide Punishment Therefore, § 1.
             It shall be unlawful for any person, except officers of the peace and night-watches
             legitimately employed as such, to go armed with a dirk, dagger, sword, pistol, air
             gun, stiletto, metallic knuckles, pocket-billy, sand bag, skull cracker, slung shot,
             razor or other offensive and dangerous weapon or instrument concealed upon his
             person.

             1891 Mich. Pub. Acts 409, Police Department, pt 15:.... And all persons who
             shall carry concealed on or about their persons, any pistol, revolver, bowie knife,
             dirk, slung shot, billie, sand bag, false knuckles, or other dangerous weapon, or
             who shall lay in wait , lurk or be concealed, with intent to do injury to any person
             or property, who shall threaten to beat or lull another or injure him in his person or
             property ... shall be deemed a disorderly person, and upon conviction thereof may
             be punished by a fine not exceeding one hundred dollars and the costs of
             prosecution, and in imposition of any such fine and costs the court may make a
             further sentence that in default of payment, such offender be imprisoned in the city
             prison...

             1913 Mich. Pub. Acts 452, An Act Defining the Crime of Felonious Assault and
             Prescribing Punishment Therefor, § 1.
             Whoever shall assault another with a gun, revolver, pistol, knife, iron bar, club,
             brass knuckles or other dangerous weapon, but without intending to commit the
             crime of murder, and without intending to inflict great bodily harm less than the
             crime of murder, shall be deemed guilty of a felonious assault, and upon conviction
             shall be punished by imprisonment in the State Prison for a term not exceeding
                                                      43
(12 of 300), Page 12 of 300 Case: 24-565, 04/17/2(ER.[3}<'q38y: 10.7, Page 12 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 181 of 347


             three years or by imprisonment in the county jail for a term not exceeding one
             year, in the discretion of the court.

             1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
             Purchasing, Possessing and Carrying of Certain Firearms, § 3.
             Dangerous or Unusual Weapons | Michigan | 1927
             It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
             any machine gun or firearm which can be fired more than sixteen times without
             reloading, or any muffler, silencer or device for deadening or muffling the sound of
             a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
             billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
             violation of this section shall be guilty of a felony and shall be punished by a fine
             not exceeding one thousand dollars or imprisonment in the state prison not more
             than five years, or by both such fine and imprisonment in the discretion of the
             court....

            1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
            Purchasing, Possessing and Carrying of Certain Firearms, § 3.
            Dangerous or Unusual Weapons | Michigan | 1929
            It shall be unlawful within this state to manufacture, sell, offer for sale or possess
            any machine gun or firearm which can be fired more than sixteen times without
            reloading or any muffler, silencer, or device for deadening or muffling the sound of
            a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
            metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
            weapon, cartridge, container, or contrivance designed or equipped for or capable of
            ejecting any gas which will either temporarily or permanently disable, incapacitate,
            injure or harm any person with whom it comes in contact.

            MINNESOTA

            W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
            State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the
            Common Council, Revised to December l, 1884 Page 289, Image 295 (1884)
            available at The Making of Modem Law: Primary Sources.
            Concealed Weapons - License, § l.
            It shall be unlawliul for any person, within the limits of the city of St. Paul, to carry
            or wear under his clothes, or concealed about his person, any pistol or pistols, dirk,
            dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
            bowie-knife, dirk-knife or razor, or any other dangerous or deadly weapon. § 2.
            Any such weapons or weapons, duly adjudged by the municipal court of said city
                                                       44
(13 of 300), Page 13 of 300 Case: 24-565, 04/17/2(ER.[3}<'q®TI'y: 10.7, Page 13 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 182 of 347


             to have been worn or carried by any person, in violation of the first section of this
             ordinance, shall be forfeited or confiscated to the said city of St. Paul, and shall be
             so adjudged. § 3. Any policeman of the city of St. Paul, may, within the limits of
             said city, without a warrant, arrest any person or persons, whom such policeman
             may find in the act of carrying or wearing under their clothes, or concealed about
             their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-knuckles,
             or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any
             other dangerous or deadly weapon, and detain him, her or them in the city jail,
             until a warrant can be procured, or complaint made for the trial of such person or
             persons, as provided by the charter of the city of St. Paul, for other offenses under
             said charter, and for the trial of such person or persons, and for the seizure and
             confiscation of such of the weapons above referred to, as such person or persons
             may be found in the act of carrying or wearing under their clothes, or concealed
             about their persons.

             George Brooks Young. General Statutes of the State of Minnesota in Force January
             1, 1889 Page 1006, Image 1010 (Vol. 2, 1888) available at The Making of Modem
             Law: Primary Sources.
             Dangerous or Unusual Weapons | Minnesota | 1888
             Making, Selling, etc., Dangerous Weapons, §§ 333-334.
             § 333. A person who manufactures, or causes to be manufactured, or sells, or keeps
             for sale, or offers or gives or disposes of any instrument or weapon of the kind
             usually known as slung-shot, sand-club, or metal knuckles, or who, in any city of
             this state, without the written consent of a magistrate, sells or gives any pistol or
             fire-arm to any person under the age of eighteen years, is guilty of a misdemeanor.
             Carrying, using, etc., certain Weapons ....
             § 334. A person who attempts to use against another, or who, with intent so to use,
             carries, conceals, or possesses any instrument or weapon of the kind commonly
             known as a slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol
             or other fire-arm, or any dangerous weapon, is guilty of a misdemeanor.

             MISSISSIPPI

             1799 Miss. Laws 113, A Law For The Regulation Of Slaves. No Negro or mulatto
             shall keep or carry any gun, powder, shot, club or other weapon whatsoever,
             offensive or defensive, but all and every gun, weapon and ammunition found in the
             possession or custody of any negro or mulatto may be seized by any person ...
             every such offender shall have and receive by order of such justice, any number of
             lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every
             such offense.
                                                       45
(14 of 300), Page 14 of 300 Case: 24-565, 04/17/2(ER.[3}<'q38y: 10.7, Page 14 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 183 of 347




             1804 Miss. Laws 90, An Act Respecting Slaves, § 4. No Slave shall keep or carry
             any gun, powder, shot, club or other weapon whatsoever offensive or defensive,
             except tools given him to work with ...

             1837 Miss. Law 289-90, An Act To Prevent The Evil Practice Of Dueling In This
             State And For Other Purposes, § 5.
             That if any person or persons shall be guilty of fighting in any corporate city or
             town, or any other town or public place, in this state, and shall in such fight use
             any rifle, shot gun, sword, sword cane, pistol, dirk, bowie knife, dirk knife, or any
             other deadly weapon, or if any person shall be second or aid in such fight, the
             persons so offending shall be fined not less than three hundred dollars, and shall be
             imprisoned not less than three months, and if any person shall be killed in such
             fight, the person so killing the other may also be prosecuted and convicted as in
             other cases of murder.

            Laws of the State of Mississippi , embracing all Acts of a Public Nature from
            January Session, 1824, to January Session 1838, Inclusive Page 736, Image 738
            (Jackson, 1838) available at The Making of Modern Law: Primary Sources, 1838.
            An Act to Prevent the Evil Practice of Dueling in this State, and for other Purposes,
            § 5. Be it further enacted, That if any person or persons shall be guilty of fighting
            in any corporate city or town, or any other town, or public place, in this state, and
            shall in such fight use any rifle, shot gun, sword, sword cane, pistol, dirk, bowie
            knife, dirk knife, or any other deadly weapon, or if any persons shall be second or
            aid in such fight, the persons so offending shall be fined not less than three
            hundred dollars, and shall be imprisoned not less than three months, and if any
            person shall be killed in such fight, the person so killing the other may also be
            prosecuted and convicted as in other cases of murder.

            Vol fey Erskine Howard, The Statutes of the State of Mississippi of a Public and
            General Nature, with the Constitutions of the United States and of this State: And
            an Appendix Containing Acts of Congress Affecting Land Titles, Naturalization,
            &c, and a Manual for Clerks, Sheriffs and Justices of the Peace Page 676, Image
            688 (l 840) available at The Making of Modern Law: Primary Sources. 1840
            Crimes, Misdemeanors and Criminal Prosecution, § 55. If any person having or
            carrying any dirk, dirk knife, Bowie knife, sword, sword cane, or other deadly
            weapon, shall, in the presence of three or more persons, exhibit the same in a rude,
            angry and threatening manner, not in necessary self-defense, or shall in any
            manner unlawfully use the same in any fight or quarrel, the person or persons so
            offending, upon conviction thereof in the circuit or criminal court of the proper
                                                      46
(15 of 300), Page 15 of 300 Case: 24-565, 04/17/2(ER.[3}<'q3@y: 10.7, Page 15 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 184 of 347


             county, shall be fined in a sum not exceeding five hundred dollars, and be
             imprisoned not exceeding three months.

             1878 Miss. Laws 175, An Act To Prevent The Carrying Of Concealed Weapons
             And For Other Purposes, § 1.
             That any person not being threatened with or having good and sufficient reason to
             apprehend an attack, or traveling (not being a tramp) or setting out on a long
             journey, or peace officers, or deputies in discharge of their duties, who carries
             concealed in whole or in part, any bowie knife, pistol, brass knuckles, slung shot or
             other deadly weapon of like kind or description shall be deemed guilty of a
             misdemeanor, and on conviction, shall be punished for the first offense by a fine of
             not less than five dollars nor more than one hundred dollars ...

            MISSOURI

            Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish
            Regulations for the Allotment of Lands:- Laws of the United States, for Adjusting
            Titles to Lands, &c. to Which are Added, a Variety of Forms, Useful to
            Magistrates Page 374, Image 386 (1818) available at The Making of Modem Law:
            Primary Sources. 18 18.
            Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder,
            shot, club or other weapon whatsoever, offensive or defensive, but all and every
            gun weapon and ammunition found in the possession or custody of any negro or
            mulatto, may be seized by any person and upon due proof made before any justice
            of the peace of the district [county] where such seizure shall be, shall by his order
            be forfeited to the seizor, for his own use, and moreover, every such offender shall
            have and receive by order of such justice any number of lashes not exceeding thirty
            nine on his or her bare back well laid on for every such offence. § 4. Every free
            negro or mulatto, being a housekeeper may be permitted to keep one gun, powder
            and shot, and all negroes or mulattoes bond or free, living at any frontier
            plantation, may be permitted to keep and use guns, powder shot and weapons,
            offensive and defensive, by license from a justice of the peace of the district
            [county] wherein such plantation lies, to be obtained upon the application of free
            negroes or mulattoes or of the owners of such as are slaves.

            Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together
            with the Constitution of the United States, and of the State of Missouri, the Charter
            of the City, and a Digest of the Acts of the General Assembly, Relating to the City
            Page 491-492, Image 499-500 (1871) available at The Making of Modern Law:
            Primary Sources.
                                                      47
(16 of 300), Page 16 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql3@)y: 10.7, Page 16 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 185 of 347


             Carrying Weapons | Missouri 1871
                                            n

             Ordinances of the City of St. Louis, Misdemeanors, §§ 9-10.
             § 9. Hereafter it shall not be lawful for any person to wear under his clothes, or
             concealed about his person, any pistol, or revolver, colt, billy, slung shot, cross
             knuckles, or knuckles of lead, brass or other metal, bowie knife, razor, dirk knife,
             dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or
             deadly weapon, within the City of St. Louis, without written permission from the
             Mayor, and any person who shall violate this section shall be deemed guilty of a
             misdemeanor, and, upon conviction thereof, be fined not less than ten nor more
             than five hundred dollars for each and every offence.
             § 10. Nothing in the preceding section shall be so construed as to prevent any
             United States, State, county or city officer, or any member of the city government,
             from carrying or wearing such weapons as may be necessary in the proper
             discharge of his duties.

             1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The
             Revised Statutes Of Missouri, Entitled "Of Crimes And Criminal Procedure"
             § 1274.
             If any person shall carry concealed, upon or about his person, any deadly or
             dangerous weapon, or shall go into any church or place where people have
             assembled for religious worship, or into any school room or place where people are
             assembled for educational, literary or social purposes, or to any election precinct
             on any election day, or into any court room during the siting of court, or into any
             other public assemblage of persons met for any lawful purpose other than for
             militia drill or meetings called under the militia law having upon or about his
             person any kind of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly
             weapon, or shall in the presence of one or more persons shall exhibit and such
             weapon in a rude, angry or threatening manner, or shall have or carry any such
             weapon upon or about his person when intoxicated or under the influence of
             intoxicating drinks, or shall directly or indirectly sell or deliver, loan or barter to
             any minor any such weapon, without the consent of the parent or guardian of such
             minor, he shall, upon conviction be punished by a fine of not less than twenty-five
             nor more than two hundred dollars, or by imprisonment in the county jail not
             exceeding six months, or by both such fine and imprisonment.

             William K. Amick, The General Ordinances of the City of Saint Joseph (A City of
             the Second Class) Embracing all Ordinances of General Interest in Force July 15,
             1897, together with the Laws of the State of Missouri of a General Nature
             Applicable to the City of St. Joseph. Compiled and Arranged Page 508, Image 515
             (1897) available at The Making of Modem Law: Primary Sources.
                                                       48
(17 of 300), Page 17 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql311ry: 10.7, Page 17 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 186 of 347


             Carrying Weapons | Missouri 1897n

             Concealed Weapons - Carrying of, § 7.
             Any person who shall in this city wear under his clothes or carry concealed upon or
             about his person, or be found having upon or about his person concealed, any
             pistol or revolver, colt, billy, slung shot, cross knuckles or knuckles of lead, brass
             or other metal, dirk, dagger, razor, bowie knife, or any knife resembling a bowie
             knife, or any other dangerous or deadly weapon, shall be deemed guilty of a
             misdemeanor.

             Joplin Code of 1917, Art. 67, § 1201. Missouri. Weapons, Deadly.
             If any person shall cany concealed upon or about his person a dangerous or deadly
             weapon of any kind or description, or shall go into any church or place where
             people have assembled for religious worship, or into any school room or place
             where people are assembled for educational, political, literary or social purposes,
             or to any election precinct on any election day, or into any court room during the
             sitting of court, or into any other public assemblage of persons met for any lawful
             purpose other than for militia drill, or meetings called under militia law of this
             state, having upon or about his person, concealed or exposed, any kind of firearms,
             bowie knife, spring-back knife, razor, knuckles, bill, sword cane, dirk, dagger,
             slung shot, or other similar deadly weapons, or shall, in the presence of one or
             more persons, exhibit any such weapon in a rude, angry or threatening manner, or
             shall have any such weapons in his possession when intoxicated, or directly or
             indirectly shall sell or deliver, loan or barter, to any minor any such weapon,
             without the consent of the parent or guardian of such minor, he shall be deemed
             guilty of a misdemeanor. Provided, that nothing contained in this section shall
             apply to legally qualified sheriffs, police officers, and other persons whose bona
             fide duty is to execute process, civil or criminal, make arrests, or aid in conserving
             the public peace, nor to persons traveling in a continuous journey peaceably
             through this state.

             1923 Mo. Laws 241-42, An Act to Provide the Exercise of the Police Powers of the
             State by and through Prohibiting the Manufacture, Possession, Transportation, Sale
             and Disposition of Intoxicating Liquors...§ 17.
             Sensitive Places and Times | Missouri 1923
                                                      n

             Any person, while in charge of, or a passenger thereon, who shall carry on his
             person, or in, on, or about, any wagon, buggy, automobile, boat, aeroplane, or
             other conveyance or vehicle whatsoever, in, or upon which any intoxicating liquor,
             including wine or beer, is carried, conveyed or transported in violation of any
             provision of the laws of this state, any revolver, gun or other firearm, or explosive,
             any bowie knife, or other knife having a blade of more than two and one-half
                                                          49
(18 of 300), Page 18 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql312y: 10.7, Page 18 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 187 of 347


             inches in length, any sling shot, brass knocks [sic], billy, club or other dangerous
             weapon, article or thing which could, or might, be used in inflicting bodily injury
             or death upon another, shall be deemed guilty of a felony, and, upon conviction
             thereof, shall be punished by the imprisonment in the state penitentiary for a term
             of not less than two years. Provided, that this section shall not apply to any person
             or persons transporting intoxicating liquor for personal use and not for sale in
             violation of law. Provided, that this section shall not apply to any person or
             passenger who did not know that such vehicle or conveyance was being used for
             unlawful purposes.

             MONTANA

             1864 Mont. Laws 355, An Act to Prevent the Carrying of Concealed Deadly
             Weapons in the Cities and Towns of This Territory, § 1.
             If any person shall within any city, town, or village in this territory, whether the
             same is incorporated or not, carry concealed upon his or her person any pistol,
             bowie-knife, dagger, or other deadly weapon, shall, on conviction thereof before
             any justice of the peace of the proper county, be fined in any sum not less than
             twenty five dollars, nor more than one hundred dollars.

             1879 Mont. Laws 359, Offences against the Lives and Persons of Individuals, oh.
             4, § 23.
             If any person shall, by previous appointment or agreement, fight a duel with a rifle,
             shot-gun, pistol, bowie-knife, dirk, small-sword, back-sword, or other dangerous
             weapon, and in so doing shall kill his antagonist, or any person or persons, or shall
             inflict such wound as that the party or parties injured shall die thereof within one
             year thereafter, every such offender shall be deemed guilty of murder in the first
             degree, and, upon conviction thereof, shall be punished accordingly [death by
             hanging] .

             1885 Mont. Laws 74, Deadly Weapons, An Act to Amend § 62 of Chapter IV of
             the Fourth Division of the Revised Statutes, § 62-63 .
             Every person in this territory having, carrying, or procuring from another person,
             any dirk, dirk-knife, sword, sword-cane, pistol, gun, or other deadly weapon, who
             shall in the presence of one or more persons, draw or exhibit any of said deadly
             weapons in a rude or angry or threatening manner, not in necessary self defense, or
             who shall in any manner unlawfully use the same in any fight or quarrel, the
             person or persons so offending, upon conviction thereof in any criminal court in
             any county in this territory shall be fined in any sum not less than ten dollars nor
             more than one hundred dollars, or imprisoned in the county jail not less than one
                                                       50
(19 of 300), Page 19 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql313y: 10.7, Page 19 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 188 of 347


             month nor more than three months, at the discretion of the court, or by both such
             fine and imprisonment, together with the costs of prosecution, which said costs
             shall in all cases be computed and collected in the same manner as costs in civil
             cases, and all fines and forfeitures arising under the provisions of this act shall be
             paid into the county treasury for school purposes: Provided, that no sheriff, deputy
             sheriff, constable, marshal, or other peace officer, shall be held to answer, under
             the provisions of this act, for drawing or exhibiting any of the weapons
             hereinbefore mentioned while in the lawful discharge of his or their duties.

             1887 Mont. Laws 549, Criminal Laws, § 174.
             If any person shall have upon him or her any pistol, gun, knife, dirk-knife,
             bludgeon, or other offensive weapon, with intent to assault any person, every such
             person, on conviction, shall be fined not more than one hundred dollars, or
             imprisoned in the county jail not more than three months.

             NEBRASKA

             1858 Neb. Laws 69, An Act To Adopt And Establish A Criminal code For The
             Territory Of Nebraska, § 135.
             And if any person shall have upon him any pistol, gun, knife, dirk, bludgeon or
             other offensive weapon with intent to assault any person, every such person, on
             conviction, shall be fined in a sum not exceeding one hundred dollars...

             Gilbert B. Colfield, Laws, Ordinances and Rules of Nebraska City, Otoe County,
             Nebraska Page 36, Image 36 (1872) available at The Making of Modern Law:
             Primary Sources.
             Carrying Weapons | Nebraska | 1872
             Ordinance No. 7, An Ordinance Prohibiting the Carrying of Fire Arms and
             Concealed Weapons, § l.
             Be it ordained by the Mayor and Councilmen of the City of Nebraska City, That it
             shall be, and it is hereby declared to be unlawful for any person to carry, openly or
             concealed, any musket, rifle, shot gun, pistol, sable, sword, bowie knife, dirk,
             sword cane, billy slung shot, brass or other metallic knuckles, or any other
             dangerous or deadly weapons, within the corporate limits of Nebraska City, Neb,
             Provided, that nothing herein contained shall prevent the carrying of such weapon
             by a civil or military officer, or by a soldier in the discharge of his duty, nor by any
             other person for mere purposes of transportation from one place to another.

             W. J. Connell, The Revised Ordinances of the City of Omaha, Nebraska,
             Embracing All Ordinances of a General Nature in Force April 1, 1890, Together
                                                       51
(20 of 300), Page 20 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql314'y: 10.7, Page 20 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 189 of 347


             with the Charter for Metropolitan Cities, the Constitution of the United States and
             the Constitution of the State of Nebraska Page 344, Image 356 (1890) available at
             The Making of Modern Law: Primary Sources.
             Carrying Weapons | Nebraska | 1890
             Ordinances of Omaha, Concealed Weapons, § 10.
             It shall be unlawful for any person to wear under his clothes, or concealed about
             his person, any pistol or revolver, colt, billy, slung-shot, brass knuckles or knuckles
             of lead, dirk, dagger, or any knife resembling a bowie knife, or any other
             dangerous or deadly weapon within the corporate limits of the city of Omaha. Any
             person guilty of a violation of this section shall, on conviction, be fined not
             exceeding one hundred (35100) dollars for each and every offense, nothing in this
             section, however, shall be so construed as to prevent the United States Marshals
             and their deputies, sheriffs and their deputies, regular or special police officers of
             the city, from carrying or wearing such weapons as may be deemed necessary in
             the proper discharge of their duties. Provided, however, If it shall be proved from
             the testimony on the trial of any such case, that the accused was, at the time of
             carrying any weapon as aforesaid, engaged in the pursuit of lawful business,
             calling or employment and the circumstances in which he was placed at the time
             aforesaid were such as to justify a prudent man in carrying the weapon or weapons
             aforesaid, for the defense of his person, property or family, the accused shall be
             acquitted.

             Compiled Ordinances of the City of Fairfield, Clay County, Nebraska Page 34,
             Image 34 (1899) available at The Making of Modern Law: Primary Sources.
             Carrying Weapons | Nebraska | 1899
             Ordinance No. 20, An Ordinance to Prohibit the Carrying of Concealed Weapons
             and Fixing a Penalty for the violations of the same. Be it ordained by the Mayor
             and Council of the City of Fairfield, Nebraska: § l.
             It shall be unlawful for any person to carry upon his person any concealed pistol,
             revolver, dirk, bowie knife, billy, sling shot, metal knuckles, or other dangerous or
             deadly weapons of any kind, excepting only officers of the law in the discharge or
             their duties, and any person so offending shall be deemed guilty of a misdemeanor,
             and on conviction thereof, shall be subject to the penalty hereinafter provided. § 2.
             Any such weapon or weapons, duly adjudged by the Police Judge of said city to
             have been worn or carried by any person in violation of the first section of this
             ordinance, shall be forfeited or confiscated to the City of Fairfield and shall be so
             adjudged.




                                                        52
(21 of 300), Page 21 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql35'y: 10.7, Page 21 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 190 of 347


             NEVADA

             Bonnifield, The Compiled Laws of the State of Nevada. Embracing Statutes of
             1861 to 1873, Inclusive Page 563, Image 705 (Vol. 1, 1873) available at The
             Making of Modern Law: Primary Sources.
             Of Crimes and Punishments, §§ 35-36.
             § 35. If any person shall by previous appointment or agreement, fight a duel with a
             rifle, shotgun, pistol, bowie knife, dirk, smallsword, backsword, or other dangerous
             weapon, and in doing shall kill his antagonist, or any person or persons, or shall
             inflict such wound as that the party or parties injured shall die thereof within one
             year thereafter, every such offender shall be deemed guiltily of murder in the first
             degree and upon conviction thereof shall be punished accordingly.
             § 36. Any person who shall engage in a duel with any deadly weapon although no
             homicide ensue or shall challenge another to fight such duel, or shall send or
             deliver any verbal or written message reporting or intending to be such challenge,
             although no duel ensue, shall be punished by imprisonment in the State prison not
             less than two nor more than ten years, and shall be incapable of voting or holding
             any office of trust or profit under the laws of this State.

             David E. Baily, The General Statutes of the State of Nevada. In Force. From 1861
             to 1885, Inclusive. with Citations of the Decisions of the Supreme Court Relating
             Thereto Page 1077, Image 1085 (1885) available at The Making of Modem Law:
             Primary Sources.
             Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible    n

             Nevada | 1881
             An Act to prohibit the conying of concealed weapons by minors. § 1.
             Every person under the age of twenty-one (21) years who shall wear or carry any
             dirk, pistol, sword in case, slung shot, or other dangerous or deadly weapon
             concealed upon his person, shall be deemed guilty of a misdemeanor, and shall,
             upon conviction thereof, be fined not less than twenty nor more than two hundred
             ($200) dollars, or by imprisonment in the county jail not less than thirty days nor
             more than six months or by both such fine and imprisonment.

             NEW JERSEY

             The Grants, Concessions, And Original Constitutions Of The Province Of New
             Jersey Page 289-290 (1881) (1686)
             An Act Against Wearing Swords, Etc. Whereas there hath been great complaint by
             the inhabitants of this Province, that several persons wearing swords, daggers,
             pistols, dirks, stilettoes, skeines, or any other unusual or unlawful weapons, by
                                                       53
(22 of 300), Page 22 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql38y: 10.7, Page 22 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 191 of 347


             reason of which several persons in this Province, receive great abuses, and put in
             great fear and quarrels, and challenges made, to the great abuse of the inhabitants
             of this Province... And be it further enacted by the authority aforesaid, that no
             person or persons after publication hereof, shall presume privately to wear any
             pocket pistol, skeines, stilettoes, daggers or dirks, or other unusual or unlawful
             weapons within this Province, upon penalty for the first offence five pounds, and to
             be committed by any justice of the peace, his warrant before whom proof thereof
             shall be made, who is hereby authorized to enquire of and proceed in the same, and
             keep in custody till he hath paid the said five pounds, one half to the public
             treasury for the use of this Province, and the other half to the informer: And if such
             person shall again offend against this law, he shall be in like manner committed
             upon proof thereof before any justice of the peace to the common jail, there to
             remain till the next sessions, and upon conviction thereof by verdict of twelve men,
             shall receive judgment to be in prison six month, and pay ten pounds for the use
             aforesaid. And be it further enacted by the authority aforesaid, that no planter shall
             ride or go armed with sword, pistol or dagger, upon the penalty of five pounds, to
             be levied as aforesaid, excepting all officers, civil and military, and soldiers while
             in actual service, as also all strangers, travelling upon their lawful occasions
             through this Province, behaving themselves peaceably.

             Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501 (1821)
             available at The Making of Modern Law: Primary Sources.
             Sentence Enhancement for Use of Weapon | New Jersey | 1799
             [An Act to Describe, Apprehend and Punish Disorderly Persons (1799)], § 2.
             And whereas diverse ill disposed persons are frequently apprehended, having upon
             them implements for house-breaking, or offensive weapons, or are found in or
             upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
             houses, smoke-houses, enclosed yards, or gardens belonging to houses, with intent
             to commit theft, misdemeanors or other offences, and although their evil purposes
             are thereby manifested, the power of the justices of the peace to demand of them
             sureties for their good behavior hath not been of sufficient effect to prevent them
             from carrying their evil purpose into execution, Be it further enacted, That if any
             person shall be apprehended, having upon him or her any picklock, key, crow,
             jack, bit or other implement, with an intent to break and enter into any dwelling-
             house or out-house, or shall have upon him or her any pistol, hanger, cutlass,
             bludgeon, or other offensive weapon, with intent to assault any person, or shall be
             found in or upon any dwelling-house, ware-house, stable, bam, coach-house,
             smoke-house or out-house, or in any enclosed yard or garden, or area belonging to
             any house, with an intent to steal any goods or chattels, then he or she shall be
             deemed and adjudged to be a disorderly person.
                                                       54
(23 of 300), Page 23 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql31TI'y: 10.7, Page 23 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 192 of 347




             Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
             under the Act Entitled "An Act to Re-organize the Local Government of Jersey
             City," Passed March 31 , 1871, and the Supplements Thereto Page 41 , Image 41
             (1874) available at The Making of Modem Law: Primary Sources.
             Carrying Weapons | New Jersey | 1871
             An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
             the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
             follows: § 1. That it shall not be lawful for any person or persons (excepting
             policemen and private watchmen when on duty), within the corporate limits of
             Jersey City, to cany, have, or keep concealed on his or her person any instrument
             or weapon commonly known as a slung-shot, billy, sand-club or metal knuckles,
             and any dirk or dagger (not contained as a blade of a pocket-knife), and loaded
             pistol or other dangerous weapon, under the penalty of not exceeding twenty
             dollars for each offense. § 2. That it shall not be lawful for any person or persons
             (excepting policemen and private watchmen when on duty), within the corporate
             limits of Jersey City, to carry or wear any sword in a cane, or air-gun, under the
             penalty of not exceeding twenty dollars for each offense. § 3. Any forfeiture on
             penalty arising under this ordinance may be recovered in the manner specified by
             the City Charter, and all persons violating any of the provisions aforesaid shall,
             upon conviction, stand committed until the same be paid.




                                                        55
(24 of 300), Page 24 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql38y: 10.7, Page 24 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 193 of 347




             Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871 ,
             under the Act Entitled "An Act to Re-organize the Local Government of Jersey
             City," Passed March 31, 1871, and the Supplements Thereto Page 86- 87, Image
             86-87 (1874) available at The Making of Modem Law: Primary Sources.
             Carrying Weapons, Registration and Taxation | New Jersey | 1873
             An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and
             Aldermen of Jersey City do ordain as follows: § 1. That with the exceptions made
             in the second section of this ordinance, no person shall, within the limits of Jersey
             City, carry, have or keep on his or her person concealed, any slung-shot, sand-club,
             metal knuckles, dirk or dagger not contained as a blade of a pocket knife, loaded
             pistol or other dangerous weapon. § 2. That policemen of Jersey City, when
             engaged in the performance of police duty, the sheriff and constables of the County
             of Hudson, and persons having permits, as hereinafter provided for, shall be and
             are excepted from the prohibitions of the first section of this ordinance. § 3. The
             Municipal Court of Jersey City may grant permits to cany any of the weapons
             named in the first section to such persons as should, from the nature of their
             profession, business or occupation, or from peculiar circumstances, be allowed so
             to do, and may, in granting such permits, impose such conditions and restrictions
             in each case as to the court shall seem proper. All applications for permits shall be
             made in open court, by the applicant in person, and in all cases the court shall
             require a written endorsement of the propriety of granting a permit from at least
             three reputable freeholders, nor shall any such permit be granted to any person
             until the court is satisfied that such person is temperate, of adult age, and capable
             of exercising self-control . Permits shall not be granted for a period longer than one
             year, and shall be sealed by the seal of the court. The possession of a permit shall
             not operate as an excuse unless the terms of the same are strictly complied with. In
             cases of emergency, permits may be granted by a single Justice of the Municipal
             Court, or by the Chief of Police, to be in force not longer than thirty days, but such
             permit shall not be renewable. §4. That no person shall, within the limits of Jersey
             City, carry any air gun or any sword cane. § 5. The penalty for a violation of this
             ordinance shall be a fine not exceeding fifty dollars, or imprisonment in the city
             prison not exceeding ten days, or both fine and imprisonment not exceeding the
             aforesaid amount and time, in the discretion of the court.




                                                       56
(25 of 300), Page 25 of 300 Case: 24-565, 04/17/2(ER.[3}<'ql3@y: 10.7, Page 25 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 194 of 347


             Mercer Beasley, Revision of the Statutes of New Jersey: Published under the
             Authority of the Legislature, by Virtue of an Act Approved April 4, 1871 Page
             304, Image 350 (1877) available at The Making of Modem Law: Primary Sources.
             Sentence Enhancement for Use of Weapon | New Jersey | 1877
             An Act Concerning Disorderly Persons, § 2.
             And whereas, diverse ill-disposed persons are frequently apprehended, having
             upon them implements for house-breaking, or offensive weapons, or are found in
             or upon houses, warehouses, stables, bars or out-houses, areas of houses, coach-
             houses, smoke-houses, enclosed yards, or gardens belonging to houses (as well as
             places of public resort or assemblage), with intent to commit theft, misdemeanors
             or other offences, and although their evil purposes are thereby manifested, the
             power of the justices of the peace to demand of them sureties for their good
             behavior hath not been of sufficient effect to prevent them from carrying their evil
             purposes into execution, if any person shall be apprehended, having upon him or
             her any picklock, key, crow, jack, bit or other implement with an intent to break
             and enter into any building: or shall have upon him or her any pistol, hanger,
             cutlass, bludgeon, or other offensive weapon, with intent to assault any person, or
             shall be found in or near any dwelling house, warehouse, stable, barn, coach-house,
             smoke-house, or out-house, or in any enclosed yard or garden, or area belonging to
             any house, or in any place of public resort or assemblage for business, worship,
             amusement, or other lawful purposes with intent to steal any goods or chattels, then
             he or she shall be deemed and adjudged a disorderly person.

             1905 N.J. Laws 324-25, A Supplement to an Act Entitled "An Act for the
             Punishment of Crimes," oh. 172, § 1.
             Any person who shall cany any revolver, pistol or other deadly, offensive or
             dangerous weapon or firearm or any stiletto, dagger or razor or any knife with a
             blade of five inches in length or over concealed in or about his clothes or person,
             shall be guilty of a misdemeanor, and upon conviction thereof shall be punishable
             by a fine not exceeding two hundred dollars or imprisonment at hard labor, not
             exceeding two years, or both,....

             1927 NJ. Laws 742, A Further Supplement to an Act Entitled, "An Act for the
             Punishment of Crimes," oh. 321, § 1.
             Manufacturing, Inspection and Sale of Gunpowder and Firearms | New Jersey |
             1927
             No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
             give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
             other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
             sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
                                                      57
(26 of 300), Page 26 of 300 Case: 24-565, 04/17/2(ER.D}('q8@y: 10.7, Page 26 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 195 of 347


            other high explosive. Any pawnbroker violating the provisions of this act shall be
            guilty of a high misdemeanor and punished accordingly.

            NEW MEXICO

            1852 N.M. Laws 67, An Act Prohibiting the Carrying a Certain Class of Arms,
            within the Settlements and in Balls, § l.
            That each and every person is prohibited from carrying short arms such as pistols,
            daggers, knives, and other deadly weapons, about their persons concealed, within
            the settlements, and any person who violates the provisions of this act shall be
            fined in a sum not exceeding ten dollars, nor less than two dollars, or shall be
            imprisoned for a term not exceeding fifteen days nor less than five days.

            1853 N.M. Laws 406, An Act Prohibiting The Carrying Of Weapons Concealed Or
            Otherwise, § 25.
            That from and after the passage of this act, it shall be unlawful for any person to
            carry concealed weapons on their persons, or any class of pistols whatever, bowie
            knife, cuchillo de cir to (belt buckle knife), Arkansas toothpick, Spanish dagger,
            slung shot, or any other deadly weapon, of whatever class or description that may
            be, no matter by what name they may be known or called under the penalties and
            punishment which shall hereinafter be described.

            1859 N.M. Laws 94,§ 1-2.
            § 1. That from and after the passage of this act, it shall be unlawful for any person
            to carry concealed weapons on their persons, of any class of pistols whatever,
            bowie knife (cuchillo de cir to), Arkansas toothpick, Spanish dagger, slung-shot, or
            any other deadly weapon, of whatever class or description they may be, no matter
            by what name they may be known or called, under the penalities and punishment
            which shall hereinafter be described. § 2. Be it further enacted: That if any person
            shall carry about his person, either concealed or otherwise, any deadly weapon of
            the class and description mentioned in the preceeding section, the person or
            persons who shall so offend, on conviction, which shall be by indictment in the
            district court, shall be fined in any sum not less than fifty dollars, nor more than
            one hundred dollars, at the discretion of the court trying the cause, on the first
            conviction under this act, and for the second conviction, the party convicted shall
            be imprisoned in the county jail for a term of not less than three months, nor more
            than one year, also at the discretion of the court trying the cause.




                                                     58
(27 of 300), Page 27 of 300 Case: 24-565, 04/17/2(ER.[3}<'q®1ry: 10.7, Page 27 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 196 of 347


             1864-1865 N.M. Laws 406-08, An Act Prohibiting the Carrying of Weapons
             Concealed or Otherwise, oh. 61, § 25, 1864.
             That from and after the passage of this act, it shall be unlawful for any person to
             carry concealed weapons on their persons, or any class of pistols whatever, bowie
             knife (cuchillo de cir to), Arkansas toothpick, Spanish dagger, slungshot, or any
             other deadly weapon, of whatever class or description that may be, no matter by
             what name they may be known or called, under the penalties and punishment
             which shall hereinafter be described.

             An Act to Prohibit the Unlawful Carrying and Use of Deadly Weapons, Feb. 18,
             1887, reprinted in Acts of the Legislative Assembly of the Territory of New
             Mexico, Twenty-Seventh Session 55, 58 (1887).
             Brandishing, Carrying Weapons, Dangerous or Unusual Weapons, Firing
             Weapons, Transportation | New Mexico 1887 n

             § 8. Deadly weapons, within the meaning of this act, shall be construed to mean all
             kinds and classes of pistols, whether the same be a revolved, repeater, derringer, or
             any kind or class of pistol or gun, any and all kinds of daggers, bowie knives,
             poniards, butcher knives, dirk knives, and all such weapons with which dangerous
             cuts can be given, or with which dangerous thrusts can be inflicted, including
             sword canes, and any kind of sharp pointed canes, as also slung shots, bludgeons
             or any other deadly weapons with which dangerous wounds can be inflicted....

             NEW YORK

             The Colonial Laws Of New York From The Year 1664 To The Revolution,
             Including The Charters To The Duke Of York, The Commissions And Instructions
             To Colonial Governors, The Dukes Laws, The Laws Of The Dongan And Leisler
             Assemblies, The Charters Of Albany And New York And The Acts Of The
             Colonial Legislatures From 1691 To 1775 Inclusive Page 687, Image 689 (1894)
             available at The Making of Modern Law: Primary Sources.
             Race and Slavery Based | New York | 1664
             Laws of the Colony of New York. And be it further enacted by the authority
             aforesaid that it shall not be lawful for any slave or slave to have or use any gun,
             pistol, sword, club or any other kind of weapon whatsoever, but in the presence or
             by the direction of his her or their Master or Mistress, and in their own ground on
             Penalty of being whipped for the same at the discretion of the Justice of the Peace
             before whom such complaint shall come or upon the view of the said justice not
             exceeding twenty lashes on the bare back for every such offense.



                                                       59
(28 of 300), Page 28 of 300 Case: 24-565, 04/17/2(ER.[3}<'q312y: 10.7, Page 28 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 197 of 347


             Montgomery Hunt Throop, The Revised Statutes of the State of New York, As
             Altered by Subsequent Legislation, Together with the Other Statutory Provisions
             of a General and Permanent Nature Now in Force, Passed from the Year 1778 to
             the Close of the Session of the Legislature of 1881, Arranged in Connection with
             the Same or kindred Subjects in the Revised Statutes, To Which are Added
             References to Judicial Decisions upon the Provisions Contained in the Text,
             Explanatory Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3,
             1882) available at The Making of Modem Law: Primary Sources.
             Carrying Weapons | New York | 1866
             An Act to Prevent the Furtive Possession and use of slung-shot and other
             dangerous weapons. Ch. 716, § 1.
             Every person who shall within this state use, or attempt to use or with intent to use
             against any other person shall knowingly and secretly conceal on his person, or
             with like intent shall willfully and furtively possess any possess any instrument or
             weapon of the kind commonly known as slung-shot, billy, sand club or metal
             knuckles, and any dirk or dagger (not contained as a blade of a pocket knife), or
             sword-cane or air-gun shall be deemed guilty of felony, and on conviction thereof
             be punished by imprisonment in the state prison, or penitentiary or county jail, for
             a term not more than one year, or by a fine not exceeding five hundred dollars, or
             by both such fine and imprisonment. § 2. The having possession of any of the
             weapons mentioned in the first section of this act by any other than a public
             officer, willfully and secretly concealed on the person or knowingly and furtively
             carried thereon, shall be presumptive evidence of so concealing and possessing or
             carrying the same with the intent to use the same in violation of the provisions of
             this act.

             George S. Diossy, The Statute Law of the State of New York: Comprising the
             Revised Statutes and All Other Laws of General Interest, in Force January 1, 1881,
             Arranged Alphabetically According to Subjects Page 321, Image 324 (Vol. 1,
             1881) available at The Making of Modern Law: Primary Sources.
             Carrying Weapons | New York | 1881
             Offenses Against Public Decency, Malicious Mischief, and Other Crimes not
             Before Enumerated, Concealed Weapons, § 9.
             Every person who shall within this state use, or attempt to use, or with intent to use
             against any other person, shall knowingly and secretly conceal on his person, or
             with like intent shall willfully and furtively possess any instrument or weapon of
             the kind commonly known as a slung-shot, billy, sand club or metal knuckles, and
             any dirk shall be deemed guilty of felony, and on conviction thereof may be
             punished by imprisonment in the state prison, or penitentiary or county jail, for a


                                                      60
(29 of 300), Page 29 of 300 Case: 24-565, 04/17/2(ER.D}('q8@'y: 10.7, Page 29 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 198 of 347


            term not more than one year, or by a fine not exceeding five hundred dollars, or by
            both such fine and imprisonment.

            George R. Don fan, Annotated Code of Criminal Procedure and Penal Code of the
            State of New York as Amended 1882-5 Page 172, Image 699 (1885) available at
            The Making of Modern Law: Primary Sources.
            Canying, Using, Etc., Certain Weapons, § 410.
            A person who attempts to use against another, or who, with intent so to use,
            carries, conceals or possesses any instrument or weapon of the kind commonly
            known as the slung-shot, billy, sand -club or metal knuckles, or a dagger, dirk or
            dangerous knife, is guilty of a felony. Any person under the age of eighteen years
            who shall have, cany or have in his possession in any public street, highway or
            place in any city of this state, without a written license from a police magistrate of
            such city, any pistol or other fire-arm of any kind, shall be guilty of a
            misdemeanor. This section shall not apply to the regular and ordinary
            transportation of fire-arms as merchandise, or for use without the city limits. § 411.
            Possession, Presumptive Evidence. The possession, by any person other than a
            public officer, of any of the weapons specified in the last section, concealed or
            furtively carried on the person, is presumptive evidence of carrying, or concealing,
            or possessing, with intent to use the same in violation of that section.

            Charter and Ordinances of the City of Syracuse: Together with the Rules of the
            Common Council, the Rules and Regulations of the Police and Fire Departments,
            and the Civil Service Regulations Page 215, Image 216 (1885) available at The
            Making of Modem Law: Primary Sources.
            [Offenses Against the Public Peace and Quiet,] § 7.
            Any person who shall cany about his or her person any dirk, bowie knife, sword or
            spear cane, pistol, revolver, slung shot, jimmy, brass knuckles, or other deadly or
            unlawful weapon, or shall use any deadly or unlawful weapon, with intent to do
            bodily harm to any person, shall be subject to a fine of not less than twenty-five
            nor more than one hundred dollars, or to imprisonment in the penitentiary of the
            county for not less than thirty days nor longer than three months, or to both such
            fine and imprisonment.

             1900 N.Y. Laws 459, An Act to Amend Section Four Hundred and Nine of the
             Penal Code, Relative to Dangerous Weapons, oh. 222, § 1.
             Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible     n

             New York | 1900
             Making, et cetera, dangerous weapons. - A person who manufactures, or causes to
             be manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any
                                                      61
(30 of 300), Page 30 of 300 Case: 24-565, 04/17/2(ER.D}<'q®4'y: 10.7, Page 30 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 199 of 347


            instrument or weapon of the kind usually known as slunghsot, billy, sand-club or
            metal knuckes, or who, in any city or incorporated village in this state, without the
            written consent of the police magistrate, sells or gives any pisol or other firearm, to
            any person under the age of eighteen years or without a like consent sells or gives
            away any air-gun, or spring-gun, or other instrument or weapon in which the
            propelling force is a spring or air to any person under ht age of twelve years, or
            who sells or gives away any instrument or weapon commonly known as a toy
            pistol, in or upon which any loaded or blank cartridges are used or may be used, to
            any person under the age of sixteen years, is guilty of a misdemeanor.

            1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to the Sale and
            Carrying of Dangerous Weapons. oh. 195, § 1.
            Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
            New York | 1911
            Section[] eighteen hundred and ninety-six ... [is] hereby amended ... § 1896.
            Making and disposing of dangerous weapons. A person who manufactures, or
            causes to be manufactured, or sells or keeps for sale, or offers, or gives, or disposes
            of any instrument or weapon of the kind usually known as a blackjack, slungshot,
            billy, sandclub, sandbag, bludgeon, or metal knuckles, to any person, or a person
            who offers, sells, loans, leases or gives any gun, revolver, pistol or other firearm or
            any airgun, spring-gun or other instrument or weapon in which the propelling force
            is a spring or air or any instrument or weapon commonly known as a toy pistol or
            in or upon which any loaded or blank cartridges are used, or may be used, or any
            loaded or blank cartridges or ammunition therefor, to any person under the age of
            sixteen years, is guilty of a misdemeanor.




                                                      62
(31 of 300), Page 31 of 300 Case: 24-565, 04/17/2(ER.[3}<'q85'y: 10.7, Page 31 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 200 of 347


             1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
             and Carrying of Dangerous Weapons. oh. 195, § 1.
             Section ... eighteen hundred and ninety-seven ... [is] hereby amended to read as
             follows: § 1897. Carrying and use of dangerous weapons. A person who attempts
             to use against another, or who carries, or possesses any instrument or weapon of
             the kind commonly known as a blackjack, slunghsot, billy, sandclub, sandbag,
             metal knuckles or bludgeon, or who with intent to use the same unlawfully against
             another, carries or possesses a dagger, dirk, dangerous knife, razor, stiletto, or any
             other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
             under the age of sixteen years, who shall have, carry, or have in his possession, any
             of the articles named or described in the last section, which is forbidden therein to
             offer, sell, loan, lease or give to him, shall be guilty of a misdemeanor.... Any
             person over the age of sixteen years, who shall have or cany concealed upon his
             person in any city, village, or town of this state, any pistol, revolver, or other
             firearm without a written license therefor, theretofore issued to him by a police
             magistrate of such city or village, or by a justice of the peace of such town, or in
             such manner as may be prescribed by ordinance of such city, village or town, shall
             be guilty of a felony.

             1913 N.Y. Laws 1627-30, vol. III, oh. 608, § 1, Carrying and Use of Dangerous
             Weapons
             Carrying Weapons, Dangerous or Unusual Weapons | New York | 1913
             § 1. A person who attempts to use against another, or who carries or possesses, any
             instrument or weapon of the kind commonly known as a blackjack, slungshot,
             billy, sandclub, sandbag, metal knuckles, bludgeon, bomb or bombshell, or who,
             with intent to use the same unlawfully against another, carries or possesses a
             dagger, dirk, dangerous knife, razor, stiletto, or any other dangerous or deadly
             instruments or weapon, is guilty of a felony.

             1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
             and Use of Glass Pistols, oh. 435, § 1.
             Dangerous or Unusual Weapons | New York | 1931
             A person who attempts to use against another an imitation pistol, or who carries or
             possesses any instrument or weapon of the kind commonly known as a black-jack,
             slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
             to use the same unlawfully against another, carries or possesses a dagger, dirk,
             dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
             or any other dangerous or deadly instrument, or weapon is guilty of a
             misdemeanor, and if he has been previously convicted of any crime he is guilty of
             a felony.
                                                       63
(32 of 300), Page 32 of 300 Case: 24-565, 04/17/2(ER.[3}<'q38y: 10.7, Page 32 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 201 of 347




             NORTH CAROLINA

            James Iredell, A Digested Manual of the Acts of the General Assembly of North
            Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
            a Private and Local Nature, and Such as were Temporary and Whose Operation
            Has Ceased to Exist Page 73, Image 73 (1847) available at The Making of Modem
            Law: Primary Sources, 1840.
            Crimes and Punishments, 1840 - 1. - Ch. 30, If any free negro, mulatto, or free
            person of color shall wear, or carry about his or her person, or keep in his or her
            house, any shot gun, musket, rifle, pistol, sword, dagger, or bowie knife, unless he
            or she shall have obtained a license therefor from the Court of Pleas and Quarter
            Sessions of his or her county, within one year preceding the wearing, keeping or
            carrying thereof, he or she shall be guilty of a misdemeanor and may be indicted
            therefor.

             James Iredell, A Digested Manual of the Acts of the General Assembly of North
             Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
             a Private and Local Nature, and Such as were Temporary and Whose Operation
             Has Ceased to Exist Page 75, Image 75 (1847) available at The Making of Modem
             Law: Primary Sources, 1846.
             Crimes and Punishments, 1846 - 7- Ch. 42. It shall not be lawful for any person or
             persons to sell or barter and deliver, to any slave, or slaves, any gun cotton, fire
             arms, swords, dirks or other side arms, unless those articles be for the owner or
             employer, and by the written order of the owner or employer of such slave or
             slaves, under the penalty of one hundred dollars for each offence, to be recovered,
             by warrant, before any Justice of the Peace, and applied, one half to the use of the
             party suing for the same, and the other half to the wardens of the poor of the
             county, and, moreover, may be indicted in the County or Superior Courts of Law,
             and the defendant, on conviction, shall be fined or imprisoned at the discretion of
             the Court, the fine, however, not to exceed fifty dollars, or the imprisonment three
             months.

            1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
            § 27, pt. 15.
            The following subjects shall be annually listed, and be taxed the amounts specified:
            ... Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
            worn about the person of any one at any time during the year, one dollar and
            twenty-five cents. Arms used for mustering shall be exempt from taxation.


                                                      64
(33 of 300), Page 33 of 300 Case: 24-565, 04/17/2cER13}<tl317fy; 10.7, Page 33 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 202 of 347


             1856-1857 N.C. Sess. Laws 34, Pub. Laws, An Act Entitled "Revenue," oh. 34, §
             23, pt. 4, 1856.
             On every pistol, except such as are used exclusively for mustering, and on every
             bowie-knife, one dollar and twenty five cents, on dirks and swordcanes, sixty five
             cents: Provided, however, That of said arms, only such shall be taxable, as at some
             time within the year have been used, worn or carried about the person of the
             owner, or of some other, by his consent.

             1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
             §27, pt. 15, 1858.
             The following subjects shall be annually listed, and be taxed the amounts specified:
             ... Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
             worn about the person of any one at any time during the year, one dollar and
             twenty-five cents. Arms used for mustering shall be exempt from taxation.

             1860-1861 N.C. Sess. Laws 68, Pub. Laws, An Act to Amend Chapter 107,
             Section 66, of the Revised Code, Relating to Free Negroes Having Arms, oh. 34, §
             1, 1860.
             That chapter 107, section 66, of the Revised Code be amended to read as follows:
             If any free negro shall wear or carry about his person or keep in his house any shot
             gun, musket, rifle, pistol, sword, sword cane, dagger, bowie knife, powder or shot,
             he shall be guilty of a misdemeanor, and upon conviction fined not less than fifty
             dollars.

             North Carolina: N.C. Sess. Laws (1879) chap. 127, as codified in North Carolina
             Code, Crim. Code, chap. 25 (1883) § 1005, Concealed weapons, the carrying or
             unlawfully, a misdemeanor.
             If any one, except when on his own premises, shall cany concealed about his
             person any pistol, bowie knife, dirk, dagger, slungshot, loaded case, brass, iron or
             metallic knuckes or razor or other deadly weapon or like kind, he shall be guilty of
             a misdemeanor, and be fined or imprisoned at the discretion of the court. And if
             anyone not being on his own lands, shall have about his person any such deadly
             weapon, such possession shall be prima facie evidence of the concealment thereof.


             NORTH DAKOTA

             1895 N.D. Rev. Codes 1293, Penal Code, Crimes Against the Public Health and
             Safety, oh. 40, §§ 7312-13.

                                                      65
(34 of 300), Page 34 of 300 Case: 24-565, 04/17/2(ER.[3}<'q38y: 10.7, Page 34 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 203 of 347


            § 7312. Carrying or using slung shot. Every person who carries upon his person,
            whether concealed or not, or uses or attempts to use against another, any
            instrument or weapon of the kind usually known as slung shot, or of any similar
            kind, is guilty of a felony.
            § 7313. Carrying concealed weapons. Every person who carries concealed about
            his person any description of firearms, being loaded or partly loaded, or any sharp
            or dangerous weapon, such as is usually employed in attack or defense of the
            person, is guilty of a misdemeanor.

            1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying
            Concealed Any Dangerous Weapons or Explosives, or Who Has the Same in His
            Possession, Custody or Control, unless Such Weapon or Explosive Is Carried in
            the Prosecution of a Legitimate and Lawful Purpose, oh. 83, §§ 1-3, 5.
            § l. Any person other than a public officer, who carries concealed in his clothes
            any instrument or weapon of the kind usually known as a black-j ack, slung-shot,
            billy, sand club, sand bag, bludgeon, metal knuckles, or any sharp or dangerous
            weapon usually employed in attack or defense of the person, or any gun, revolver,
            pistol or other dangerous fire arm loaded or unloaded, or any person who carries
            concealed nitro-glycerin, dynamite, or any other dangerous or violent explosive, or
            has the same in his custody, possession or control, shall be guilty of a felony....

             OHIO

            1788-1801 Ohio Laws 20, A Law Respecting Crimes and Punishments ... , oh. 6.
            Sentence Enhancement for Use of Weapon | Ohio 1788  n

            Burglary ... If the person or persons so breaking and entering any dwelling house,
            shop, store or vessel as aforesaid, shall commit, or attempt to commit any personal
            abuse, force, or violence, or shall be so armed with any dangerous weapon or
            weapons as clearly to indicate a violent intention, he, she or they so offending,
            upon conviction thereof, shall moreover, forfeit all his, her or their estate, real and
            personal, to this territory, out of which the party injured shall be recompensed as
            aforesaid, and the offender shall also be committed to any gaol [jail] in the territory
            for a term not exceeding forty years.

             1859 Ohio Laws 56, An Act to Prohibit the Carrying or Wearing of Concealed
             Weapons, § 1.
             Carrying Weapons Ohio 1859
                                 n     n

             [W]hoever shall carry a weapon or weapons, concealed on or about his person,
             such as a pistol, bowie knife, dirk, or any other dangerous weapon, shall be
             deemed guilty of a misdemeanor, and on conviction of the first offense shall be
                                                      66
(35 of 300), Page 35 of 300 Case: 24-565, 04/17/2cER13}<tl3@y: 10.7, Page 35 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 204 of 347


            fined not exceeding two hundred dollars, or imprisoned in the county jail not more
            than thirty days, and for the second offense, not exceeding five hundred dollars, or
            imprisoned in the county jail not more than three months, or both, at the discretion
            of the court.

            Joseph Rockwell Swan, The Revised Statutes of the State of Ohio, of a General
            Nature, in Force August l, 1860. With Notes of the Decisions of the Supreme
            Court Page 452, Image 464 (1860) available at The Making of Modern Law:
            Primary Sources.
            Carrying Weapons OhioI 1859
                                n

            An Act to Prohibit the Carrying or Wearing of Concealed Weapons, §§ 1-2 .
            § 1. Be it enacted by the General Assembly of the State of Ohio, that whoever shall
            carry a weapon or weapons, concealed on or about his person, such as a pistol,
            bowie knife, dirk, or any other dangerous weapon, shall be deemed guilty of a
            misdemeanor, and on conviction of the first offense shall be fined not exceeding
            two hundred dollars, or imprisoned in the county jail not more than thirty days, and
            for the second offense, not exceeding five hundred dollars, or imprisoned in the
            county jail not more than three months, or both, at the discretion of the court. Sec.
            § 2. If it shall be proved to the jury, from the testimony on the trial of any case
            presented under the [section of this act banning the carrying of concealed
            weapons], that the accused was, at the time of carrying any of the weapon or
            weapons aforesaid, engaged in the pursuit of any lawful business, calling, or
            employment, and that the circumstances in which he was placed at the time
            aforesaid were such as to justify a prudent man in carrying the weapon or weapons
            aforesaid for the defense of his person, property or family, the jury shall acquit the
            accused.

            Michael Augustus Daugherty, The Revised Statutes and Other Acts of a General
            Nature of the State of Ohio: In Force January 1, 1880 Page 1633, Image 431 (Vol.
            2, 1879) available at The Making of Modern Law: Primary Sources.
            Carrying Weapons Ohio 1880
                                n      n

            Offences Against Public Peace, § 6892.
            Whoever carries any pistol, bowie-knife, dirk, or other dangerous weapon,
            concealed on or about his person, shall be fined not more than two hundred dollars,
            or imprisoned not more than five hundred dollars, or imprisoned not more than
            three months, or both.

            OKLAHOMA

            1890 Okla. Laws 495, art. 47
                                                     67
(36 of 300), Page 36 of 300 Case: 24-565, 04/17/2cER13}<tlE9@y; 10.7, Page 36 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 205 of 347


            Brandishing, Carrying Weapons, Hunting, Possession by, Use of, and Sales to
            Minors and Others Deemed Irresponsible Oklahoma | 1890
                                                       n

            § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
            concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
            bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
            other kind of knife or instrument manufactured or sold for the purpose of defense
            except as in this article provided.
            § 2. It shall be unlawful for any person in the Territory of Oklahoma, to carry upon
            or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
            metal knuckles, or any other offensive or defensive weapon, except as in this
            article provided.
            § 3. It shall be unlawful for any person within this Territory, to sell or give to any
            minor any of the arms or weapons designated in sections one and two of this
            article.
            § 4. Public officers while in the discharge of their duties or while going from their
            homes to their place of duty, or returning therefrom, shall be permitted to carry
            arms, but at no other time and under to other circumstances: Provided, however,
            That if any public officer be found carrying such arms while under the influence of
            intoxicating drinks, he shall be deemed guilty of a violation of this article as
            though he were a private person.
            § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
            hunting, having them repaired, or for killing animals, or for the purpose of using
            the same in public muster or military drills, or while traveling or removing from
            one place to another, and not otherwise.
            § 7. It shall be unlawful for any person, except a peace officer, to carry into any
            church or religious assembly, any school room or other place where persons are
            assembled for public worship, for amusement, or for educational or scientific
            purposes, or into any circus, show or public exhibition of any kind, or into any ball
            room, or to any social party or social gathering, or to any election, or to any place
            where intoxicating liquors are sold, or to any political convention, or to any other
            public assembly, any of the weapons designated in sections one and two of this
            article.
            § 8. It shall be unlawful for any person in this Territory to carry or wear any deadly
            weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
            for the avowed purpose of injuring his fellow man.
            § 9. It shall be unlawful for any person to point any pistol or any other deadly
            weapon whether loaded or not, at any other person or persons either in anger or
            otherwise.



                                                      68
(37 of 300), Page 37 of 300 Case: 24-565, 04/17/2(ER.[3}<'q911ry: 10.7, Page 37 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 206 of 347


             1890 Okla. Sess. Laws 475, Crimes Against The Public Health And Safety,
             §§ 18- 19.
             § 18. Every person who manufactures or causes to be manufactured, or sells or
             offers or keeps for sale, or gives or disposes of any instrument or weapon of the
             kind usually known as slung shot, or of any similar kind is guilty of a
             misdemeanor.
             § 19. Every person who carries upon his person, whether concealed or not or uses
             or attempts to use against another, any instrument or weapon of the kind usually
             known as slung shot, or of any similar kind, is guilty of a felony.

             General Laws Relating to Incorporated Towns of Indian Territory Page 37, Image
             33 (1890) available at The Making of Modern Law: Primary Sources.
             Carrying Weapons Oklahoma | 1890
                                 n

             Revised Ordinances of the Town of Checotah, Ordinance No. l l, § 3.
             To wear or carry any pistol of any kind whatever, or any dirk, butcher knife or
             bowie knife, or a sword, or a spear in a cane, brass or metal knuckles or a razor,
             slung shot, sand bag, or a knife with a blade over three inches long, with a spring
             handle, as a weapon.

             Leander G. Pitman, The Statutes of Oklahoma, 1890. (From the Laws Passed by
             the First Legislative Assembly of the Territory) Page 495-496, Image 511-512
             (1891) available at The Making of Modem Law: Primary Sources.
             Carrying Weapons Oklahoma | 1891
                                 n

             Concealed Weapons, §§ 1, 2, 4-10.
             § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
             concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
             bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
             other kind of knife or instrument manufactured or sold for the purpose of defense
             except as in this article provided.
             § 2. It shall be unlawful for any person in this territory of Oklahoma, to carry upon
             or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
             metal knuckles, or any other offensive or defensive weapon, except as in this
             article provided.
             § 4. Public officers while in the discharge of their duties or while going from their
             homes to their place of duty, or returning therefrom, shall be permitted to cany
             arms, but at no other time and under no other circumstances: Provided, however
             That if any public officer be found carrying such arms while under the influence of
             intoxicating drinks, he shall be deemed guilty of a violation of this article as
             though he were a private person.


                                                       69
(38 of 300), Page 38 of 300 Case: 24-565, 04/17/2cER13}<tlE913y; 10.7, Page 38 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 207 of 347


             § 5. Persons shall be permitted to cany shot-guns or rifles for the purpose of
             hunting, having them repaired, or for killing animals, or for the purpose of using
             the same in public muster or military drills, or while travelling or removing from
             one place to another, and not otherwise.
             § 6. Any person violating the provisions of any one of the forgoing sections, shall
             on the first conviction be adjudged guilty of a misdemeanor and be punished by a
             fine of not less than twenty-five dollars nor more than fifty dollars, or by
             imprisonment in the county jail not to exceed thirty days or both at the discretion
             of the court. On the second and every subsequent conviction, the party offending
             shall on conviction be fined not less than fifty dollars nor more than two hundred
             and fifty dollars or be imprisoned in the county jail not less than thirty days nor
             more than three months or both, at the discretion of the court.
             § 7. It shall be unlawful for any person, except a peace officer, to carry into any
             church or religious assembly, any school room or other place where persons are
             assembled for public worship, for amusement, or for educational or scientific
             purposes, or into any circus, show or public exhibition of any kind, or into any ball
             room, or to any social party or social gathering, or to any election, or to any place
             where intoxicating liquors are sold, or to any political convention, or to any other
             public assembly, any of the weapons designated in sections one and two of this
             article.
             § 8. It shall be unlawful for any person in this territory to carry or wear any deadly
             weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
             for the avowed purpose of injuring his fellow man.
             § 9. It shall be unlawful for any person to point any pistol or any other deadly
             weapon whether loaded or not, at any other person or persons either in anger or
             otherwise.
             § 10. Any person violating the provisions of section seven, eight, or nine of this
             article, shall on conviction, be punished by a fine of not less than fifty dollars, nor
             more than five hundred and shall be imprisoned in the county jail for not less than
             three nor more than twelve months.

             Wilson's Rev. & Ann. St. Okla.(l903) § 583, C. 25.
             It shall be unlawful for any person in the territory of Oklahoma to carry concealed
             on or about his person, saddle, or saddle bags, any pistol, revolver, bowie knife,
             dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any other kind of
             knife or instrument manufactured or sold for the purpose of defense except as in
             this article provided.

             OREGON


                                                       70
(39 of 300), Page 39 of 300 Case: 24-565, 04/17/2cER13}<tlE9@y; 10.7, Page 39 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 208 of 347


             1885 Or. Laws 33, An Act to Prevent Persons from Carrying Concealed Weapons
             and to Provide for the Punishment of the Same, §§ 1-2 .
             § 1. It shall be unlawful for any person to carry concealed about his person in any
             manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
             ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
             instrument by the use of which injury could be inflicted upon the person or
             property of any other person.
             § 2. Any person violating any of the provisions of section one of this act shall be
             deemed guilty of a misdemeanor, and, upon conviction thereof, shall be punished
             by a fine of not less than ten dollars nor more than two hundred dollars, or by
             imprisonment in the county jail not less than five days nor more than one hundred
             days, or by both fine and imprisonment, in the discretion of the court.

             Laws of Oregon (1885), An Act to Prevent Persons from Carrying Concealed
             Weapons, § 1-4, p. 33, as codified in Ore. Code, chap. 8 (1892) § 1969.
             It shall be unlawful for any person to carry concealed about his person in any
             manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
             ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
             instrument by the use of which injury could be inflicted upon the person or
             property of any other person.

            The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
            Order Page 259, Image 261 (1898) available at The Making of Modern Law:
            Primary Sources.
            Carrying Weapons Oregon | 1898
                                 n

            An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers
            and Owners of Disorderly Houses, § 2.
            It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any
            concealed deadly weapon or to discharge any firearms, air gun, sparrow gun,
            flipper or bean shooter within the corporate limits of the city, unless in self-
            defense, in protection of property or an officer in the discharge of his duty,
            provided, however, permission may be granted by the mayor to any person to can'y
            a pistol or revolver when upon proper representation it appears to him necessary or
            prudent to grant such permission.

            1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale,
            possession, canoing, or use of any blackjack, slungshot, billy, sandclub, sandbag,
            metal knuckles, dirk, dagger or stiletto, and regulating the carrying and sale of
            certain firearms, and defining the duties of certain executive officers, and
            providing penalties for violation of the provisions of this Act, §§ 7-8.
                                                      71
(40 of 300), Page 40 of 300 Case: 24-565, 04/17/2(ER.[3}<'q914'y: 10.7, Page 40 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 209 of 347


             Carrying Weapons Oregon | 1917
                                  n

             § 7. Any person who attempts to use, or who with intent to use the same
             unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
             razor, stiletto, or any loaded pistol, revolver or other firearm, or any instrument or
             weapon of the kind commonly known as a blackjack, slung-shot, billy, sandclub,
             sandbag, metal knuckles, bomb or bomb-shell, or any other dangerous or deadly
             weapon or instrument, is guilty of a felony. The carrying or possession of any of
             the weapons specified in this section by any person while committing, or
             attempting or threatening to commit a felony, or a breach of the peace, or any act
             of violence against the person or property of another, shall be presumptive
             evidence of carrying or possessing such weapon with intent to use the same in
             violation of this section.
             Any person who violates the provisions of this section shall be deemed guilty of a
             felony, and upon conviction thereof shall be punished by a fine of not less than
             $50.00 nor more than $500.00, or by imprisonment in the county jail for not less
             than one month nor more than six months, or by imprisonment in the penitentiary
             for not exceeding five years.
             § 8. Whenever any person shall be arrested and it shall be discovered that such
             person possesses or carries or has possessed or carried upon his person any loaded
             pistol, revolver or other firearm, or any weapon named or enumerated in Section 7
             of this Act, in violation of any of the sections of this Act, it shall be the duty of the
             person making the arrest to forthwith lay an information for a violation of said
             section or sections against the person arrested before the nearest or most accessible
             magistrate having jurisdiction of the offense, and such magistrate must entertain
             and examine such information and act thereon in the manner prescribed by law.
             Section II. Any person not a citizen of the United States of America, who shall be
             convicted of carrying a deadly weapon, as described in Sections l, 2 and 7 of this
             Act, shall be guilty of a felony and on conviction thereof shall be punished by
             imprisonment in the State prison for a period not exceeding five years.

             PENNSYLVANIA

             1851 Pa. Laws 382, An Act Authorizing Francis Patrick Kef rick, Bishop Of
             Philadelphia, To Convey Certain Real Estate In The Borough Of York, And A
             supplement To The Charter Of Said Borough, § 4.
             That any person who shall willfully and maliciously carry any pistol, gun, dirk
             knife, slung shot, or deadly weapon in said borough of York ,shall be deemed
             guilty of a felon, and being thereof convicted shall be sentenced to undergo an
             imprisonment at hard labor for a term not less than 6 months nor more than one

                                                        72
(41 of 300), Page 41 of 300 Case: 24-565, 04/17/2(ER.[3}<'q95'y: 10.7, Page 41 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 210 of 347


             year and shall give security for future good behavior for such sum and for such
             time as the court before whom such conviction shall take place may fix ....

             Laws of the City of Johnstown, Pa., Embracing City Charter, Act of Assembly of
             May 23, 1889, for the Government of Cities of the Third Class, General and
             Special Ordinances, Rules of Select and Common Councils and Joint Sessions
             Page 86, Image 86 (1897) available at The Making of Modem Law: Primary
             Sources.
             Carrying Weapons Pennsylvania | 1897
                                 n

             An Ordinance for the Security of Persons and Property of the Inhabitants of the
             City of Johnstown, The preservation of the Public Peace and Good Order of the
             City, and Prescribing Penalties for Offenses Against the Same, § 12.
             No person shall willfully cany concealed upon his or her person any pistol, razor,
             dirk or bowie-knife, black jack, or handy billy, or other deadly weapon, and any
             person convicted of such offense shall pay a fine of not less than five dollars or
             more than fifty dollars with costs.

             RHODE ISLAND

             1893 R.I. Pub. Laws 231 , An Act Prohibiting The Carrying Of Concealed
             Weapons, chap. 1180, § 1.
             No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
             dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
             pistol or fire arms of any description, or other weapons of like kind and description
             concealed upon his persons ... [additional fine provided if intoxicated while
             concealed carrying].

             1893 R.I. Pub. Laws 231 , An Act Prohibiting The Carrying Of Concealed
             Weapons, chap. 1180, §§1-3.
             Carrying Weapons, Sentence Enhancement for Use of Weapon | Rhode Island I
             1893
             § 1. No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
             dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
             pistol or fire arms of any description, or other weapons of like kind and description
             concealed upon his person: Provided, that officers or watchmen whose duties
             require them to make arrests or to keep and guard prisoners or property, together
             with the persons summoned by such officers to aid them in the discharge of such
             duties, while actually engaged in such duties, are exempted from the provisions of
             this act.


                                                      73
(42 of 300), Page 42 of 300 Case: 24-565, 04/17/2(ER.[3}<'q9@y: 10.7, Page 42 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 211 of 347


             § 2. Any person convicted of a violation of the provisions of section 1 shall be
             fined not less than twenty dollars nor more than two hundred dollars, or be
             imprisoned not less than six months nor more than one year.
             § 3. Whenever any person shall be arrested charged with any crime or
             misdemeanor, or for being drunk or disorderly, or for any breach of the peace, and
             shall have concealed upon his person any of the weapons mentioned in section l,
             such person, upon complaint and conviction , in addition to the penalties provided
             in section 2, shall be subject to a fine of not less than five dollars nor more than
             twenty five dollars, and the confiscation of the weapon so found.

            General Laws of the State of Rhode Island and Providence Plantations to Which
            are Prefixed the Constitutions of the United States and of the State Page 1010-
            lol l, Image 1026-1027 (1896) available at The Making of Modern Law: Primary
            Sources.
            Carrying Weapons Rhode Island | 1896
                                 n

            Offences Against Public Policy, §§ 23, 24, 26.
            § 23. No person shall wear or carry in this state any dirk, bowie-knife, butcher
            knife, dagger, razor, sword-in-cane, air-gun, billy, brass or metal knuckles, slung-
            shot, pistol or fire-arms of any description, or other weapons of like kind and
            description concealed upon his person: provided, that officers or watchmen whose
            duties require them to make arrests or to keep and guard prisoners or property,
            together with the persons summoned by such officers to aid them in the discharge
            of such duties, while actually engaged in such duties, are exempted from the
            provisions of this and the two following sections.
            § 24. Any person convicted of a violation of the provisions of the preceding section
            shall be fined not less than ten nor more than twenty dollars, or be imprisoned not
            exceeding three months, and the weapon so found concealed shall be confiscated

            § 26. No negative allegations of any kind need be averred or proved in any
            complaint under the preceding three sections, and the wearing or carrying of such
            concealed weapons or weapons shall be evidence that the wearing or carrying of
            the same is unlawful, but the respondent in any such case my show any fact that
            would render the carrying of the same lawful under said sections.

             1908 (January Session) R.I. Pub. Laws 145, An Act in Amendment of section 23
             of chapter 283 of the General Laws
             Carrying Weapons Rhode Island | 1908
                                 n

             § 23. No person shall wear or carry in this state any dirk, dagger, razor, sword-in-
             cane, bowie knife, butcher knife, or knife of any description having a blade of
             more than three inches in length, measuring from the end of the handle, where the
                                                      74
(43 of 300), Page 43 of 300 Case: 24-565, 04/17/2(ER.[3}<'q91TI'y: 10.7, Page 43 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 212 of 347


             blade is attached to the end of said blade, any air gun, billy, brass or metal
             knuckles, slung-shot, pistol or firearms of any description, or other weapons of like
             kind and description, concealed upon his person: Provided, that officers or
             watchmen whose duties require them to arrest or to keep and guard prisoners or
             property, together with the persons summoned by such officers to aid them in the
             discharge of such duties, while actually engaged in such duties, are exempted from
             the provision of this and the two other following sections.

             SOUTH CAROLINA

             1880 S.C. Acts 448, § 1, as codified in S.C. Rev. Stat. (1894). § 129 (2472.)
             § 1. Be it enacted by the Senate and House of Representatives of the State of South
             Carolina, not met and sitting in General Assembly, and by the authority of the
             same, That any person carrying a pistol , dirk, dagger, slung shot, metal knuckles,
             razor, or other deadly weapon usually used for the infliction of personal injury,
             concealed about his person shall be guilty of a misdemeanor and upon conviction
             thereof, before a Court of competent jurisdiction shall forfeit to the County the
             weapon so carried concealed and be fined in a sum not more than two hundred
             dollars, or imprisoned for not more than twelve months, or both, in the discretion
             of the Court.
             § 2. It shall be the duty of every Trial Justice, Sheriff, Constable, or other peace
             officer, to cause all persons violating this Act to be prosecuted therefor whenever
             they shall discover a violation hereof.

             Act ofFeb. 20, 1901, oh. 435, §1, 1901 S.C. Acts 748
             Sec. 1. Be it enacted by the General Assembly of the State of South Carolina: That
             from and after the first day of July 1902 it shall be unlawful for any one to cany
             about the person whether concealed or not any pistol less than 20 inches long and 3
             pounds in weight. And it shall be unlawful for any person, firm or corporation to
             manufacture, sell or offer for sale, or transport for sale or use into this State, any
             pistol of less length and weight. Any violation of this Section shall be punished by
             a fine of not more than one hundred dollars, or imprisonment for not more than
             thirty days and in case of a violation by a firm or corporation it shall forfeit the
             sum of one hundred dollars to and for the use of the school fund of the County
             wherein the violation takes place to be recovered as other fines and forfeitures:
             Provided, this Act shall not apply to peace officers in the actual discharge of their
             duties, or to persons while on their own premises.

             1923 S.C. Acts 221


                                                        75
(44 of 300), Page 44 of 300 Case: 24-565, 04/17/2(ER.[3}<'q98y: 10.7, Page 44 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 213 of 347


            If any person shall knowingly sell, offer for sale, give, or in any way dispose of to
            a minor any pistol or pistol cartridge, brass knocks, bowie knife, dirk, loaded cane
            or sling shot, he shall be guilty of a misdemeanor. Any person being the parent or
            guardian, of or attending in loco parentis to any child under the age of twelve years
            who shall knowingly permit such child to have the possession or custody of, or use
            in any manner whatever any gun, pistol, or other dangerous firearm, whether such
            firearm be loaded or unloaded, or any person who shall knowingly furnish such
            child any firearm, shall be guilty of a misdemeanor, and, upon conviction, shall be
            fined not exceeding Fifty Dollars or imprisoned not exceeding thirty days.

             SOUTH DAKOTA

             S.D. Terr. Pen. Code (1877), § 457 as codified in S.D. Rev. Code, Penal Code
             (1903), §§ 470-471.
             § 470. Every person who carries upon his person, whether concealed or not, or uses
             or attempt to use against another, any instrument or weapon of the kind usually
             known as slung shot, or of any similar kind, is guilty of a felony.
             § 471. Every person who carries concealed about his person any description of
             firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
             as is usually employed in attack or defense of the person, is guilty of a
             misdemeanor.

             S.D. Rev. Code, Penal Code 1150 (1903) §§ 470, 471
             § 470. Every person who carries upon his person, whether concealed or not, or uses
             or attempt to use against another, any instrument or weapon of the kind usually
             known as slung shot, or of any similar kind, is guilty of a felony.
             § 471. Every person who carries concealed about his person any description of
             firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
             as is usually employed in attack or defense of the person, is guilty of a
             misdemeanor.




                                                      76
(45 of 300), Page 45 of 300 Case: 24-565, 04/17/2(ER.[3}<'q9©y: 10.7, Page 45 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 214 of 347


             TENNESSEE

            1837-38 Tenn. Pub. Acts 200-01, An Act to Suppress the Sale and Use of Bowie
            Knives and Arkansas Tooth Picks in this State, oh 137, § 2.
            That if any person shall wear any Bowie knife, Arkansas tooth pick, or other knife
            or weapon that shall in form, shape or size resemble a Bowie knife or Arkansas
            toothpick under his clothes, or keep the same concealed about his person, such
            person shall be guilty of a misdemeanor, and upon conviction thereof shall be fined
            in a sum not less than two hundred dollars, nor more than five hundred dollars, and
            shall be imprisoned in the county jail not less than three months and not more than
            six months.

             1837-1838 Tenn. Pub. Acts 200, An Act to Suppress the Sale and Use of Bowie
             Knives and Arkansas Tooth Picks in this State, oh. 137, § 1.
             That if any merchant, ... shall se11, or offer to se11 ... any Bowie knife or knives,
             or Arkansas tooth picks ... such merchant shall be guilty of a misdemeanor, and
             upon conviction thereof upon indictment or presentment, shall be fined in a sum
             not less than one hundred dollars, nor more than five hundred dollars, and shall be
             imprisoned in the county jail for a period not less than one month nor more than
             six months.

            1837-1838 Tenn. Pub. Acts 201, An Act to Suppress the Sale and Use of Bowie
            Knives and Arkansas Tooth Picks in the State, oh. 137, § 4.
            That if any person carrying any knife or weapon known as a Bowie knife,
            Arkansas tooth pick, or any knife or weapon that shall in form, shape or size
            resemble a Bowie knife, on a sudden rencounter [sic], shall cut or stab another
            person with such knife or weapon, whether death ensues or not, such person so
            stabbing or cutting shall be guilty of a felony, and upon conviction thereof shall be
            confined in the jail and penitentiary house of this state, for a period of time not less
            than three years, nor more than fifteen years.

             Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of
             Tennessee, of a General and Permanent Nature, Compiled on the Basis of the Code
             of Tennessee, With Notes and References, Including Acts of Session of 1870-1871
             Page 125, Image 794 (Vol. 2, 1873) available at The Making of Modem Law:
             Primary Sources. [1856]
             Offences Against Public Policy and Economy. § 4864.
             Any person who sells, loans, or gives, to any minor a pistol, bowie-knife, dirk,
             Arkansas tooth-pick, hunter's knife, or like dangerous weapon, except a gun for
             hunting or weapon for defense in traveling, is guilty of a misdemeanor, and shall
                                                      77
(46 of 300), Page 46 of 300 Case: 24-565, 04/17/2(ER.DI     Q)y: 10.7, Page 46 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 215 of 347


            be fined not less than twenty-five dollars, and be imprisoned in the county jail at
            the discretion of the court.

            William H. Bridges, Digest of the Charters and Ordinances of the City of
            Memphis, Together with the Acts of the Legislature Relating to the City, with an
            Appendix Page 190, Image 191 (1863) available at The Making of Modern Law:
            Primary Sources.
            Offences Affecting Public Safety: Carrying Concealed Weapons, § 3.
            It shall not be lawful for any person or persons to carry concealed about his or their
            persons any pistol, Bowie-knife, dirk, or any other deadly weapon, and any person
            so offending, shall upon conviction thereof before the Recorder, be fined not less
            than ten nor more than fifty dollars for each and every offence.

            William H. Bridges, Digest of the Charters and Ordinances of the City of
            Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
            Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
            Making of Modem Law: Primary Sources.
            Police Regulations Of The State, Offences Against Public Peace, §§ 4746, 4747,
            4753,4757.
            § 4746. Any person who carries under his clothes or concealed about his person, a
            bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
            or size, is guilty of a misdemeanor.
            § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the State for the
            purpose of selling, giving away or otherwise disposing of any knife or weapon
            mentioned in the preceding section.
            § 4753. No person shall ride or go armed to the terror of the people, or privately
            carry any dirk, large knife, pistol or any dangerous weapon, to the fear or terror of
            any person.
            § 4757. No person shall either publicly or privately carry a dirk, sword-cane,
            Spanish stiletto, belt or pocket pistol, except a knife, conspicuously on the strap of
            a shot-pouch, or on a journey to a place out of his county or State.

            William H. Bridges, Digest of the Charters and Ordinances of the City of
            Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
            Relating to the City, with an Appendix Page 50, Image 50 (1867) available at The
            Making of Modem Law: Primary Sources.
            Police Regulations of the State. Selling Liquors or Weapons to Minors. § 4864.
            Any person who sells, loans or gives to any minor a pistol, bowie-knife, dirk,
            Arkansas toothpick, hunter's knife, or like dangerous weapon, except a gun for
            hunting or weapon for defense in traveling, is guilty of a misdemeanor and shall be
                                                       78
(47 of 300), Page 47 of 300 Case: 24-565, 04/17/2(ER.DI      11ry: 10.7, Page 47 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 216 of 347


            fined not less than twenty-five dollars, and imprisoned in the county jail at the
            discretion of the court.

            William H. Bridges, Digest of the Charters and Ordinances of the City of
            Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
            Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
            Making of Modem Law: Primary Sources.
            Police Regulations Of the State. Offences Against Public Peace. Concealed
            Weapons. §§ 4746-4747.
            § 4746. Any person who carries under his clothes or concealed about his person, a
            bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
            or size, is guilty of a misdemeanor. Selling such weapons misdemeanor.
            § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the state for the
            purpose of selling, giving away or otherwise disposing of any knife or weapon
            mentioned in the preceding Section.

            James H. Shankland Public Statutes of the State of Tennessee, since the Year 1858.
            Being in the Nature of a Supplement to the Code Page 108, Image 203 (Nashville,
            1871) available at The Making of Modern Law: Primary Sources. 1869
            Elections.
            § 2. That it shall not be lawful for any qualified voter or other person attending any
            election in this State, or for any person attending any fair, race course, or other
            public assembly of the people, to carry about his person, concealed or otherwise,
            any pistol, dirk, Bowie-knife, Arkansas toothpick, or weapon in form, shape, or
            size resembling a Bowie knife or Arkansas tooth-pick, or other deadly or
            dangerous weapon.
            § 3. That all persons convicted under the second section of this act shall be
            punished by fine of not less than fifty dollars, and by imprisonment, or both, at the
            discretion of the court.

            Tenn. Pub. Acts (1879), chap. 186, as codified in Tenn. Code (1884). 5533: It shall
            not be lawful for any person to carry, publicly or privately, any dirk, razor
            concealed about his person, sword cane, loaded cane, slung-shot or brass knocks,
            Spanish stiletto, belt or pocket pistol, revolver, or any kind of pistol, except the
            army or navy pistol used in warfare, which shall be carried openly in hand.




                                                       79
(48 of 300), Page 48 of 300 Case: 24-565, 04/17/2(ER.DI    12y: 10.7, Page 48 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 217 of 347


            William King McAlister Jr., Ordinances of the City of Nashville, to Which are
            Prefixed the State Laws Chartering and Relating to the City, with an Appendix
            Page 340-341, Image 345-346 (1881) available at The Making of Modern Law:
            Primary Sources.
            Ordinances of the City of Nashville, Carrying Pistols, Bowie-Knives, Etc., § l.
            That every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot,
            brass knocks or other deadly weapon, shall be deemed guilty of a misdemeanor,
            and, upon conviction of such first offense, shall be fined form ten to fifty dollars, at
            the discretion of the court, but upon conviction of every such subsequent offense,
            shall be fined fifty dollars, Provided, however, that no ordinary pocket knife and
            common walking-canes shall be construed to be deadly weapons.

            Claude Waller, Digest of the Ordinances of the City of Nashville, to Which are
            Prefixed the State Laws Incorporating, and Relating to, the City, with an Appendix
            Containing Various Grants and Franchises Page 364-365, Image 372-373 (1893)
            available at The Making of Modern Law: Primary Sources.
            Ordinances of the City of Nashville, § 738.
            Every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot, brass
            knocks, or other deadly weapon, shall be deemed guilty of a misdemeanor, and,
            upon conviction of such first offense, shall be fined from ten to fifty dollars, at the
            discretion of the court, but, upon conviction of every subsequent offense, shall be
            fined fifty dollars, Provided, however, That no ordinary pocket-knife and common
            walking canes shall be construed to be deadly weapons...

            TEXAS

            A Digest of the General Statute Laws of the State of Texas: to Which Are
            Subjoined the Repealed Laws of the Republic and State of Texas (Austin, Texas:
            Williamson S. Oldham & George W. White, comp., 1859)
            Texas, Chapter 3, Act of August 28, 1856
            Art. 493. If any person shall assault another with intent to murder, he shall be
            punished by confinement in the Penitentiary, not less than two years, nor more than
            seven years. If the assault be made with a bowie-knife, or dagger, the punishment
            shall be doubled. Page 520
            https://babel.hathitrust.org/cgi/pt?id=mdp.390 l5073228879&view=1up&seq=538
            &ql=bow1€%20kHlf€
            Art. 610. If any person be killed with a bowie knife or dagger, under circumstances
            which would otherwise render the homicide a case of manslaughter, the killing
            shall nevertheless be deemed murder, and punished accordingly. [emphasis in
            original] Page 534
                                                      80
(49 of 300), Page 49 of 300 Case: 24-565, 04/17/2(ER.DI    13y: 10.7, Page 49 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 218 of 347


            https://babeLhathitrust.org/cgi/pt?id=mdp.39015073228879&view=1up&seq=552
            &q1=bowie%20knife

            1871 Tex. Laws 25, An Act to Regulate the Keeping and Bearing of Deadly
            Weapons.
            § 1. Be it enacted by the Legislature of the State of Texas, That any person
            carrying on or about his person, saddle, or in his saddle bags, any pistol, dirk,
            dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
            kind of knife manufactured or sold for the purposes of offense or defense, unless
            he had reasonable grounds for fearing an unlawful attack on his person, and that
            such ground of attack shall be immediate and pressing, or unless having or
            carrying the same on or about his person for the lawful defense of the State, as a
            militiaman in actual service, or as a peace officer or policeman, shall be guilty of a
            misdemeanor, and on conviction thereof shall, for the first offense, be punished by
            fine of not less then than twenty-five nor more than one hundred dollars, and shall
            forfeit to the county the weapon or weapons so found on or about his person, and
            for every subsequent offense may, in addition to such fine and forfeiture, be
            imprisoned in the county jail for a term not exceeding sixty days, and in every case
            of fine under this section the fined imposed and collected shall go into the treasury
            of the county in which they may have been imposed, provided, that this section
            shall not be so contrued as to prohibit any person from keeping or bearing arms on
            his or her own premises, or at his or her own place of business, nor to prohibit
            sheriffs or other revenue officers, and other civil officers, from keeping or bearing
            arms while engaged in the discharge of their official duties, nor to prohibit persons
            traveling in the State from keeping or carrying arms with their baggage, provided
            further, that members of the Legislature shall not be included under the term "civil
            officers" as used in this act.
            § 2. Any person charged under the first section of this act, who may offer to prove,
            by way of defense, that he was in danger of an attack on his person, or unlawful
            interference with his property, shall be required to show that such danger was
            immediate and pressing, and was of such a nature as to alarm a person of ordinary
            courage, and that the weapon so carried was borne openly and not concealed
            beneath the clothing, and if it shall appear that this danger had its origin in a
            difficulty first commenced by the accused, it shall not be considered as a legal
            defense.

            Tex. Act of Apr. 12, 1871, as codified in Tex. Penal Code (1879).
            Art. 1634
            If any person other than a peace officer, shall carry any gun, pistol, bowie knife, or
            other dangerous weapon, concealed or unconcealed, on any day of election , during
                                                      81
(50 of 300), Page 50 of 300 Case: 24-565, 04/17/2(ER.DI    14ry: 10.7, Page 50 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 219 of 347


            the hours the polls are open, within the distance of one-half mile of any poll or
            voting place, he shall be punished as prescribed in article 161 of the code.

            1879 Tex. Crim. Stat. tit. IX, Ch. 4 (Penal Code)
            Art. 318. If any person in this state shall cany on or about his person, saddle, or in
            his saddle-bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-
            knuckles, bowie-knife, or any other kind of knife manufactured or sold for the
            purposes of offense or defense, he shall be punished by fine of not less than
            twenty-five nor more than one hundred dollars, and, in addition thereto, shall
            forfeit to the county in which he is convicted, the weapon or weapons so carried.
            Art. 319. The preceding article shall not apply to a person in actual service as a
            militiaman, nor to a peace officer or policeman, or person summoned to his aid, not
            to a revenue or other civil officer engaged in the discharge of official duty, not to
            the carrying of arms on one's own premises or place of business, nor to persons
            traveling, nor to one who has reasonable ground for fearing an unlawful attack
            upon his person, and the danger is so imminent and threatening as not to admit of
            the arrest of the party about to make such attack, upon legal process.
            Art. 320. If any person shall go into any church or religious assembly, any school
            room, or other place where persons are assembled for amusement or for
            educational or scientific purposes, or into any circus, show, or public exhibition of
            any kind, or into a ball-room, social party, or social gathering, or to any election
            precinct on the day or days of any election, where any portion of the people of this
            state are collected to vote at any election, or to any other place where people may
            be assembled to muster, or to perform any other public duty, or to any other public
            assembly, and shall have or carry about his person a pistol or other fire-arm, dirk,
            dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
            kind of a knife manufactured and sold for the purposes of offense and defense, he
            shall be punished by fine not less than fifty nor more than five hundred dollars, and
            shall forfeit to the county the weapon or weapons so found on his person.
            Art. 321. The preceding article shall not apply to peace officers, or other persons
            authorized or permitted by law to carry arms at the places therein designated.
            Art. 322. Any person violating any of the provisions of articles 3 18 and 320, may
            be arrested without warrant by any peace officer, and carried before the nearest
            justice of the peace for trial, and any peace officer who shall fail to refuse to arrest
            such person on his own knowledge, or upon information from some credible
            person, shall be punished by fine not exceeding five hundred dollars.
            Art. 323. The provisions of this chapter shall not apply to or be enforced in any
            county which the governor may designate, by proclamation, as a frontier county
            and liable to incursions by hostile Indians.


                                                      82
(51 of 300), Page 51 of 300 Case: 24-565, 04/17/2(ER.DI    5'y: 10.7, Page 51 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 220 of 347


            1897 Tex. Gen. Laws 221 , An Act To Prevent The Barter, Sale And Gift Of Any
            Pistol, Dirk, Dagger, Slung Shot, Sword Cane, Spear, Or Knuckles Made Of Any
            Metal Or Hard Substance To Any Minor Without The Written Consent Of The
            Parent Or Guardian Of Such Minor..., chap. 155.
            That if any person in this State shall knowingly sell, give or barter, or cause to be
            sold, given or bartered to any minor, any pistol, dirk, dagger, slung shot, sword-
            cane, spear or knuckles made of any metal or hard substance, bowie knife or any
            other knife manufactured or sold for the purpose of offense or defense, without the
            written consent of the parent or guardian of such minor, or of someone standing in
            lieu thereof, he shall be punished by fine of not less then twenty-five nor more than
            two hundred dollars, or by imprisonment in the county jail not less than ten nor
            more than thirty days, or by both such fine and imprisonment and during the time
            of such imprisonment such offender may be put to work upon any public work in
            the county in which such offense is submitted.

            Theodore Harris, Charter and Ordinances of the City of San Antonio. Comprising
            All Ordinances of a General Character in Force August 7th, Page 220, Image 225
            (1899) available at The Making of Modern Law: Primary Sources.
            Brandishing Texas 1899
                         n       n

            Ordinances of the City of San Antonio, Ordinances, oh. 22, § 4.
            If any person shall, within the city limits, draw any pistol, gun, knife, sword-cane,
            club or any other instrument or weapon whereby death may be caused, in a
            threatening manner, or for the purpose of intimidating others, such person shall be
            deemed guilty of an offense.

            UTAH

            Dangerous and Concealed Weapon, Feb. 14, 1888, reprinted in The Revised
            Ordinances Of Salt Lake City, Utah 283 (1893) (Salt Lake City, Utah). § 14.
            Any person who shall carry any slingshot, or any concealed deadly weapon,
            without the permission of the mayor first had and obtained, shall, upon conviction,
            be liable to a fine not exceeding fifty dollars.

            Chapter 5: Offenses Against the Person, undated, reprinted in The Revised
            Ordinances Of Provo City, Containing All The Ordinances In Force 105, 106-7
            (1877) (Provo, Utah).
            § 182: Every person who shall wear, or carry upon his person any pistol, or other
            firearm, slungshot, false knuckles, bowie knife, dagger or any other dangerous or
            deadly weapon, is guilty of an offense, and liable to a fine in any sum not
            exceeding twenty-five dollars, Provided, that nothing in this section, shall be
                                                      83
(52 of 300), Page 52 of 300 Case: 24-565, 04/17/2(ER.DI    8y: 10.7, Page 52 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 221 of 347


            construed to apply to any peace officer, of the United States, the Territory of Utah,
            or of this city.'

            VERMONT

            No. 85. An Act Against Carrying Concealed Weapons, Ch. 85, p. 95. 1892.
            Section 1. A person who shall carry a dangerous or deadly weapon, openly or
            concealed, with the intent or avowed purpose of injuring a fellow man, shall, upon
            conviction thereof, be punished by a fine not exceeding two hundred dollars, or by
            imprisonment not exceeding two years, or both, in the discretion of the court.
            Sec. 2. A person who shall carry or have in his possession while a member of and
            in attendance upon any school, any firearms, dirk knife, bowie knife, dagger or
            other dangerous or deadly weapon shall, upon conviction thereof, be fined not
            exceeding twenty dollars.
            Approved November 19, 1892 .
            https://www.google.com/books/edition/Acts_and_Laws_Passed_by_the_Legislatur
            e/DXFOAQAAIAAJ?hl=en&gbpv= 1 &dq=Vermont+%22while+a+memb et+of+an
            d+in+attendance+upon+any+school,%22++%22any+firearms,+dirk+knife,+bowie
            +knife,+dagger+or+other+dangerous+or+deadly+weapon%22%C2%A0&pg=PA9
            5&printsec=frontcover

            Ordinances of the City of Barre, Vermont
            Carrying Weapons, Firing Weapons | Vermont 1895  n

            CHAPTER 16, § 18.
            No person, except on his own premises, or by the consent and permission of the
            owner or occupant of the premises, and except in the performance of some duty
            required by law, shall discharge any gun, pistol, or other fire arm loaded with ba11
            or shot, or with powder only, or firecrackers, serpent, or other preparation whereof
            gunpowder or other explosive substance is an ingredient, or which consists wholly
            of the same, nor shall make any bonfire in or upon any street, lane, common or
            public place within the city, except by authority of the city council.
            CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass
            knuckles, pistol, slung shot, stilletto, or weapon of similar character, nor carry any




            1 See http://www.supremecourt.gov/DocketPDF/ 18/18-
            280/99640/20190514123503867_Charles%20Appendix.pdf.
                                                      84
(53 of 300), Page 53 of 300 Case: 24-565, 04/17/2(ER.DI   1TI'y: 10.7, Page 53 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 222 of 347


            weapon concealed on his person without permission of the mayor or chief of police
            in writing




            2
             See http://www.supremecourt.gov/DocketPDF/ 18/18-
            280/99640/20190514123503867_Charles%20Appendix.pdf.
                                                     85
(54 of 300), Page 54 of 300 Case: 24-565, 04/17/2(ER.DI    8y: 10.7, Page 54 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 223 of 347


            VIRGINIA

            1786 Va. Laws 33, oh. 21, An Act forbidding and punishing Affrays.
            Be it enacted by the General Assembly, that no man, great nor small, of what
            condition soever he be, except the Ministers of Justice in executing the precepts of
            the Courts of Justice, or in executing of their office, and such as be in their
            company assisting them, be so hardy to come before the Justices of any Court, or
            other of their Ministers of Justice, doing their office, with force and arms, on pain,
            to forfeit their armour to the Commonwealth, and their bodies to prison, at the
            pleasure of a Court, nor go nor ride armed by night nor by day, in fair or markets,
            or in other places, in terror of the Country, upon pain of being arrested and
            committed to prison by any Justice on his own view, or proof of others, there to
            abide for so long a time as a Jury, to be sworn for that purpose by the said Justice
            shall direct, and in like manner to forfeit his armour to the commonwealth, but no
            person shall be imprisoned for such offence by a longer space of time than one
            month.

            Collection of All Such Acts of the General Assembly of Virginia, of a Public and
            Permanent Nature, as Are Now in Force, with a New and Complete Index. To
            Which are Prefixed the Declaration of Rights, and Constitution, or Form of
            Government Page 187, Image 195 (1803) available at The Making of Modem Law:
            Primary Sources.
            Race and Slavery Based | Virginia | 1792
            [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes,
            and Mulattoes (1792),] §§ 8-9.
            §8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot,
            club, or other weapon whatsoever, offensive or defensive, but all and every gun,
            weapon, and ammunition found in the possession or custody of any negro or
            mulatto, may be seized by any person, and upon due proof thereof made before any
            Justice of the Peace of the County or Corporation where such seizure shall be, shall
            by his order be forfeited to the seizor for his own use , and moreover, every such
            offender shall have and receive by order of such Justice, any number of lashes not
            exceeding thirty-nine, on his or her bare back, well laid on, for every such offense.
            § 9. Provided, nevertheless, That every free negro or mulatto, being a house-
            keeper, may be permitted to keep one gun, powder and shot, and all negroes and
            mulattoes, bond or free, living at any frontier plantation, may be permitted to keep
            and use guns, powder, shot, and weapons offensive or defensive, by license from a
            Justice of Peace of the County wherein such plantation lies, to be obtained upon
            the application of free negroes or mulattoes, or of the owners of such as are slaves.


                                                      86
(55 of 300), Page 55 of 300 Case: 24-565, 04/17/2(ER.DI   9y: 10.7, Page 55 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 224 of 347


            Acts of the General Assembly of Virginia, Passed at the Session of 1838, chap.
            101, at 76, 1838.
            Be it enacted by the general assembly, That if any person shall hereafter habitually
            or generally keep or cany about his person any pistol, dirk, bowie knife, or any
            other weapon of the like kind, from this use of which the death of any person might
            probabily ensue, and the same be hidden or concealed from common observation,
            and he be thereof convicted, he shall for every such offense forfeit and pay the sum
            of not less than fifty dollars nor more than five hundred dollars, or be imprisoned
            in the common jail for a term not less than one month nor more than six months,
            and in each instance at the discretion of the jury, and a moiety of the penalty
            recovered in any prosecution under this act, shall be given to any person who may
            voluntarily institute the same.

            1847 Va. Laws 127, c. 14, § 16.
            If any person shall go armed with any offensive or dangerous weapon without
            reasonable cause to fear an assault or other injury, or violence to his person, or to
            his family or property, he may be required to find sureties for keeping the peace for
            a term not exceeding twelve months, with the right of appealing as before
            provided.

            Staunton, The Charter and General Ordinances of the Town of Lexington, Virginia
            Page 87, Image 107 (1892) available at The Making of Modern Law: Primary
            Sources, 1867.
            Ordinances of The Town of Lexington, VA, Of Concealed Weapons and
            Cigarettes, § 1. If any person carrying about his person, hid from common
            observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any weapon of the
            like kind, he shall be fined not less than twenty dollars nor more than one hundred
            dollars, and any of such weapons mentioned shall be forfeited to the town. Nothing
            in this section shall apply to any officer of the town, county or state while in the
            discharge of his duty.

            The Code of Virginia: With the Declaration of Independence and the Constitution
            of the United States, and the Constitution of Virginia Page 897, Image 913 (1887)
            available at The Making of Modern Law: Primary Sources.
            Carrying Weapons | Virginia | 1887
            Offences Against the Peace, § 3780. Carrying Concealed Weapons, How Punished.
            Forfeiture and Sale of Weapons. If any person carry about his person, hid from
            common observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any
            weapon of the like kind, he shall be fined not less than twenty nor more than one
            hundred dollars, and such pistol, dirk, bowie-knife, razor, slung-shot, or any
                                                     87
(56 of 300), Page 56 of 300 Case: 24-565, 04/17/2(ER.DI<j'Q3l@y: 10.7, Page 56 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 225 of 347


             weapon of the like kind, shall be forfeited to the commonwealth and may be seized
             by an officer as forfeited, and upon the conviction of the offender the same shall be
             sold and the proceeds accounted for and paid over as provided in section twenty-
             one hundred and ninety: Provided, that this section shall not apply to any police
             officer, town or city sergeant, constable, sheriff, conservator of the peace, or
             collecting officer, while in the discharge of his official duty.

             WASHINGTON

             1854 Wash. Sess. Law 80, An Act Relative to Crimes and Punishments, and
             Proceedings in Criminal Cases, oh. 2, § 30.
             Brandishing | Washington 1854
                                        n

             Every person who shall, in a rude, angry, or threatening manner, in a crowd of two
             or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
             on conviction thereof, be imprisoned in the county jail not exceeding one year, and
             be fined in any sum not exceeding five hundred dollars.

             1859 Wash. Sess. Laws 109, An Act Relative to Crimes and Punishments, and
             Proceedings in Criminal Cases, oh. 2, § 30.
             Brandishing | Washington | 1859
             Every person who shall, in a rude, angry or threatening manner, in a crowd of two
             or more persons, exhibit any pistol, bowie knife or other dangerous weapon, shall,
             on conviction thereof, be imprisoned in the county jail not exceeding one year, and
             be fined in any sum not exceeding five hundred dollars .

             1869 Wash. Sess. Laws 203-04, An Act Relative to Crimes and Punishments, and
             Proceedings in Criminal Cases, oh. 2, § 32.
             Brandishing | Washington | 1869
             Every person who shall, in a rude, angry or threatening manner, in a crowd of two
             or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
             on conviction thereof, be imprisoned in the county jail not exceeding one year and
             be fined in any sum not exceeding five hundred dollars.

             1881 Wash. Code 181, Criminal Procedure, Offenses Against Public Policy,
             oh. 73, § 929.
             Carrying Weapons | Washington | 1881
             If any person cany upon his person any concealed weapon, he shall be deemed
             guilty of a misdemeanor, and, upon conviction, shall be fined not more than one
             hundred dollars, or imprisoned in the county jail not more than thirty days[.]

                                                       88
(57 of 300), Page 57 of 300 Case: 24-565, 04/17/2(ER.DI@h1ry: 10.7, Page 57 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 226 of 347


            1881 Wash. Sess. Laws 76, An Act to Confer a City Govt. on New Tacoma, oh. 6,
            § 34, pt. 15.
            Carrying Weapons | Washington | 1881
            [T]o regulate the transportation, storage and sale of gunpowder, giant powder,
            dynamite, nitro-glycerine, or other combustibles, and to provide or license
            magazines for the same, and to prevent by a11 possible and proper means, danger or
            risk of injury or damages by fire arising from carelessness, negligence or otherwise
            ... to regulate and prohibit the carrying of deadly weapons in a concealed manner,
            to regulate and prohibit the use of guns, pistols and firearms, firecrackers, and
            detonation works of all descriptions[.]

            William Lair Hill, Ballinger's Annotated Codes and Statutes of Washington,
            Showing All Statutes in Force, Including the Session Laws of 1897 Page 1956,
            Image 731 (Vol. 2, 1897) available at The Making of Modem Law: Primary
            Sources.
            Brandishing | Washington | 1881
            Flourishing Dangerous Weapon, etc. Every person who shall in a manner likely to
            cause terror to the people passing, exhibit or flourish, in the streets of an
            incorporated city or unincorporated town, any dangerous weapon, shall be deemed
            guilty of a misdemeanor, and on conviction thereof shall be punished by a fine in
            any sum not exceeding twenty-five dollars. Justices of the peace shall have
            exclusive original jurisdiction of all offenses arising under the last two preceding
            sections.

            1883 Wash. Sess. Laws 302, An Act to Incorporate the City of Snohomish, oh. 6,
            § 29, pt. 15.
            Carrying Weapons | Washington | 1883
            [The city has power] to regulate and prohibit the carrying of deadly weapons in a
            concealed manner, to regulate and prohibit the use of guns, pistols, and fire-arms,
            fire crackers, bombs and detonating works of all descriptions ....

            Albert R. Heilig, Ordinances of the City of Tacoma, Washington Page 333-334,
            Image 334-335 (1892) available at The Making of Modem Law: Primary Sources.
            Carrying Weapons | Washington | 1892
            Ordinances of the City of Tacoma, An Ordinance Defining Disorderly Persons and
            Prescribing the Punishment for Disorderly Conduct Within the City of Tacoma. All
            persons (except police officers and other persons whose duty it is to execute
            process or warrants or make arrests) who shall carry upon his person any concealed
            weapon consisting of a revolver, pistol or other fire arms or any knife (other than
            an ordinary pocket knife) or any dirk or dagger, sling shot or metal knuckles, or
                                                     89
(58 of 300), Page 58 of 300 Case: 24-565, 04/17/2(ER.DI<j'Q3h2y: 10.7, Page 58 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 227 of 347


             any instrument by the use of which injury could be inflicted upon the person or
             property of any other person.

             Rose M. Denny, The Municipal Code of the City of Spokane, Washington.
             Comprising the Ordinances of the City (Excepting Ordinances Establishing Street
             Grades) Revised to October 22, 1896 Page 309-310, Image 315-316 (1896)
             available at The Making of Modern Law: Primary Sources.
             Carrying Weapons | Washington | 1896
             Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed
             Weapons within the City of Spokane, § 1.
             If any person within the City of Spokane shall carry upon his person any concealed
             weapon, consisting of either a revolver, pistol or other fire-arms, or any knife
             (other than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal
             knuckles, or any instrument by the use of which injury could be inflicted upon the
             person or property of any other person, shall be deemed guilty of a misdemeanor,
             and upon conviction thereof shall be fined not less than twenty dollars, nor more
             than one hundred dollars and costs of prosecution, and be imprisoned until such
             fine and costs are paid, provided, that this section shall not apply to police officers
             and other persons whose duty is to execute process or warrants or make arrests, or
             persons having a special written permit from the Superior Court to cany weapons

             Richard Achilles Ballinger, Ballinger's Annotated Codes and Statutes of
             Washington: Showing All Statutes in Force, Including the Session Laws of 1897
             Page 1956-1957, Image 731-732 (Vol. 2, 1897) available at The Making of
             Modern Law: Primary Sources.
             Carrying Weapons | Washington | 1897
             Carrying Concealed Weapons, § 7084.
             If any person shall cany upon his person any concealed weapon, consisting of
             either a revolver, pistol, or other fire-arms, or any knife, (other than an ordinary
             pocket knife), or any dirk or dagger, sling-shot, or metal knuckles, or any
             instrument by the use of which injury could be inflicted upon the person or
             property of any other person, shall be deemed guilty of a misdemeanor, and upon
             conviction thereof shall be fined not less than twenty dollars nor more than one
             hundred dollars, or imprisonment in the county jail not more than thirty days, or by
             both fine and imprisonment, in the discretion of the court: Provided, That this
             section shall not apply to police officers and other persons whose duty it is to
             execute process or warrants or make arrests.




                                                       90
(59 of 300), Page 59 of 300 Case: 24-565, 04/17/2(ER.DI<j'Q3h3y: 10.7, Page 59 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 228 of 347


             WEST VIRGINIA

             1870 W. Va. Code 692, Of Offenses against the Peace, oh. 148, § 7.
             If any person, habitually, carry about his person, hid from common observation,
             any pistol, dirk, bowie knife, or weapon of the like kind, he shall be fined fifty
             dollars. The inforiners shall have one half of such fine.

             1870 W. Va. Code 703, For Preventing the Commission of Crimes, oh. 153, § 8.
             If any person go armed with a deadly or dangerous weapon, without reasonable
             cause to fear violence to his person, family, or property, he may be required to give
             a recognizance, with the right of appeal, as before provided, and like proceedings
             shall be had on such appeal.

             1882 W. Va. Acts 421-22
             Carrying Weapons | West Virginia | 1882
             If a person carry about his person any revolver or other pistol, dirk, bowie knife,
             razor, slung shot, billy, metalic or other false knuckles, or any other dangerous or
             deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
             fined not less that twenty-five nor more than two hundred dollars, and may, at the
             discretion of the court, be confined in jail not less than one, nor more than twelve
             months, and if any person shall sell or furnish any such weapon as is hereinbefore
             mentioned to a person whom he knows, or has reason, from his appearance or
             otherwise, to believe to be under the age of twenty-one years, he shall be punished
             as hereinbefore provided, but nothing herein contained shall be so construed as to
             prevent any person from keeping or carrying about his dwelling house or premises
             any such revolver or other pistol, or from carrying the same from the place of
             purchase to his dwelling house, or from his dwelling house to any place where
             repairing is done, to have it repaired, and back again. And if upon the trial of an
             indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
             shall prove to the satisfaction of the jury that he is a quiet and peacable citizen, of
             good character and standing in the community in which he lives, and at the time he
             was found with such pistol, dirk, razor or bowie knife, as charged in the
             indictment, he had good cause to believe and did believe that he was in danger of
             death or great bodily harm at the hands of another person, and that he was, in good
             faith, carrying such weapon for self-defense and for no other purpose, the jury shall
             find him not guilty. But nothing in this section contained shall be construed as to
             prevent any officer charged with the execution of the laws of the state from
             carrying a revolver or other pistol, dirk or bowie knife.

             1891 W. Va. Code 915, Of Offences Against the Peace, oh. 148, § 7.
                                                       91
(60 of 300), Page 60 of 300 Case: 24-565, 04/17/2(ER.DI<j'Q3h4ry: 10.7, Page 60 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 229 of 347


             Carrying Weapons | West Virginia | 1891
             If a person carry about his person any revolver or other pistol, dirk, bowie knife,
             razor, slung shot, billy, metallic or other false knuckles, or any other dangerous or
             deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
             fined not less than twenty-five nor more than two hundred dollars, and may, at the
             discretion of the court, be confined in jail not less than one nor more than twelve
             months, and if any person shall sell or furnish any such weapon as is hereinbefore
             mentioned to a person whom he knows, or has reason, from his appearance or
             otherwise, to believe to be under the age of twenty-one years, he shall be punished
             as hereinbefore provided, but nothing herein contained shall be so construed as to
             prevent any person from keeping or carrying about his dwelling house or premises,
             any such revolver or other pistol, or from carrying the same from the place of
             purchase to his dwelling house, or from his dwelling house to any place where
             repairing is done, to have it repaired and back again. And if upon the trial of an
             indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
             shall prove to the satisfaction of the jury that he is a quiet and peaceable citizen, of
             good character and standing in the community in which he lives, and at the time he
             was found with such pistol, dirk, razor or bowie knife, as charged in the indictment
             he had good cause to believe and did believe that he was in danger of death or
             great bodily harm at the hands of another person, and that he was in good faith,
             carrying such weapon for self-defense and for no other purpose, the jury shall find
             him not guilty. But nothing in this section contained shall be so construed as to
             prevent any officer charged with the execution of the laws of the State, from
             carrying a revolver or other pistol, dirk or bowie knife.

             1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact
             Section Seven ... Relating to Offenses Against the Peace, Providing for the
             Granting and Revoking of Licenses and Permits Respecting the Use,
             Transportation and Possession of Weapons and Fire Arms... , oh. 3, § 7, pt. a.
             Carrying Weapons, Possession by, Use of, and Sales to Minors and Others Deemed
             Irresponsible, Registration and Taxation | West Virginia | 1925
             § 7 (a). If any person, without a state license therefor, carry about his person any
             revolver or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other
             false knuckles, or any other dangerous or deadly weapon of like kind or character,
             he shall be guilty of a misdemeanor and upon conviction thereof be confined in the
             county jail for a period of not less than six nor more than twelve months for the
             first offense, but upon conviction of the same person for the second offense in this
             state, he shall be guilty of a felony and be confined in the penitentiary not less than
             one or more than five years, and in either case fined not less than fifty nor more
             than two hundred dollars, in the discretion of the court....
                                                       92
(61 of 300), Page 61 of 300 Case: 24-565, 04/17/2(ER.DI<33l5'y: 10.7, Page 61 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 230 of 347




             WISCONSIN

             1858 Wis. Rev. Stat. 985, Of Proceedings to Prevent the Commission of Crime, oh.
             175, § 18.
             If any person shall go armed with a dirk, dagger, sword, pistol or pistols, or other
             offensive and dangerous weapon, without reasonable cause to fear an assault or
             other injury or violence to his person, or to his family or property, he may, on
             complaint of any other person having reasonable cause to fear an injury or breach
             of the peace, be required to find sureties for keeping the peace, for a term not
             exceeding six months, with the right of appealing as before provided.

            1872 Wis. Sess. Laws 17, oh. 7, § 1, An Act to prohibit and prevent the carrying of
            concealed weapons.
            SECTION 1. If any person shall go armed with a concealed dirk, dagger, sword,
            pistol, or pistols, revolver, slung-shot, brass knuckles, or other offensive and
            dangerous weapon, he shall, on conviction thereof, be adjudged guilty of a
            misdemeanor, and shall be punished by imprisonment in the state prison for a term
            of not more than two years, or by imprisonment in the county jail of the proper
            county not more than twelve months, or by fine not exceeding five hundred dollars,
            together with the costs of prosecution, or by both said fine and costs and either of
            said imprisonments, and he may also be required to find sureties for keeping the
            peace and against the further violation of this act for a term not exceeding two
            years: provided, that so going armed shall not be deemed a violation of this act
            whenever it shall be made to appear that such person had reasonable cause to fear
            an assault or other injury or violence to his person, or to his family or property, or
            to any person under his immediate care or custody, or entitled to his protection or
            assistance, or if it be made to appear that his possession of such weapon was for a
            temporary purpose, and with harmless intent.

            1883 Wis. Sess. Laws 713, An Act to Revise, consolidate And Amend The Charter
            Of The City Of Oshkosh, The Act Incorporating The City, And The Several Acts
            Ainendatory Thereof, chap. 6, § 3, pt. 56.
            To regulate or prohibit the carrying or wearing by any person under his clothes or
            concealed about his person any pistol or colt, or slung shot, or cross knuckles or
            knuckles of lead, brass or other metal or bowie knife, dirk knife, or dirk or dagger,
            or any other dangerous or deadly weapon and to provide for the confiscation or
            sale of such weapon.



                                                      93
(62 of 300), Page 62 of 300 Case: 24-565, 04/17/2(ER.DI<33l8y: 10.7, Page 62 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 231 of 347


            Charter and Ordinances of the City of Superior, Also Harbor Act, Municipal Court
            Act, Rules of the Common Council and Board of Education Page 390, Image 48 l
            (1896) available at The Making of Modem Law: Primary Sources. 1896
            Ordinances of the City of Superior, Carrying Concealed Weapons, § 18. It shall be
            unlawful for any person, other than a policeman or other officer authorized to
            maintain the peace or to serve process, to carry or wear any pistol, sling-shot,
            knuckles, bowie knife, dirk, dagger or any other dangerous weapon within the
            limits of the City of Superior, and any person convicted of a violation of this
            section shall be punished by a fine of not less than ten (10) dollars nor more than
            one hundred (100) dollars.

            WYOMING

            1884 Wyo. Sess. Laws, chap. 67, § l, as codified in Wyo. Rev. Stat., Crimes
            (1887): Exhibiting deadly weapon in angry manner. § 983.
            Whoever shall, in the presence of one or more persons, exhibit any kind of fire-
            arms, Bowie Knife, dirk, dagger, slung-shot or other deadly weapon, in a rude,
            angry or threatening manner not necessary to the defense of his person, family or
            property, shall be deemed guilty of misdemeanor, and on conviction thereof, shall
            be punished by a fine not less than ten dollars, nor more than one hundred dollars,
            or by imprisonment in the county jail not exceeding six months ....

            Wyo. Comp. Laws (1876) chap. 35 § 127, as codified in Wyo. Rev. Stat., Crimes
            (1887) Having possession of offensive weapons. § 1027.
            If any person or persons have upon him any pistol, gun, knife, dirk, bludgeon or
            other offensive weapon, with intent to assault any person, every such person, on
            conviction, shall be fined in any sum not exceeding five hundred dol1ars, or
            imprisoned in the county jail not exceeding six months.

            A. McMicken, City Attorney, The Revised Ordinances of the City of Rawlins,
            Carbon County, Wyoming Page 131-132, Image 132-133 (1893) available at The
            Making of Modern Law: Primary Sources.
            Carrying Weapons | Wyoming 1893 n

            Revised Ordinances of the City of Rawlins, Article VII, Carrying Firearms and
            Lethal Weapons, § 1.
            It shall be unlawl'ul for any person in said city to keep or bear upon the person any
            pistol, revolver, knife, slungshot, bludgeon or other lethal weapon, except the
            officers of the United States, of the State of Wyoming, of Carbon County and of
            the City of Rawlins. § 2. Any person convicted of a violation of the preceding
            section shall be fined not exceeding one hundred dollars, or imprisoned in the city
                                                     94
(63 of 300), Page 63 of 300 Case: 24-565, 04/17/2(ER.DI<j'Q3hTI'y: 10.7, Page 63 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 232 of 347


             jail not exceeding thirty days. § 3. Persons not residing in said city shall be notified
             of this Ordinance by the police or any citizen, and after thirty minutes from the
             time of notification, shall be held liable to the penalties of this article, in case of its
             violation. § 4. The city marshal and policemen of the city shall arrest, without
             warrant, all persons found violating the provisions of this article, and are hereby
             authorized to take any such weapon from the person of the offender and to
             imprison the offender for trial, as in case of violations of other Ordinances of said
             city.

             SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/




                                                         95
(64 of 300), Page 64 of 300 Case: 24-565, 04/17/2(ER.DI<33l8y: 10.7, Page 64 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 233 of 347




                                          Exhibit F
(65 of 300), Page 65 of 300 Case: 24-565, 04/17/2(ER.DI<j'Q3l9y: 10.7, Page 65 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 234 of 347


                                                       EXHIBIT F

                                       LICENSE AND LICENSING LAWS
             ALABAMA

             Harry Toulmin, A Digest of the Laws of the State of Alabama 1 Containing the Statutes and
             Resolutions in Force at the End of the General Assembly in January, 1823. To which is Added
             an Appendix, Containing the Declaration of Independence, the Constitution of the United States,
             the Act authorizing the People of Alabama to form a Constitution and State Government, and the
             Constitution of the State of Alabama Page 627, Image 655 (1823) available at The Making of
             Modem Law: Primary Sources. 1805
             Negroes and Mulattoes, Bond and Free - 1805, Chapter I, An Act respecting Slaves. - Passed
             March 6, 1805: Sec. 4. And be it further enacted, that no slave shall keep or carry any gun,
             powder, shot, club, or other weapon whatsoever, offensive or defensive, except the tools given
             him to work with, or that he is ordered by his master, mistress, or overseer, to carry the said
             articles from one place to another, but all and every gun , weapon, or ammunition, found in the
             possession or custody of any slave, may be seized by any person, and upon due proof made
             thereof, before any justice of the peace of the county or corporation where such seizure shall be
             made, shall, by his order, be forfeited to the seizer, for his own use, and moreover, every such
             offender shall have and receive, by order of such justice, any number of lashes, not exceeding
             thirty-nine, on his bare back for every such offense 1 Provided nevertheless, That any justice of
             the peace may grant, in his proper county, permission in writing to any slave, on application of
             his master or overseer, to carry and use a gun and ammunition within the limits of his said
             master's or owner's plantation, for a term not exceeding one year, and revocable at any time
             within such term, at the discretion of the said justice, and to prevent the inconveniences arising
             from the meeting of slaves.

             [REGULATORY TAX] The Revised Code of Alabama Page 169, Image 185 (1867) available at
             The Making of Modern Law: Primary Sources. 1867
             Taxation, § 10. On A11 pistols or revolvers in the possession of private persons not regular
             dealers holding them for sale, a tax of two dollars each, and on all bowie knives, or knives of the
             like description, held by persons not regular dealers, as aforesaid, a tax of three dollars each, and
             such tax must be collected by the assessor when assessing the same, on which a special receipt
             shall be given to the tax payer therefor, showing that such tax has been paid for the year, and in
             default of such payment when demanded by the assessor, such pistols, revolvers, bowie knives,
             or knives of like description, must be seized by him, and unless redeemed by payment in ten
             days thereafter, with such tax, with an additional penalty of fifty per cent., the same must be sold
             at public outcry before the court house door, after five days notice, and the overplus remaining, if
             any, after deducting the tax and penalty aforesaid, must be paid over to the person from whom
             the said pistol, revolver, bowie knife, or knife of like description, was taken, and the net amount
             collected by him must be paid over to the collector every month, from which, for each such
             assessment and collection, the assessor shall be entitled to fifty cents, and when the additional
             penalty is collected, he shall receive fifty per cent. additional thereto.
(66 of 300), Page 66 of 300 Case: 24-565, 04/17/2(ER.DI           @y: 10.7, Page 66 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 235 of 347


            J. M. Falkner, The Code of Ordinances of the City Council of Montgomery, with the Charter
            Pagel5l, Image 151 (1879) available at The Making of Modern Law: Primary Sources. 1879
            [Ordinances of the City of Montgomery,] § 449. Any person who fires or discharges, or causes to
            be fired or discharged, any pistol, gun, cannon, anvil, or anything of like kind or character, or
            who lets off or discharges any rocket, fire-crackers, squib or other fire-works, without first
            having obtained permission of the Mayor, who shall designate the place where such firing may
            be done, must, on conviction, be fined not less than one nor more than one hundred dollars.

            William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of the General
            Assembly of the State of Alabama, Approved February 16, 1897, Entitled "An Act to Adopt a
            Code of Laws for the State Alabama " with Such Statutes Passed at the Session of 1896-97, as
            are Required to be Incorporated Therein by Act Approved February 17, 1897, and with Citations
            to the Decisions of the Supreme Court of the State Construing or Mentioning the Statutes Page
            1137, Image 1154 (Vol. 1, 1897) available at The Making of Modern Law: Primary Sources.
            1892
            [License Taxes, From Whom and For What Business Required, Prices, County Levy,] Taxation,
            § 27. For dealers in pistols, or pistol cartridges, or bowie-knives, or dirk-knives, whether
            principal stock in trade or not, three hundred dollars. Any cartridges, whether called rifle or
            pistol cartridges, or by any other name, that can be used in a pistol, shall be deemed pistol
            cartridges within the meaning of this subdivision. Any person or firm who orders for another, or
            delivers any cartridges within this state, shall be deemed a dealer under this provision.

            1898 Ala. Acts 190, An Act To Amend The Revenue Laws Of The State Of Alabama, pt. 66-67.
            66th. For dealers in pistol, bowie or dirk knives, whether principal stock in trade or not, one
            hundred dollars. 67th. For wholesale dealers in pistol or rifle cartridges in towns or cities of
            twenty thousand or more inhabitants, ten dollars. In all other places, five dollars: Provided, That
            the wholesale dealers license shall entitle them to sell at retail.

            ARKANSAS

            Revised Statutes of the State of Arkansas, Adopted at the October Session of the General
            Assembly of Said State, A. D. 1837, in the Year of Our Independence the Sixty-second, and of
            the State of Second Year Page 587, Image 602 (1838) available at The Making of Modern Law:
            Primary Sources. 1838
            Negroes and Mulattoes, § 17. No free negro shall be suffered to keep or carry any gun or rifle, or
            weapon of any kind, or any ammunition without a license first had and obtained, for that
            purpose, from some justice of the peace of the county in which such free negro or mulatto
            resides, and such license may be granted and revoked by any justice of the peace of the county.
            §18. Every gun, rifle, or weapon of any kind, or ammunition, found in the possession or custody
            of any free negro or mulatto, not having a license as required by the preceding section, may be
            seized by any person, and upon due proof thereof made before some justice of the peace of the
            county in which such seizure was made, shall by order of such justice be forfeited to the use of
            the person making the seizure, and such justice shall also impose a fine on such negro or mulatto,
            for the use of the county, not exceeding twenty dollars.
(67 of 300), Page 67 of 300 Case: 24-565, 04/17/2(ER.DI           11ry: 10.7, Page 67 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 236 of 347


            George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little Rock, with the
            Constitution of State of Arkansas, General Incorporation Laws, and All Acts of the General
            Assembly Relating to the City Page 231, Image 231 (1871) available at The Making of Modern
            Law: Primary Sources. 1871
            [Offenses Affecting the Public Safety, § 288. No person shall fire or discharge any cannon, gun,
            fowling piece, pistol, or fire-arms, of any description, or fire, explode, or set off any squibs,
            cracker, or other thing containing powder or other combustible or explosive material, without
            permission from the may which permission shall limit the time of such firing, and shall be
            subject to be revoked by the mayor at any time after it has been granted. Any violation hereof
            shall subject the party to a fine of not less than two nor more than ten dollars.]

            John H. Herry, Digest of the Laws and Ordinances of the City of Little Rock, with the
            Constitution of the State of Arkansas, General Incorporation Laws, and All Acts of the General
            Assembly Relating to the City, in Force March 10, 1882 Page 149, Image 334 (1882) available at
            The Making of Modern Law: Primary Sources. 1882
            [Ordinances of the] City of Little Rock, [§ 344. That it shall be unlawful for any person to
            engage in, exercise or pursue any of the following avocations or business without first having
            obtained and paid for a license therefor from the proper city authorities the amount of which
            licenses are hereby fixed as follows, to wit: ... ]§ 27. Shooting galleries, or pistol galleries, $25
            per annum, in advance.

            CALIFORNIA

            Ordinances and Joint Resolutions of the City of San Francisco, Together with a List of the
            Officers of the City and County, and Rules and Orders of the Common Council Page 220, Image
            256 (1854) available at The Making of Modern Law: Primary Sources. 1854
            Ordinances of the [City of San Francisco], § 13. Every person, house, or firm engaged in keeping
            a pistol or rifle shooting gallery, shall pay for a license to carry on the same, the sum of ten
            dollars per quarter, in addition to the amount of the powder license.

            General orders of the Board of Supervisors providing regulations for the government of the City
            and County of San Francisco. 1869
            [Discharge of Cannon: Permit to be given by Mayor, and filed in office of Chief of Police.
            Discharge of Fire Arms prohibited within certain limits.]Sec. 22. No person shall discharge any
            cannon within that portion of this city and county lying between Larkin and Ninth Streets and the
            outer line of the streets forming the water-front, except by special permission, in writing, from
            the Mayor, which permit shall designate the time and particular locality of the firing, and the
            number of discharges which are authorized. A copy of such permit shall be filed by the person
            obtaining the same, in the office of the Chief of Police, at least two hours before the time of such
            firing, and the person or persons engaged in the discharge of such cannon, shall, on the demand
            of any citizen or peace officer, exhibit the permit by which such firing is authorized, and no
            person shall discharge any fire-arm of any other description in that portion of the city and county
            bounded by Devisadero, Ridley, Market, and Ninth streets, and the outer line of the streets
            forming the water-front, or within three hundred yards of any public highway, or upon any
            ground set apart as a cemetery, or public square, or park, or within three hundred yards of any
            dwelling-house. But this section shall not be construed so as to prohibit any person from
(68 of 300), Page 68 of 300 Case: 24-565, 04/17/2(ER.DI           12y: 10.7, Page 68 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 237 of 347


            shooting destructive animals within or upon his own inclosure. Any person who shall violate any
            of the provisions of this section shall be deemed guilty of a misdemeanor, and upon conviction
            thereof, shall be punished by a fine of not less than one hundred dollars, or by imprisonment in
            the county jail out more than thirty days.

            1883 Cal. Stat. 156, § 153.
            The Municipal Council shall provide by ordinance, for the payment into a "Fireman's Charitable
            Fund" of such city, or city and county, of all moneys received for licenses for the storage,
            manufacture, or sale of gunpowder, blasting powder, gun cotton, fireworks, nitro-glycerine,
            dualine, or any explosive oils or compounds, or as a municipal tax upon the same, also all fines
            collected in the police court for violations of fire ordinances.

            Nathan New nark, The Political Code of the State of California. As Enacted in 1872, and
            Amended in 1889. With Notes and References to the Decisions of the Supreme Court Page 963
            (1889) available at The Making of Modern Law: Primary Sources. 1889
            [Political Code of the State of California,] Charitable Fund, §153. The Municipal Council shall
            provide, by ordinance, for the payment into a "Fireman's Charitable Fund" of such city, or city
            and county, of all moneys received for licenses for the storage, manufacture, or sale of
            gunpowder, blasting powder, gun cotton, fireworks, nitro-glycerine, dualine, or any explosive
            oils or compounds, or as a municipal tax upon the same, also, all fines collected in the Police
            Court for violations of fire ordinances. Said fund shall be under the direction and control of and
            subject to such regulations as may be prescribed by the Board of Fire Commissioners.

            Fred L. Button, ed., General Municipal Ordinances of the City of Oakland, California (Oakland,
            CA, Enquirer, 1895), p. 218, Sec. l, An Ordinance to Prohibit the Carrying of Concealed
            Weapons, No. 1141. 1890
            Section 1 . It shall be unlawful for any person in the City of Oakland, not being a public officer
            or a traveler actually engaged in making a journey, to wear or carry concealed about his person
            without a permit, as hereinafter provided, any pistol, slung-shot, brass or iron knuckles, sand
            club, dirk or bowie krlife, or iron bar or other dangerous or deadly weapon, or any sling or other
            contrivance by which shot or other missiles are or may be hurled or projected. A written permit
            may be granted by the Mayor for a period of not to exceed one year to any peaceable person
            whose profession or occupation may require him to be out at late hours of the night to carry a
            concealed deadly weapon upon his person.

            Charter and Ordinances of the City of Stockton (Stockton, CA: Stockton Mail Printers and
            Bookbinders, 1908), p. 240, Ordinance No. 53. 1891
            Be it ordained by the City Council of the City of Stockton as follows:
            One-Concealed Weapons, Burglars' Tools.
            Section 1. It shall be unlawful and a misdemeanor: 1. For any person not being a peace officer or
            actually prosecuting a journey to or from the town, city or county of his residence, to wear or
            carry concealed about his person any pistol, dirk, bowie-knife, slungshot, sand-club, metallic
            krluckles or any other deadly or dangerous weapon, except he first have a written permit to so do
            from the Mayor of the City of Stockton.
(69 of 300), Page 69 of 300 Case: 24-565, 04/17/2(ER.DI            13y: 10.7, Page 69 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 238 of 347


            L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28 (1896)
            available at The Making of Modem Law: Primary Sources. 1896
            Ordinances of the City of Fresno, § 8. Any person excepting peace officers and travelers, who
            shall carry concealed upon his person any pistol or firearm, slungshot, dirk or bowie-knife, or
            other deadly weapon, without a written permission (revocable at any time) from the president of
            the board of trustees, is guilty of a misdemeanor.

            1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying, possession, sale or
            other disposition of firearms capable of being concealed upon the person, prohibiting the
            possession, carrying, manufacturing and sale of certain other dangerous weapons and the giving,
            transferring and disposition thereof to other persons within this state, providing for the
            registering of the sales of firearms, prohibiting the carrying or possession of concealed weapons
            in municipal corporations, providing for the destruction of certain dangerous weapons as
            nuisances and making it a felony to use or attempt to use certain dangerous weapons against
            another, §§ 3-4.
            SEC. 3. Every person who carries in any city, city and county, town or municipal corporation of
            this state any pistol, revolver, or other firearm concealed upon his person, without having a
            license to carry such firearm as hereinafter provided in section six of this act, shall be guilty of a
            misdemeanor, and if he has been convicted previously of any felony, or of any crime made
            punishable by this act, he is guilty of a felony.
            SEC 4. The unlawful possessing or carrying of any of the instruments, weapons, or firearms
            enumerated in section one to section three inclusive of this act, by any person other than those
            authorized and empowered to carry or possess the same as hereinafter provided, is a nuisance,
            and such instruments, weapons or firearms are hereby declared to be nuisances, and when any of
            said articles shall be taken from the possession of any person the same shall be surrendered to the
            magistrate before whom said person shall be taken, except that in any city, city and county, town
            or other municipal corporation the same shall be surrendered to the head of the police force, or
            police department thereof. The officers to whom the same may be so surrendered, except upon
            certificate of a judge of a court of record, or of the district attorney of any county that the
            preservation thereof is necessary or proper to the ends of justice, shall proceed at such time or
            times as he deemds proper, and at least once in each year to destroy or cause to be destroyed
            such instruments, weapons, or other firearms in such manner and to such extent that the same
            shall be and become wholly and entirely ineffective and useless for the purpose for which it was
            manufactured.
            SEC 6. It shall be lawful for the board of police commissioners, chief of police, city marshal,
            town marshal, or other head of the police department of any city, city and county, town, or other
            municipal corporation of this state, upon proof before said board, chief, marshal or head, that the
            person applying therefor is of good moral character, and that good cause exists for the issuance
            thereof, to issue to such person a license to carry concealed a pistol, revolver or other fire-arm,
            provided, however, that the application to carry concealed such firearm shall be filed in writing
            and shall state the name and residence of the applicant, the nature of applicant's occupation, the
            business address of applicant, the nature of the weapon sought to be carried and the reason for
            the filing of the application to carry the same.

            1923 Cal. Stat. 696, An Act to Control and Regulate the Possession, Sale and Use of Pistols,
            Revolvers, and Other Firearms Capable of Being Concealed Upon the Person, To Prohibit the
(70 of 300), Page 70 of 300 Case: 24-565, 04/17/2(ER.DI           14ry: 10.7, Page 70 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 239 of 347


            Manufacture, Sale, Possession or Carrying of Certain Other Dangerous Weapons Within this
            State, To Provide for Registering All Sales of Pistols, Revolvers or Other Firearms Capable of
            Being Concealed Upon the Person, To Prohibit the Carrying of Concealed Firearms Except by
            Lawfully Authorized Persons, To Provide for the Confiscation and Destruction of Such Weapons
            in Certain Cases, To Prohibit the Ownership, Use or Possession of Any of Such Weapons by
            Certain Classes of Persons, To Prescribe Penalties for Violations of This Act and Increased
            Penalties for Repeated Violations Hereof, To Authorize, In Proper Cases, The Granting of
            Licenses or Permits to Carry Firearms Concealed Upon the Person, To Provide for Licensing
            Retail Dealers in Such Firearms and Regulating Sales Thereunder, And To Repeal Chapter One
            Hundred Forty-Five of California Statutes of 1917, Relating to the Same Subject, ch. 339, § 3, 8.
            Sec. 2. On and after the date upon which this act takes effect, no unnaturalized foreign born
            person and no person who has been convicted of a felony against the person or property of
            another or against the government of the United States or of the State of California or of any
            political subdivision thereof shall own or have in his possession or under his custody or control
            any pistol, revolver or other firearm capable of being concealed upon the person. The terms
            "pistol," "revolver," and "firearms capable of being concealed upon the person" as used in this
            act shall be construed to apply to and include all firearms having a barrel less than twelve inches
            in length. Any person who shall violate the provisions of this section shall be guilty of a felony
            and upon conviction thereof shall be punishable by imprisonment in a state prison for not less
            than one year nor for more than five years.
            Sec. 3. If any person shall commit or attempt to commit any felony within this state while armed
            with any of the weapons mentioned in section one hereof or while armed with any pistol,
            revolver or other firearm capable of being concealed upon the person, without having a license or
            permit to carry such firearm as hereinafter provided, upon conviction of such felony, he shall in
            addition to the punishment prescribed for the crime of which he has been convicted, be
            punishable by imprisonment om a state prison for not less than five nor more than ten years...
            Sec. 8. It shall be lawful for the sheriff of a county, and the board of police commissioners, chief
            of police, city marshal, town marshal, or other head of the police department of any city, city and
            county, town, or other municipal corporation of this state, upon proof before said board, chief,
            marshal or other police head, that the person applying therefor is of good moral character, and
            that good cause exists for the issuance thereof, to issue such person a license to carry concealed a
            pistol, revolver or other firearm for a period of one year from the date of such license...

            1923 Cal. Stat. 698-99, An Act to Control and Regulate the Possession, Sale and Use of Pistols,
            Revolvers, and Other Firearms Capable of Being Concealed Upon the Person, To Prohibit the
            Manufacture, Sale, Possession or Carrying of Certain Other Dangerous Weapons Within this
            State, To Provide for Registering All Sales of Pistols, Revolvers or Other Firearms Capable of
            Being Concealed Upon the Person, To Prohibit the Carrying of Concealed Firearms Except by
            Lawfully Authorized Persons, To Provide for the Confiscation and Destruction of Such Weapons
            in Certain Cases, To Prohibit the Ownership, Use or Possession of Any of Such Weapons by
            Certain Classes of Persons, To Prescribe Penalties for Violations of This Act and Increased
            Penalties for Repeated Violations Hereof, To Authorize, In Proper Cases, The Granting of
            Licenses or Permits to Carry Firearms Concealed Upon the Person, To Provide for Licensing
            Retail Dealers in Such Firearms and Regulating Sales Thereunder, And To Repeal Chapter One
            Hundred Forty-Five of California Statutes of 1917, ch. 339, § 8.
(71 of 300), Page 71 of 300 Case: 24-565, 04/17/2(ER.DI            5'y: 10.7, Page 71 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 240 of 347


            Sec. 8. It shall be lawful for the sheriff of a county, and the board of police commissioners, chief
            of police, city marshal, town marshal, or other head of the police department of any city, city and
            county, town, or other municipal corporation of this state, upon proof before said board, chief,
            marshal or other police head, that the person applying therefor is of good moral character, and
            that good cause exists for the issuance thereof, to issue such person a license to carry concealed a
            pistol, revolver or other firearm for a period of one year from the date of such license...

            1931 Cal. Stat. 2317, An Act to Control and Regulate the Possesion, Sale and Use of Pistols,
            Revolvers and Other Firearms Capable of Being Concealed Upon the Person, ch. 1098, §9.
            Every person in the business of selling, leasing, or otherwise transferring a pistol, revolver or
            other firearm, of a size capable of being concealed upon the person, whether such seller, lessor or
            transferor is a retail dealer, pawnbroker, or otherwise, except as hereinafter provided, shall keep
            a register in which shall be entered the time of sale, the date of sale, the name of the salesman
            making the sale, the place where sold, the make, model, manufacturer's number, caliber, or other
            marks of identification on such pistol, revolver or other firearm. Such register shall be prepared
            by and obtained from the state printer and shall be furnished by the state printer to such dealers
            on application at a cost of three dollars per one hundred leaves in triplicate ... [t]he purchaser of
            any firearm capable of being concealed upon the person shall sign, and the dealer shall require
            him to sign his name and affix his address to said register in triplicate, and the salesman shall
            affix his signature in triplicate as a witness to the signature of the purchaser... [t]his section
            shall not apply to wholesale dealers in their business intercourse with retail dealers .

            COLOLRADO

            Thomas M. Patterson, The Charter and Ordinances of the City of Denver, as Adopted Since the
            Incorporation of the City and Its Organization, November, 1861, to the First Day of February,
            A.D., 1875, Revised and Amended, Together with an Act of the Legislature of the Territory of
            Colorado, in Relation to Municipal Corporations, Page 78, Image 78 (1875) available at The
            Making of Modem Law: Primary Sources. 1875
            [City of Denver,] Charter and Ordinances: Offenses Affecting Public Safety, § 1. If any person
            shall, within this city, fire or discharge any cannon, gun, fowling piece, pistol or fire arms of any
            description, or fire, explode or set off any squib, cracker, or other thing containing powder or
            other combustible or explosive material, without permission from the Mayor (which permission
            shall limit the time of such firing, and shall be subject to be revoked by the Mayor or City
            Council at any time after the same has been granted), every such person shall, on conviction, be
            fined in a sum not less than one dollar and not exceeding one hundred dollars: Provided, that no
            permission shall be granted to any person or persons to hold or conduct any shooting match or
            competitive trial of skill with fire arms within the limits of this city.

            1911 Colo. Sess. Laws 408
            Section 3. Every individual, firm or corporation engaged, within this commonwealth, in the-
            retail sale, rental or exchange of firearms, pistols or revolvers, shall keep a record of each pistol
            or revolver sold, rented or exchanged at retail. Said record shall be made at the time of the
            transaction in a book kept for that purpose and shall include the name of the person to whom the
            pistol or revolver is sold or rented, or with whom exchanged, his age, occupation, residence,
            and., if residing in a city, the street and number therein where he resides, the make, calibre and
(72 of 300), Page 72 of 300 Case: 24-565, 04/17/2(ER.DI             8y: 10.7, Page 72 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 241 of 347


            finish of said pistol, or revolver, together with its number and serial letter, if any, the date of the
            sale, rental or exchange of said revolver, and the name of the employee or other person making
            such sale, rental or exchange. Said record- book shall be open at all times to the inspection of any
            duly authorized police officer.
            Section 4. Every individual, firm or corporation fail- ng to keep the record provided for in the
            first section of this act, or who shall refuse to exhibit such record when requested by a police
            officer, and any purchaser, lessee or exchanger of a pistol or revolver, who shall, in connection
            with the making of such record, give false information, shall be guilty of a Misdemeanor, and
            shall, upon conviction, be punished by a fine of not less than twenty-five, nor more than one
            hundred dollars, or by imprisonment in the county jail for a term not exceeding one year, or by
            both such fine and imprisonment.

            CONNECTICUT

            The Public Records Of The Colony Of Connecticut, Prior To The Union With New Haven
            Colony, May, 1665 Page 79, Image 91 (1850) available at The Making of Modern Law: Primary
            Sources. 1665
            It is ordered, that no man within this Jurisdiction shall directly or indirectly amend, repair, or
            cause to be amended or repaired, any gun small or great belonging to any Indian, nor shall
            endure the same, nor shall sell or give to any Indian, directly or indirectly, any such gun or
            gunpowder, or shot, or lead, or mold, or military weapons, or armor, nor shall make any arrow
            heads, upon pain of a ten pound fine for every offense at least, nor sell nor barter any guns,
            powder, bullets or lead, whereby this order might be evaded, to any person inhabiting out of this
            Jurisdiction, without license of this or the particular court, or some two magistrates, upon pain of
            ten pound for every gun, five pound for every pound of powder, 40s for every pound of bullets or
            lead, and so proportionately for any greater or lesser quantity.

            The Public Records Of The Colony Of Connecticut. Hartford, 1890 Page 190-192, Image 194-
            196, available at The Making of Modem Law: Primary Sources. 1775
            An Act for Encouraging the Manufacture of Salt Petre and Gun Powder...Be it enacted, That no
            salt petre, nitre or gun-powder made and manufactured, or that shall be made and manufactured
            in this Colony, shall be exported out of the same by land or water without the license of the
            General Assembly or his Honor the Governor and Committee of Safety, under the penalty of
            twenty pounds for every hundred weight of such salt petre, retire or gun-powder, and
            proportionately for a greater or lesser quantity so without license exported, to be recovered by
            bill, plaint, or information, in any court of record in this Colony by law proper to take cognizance
            thereof... Be it further enacted by the authority aforesaid, That no powder-mill shall be erected
            in this Colony for the manufacture of gun-powder without the license of the general assembly, or
            in their recess the Governor and Council, first had and obtained under the penalty of thirty
            pounds for every such offence, to be recovered as the other forgoing personalities in this act are
            above directed to be recovered.

            Charter and By-Laws of the City of New Haven, November, 1848 Page 48-49, Image 48-49
            (1848) available at The Making of Modern Law: Primary Sources. 1827
            A By-Law Relative to the Storage and Sale of Gunpowder. Be it ordained by the Mayor,
            Aldermen, and Common Council of the city of New Haven, in Court of Common Council
(73 of 300), Page 73 of 300 Case: 24-565, 04/17/2(ER.Dl             ffI'y: 10.7, Page 73 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 242 of 347


            assembled, 1st. That hereafter no person or persons shall, within the limits hereafter described,
            either directly or indirectly, sell and deliver any gunpowder, or have, store, or keep any quantity
            of gunpowder greater than one pound weight, without having obtained a license for that purpose
            from said Court of Common Council, in the manner herein prescribed. Provided, that nothing in
            this by-law contained shall be construed to prevent any person or persons from having or
            keeping in his or their possession, a greater quantity of powder than one pound weight, during
            any military occasion or public celebration, while acting under any military commander, and in
            obedience to his orders, or under permission and authority therefor, first had and obtained of the
            Mayor or some one of the Aldermen of said city. Provided also, That any person or persons
            purchasing gunpowder, shall be allowed between the rising and setting of the sun, sufficient time
            to transport the same from any place without said limits, through said limits to any place without
            the same. 2d. The Court of Common Council aforesaid, shall have power, on application to them
            made, to grant and give any meet person or persons a license to sell gunpowder, and for that
            purpose to have, store, and keep gunpowder in quantity not exceeding at any one time seven
            pounds weight, and that well secured in a tin canister or canisters, and at such place or places
            within said limits and for such term of time, not exceeding one year, as said Court shall deem fit,
            which license shall be signed by the Clerk of said Court, and shall be in the form following, viz
              - Whereas the Mayor, Aldermen, and Common Council of the City of New Haven, in Court of
            Common Council convened, have approved of              , as a suitable and proper person to keep,
            store, and sell gunpowder within the City of New Haven: We do therefore give license to said
                  , to sell gunpowder at (describe the place) and for the purpose aforesaid, to have, keep, and
            store in said building any quantity of gunpowder not exceeding at any one time seven pounds
            weight, until the       day of      . Dated, Signed per order, A.B., Clerk. For which license the
            person receiving the same shall pay the City Clerk twenty-five cents, and the same shall be by
            said Clerk recorded at full length. And before any license shall be given as aforesaid, the person
            or persons receiving the same shall pay to the Clerk aforementioned, for the use of said city, a
            sum after the rate of five dollars per annum. 3d. Before any shall proceed to sell or to store or
            keep gun-powder by virtue of any such license so given as aforesaid, such person shall put in a
            conspicuous place upon the front part of the building in which such powder is to be stored or
            sold, a sign, with the following words plainly and legibly inscribed thereon, viz., "Licensed to
            keep Powder," and shall continue the same during the time he shall keep, store, or sell
            gunpowder in said building. 4th section repealed. 5th. That no person or persons shall put or
            receive or have any quantity of gunpowder on board of any steamboat, for transportation therein
            in any of the waters within the limits of said city. 6th. If any person shall sell, keep, or store any
            gunpowder within the limits aforesaid, contrary to the true intent and spirit of this by-law, or
            without complying with all the pre-requisites enjoined thereby, or if any person or persons shall
            put or receive, or have on board of any steamboat for transportation on any of the waters within
            the limits of said city, any quantity of gunpowder, such person or persons shall forfeit and pay
            the sum of thirty-four dollars, one half to him who shall give information, and the other half to
            the use of the city.

            The By-Laws of the City of New London, with the Statute Laws of the State of Connecticut
            Relative to Said City Page 47-48, Image 47-48 (1855) available at The Making of Modem Law:
            Primary Sources. 1835
            Chapter 26. A ByLaw in relation to the Firing of Guns and Pistols, within the limits of the city of
            New-London, and making parents and guardians, and masters, liable for breaches of by-laws by
(74 of 300), Page 74 of 300 Case: 24-565, 04/17/2(ER.DI            8y: 10.7, Page 74 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 243 of 347


            minors and apprentices. Be it ordained by the mayor and aldermen, and common council and
            freemen of the city of New-London, That no gun or pistol shall be fired at any time within the
            limits of said city, unless on some public day of review, and then by order of the officers of the
            military companies of said city, or by permission of the mayor, or one of the aldermen of said
            city, and whosoever shall fire any gun or pistol, contrary to the form and effect of this by-law,
            shall for every such offence, forfeit and pay the sum of two dollars, to be recovered by due
            process in any court in said city, proper to try the same. § 2. And whereas the firing of guns and
            pistols, crackers, or other fire works is most frequently done by apprentices and minors under
            age, who are unable to pay the forfeiture incurred by the by-law of this city - be it also ordained
            that where any minor or apprentice shall be guilty of any breach of the by-laws relating to the
            firing of guns, pistols, crackers, or other fire-works, the parent, guardian, or master of such minor
            or apprentice, shall be liable to pay the forfeitures incurred by said by-law, and the same shall be
            recoverable of any parent, guardian or master, by action of debt brought on said by law, before
            any court in said city proper to try the same. And it shall be the duty of the city attorney and
            lawful for any other person to prosecute for said penalty, and one-half of said penalty shall go to
            the informer, or the person prosecuting for the same, and the other half to the use of the city.

            1845 Conn. Acts 10, An Act Prohibiting the Firing of Guns and Other Fire Arms in the City of
            New Haven, chap. 10.
            [E]very person who shall fire any gun or other fire-arm of any kind whatever within the limits of
            the city of New Haven, except for military purposes, without permission first obtained from the
            mayor of said city, shall be punished by fine not exceeding seven dollars, or by imprisonment in
            the county jail not exceeding thirty days.

            Charles L. Upham, The Charter and By-Laws of the City of Meriden. With Extracts from the
            Public and Private Acts of the State of Connecticut, Applicable to the City of Meriden, Together
            with Certain Votes of the Common Council, the Rules and Regulations of the Board of Water
            Commissioners, and of the Police Department, and the Rules of Order of the Common Council
            of the City of Meriden Page 135, Image 140 (1875) available at The Making of Modern Law:
            Primary Sources. 1869
            A by-law concerning the discharge of fire-arms and fire-works [, City of Meriden, Conn.], § 1.
            Be it enacted by the Court of Common Council of the City of Meriden, § 1. That no person shall
            discharge any pistol, gun, cannon, or other fire-arm of any sort or description, within the limits of
            said city, unless on occasion of some public festivity, and then by permission of the mayor or
            one of the aldermen of said city, or unless on occasion of military exercises and parade, and then
            by order of some military officer, and whoever shall discharge any pistol, gun, cannon, or other
            fire-arm of any sort, contrary to the form and effect of this by-law, shall, for every such offense,
            forfeit and pay, for the use of the treasury of said city, a fine of five dollars.

            Charter and Ordinances of the City of Bridgeport: as Amended and Adopted Page 194 (1874)
            available at The Making of Modem Law: Primary Sources. 1874
            An Ordinance Relative to Gunpowder and Explosive Substances. Be it ordained by the Common
            Council of the City of Bridgeport, § 1. No person shall have, or keep for sale or for any other
            purpose, within the limits of this city, any quantity of gunpowder or gun-cotton, exceeding one
            pound in weight, no person shall have, keep for sale, use, or other purpose, within the city limits,
            any quantity of nitro-glycerine, or other explosive substances or compounds exceeding six
(75 of 300), Page 75 of 300 Case: 24-565, 04/17/2(ER.DI            ©y: 10.7, Page 75 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 244 of 347


            ounces, without special license thereof from the common council. No person shall transport any
            gunpowder through said city without a permit first had and obtained from the fire marshal, and in
            accordance with such rules and regulations as may be established by said fire marshal. No person
            shall, within said city, place, receive, or have any gunpowder on board of any steamboat used for
            the carrying of passengers, with intent to transport the same therein.

            J. M. Meech, Charter and Revised Ordinances of the City of Norwich With the Amendments
            Thereto, and Statutes of the State Relating to Municipal Corporations, in Force January 1st, 1877
            Page 178, Page 185 (1876) available at The Making of Modern Law: Primary Sources. 1877
            Ordinances of Norwich. § 15. No person or persons shall fire any swivel, musket, fowling-piece,
            pistol, or other gun of any description within said city at a less distance than fifty rods from any
            dwelling house, or public highway, or street without written permission from the Mayor or one
            of the aldermen of said city, and every person so offending shall, for every such offence, forfeit
            and pay for the use of said city the sum of three dollars: Provided always, that nothing herein
            contained shall be construed to extend to the members of any military company when under the
            command of any military officer, not to prevent the firing of any gun or guns for the destruction
            of any noxious birds or animals by any person or persons upon his or their premises.

            Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven, Together with
            Legislative Acts Affecting Said City Page 164, Image 167 (1890) available at The Making of
            Modem Law: Primary Sources. 1890
            Good Order and Decency § 192. Every person who shall carry in said City, any steel or brass
            knuckles, pistol, or any slung shot, stiletto or weapon of similar character, or shall carry any
            weapon concealed on his person without permission of the Mayor or Superintendent of Police in
            writing, shall, on conviction, pay a penalty of not less than five, nor more than fifty dollars for
            every such offense.

            1901 Conn. Pub. Acts 602, § 20.
            The warden and burgesses, when assembled according to law, shall have power to make, alter,
            repeal, and enforce such bylaws, orders, ordinances, and enactments as they deem suitable and
            proper, not inconsistent with this resolution or contrary to the laws of this state or of the United
            States, for the following purposes: ... to license, regulate, or prohibit the manufacture, keeping
            for sale, or use of fireworks, torpedoes, firecrackers, gunpowder, petrolemn, dynamite, or other
            explosive or inflammable substance, and the conveyance thereof through any portion of the
            borough ....

            1923 Conn. Acts 3707, An Act Concerning the Possession Sale and Use of Pistols and
            Revolvers, ch. 252, §2.
            No person shall advertise, sell, deliver, offer or expose for sale or delivery or have in his
            possession with intent to sell or deliver any pistol or revolver at retail without having a permit
            therefor issued as hereinafter provided.

            1930 Conn. Stat. 903, Dealing in Explosives, License., ch. 147, § 2644. 1909
            No person shall manufacture, store, sell, or deal in gunpowder or any material or compound ...
            unless he shall first obtain from the commissioner of state police or the fire marshal of the town
(76 of 300), Page 76 of 300 Case: 24-565, 04/17/2(ER.DI<33Q)y: 10.7, Page 76 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 245 of 347


            where such business is conducted a written license therefor ... which license shall specify the
            building where such business is to be carried on or such material deposited or used.

            1923 Conn. Pub. Acts 3707, An Act Concerning the Possession, Sale and Use of Pistols and
            Revolvers, ch. 252, § 2, 3.
            No person shall advertise, sell, deliver, offer or expose for sale or delivery or have in his
            possession with intent to sell or deliver any pistol or revolver at retail without having a permit
            therefor issued as hereinafter provided.
            The chief of police or, where there shall be no chief of police, the warden of the borough of the
            first selectman of the town, as the case may be, may, upon the application of any person, issue a
            permit in such form as may be prescribed by the superintendent of state police for the sale at
            retail of pistols and revolvers within the jurisdiction of the authority issuing such permit. Upon
            the application of any person having a bona fide residence or place of business within the
            jurisdiction of any such authority or, upon the application of any bona fide resident of the United
            States having a permit or license to carry any firearm issued by the authority of any state or sub-
            division of the United States, such chief of police, warden or selectmen may issue a permit to
            such person to carry a pistol or revolver within the jurisdiction of the authority issuing the same,
            provided such authority shall find that such applicant intends to make no use of the pistol or
            revolver thereunder other than a proper use and that such person is a suitable person to receive
            such permit. The superintendent of state police may, upon application, issue to any holder of any
            permit to carry any pistol or revolver hereinbefore provided for, a permit to carry a pistol or a
            revolver within the state ....
            Sec. 5. No sale of any pistol or revolver shall be made except in the room, store or place
            described in the permit for the sale of pistols and revolvers, and such permit or a copy thereof
            certified by the authority issuing the same shall be exposed to view within the room, store or
            place where pistols or revolvers shall be sold or offered or exposed for sale, and no sale or
            delivery of any pistol or revolver shall be made unless the purchaser or person to whom the same
            is to be delivered shall be personally known to the vendor of such pistol or revolver or the person
            making delivery thereof or unless the person making such purchase or to whom delivery thereof
            is to lie made shall provide evidence of his identity. The vendor of any pistol or revolver shall
            keep a record of every pistol or revolver sold in a book kept for that purpose, which record shall
            be in such form as shall be prescribed by the superintendent, of state police and shall include the
            date of the sale, the caliber, make, model and manufacturer's number of such pistol or revolver
            and the name, address and occupation of the purchaser thereof, which record shall be signed by
            the purchaser and by the person making the sale, each in the presence of the other, and shall be
            preserved by the vendor of such pistol or revolver for a period of at least six years.
            Sec. 7. No person, firm or corporation shall sell at retail, deliver or otherwise transfer any pistol
            or revolver to any alien, nor shall any person deliver any pistol or revolver at retail except upon
            written application therefor and no sale or delivery of any pistol or revolver shall be mode upon
            the date of the filing or receipt of any written application for the purchase thereof, and when any
            pistol or revolver shall b delivered in connection with the sale or purchase, such pistol or
            revolver shall be enclosed in a package, the paper or wrapping of which shall be securely
            fastened, and no pistol or revolver when delivered on tiny sale or purchase shall be loaded or
            contain therein any gunpowder or other explosive or any bullet, ball or shell. Upon the delivery
            of any pistol or revolver the purchaser shall sign in triplicate a receipt for such pistol or revolver
            which shall contain the name, address and occupation of such purchaser, the date of sale, caliber,
(77 of 300), Page 77 of 300 Case: 24-565, 04/17/2(ER.DI            11ry: 10.7, Page 77 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 246 of 347


            make, model and manufacturer's number and a general description thereof. One of such triplicate
            receipts shall, within twenty-four hours thereafter, be forwarded by the vendor of such pistol or
            revolver to the superintendent of state police and one to the authority issuing the permit for the
            sale of such pistol or revolver and the other shall be retained by such vendor for at least six years.
            Sec. 8. No person shall make any false statement or give any false information connected with
            any purchase, sale or delivery of any pistol or revolver, and no person shall sell, barter, hire,
            lend, give or deliver to any minor under the age of eighteen years any pistol or revolver.


            DELAWARE

            1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, §6.
            And be it further enacted by the authority aforesaid, That if any Negro or Mulatto slave shall
            presume to carry any guns, swords, pistols, fowling pieces, clubs, or other arms and weapons
            whatsoever, without his master's special license for the same, and be convicted thereof before a
            magistrate, he shall be whipped with twenty-one lashes, upon his bare back.

            1832 Del. Laws 208, A Supplement to an Act to Prevent the Use of Firearms by Free Negroes
            and Free Mulattoes, and for Other Purposes, chap. 176, § 1.
            ... it shall not be lawful for free negroes and free mulattoes to have, own, keep or possess any
            gun, pistol, sword or any warlike instruments whatsoever: Provided however, that if upon
            application of any such free negro or free mulatto to one of the justices of the peace of the county
            in which such free negro or free mulatto resides, it shall satisfactorily appear upon the written
            certificate of five or more respectable and judicious citizens of the neighborhood, that such free
            negro or free mulatto is a person of fair character, and that the circumstances of his case justify
            his keep and using a gun, then and in every such case it shall and may be lawful for such justice
            to issue a license or permit under his hand and authorizing such free negro or free mulatto to
            have use and keep in his posession a gun or fowling piece.

            1841 Del. Laws 430, An Act Concerning Fees, ch. 368, § 1.
            Justices of the Peace shall receive ... For licenses to negroes to keep a gun, twenty five cents.

            9 Del. Laws 552 (1843), A Further Supplement To An Act Entitled "An Act To Prevent The Use
            Of Fire-arms By Free Negroes And Free Mulattoes And For Other Purposes, § l. 1843
            That the proviso in the first section of the act to which this is a further supplement, and all and
            every the provisions of the said act, or any other supplemental act thereto, which authorizes the
            issuing, by a justice of the peace, of a license or permit to a free negro or free mulatto to have,
            use and keep in his possession, a gun or fowling piece, be and the same are hereby repealed,
            made null and void.

            1909 Del. Laws 577, House Joint Resolution Providing for Increase in Non-Resident Gunners
            License Fee, ch. 271 .
            Whereas, there are numerous gunners from other States who make it a practice to gun in this
            State, and under existing laws a license fee of Five Dollars is collected from them. And Whereas,
            our neighboring States charge non-resident gunners a license fee of more than Five Dollars.
            Therefore be it resolved by the Senate and House of Representatives of the State of Delaware in
(78 of 300), Page 78 of 300 Case: 24-565, 04/17/2(ER.DI<33@y: 10.7, Page 78 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 247 of 347


            General Assembly met: That from and after the passage of this Resolution up to and including
            April 30th, 191 l, all non-resident gunners shall be required to pay a license fee of Ten Dollars
            per annum, said license fee to be collected in the same manner and by the same agency as non-
            resident gunners' licenses are now collected.

            Vol. 26 Del. Laws 28, 28- 29 (1911)
            Section 1. That from and after the first day of June, in the year of our Lord, one thousand nine
            hundred and eleven, it shall be unlawful for any person or persons, firm, company or
            corporation, to sell, or expose to sale, any pistol or revolver, or revolver or pistol cartridges,
            stiletto, steel or brass knuckles, or other deadly weapons made especially for the defense of one's
            person, without first having obtained a license therefor, which license shall be known as "Special
            License to Sell Deadly Weapons," provided, however, that this provision shall not relate to toy
            pistols, pocket knives, or knives used in the domestic household, or surgical instruments or tools
            of any kind.
            Section 2. Any person or persons, firm, company or corporation, desiring to engage in the
            business of selling revolvers, pistols, or revolver or pistol cartridges, stilettos, steel or brass
            knuckles, or other weapons made for the defense of one's person, shall, after the above
            mentioned date, apply to the Clerk of the Peace of the County in which it is desired to conduct
            such business and shall obtain a license therefor, for which he, they, or it shall pay the sum of
            twenty-five dollars, which said license shall entitle the holder thereof to conduct said business
            for the term of one year from its date.
            Section 3. It shall be unlawful for any person or per- sons, or a member of any firm, or the agents
            or officers of any corporation to sell to a minor, or any intoxicated person, any revolver, pistol,
            or revolver or pistol cartridges, stiletto, steel or brass knuckles, or other deadly weapons, made
            especially for the defense of one's person.
            Section 4. It shall be the duty of any person or persons, firm, company or corporation, desiring to
            engage in the business aforesaid, to keep and maintain in his place of business at all times, a
            book which shall be furnished him by the Clerk of the Peace of the County wherein he does
            business in which said book he shall enter the date of the sale, the name and address of the
            person purchasing any such deadly weapon, the number and kind of deadly weapon so pur-
            chased, the color of the person so purchasing the same, and the apparent age of the purchaser,
            and no sale shall be made weapon, etc. until the purchaser has been positively identified. This
            book shall at all times be open for inspection by any Judge, Justice of the Peace, Police Officer,
            Constable, or other Peace Officer of this State.

            DISTRICT OF COLUMBIA

            Washington D.C. 27 Stat. 116 (1892)
            CHAP. 159.-An Act to punish the carrying or selling of deadly or dangerous weapons within the
            District of Columbia, and for other purposes.
            Be it enacted by the Senate and House of Representatives of the United States of America in
            Congress assembled, That it shall not be lawful for any person or persons within the District of
            Columbia, to have concealed about their person any deadly or dangerous weapons, such as
            daggers, air-guns, pistols, bowie-krlives, dirk knives or dirks, blackjacks, razors, razor blades,
            sword canes, slung shot, brass or other metal knuckles.
(79 of 300), Page 79 of 300 Case: 24-565, 04/17/2(ER.DI           13y: 10.7, Page 79 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 248 of 347


            SEC. 2. That it shall not be lawful for any person or persons within the District of Columbia to
            carry openly any such weapons as hereinbefore described with intent to unlawfully use the same,
            and any person or persons violating either of these sections shall be deemed guilty of a
            misdemeanor, and upon conviction thereof shall, for the first offense, forfeit and pay a fine or
            penalty of not less than fifty dollars nor more than five hundred dollars, of which one half shall
            be paid to any one giving information leading to such conviction, or be imprisoned in the jail of
            the District of Columbia not exceeding six months, or both such fine and imprisonment, in the
            discretion of the court: Provided, That the officers, non-commissioned officers, and privates of
            the United States Army, Navy, or Marine Corps, or of any regularly organized Militia Company,
            police officers, officers guarding prisoners, officials of the United States or the District of
            Columbia engaged in the execution of the laws for the protection of persons or property, when
            any of such persons are on duty, shall not be liable for carrying necessary arms for use in
            performance of their duty: Provided, further, that nothing contained in the first or second sections
            of this act shall be so construed as to prevent any person from keeping or carrying about his
            place of business, dwelling house, or premises any such dangerous or deadly weapons, or from
            carrying the same from place of purchase to his dwelling house or place of business or from his
            dwelling house or place of business to any place where repairing is done, to have the same
            repaired, and back again: Provided further, That nothing contained in the first or-second sections
            of this act shall be so construed as to apply. to any person who shall have been granted a written
            permit to carry such weapon or weapons by any judge of the police court of the District of
            Columbia, and authority is hereby given to any such judge to grant such permit for a period of
            not more than one month at any one time, upon satisfactory proof to him of the necessity for the
            granting thereof, and further, upon the filing with such judge of a bond, with sureties to be
            approved by said judge, by the applicant for such permit, conditioned to the United States in such
            penal sum as said judge shall require for the keeping of the peace, save in the case of necessary
            self defense by such applicant during the continuance of said permit, which bond shall be put in
            suit by the United States for its benefit upon any breach of such condition.
            SEC. 3. That for the second violation of the provisions of either of the preceding sections the
            person or persons offending shall be proceeded against by indictment in the supreme court of the
            District of Columbia, and upon conviction thereof shall be imprisoned in the penitentiary for not
            more than three years.
            SEC. 4. That all such weapons as hereinbefore described which may be taken from any person
            offending against any of the provisions shall, upon conviction of such person, be disposed of as
            may be ordered by the judge trying the case, and the record shall show any and all such orders
            relating thereto as a part of the judgment in the case.
            SEC. 5. That any person or persons who shall, within the District of Columbia, sell, barter, hire,
            lend or give to any minor under the age of twenty-one years any such weapon as hereinbefore
            described shall be deemed guilty of a misdemeanor, and shall, upon conviction thereof, pay a
            fine or penalty of not less than twenty dollars nor more than one hundred dollars, or be
            imprisoned in the jail of the District of Columbia not more than three months. No person shall
            engage in or conduct the business of selling, bartering, hiring, lending, or giving any weapon or
            weapons of the kind hereinbefore named without having previously obtained from the
            Commissioners of the District of Columbia a special license authorizing the conduct of such
            business by such person, and the said Commissioners are hereby authorized to grant such license,
            without fee therefor, upon the filing with them by the applicant therefor of a bond with sureties,
            to be by them approved, conditioned in such penal sum as they shall fix to the United States for
(80 of 300), Page 80 of 300 Case: 24-565, 04/17/2(ER.DI            14ry: 10.7, Page 80 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 249 of 347


            the compliance by said applicant with all the provisions of this section, and upon any breach or
            breaches of said condition said bond shall be put in suit by said United States for its benefit, and
            said Commissioners may revoke said license. Any person engaging in said business without
            having previously obtained said special license shall be guilty of a misdemeanor and upon
            conviction thereof shall be sentenced to pay a fine of not less than one hundred dollars nor more
            than five hundred dollars, of which one half shall be paid to the informer, if any, whose
            information shall lead to the conviction of the person paying said fine. All persons whose
            business it is to sell barter, hire, lend or give any such weapon or weapons shall be and they
            hereby, are, required to keep a written register of the name and residence of every purchaser,
            barterer, hirer, borrower, or donee of any such weapon or weapons, which register shall be
            subject to the inspection of the major and superintendent of Metropolitan Police of the District of
            Columbia, and further to make a weekly report, under oath to said major and superintendent of
            all such sales, barterings, hirings, lendings or gifts. And one half of every fine imposed under this
            section shall be paid to the informer, if any, whose information shall have led to the conviction
            of the person paying said fine. Any police officer failing to arrest any person guilty in his sight or
            presence and knowledge, of any violation of any section of this act shall be fined not less than
            fifty nor more than five hundred dollars.
            SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be, and the same
            hereby are, repealed.

            Washington D.C. 47 Stat. 650, 651-652 (1932)
            CARRYING CONCEALED WEAPONS
            SEC. 4. No person shall within the District of Columbia carry concealed on or about his person,
            except in his dwelling house or place of business or on other land possessed by him, a pistol,
            without a license therefor issued as hereinafter provided, or any deadly or
            dangerous weapon.
            EXCEPTIONS
            SEC. 5. The provisions of the preceding section shall not apply to marshals, sheriffs, prison or
            jail wardens, or their deputies, policemen or other duly appointed law-enforcement officers, or to
            members of the Army, Navy, or Marine Corps of the United States or of the National Guard or
            Organized Reserves when on duty, or to the regularly enrolled members of any organization duly
            authorized to purchase or receive such weapons from the United States, provided such members
            are at or are going to or from their places of assembly or target practice, or to officers or
            employees of the United States duly authorized to carry a concealed pistol, or to any person
            engaged in the business of manufacturing, repairing or dealing in firearms, or the agent or
            representative of any such person having in his possession, using, or carrying a pistol in the usual
            or ordinary course of such business or to any person while carrying a pistol unloaded and in a
            secure wrapper from the place of purchase to his home or place of business or to a place of repair
            or back to his home or place of business or in moving goods from one place of abode or business
            to another.
            ISSUE OF LICENSES TO CARRY
            SEC. 6. The superintendent of police of the District of Columbia may, upon the application of
            any person having a bona fide residence or place of business-within the District of Columbia or
            of any person having a bona fide residence or place of business within the United States and a
            license to carry a pistol concealed upon his person issued by the lawful authorities of any State or
            subdivision of the United States, issue a license to such person to carry a pistol within the
(81 of 300), Page 81 of 300 Case: 24-565, 04/17/2(ER.DI            5'y: 10.7, Page 81 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 250 of 347


            District of Columbia for not more than one year from date of issue, if it appears that the applicant
            has good reason to fear injury to his person or property or has any other proper reason for
            carrying a pistol and that he is a suitable person to be so licensed. The license shall be in
            duplicate, in form to be prescribed by the Commissioners of the District of Columbia and shall
            bear the name, address, description, photograph, and signature of the licensee and the reason
            given for desiring a license. The original thereof shall be delivered to the licensee, and the
            duplicate shall be retained by the superintendent of police of the District of Columbia and
            preserved in his office for six years.
            SELLING TO MINORS AND OTHERS
            SEC. 7. No person shall within the District of Columbia sell any pistol to a person who he has
            reasonable cause to believe is not of sound mind, or is a drug addict, or is a person who has been
            convicted in the District of Columbia or elsewhere of a crime of violence or, except when the
            relation of parent and child or guardian and ward exists, is under the age of eighteen years.

            FLORIDA

            Leslie A. Thompson, A Manual or Digest of the Statute Law of the State of Florida, of a General
            and Public Character, in Force at the End of the Second Session of the General Assembly of the
            State, on the Sixth Day of January, 1847 Page 547, Image 582 (1847) available at The Making of
            Modem Law: Primary Sources. 1847
            For the Prevention of Indians Roaming at Large Throughout the State, § l. From and after the
            passage of this act, if any male Indian of the years of discretion, venture to roam or ramble
            beyond the boundary lines of the reservations, which have been assigned to the tribe or nation to
            which said Indian belongs, it shall and may be lawful for any person or persons to apprehend,
            seize, and take said Indian, and carry him before some Justice of the Peace, who is hereby
            authorized, empowered, and required, to direct (if said Indian have not a written permission from
            the agent to do some specific act) not exceeding thirty-nine stripes, at the discretion of the
            Justice, to be laid on the bare back of said Indian, moreover, to cause the gun of said Indian (if he
            has one) to be taken from him, and deposited with the colonel of the county, or captain of the
            district, in which said Indian may be taken, subj ect to the order of the superintendent of Indian
            Affairs.

            1887 Fla. Laws 164-165, An Act to Establish the Municipality of Jacksonville Provide for its
            Government and Prescribe it's jurisdiction and powers, chap. 3775, § 4.
            The Mayor and City Council shall within the limitations of this act have power by ordinance to
            .. regulate and license the sale of firearms and suppress the carrying of concealed weapons.

            1893 Fla. Laws 71-72, An Act to Regulate the Carrying of Firearms, chap. 4147, §§ 1-4. 1898
            § 1. That in each and every county of this State, it shall be unlawful to carry or own a Winchester
            or other repeating rifle or without first taking out a license from the County Commissioner of the
            respective counties, before such persons shall be at liberty to carry around with him on his
            person and in his manual possession such Winchester rifle or other repeating rifle. § 2. The
            County Commissioners of the respective counties in this State may grant such licenses at any
            regular or special meeting. § 3. The person taking out such license shall give a bond running to
            the Governor of the State in the sum of one hundred dollars, conditioned on the proper and
            legitimate use of the gun with sureties to be approved by the County Commissioners, and at the
(82 of 300), Page 82 of 300 Case: 24-565, 04/17/2(ER.DI            8y: 10.7, Page 82 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 251 of 347


            same time there shall by kept by the County Commissioners granting the same a record of the
            name of the person taking out such license, the name of the maker of the firearm so licensed to
            be carried and the caliber and number of the same. § 4. All persons violating the provisions of
            Section l of this Act shall be guilty of a misdemeanor, and on conviction shall be fined not
            exceeding one hundred dollars or imprisonment in the county jail not exceeding sixty days.

            1895 Fla. Laws 14
            Fourteenth. No merchant, store-keeper or dealer shall keep for sale or sell pistols, Springfield
            rifles, repeating rifles, bowie knives or dirk knives, without first paying a license tax of ten
            dollars, Provided, Said pistols, Springfield rifles, repeating rifles, bowie krlives or dirk knives,
            shall not be sold to minors. Every violation of this paragraph shall be punished by a fine of fifty
            dollars, or by imprisonment in the county jail not more than six months.

            1931 Fla. Laws 2069, § 7.
            The village shall have the following rights and powers ... To license, tax, regulate, or prohibit,
            within the village or any part thereof ... explosives, guns, pistols and other weapons ....

            GEORGIA

            A Digest of the Laws of the State of Georgia. From Its First Establishment as a British Province
            down to the Year 1798, Inclusive, and the Principal Acts of 1799: In Which is Comprehended
            the Declaration of Independence, the State Constitutions of 1777 and 1789, with the Alterations
            and Amendments in 1794. Also the Constitution of 1798 Page 153-154, Image 160-161 (1800)
            available at The Making of Modem Law: Primary Sources. 1768
            Laws of Georgia, An Act to amend and Continue "An Act for the Establishing and Regulating
            Patrols, and for Preventing any Person from Purchasing Provisions or any Other Commodities
            from, or Selling Such to any Slave, Unless Such Slave Shall Produce a Ticket from His or Her
            Owner, Manager or Employer ... Be it enacted, That immediately from and after passing of this
            act, it shall not be lawful for any slave, unless in the presence of some white person, to carry or
            make use of fire arms, or any offensive weapon whatsoever, unless such slave shall have a ticket
            or license in writing from his master, mistress, or overseer, to hunt and kill game, cattle, or
            mischievous birds or beasts of prey, and that such license be renewed every week, or unless there
            be some white person of the age of sixteen years or upwards in the company of such slave when
            he is hunting or shooting, or that such slave be actually carrying his master's arms to or from his
            master's plantation by a special ticket for that purpose, or unless such slave be found in the day-
            time, actually keeping off birds within the plantation to which such slave belongs, loading the
            same gun at night, within the plantation to which such slave belongs, loading the same gun at
            night, within the dwelling house of his master, mistress or white overseer: Provided always, That
            no slave shall have liberty to carry any gun, cutlass, pistol, or other offensive weapon, abroad at
            any time between Saturday evening after sunset and Monday mouing before sun rise,
            notwithstanding a license or ticket for so doing. II. And be it further enacted, That in case any or
            either of the patrols, established or to be established within this province, by virtues of the said
            act, on searching and examining any negro house for offensive weapons, fire arms and
            ammunition, shall find any such, or in case any person shall find any slave using or carrying fire
            arms or other offensive weapons, contrary to the intent and meaning of this act, such patrol, or
            person or persons, may lawfully seize and take away such offensive weapons, fire arms, and
(83 of 300), Page 83 of 300 Case: 24-565, 04/17/2(ER.DI            1TI'y: 10.7, Page 83 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 252 of 347


            ammunition, but before the property thereof shall be vested in the person or persons who shall
            seize the same, such person or persons shall, within three days next after such seizure, go before
            a justice of the peace, and shall make oath of the manner of taking thereof, and if such justice of
            the peace, after such oath made, or upon due examination, shall be satisfied that the said fire
            arms, offensive weapon, or ammunition, shall have been seized according to the directions, and
            agreeable to the true intent and meaning of this act, the said justice shall, by certificate under his
            hand and seal, declare them forfeited, that the property is lawfully vested in the person or persons
            who seized the same.

            1902 Ga. Laws 434-35, § 16.
            Be it further enacted by the authority aforesaid, That the mayor and aldermen of the said city of
            Forsyth shall have full power to license, regulate and control by ordinance all ... gun shops,
            dealers in guns or pistols ....

            Orville Park, Park's Annotated Code of the State of Georgia 1914, Penal Code, Article 3,
            Carrying pistols without license, § 348(a)-(d). 1910
            § 348 (a). Carrying pistols without license. [It shall be unlawful for any person to have or carry
            about his person, in any county in the State of Georgia, any pistol or revolver without first taking
            out a license from the ordinary of the respective counties in which the party resides, before such
            person shall be at liberty to carry around with him on his person, or to have in his manual
            possession outside of his own home or place of business: Provided that nothing in this law shall
            be construed to alter, affect, or amend any laws now in force in this State relative to the carrying
            of concealed weapons on or about one's person, and provided further, that this shall not apply to
            sheriffs, deputy sheriffs, marshals, or other arresting officers of this State or United States, who
            are now allowed, by law, to carry revolvers, nor to any of the militia of said State while in
            service or upon duty, nor to any students of military colleges or schools when they are in the
            discharge of their duty at such colleges.] § 348 (b). License, how obtained. [The ordinary of the
            respective counties of this State in which the applicant resides may grant such license, either in
            term time or during vacation, upon the application of party or person desiring to apply for such
            license, provided applicant shall be at least eighteen years old or over, and shall give a bond
            payable to the Governor of the State in the sum of one hundred dollars, conditioned upon the
            proper and legitimate use of said weapon with a surety approved by the ordinary of said county,
            and the ordinary granting the license shall keep a record of the name of the person taking out
            such license, the name of the maker of the fire-arm to be carried, and the caliber and number of
            the same.] § 348 (c). Fee for license. [The person making such application and to whom such
            license is granted, shall pay to the ordinary for granting said license the sum of fifty cents, which
            license shall cover a period of three years from date of granting same.] § 348 (d). Punishment.
            [Any person violating any of the provisions of the three preceding sections shall be punished as
            for a misdemeanor, as prescribed in section 1065 of this Code.]


            HAWAII

            1870 Haw. Sess. Laws 26, An Act to License the Carrying of Fowling Pieces and Other
            Firearms, chap. 20, §§ 1 to 3.
(84 of 300), Page 84 of 300 Case: 24-565, 04/17/2(ER.DI            8y: 10.7, Page 84 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 253 of 347


            Lawrence McCully, Compiled Laws of the Hawaiian Kingdom Page 539, Image 545 (1884)
            available at The Making of Modem Law: Primary Sources. 1870
            An Act to License the Carrying of Fowling Pieces and Other Fire-Arms. Whereas, the Act for the
            protection of Kolea or Plover and other useful birds, approved on the 20th day of April, A.D.
            1859, has proved ineffectual for the purposes intended thereby, and Whereas, The general and
            indiscriminate use of fire-arms, which are frequently used for the destruction of useful, imported
            and migratory insectivorous birds and their progeny, is an injury to the agricultural and pastoral
            interests of this Kingdom, therefore, Be it Enacted by the King and Legislative Assembly of the
            Hawaiian Islands in the Legislature of the Kingdom assembled: § 1. That the Minister of the
            Interior may at any time license for a term of one year, any applicant for such license, to use and
            carry fire-arms for sporting purposes, in the District of Kona, Island of Oahu, on receiving for
            such license the sum of five dollars. § 2. Any person in said district who shall use or carry for
            sporting purposes, any gun, carbine, rifle, pistol, or other fire-arms, without having at first
            obtained a license as hereinbefore provided, shall, upon conviction therefor, before any police or
            district justice, be fined in a sum not to exceed fifty dollars for every such offense, and in default
            of payment of such sum, shall be imprisoned at hard labor, until such fine and costs are paid,
            according to law. § 3. All such licenses shall be signed by the Minister of the Interior, numbered
            according to their respective dates and impressed with the seal of his department, and no such
            license shall be transferable.

            Revised Laws of Hawaii 1925, 791-92 (1925).
            Section 2137. Form or report. It shall be the duty of the sheriff to prepare and furnish to all
            persons applying therefor [meaning applying under Section 18 of 1927 Haw. Sess. Laws 209-
            217], proper blanks upon which such information shall be furnished, in the following form:
            [requiring name of owner, name of possessor, number, description, makers name, factory
            number, and number disposed of and date] .

            1927 Haw. Sess. Laws 209-217, AN ACT Regulating the Sale, Transfer and Possession of
            Certain Firearms and Ammunitions, and Amending Sections 2136, 2137, 2138, 2139, 2140,
            2141, 2142, 2143, 2146 and 2147 of the Revised Laws of Hawaii 1925 (the "Small Arms Act"),
            §§ 10-11,§ 17.
            Section 1. Definitions. "Pistol" or "revolver" as used in this Act, means any firearm with barrel
            less than twelve inches in length. "Crime of Violence", as used in this Act means any of the
            following crimes, namely, murder, manslaughter, rape, mayhem, assault to do great bodily harm,
            robbery, larceny, burglary and house-breaking. Section 2. Committing crime when armed. If any
            person, when armed with a pistol or revolver, shall commit or attempt to commit an act
            constituting a crime of violence, he may in addition to the punishment otherwise provided for the
            crime, be punished by imprisonment for not more than one year or by a fine of not more than one
            thousand dollars ($1,000.00) or by both, provided, that the act aforesaid be one which is capable
            of being committed or facilitated by means of a pistol or revolver. Section 3. Being armed prima
            facie evidence of intent. In the trial of a person for committing or attempting to commit a crime
            of violence, the fact that he was armed with a pistol or revolver and had no license to carry the
            same, shall be prima facie evidence of his intention to commit said crime of violence, provided,
            that the criminal act committed or attempted be one which is capable of being committed or
            facilitated by means of a pistol or revolver.
(85 of 300), Page 85 of 300 Case: 24-565, 04/17/2(ER.DI             9y: 10.7, Page 85 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 254 of 347


            Section 5. Carrying or keeping small arms by unlicensed persons. Except as otherwise provided
            in Sections 7 and II hereof in respect of certain licensees, no person shall carry, keep, possess,
            or have under his control a pistol or revolver, provided, however, that any person who shall have
            lawfully acquired the ownership or possession of a pistol or revolver may, for purposes of
            protection and with or without a license, keep the same in the dwelling house or business office
            personally occupied by him, and, in case of an unlawful attack upon any person or property in
            said house or office, said pistol or revolver may be carried in any lawful, hot pursuit of the
            assailant.
            Section 6. Exceptions. The provisions of the preceeding section shall not apply to marshals,
            sheriffs, prison or jail wardens or their deputies, policemen, mail carriers, or other duly appointed
            law enforcement officers, or to members of the Army, Navy, or Marine Corps of the United
            States, or of the National Guard, when on duty, or of organizations by law authorized to purchase
            or receive such weapons from the United States or this territory, or to officers or employees of
            the United States authorized by law to carry a concealed pistol or revolver, or to duly authorized
            military organizations when on duty, or to the members thereof when at or going to or from their
            customary places of assembly, or to the regular and ordinary transportation of pistols or
            revolvers as merchandise, or to any person while carrying a pistol or revolver unloaded in a
            wrapper from the place of purchase to his home or place of business, or to a place of repair or
            back to his home or place of business or in moving goods from one place of abode or business to
            another.
            Section 9. Transfers regulated. No person shall transfer by way of sale, gift, loan or otherwise, a
            pistol or revolver unless the prospective transferee, when he applies for the transfer, presents a
            permit duly granted under Section 2141 of the Revised Laws of Hawaii 1925, nor shall he make
            such transfer unless the transferee be a person in respect of whom there is no reasonable cause,
            known to the transferor, for believing that such transferee has committed or attempted, or has
            been convicted of committing or attempting, a crime of violence. No seller shall in any event
            deliver a pistol or revolver on the day when the application to purchase and the statement
            hereinafter mentioned shall be made. When delivered, said pistol or revolver shall be securely
            wrapped and shall be unloaded. Before a delivery be made the purchaser shall sign in triplicate
            and deliver to the seller a statement containing his full name, address, occupation, race,
            nationality, color and place of birth, the date of sale, the caliber, make, model, and
            manufacturer's number of the weapon, and stating that he has never been convicted of a crime of
            violence. The seller shall promptly sign and forward by registered mail one copy thereof to the
            treasurer of the territory, and one copy thereof to the sheriff of the county or city and county of
            which the seller is a resident, and shall retain the other copy for six years. A statement shall be
            deemed promptly forwarded if it is forwarded within seven days, unless a shorter time is
            provided therefor in regulations established by the Governor.
            Section 10. Dealers to be licensed. No retail dealer or selling agent shall sell or otherwise
            transfer, or expose for sale or transfer, or have in his possession with intent to sell, or otherwise
            transfer, any pistol or revolver without being licensed as hereinafter provided.
            Section II. Dealers' Licenses, by whom granted, and conditions thereof. The duly constituted
            licensing authorities of any political subdivision of this territory may grant licenses in form
            prescribed by the treasurer of the territory, effective for not more than one year from date of
            issue, permitting the licensee to sell at retail within the said city or town or political subdivision,
            pistols and revolvers, subject to the following conditions, for breach of any of which the license
            shall be subject to forfeiture:
(86 of 300), Page 86 of 300 Case: 24-565, 04/17/2(ER.DI@l@y: 10.7, Page 86 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 255 of 347


            1. The business shall be carried on only in the building designated in the license.
            2. The license or a copy thereof, certified by the issuing authority, shall be displayed on the
            premises where it can easily be read.
            3. No pistol or revolver shall be delivered unless the purchaser either is personally known to the
            seller or shall present clear evidence of his identity.
            4. The seller shall faithfully comply with the requirements of Section 9 hereof and with all other
            provisions of this Act and of Chapter 128, Revised Laws of Hawaii 1925. A copy of the
            statement required by Section 9 hereof shall be entered by the seller in a book of record to be
            kept in his place of business and to be always open to the inspection of the officers and
            authorized representatives of the territorial government, including the police. Said book shall be
            preserved for six years.
            5. No pistol or revolver, or imitation thereof, or placard advertising the sale or other transfer
            thereof, shall be displayed in any part of said premises where it can readily be seen from the
            outside.
            No license to sell at retail shall be granted to anyone except as provided in this section.
            Section 12. False information forbidden. No person shall, in purchasing or otherwise securing
            delivery of a pistol or revolver, or in applying for a license to carry the same, give false
            information or offer false evidence of his identity.
            Section 17. Penalties. Any violation of any provision of this Act shall constitute an offense
            punishable by a fine of not more than one thousand dollars ($1,000.00) or imprisonment for not
            more than one year, or both.
            Section 25. Section 2143 of the Revised Laws of Hawaii 1925, is hereby amended by inserting,
            after the first sentence in said section ["The permit mentioned in section 2141 shall not be issued
            to any alien until the applicant has filed with the sheriff or a deputy sheriff of the county or city
            and county a request in writing, signed by two responsible citizens requesting that such permit be
            issued, and recommending and vouching for the applicant."], the following: "The request
            aforesaid shall include (1) an expression of the belief of such citizens that the applicant has never
            committed or attempted a crime of violence, as that phrase is defined in the Small Arms Act, that
            he has never been convicted thereof anywhere and that he is not likely to commit or attempt any
            such crime and (2) a brief statement of the facts relating to the age, character, nativity and
            personal history of the applicant, insofar as these facts are within the personal knowledge of such
            responsible citizens. Such facts as are within the personal knowledge of one of them, only, shall
            be included in a supplemental written statement signed by the person having such knowledge."
            [The rest of Section 2143 reads: "Aliens obtaining a permit as prescribed by the above section
            shall be required to secure an annual license from the treasurer of the county or city and county,
            and to pay to the treasurer an annual license tax of five dollars, provided, however, that to aliens
            who must necessarily use fire-arms in carrying on their business, such as rice planting, such
            license shall be issued free of charge upon a certificate from the sheriff of the county or city and
            county in which they carry on such business to the effect that the fire-arms and ammunition
            mentioned in their permit are necessary to the conduct of their business."]
            Section 26. Section 2146 of the Revised Laws of Hawaii 1925, is hereby amended to read as
            follows: "Section 2146. Penalties. Any person who shall be found in the possession of any
            firearm or firearms or any ammunition without having complied with the provisions of this
            chapter, or who shall fail to give, file or forward required information, reports or statements, or
            who shall otherwise violate the provisions of this chapter in matters not covered by Section 2142
            hereof, shall be deemed guilty of a misdemeanor and upon conviction thereof, shall be fined by
(87 of 300), Page 87 of 300 Case: 24-565, 04/17/2(ER.DI@n1ry: 10.7, Page 87 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 256 of 347


            the court of appropriate jurisdiction in a sum of not more than five hundred dollars ($500.00).
            Any person, firm, corporation, copartnership, failing to file any information herein required to be
            filed, shall be deemed guilty of a misdemeanor and upon conviction shall be fined by the court of
            appropriate jurisdiction not more than five hundred dollars ($500.00).
            The divulging of official information recorded or on file in a public office shall be punishable in
            like manner, provided, however, that where the information divulged has not tended, or been
            designed to encourage, or to render formidable armed resistance to the law, the fine shall not
            exceed twenty-five dollars ($25.00)."

            1933 Haw. Sess. Laws 36-37, An Act Regulating the Sale, Transfer, and Possession of Firearms
            and Ammunition, § 3.
            Every person residing or doing business or temporarily sojourning within the Territory on the
            effective date of this Act who possesses a firearm of any description, whether usable or unusable,
            serviceable or unserviceable, modern or antique, not already registered in the name of the present
            possessor, or who possesses ammunition of any kind or description, except shotgun ammunition,
            shall, within ten days of said effective date, register the same with the chief of police of the city
            and county of Honolulu or the sheriff of the county, other than the city and county of Honolulu,
            wherein is his place of business, or if there be no place of business, his residence, or if there be
            neither place of business nor residence, his place of sojourn. Every person arriving in the
            Territory after the effective date of this Act, who brings with him firearms or ammunition of the
            type and description set out in this section, shall register the same in similar manner within forty-
            eight hours after arrival. The registration shall be on such forms as may be designated by the
            bureau of crime statistics and shall include a description of the class of firearm or firearms and
            ammunition owned by him, or in his possession, together with the name of the maker and the
            factory number, if known or ascertainable, and the source from which possession was obtained.
            Within sixty days after the effective date of this Act, the chief of police of the city and county of
            Honolulu and the sheriffs of the several counties, other than the city and county of Honolulu,
            shall furnish the bureau of crime statistics a record of all registrations now on file in their
            respective offices. Within ten days after the end of each month the chief of police of the city and
            county of Honolulu and the sheriffs of the several counties, other than the city and county of
            Honolulu, shall furnish to the bureau of crime statistics duplicate copies of all registrations made
            during the preceding month. No fee shall be charged for such registration. Any person who fails
            to comply with the provisions of this section shall he punished by a fine of not more than two
            hundred and fifty dollars ($250.00).

            1933 Haw. Sess. Laws 37-38, An Act Regulating the Sale, Transfer, and Possession of Firearms
            and Ammunition, § 4.
            § 4. No person residing or doing business or temporarily sojourning within the Territory shall
            take possession of any fire arm of any description, whether usable or unusable, serviceable or
            unserviceable, modern or antique, registered under prior Acts or unregistered, or of any
            ammunition of any kind or description, except shotgun ammunition, either through sale, gift,
            loan, bequest, or otherwise, whether procured in the Territory or imported by mail, express,
            freight, or otherwise, until he shall first have procured from the chief of police of the city and
            county of Honolulu or the sheriff of the county, other than the city and county of Honolulu,
            wherein is his place of business, or if there be no place of business, his residence, or if there be
            neither place of business nor residence, his place of sojourn, a permit to acquire as prescribed
(88 of 300), Page 88 of 300 Case: 24-565, 04/17/2(ER.DI@n2y: 10.7, Page 88 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 257 of 347


            herein. The chief of police of the city and county of Honolulu or the sheriffs of the several
            counties, other than the city and county of Honolulu, are hereby authorized, within their
            discretion, to issue permits, within their respective jurisdictions, to acquire rifles, pistols, and
            revolvers to citizens of the United States, of the age of twenty years or more, and to duly
            accredited official representatives of foreign nations. Permits to acquire ammunition for rifles,
            pistols and revolvers acquired prior to the effective date of this Act and registered in accordance
            with the provisions hereof, may be granted persons [sic] of the age of twenty years or more
            irrespective of citizenship. Permits to acquire shotguns may be granted to persons of the age of
            sixteen years or more, irrespective of citizenship. Applications for such permits shall be signed
            by the applicant upon forms to be specified by the bureau of crime statistics, and shall be signed
            by the issuing authority. One copy of such permit shall be retained by the issuing authority, as a
            permanent official record. Such permit shall be void unless used within ten days after the date of
            issue. In all cases where possession is acquired from another person in the Territory the permit
            shall be signed in ink by the holder thereof and shall thereupon he delivered to and taken up by
            the person selling, loaning, giving or delivering the firearm or ammunition, who shall make entry
            thereon setting forth in the space provided therefor the name of the person to whom the firearm
            or ammunition was delivered, and the make, style, caliber, and number, as applicable. He shall
            then sign it in ink and cause it to he delivered or sent by registered mail to the issuing authority
            within forty-eight hours. In case receipt of such firearms or ammunition is had by mail, express,
            freight, or otherwise, from sources outside the Territory, the person to whom such permit has
            been issued, shall make the prescribed entries thereon, sign in ink, and cause it to be delivered or
            sent by registered mail to the issuing authority within forty-eight hours after taking possession of
            the firearms or ammunition. No person shall sell, give, loan, or deliver into the possession of
            another any firearm or ammunition except in accordance with the Provisions of this section. Any
            person acquiring a firearm or ammunition under the provisions of this section shall, within five
            days of acquisition, register same in the manner prescribed by Section 3 of this Act. No fee shall
            be charged for permits under this section. Any person who violates any provision of this section
            shall be punished by a fine of not more than five hundred dollars ($500.00) or imprisonment for
            not more than one year, or by both.

            1933 Haw. Sess. Laws 38, An Act Regulating the Sale, Transfer, and Possession of Firearms and
            Ammunition, § 5. 1933
            Any person who has procured a hunting license under the provisions of Sections 2028-2032,
            inclusive, of the Revised Laws of Hawaii 1925, as amended, shall, while actually engaged in
            hunting or while going to or from the place of hunting, be authorized to carry and use any
            lawfully acquired rifle or shotgun and suitable ammunition therefor.

            1933 Haw. Sess. Laws 39, An Act Regulating the Sale, Transfer, and Possession of Firearms and
            Ammunition, § 8, 10-16.
            § 8. In an exceptional case, when the applicant shows good reason to fear injury to his person or
            property, the chief of police of the city and county of Honolulu or the sheriff of a county, other
            than the city and county of Honolulu, may grant a license to a citizen of the United States or a
            duly accredited official representative of a foreign nation, of the age of twenty years or more, to
            carry concealed on his person within the city and county or the county in which such license is
            granted, a pistol or revolver and ammunition therefor. Unless renewed, such license shall
            automatically become void at the expiration of one year from date of issue. No such license shall
(89 of 300), Page 89 of 300 Case: 24-565, 04/17/2(ER.DI@n3y: 10.7, Page 89 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 258 of 347


            issue unless it appears that the applicant is a suitable person to be so licensed, and in no event to
            a person who has been convicted of a felony, or adjudged insane, in the Territory or elsewhere.
            All licenses to carry concealed weapons heretofore issued shall expire at midnight on the
            effective date of this Act. No person shall carry concealed on his person a pistol or revolver or
            ammunition therefor without being licensed so to do under the provisions of this section. For
            each such license there shall he charged a fee of ten dollars ($l0.00), which shall be covered into
            the treasury of the city and county or the county in which such license is granted. Any person
            violating this section shall be punished by a fine of not more than one thousand dollars
            ($1,000.00) or by imprisonment for not more than one year, or by both.

            1933 Haw. Special Sess. Laws 117, An Act ... Regulating The Sale, Transfer And Possession
            Of Certain Firearms, Tear Gas And Ammunition: § 2.
            Except as permitted under the provisions of this Act, no person, firm or corporation shall own,
            possess, sell, offer for sale or transport any firearm of the kind commonly known as a machine
            gun or any shell cartridge or bomb containing or capable of emitting tear gas or any other
            noxious gas. Provided, however, that nothing in this Act contained shall prohibit the sale to,
            purchase by, or possession of such firearms by any city and county, county, territorial or federal
            officer where such firearms are required for professional use in the discharge of his duties, nor to
            the transportation of such firearms for or on behalf of police departments and members thereof,
            sheriffs, or the military or naval forces of this Territory or of the United States and "Provided,
            further that nothing in this Act shall prohibit police departments and members thereof, sheriffs,
            or the military or naval forces of the territory or of the United States from possessing or
            transporting such shells, cartridges or bombs for professional use in the discharge of their duties.
            "The term 'shell, cartridge or bomb', as used in this Act shall be construed to apply to and
            include all shells, cartridges, or bombs capable of being discharged or exploded through or by
            the use of percussion caps, fuses, electricity, or otherwise, when such discharge or explosion will
            cause or permit the release or emission of tear gases. The term 'machine gun' as used in this Act
            shall be construed to apply to and include machine rifles, machine guns and submachine guns
            capable of automatically and continuously discharging loaded ammunition of any caliber in
            which the ammunition is fed to such guns from or by means of clips, disks, drums, belts or other
            separable mechanical device."

            ILLINOIS

            An Act concerning the Kaskaskia Indians, in Nathaniel Pope, Laws of the Territory of Illinois
            (1815). 1814
            That it shall not be lawful for any person whatever without license from the Governor or some
            sub-agent appointed by him to purchase or receive by gift or other wise of any of the before
            mentioned Indians, any horse, mare, gun, tomahawk, knife, blanket, shrouding, calico, saddle,
            bridle, or any goods wares or merchandize whatever, that all such sales or gifts shall be
            considered as fraudulent on the part of the buyer or receiver and that any white person or free
            person of coulour whatever so buying or receiving any such articles of any one of those Indians
            shall be liable to pay a fine of twenty dollars to be recovered before a justice of the peace ...."
(90 of 300), Page 90 of 300 Case: 24-565, 04/17/2(ER.DI@n4ry: 10.7, Page 90 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 259 of 347


            Samuel P. Church, The Revised Ordinances of the City of Quincy, Ill. to Which are Prefixed the
            Charter of the City of Quincy, and the Amendment Thereto Page 47, Image 47 (1841) available
            at The Making of Modern Law: Primary Sources. 1841
            [An Ordinance Regulating the Police of the City of Quincy], § 5. Be it further ordained by the
            City Council of the City of Quincy, That no person shall, within the limits of said city, fire or
            discharge any cannon, musket, rifle, fowling piece, or other fire arms, or air-gun, except in cases
            of necessity, or in the performance of a public or lawful act of duty, or discharge or set of any
            cracker, rocket, torpedo, squib, or other fire works, within the limits of said city, without
            permission first obtained from the Mayor or one of the Aldermen, or Marshal of said city, and
            every person so offending shall forfeit and pay, for the use of said city, not less than one dollar,
            nor more than three dollars, for every such offense.

            George Manierre, The Revised Charter and Ordinances of the City of Chicago: To Which are
            Added the Constitutions of the United States and State oflllinois Page 123-125, Image 131-133
            (1851) available at The Making of Modern Law: Primary Sources. 1851
            Ordinances of the City of Chicago: Regulating the Keeping and Conveying Gun Powder and
            Gun Cotton, § I. (Be it ordained by the Common Council of the city of Chicago) That no person
            shall keep, sell, or give away gun powder or gun cotton in any quantity without permission of the
            common council or mayor in writing, signed by the mayor and clerk and sealed with the
            corporate seal, under a penalty of twenty-five dollars for every offence. § II. All applications for
            permits shall be addressed to the common council or mayor in writing, signed by the applicant.
            Not exceeding four permits shall be granted in any block. When the number of applications in
            any block shall at any time exceed the number to be granted, the requisite number shall be
            chosen by ballot. When issued the clerk shall make an entry thereof in a register to be provided
            for the purpose which entry shall state the name and place of business and date of permit.
            Persons to whom permits may be issued shall not have or keep at their place of business or
            elsewhere within the city, a greater quantity of gun powder or gun cotton than fifty pounds at one
            time, and the same shall be kept in tin canisters or cases containing not to exceed thirteen pounds
            each, and in a situation remote from fires or lighted lamps, candles or gas from which they may
            be easily removed in case of fire. Nor shall any person sell or weigh any gun powder or gun
            cotton after the lighting of lamps in the evening, unless in sealed canisters or cases. It shall be the
            duty of every person to whom a permit shall be given to keep a sign at the front door of his place
            of business with the words "gun powder and gun cotton" painted or printed theron in large
            letters. A violation of any clause of this section shall subject the offender to a fine of not less
            than ten dollars nor exceeding one hundred dollars. § III. No person shall convey or carry any
            gun or carry any gun powder or gun cotton, (exceeding one pound in quantity), through any
            street or alley in the city, in any cart, carriage, wagon, dray, wheelbarrow, or otherwise, unless
            the gun powder or gun cotton be secured in tight cases or kegs well headed and hooped, and put
            into and entirely covered with a leather bag or case, sufficient to prevent such gun powder or gun
            cotton from being spilled or scattered under a penalty of one hundred dollars. IV. No vessel,
            laden in whole or in part with gun powder or gun cotton, shall land at, or make fast to any dock
            or wharf upon the Chicago river, or either branch thereof, between the south line of the school
            section and Chicago avenue, or to discharge such gun powder or gun cotton within said limits. If
            any master, or owner of any vessel, or other person shall violate any provision of this section, he
            shall be subject to a fine of not less then twenty-five dollars and not exceeding one hundred
            dollars. § V. The mayor shall have power to cause any vessel to be removed form the limits
(91 of 300), Page 91 of 300 Case: 24-565, 04/17/2(ER.DI@l5'y: 10.7, Page 91 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 260 of 347


            mentioned in the previous section, to any place beyond the same, by a written order, which shall
            be executed by the marshal or some other member of the police. If any person shall neglect or
            refuse to obey such order, or shall resist any officer in the execution of the same, he shall be
            subject to a penalty of one hundred dollars. § VI. Al permissions granted under this ordinance
            shall expire on the tenth day of June each year. And no permit shall be granted to any retailer of
            intoxicating liquors or to any intemperate person. The clerk shall be entitled to a fee of one dollar
            for every permit so issued. § VII. It shall be the duty of the officers of the police department,
            fire-wardens, and firemen, to report all violations of this ordinance which may come to the
            knowledge of the city attorney for prosecution.

            James M. Cunningham, The City Charter and the Revised Ordinances of the City of Peoria,
            Illinois, Also, the Original City Charter, and the Several Amendments Thereto, and the State
            Laws Relating to the City or Specially Affecting Its Interests, Together with the Rules of Order
            and Business for the Government of the City Council. Arranged, Revised, and Published, Under
            the Authority of the City Council, in the Year 1869 Page 254, Image 284 (1869) available at The
            Making of Modem Law: Primary Sources. 1869
            Revised Ordinances [of the City of Peoria: Public Safety and Convenience], § 1. That it shall not
            be lawful for any person in said city, without permission from the mayor or superintendent of
            police, to fire or discharge any cannon, musket, rifle, fowling-piece, pistol, or other fire-arms or
            air guns, except it is done in cases of necessity, or in the performance of a public act of lawful
            duty, or by military companies when on parade or in the discharge of duty, and every person
            violating the provisions of this section shall, on conviction, forfeit and pay not less than one
            dollar nor more than one hundred dollars for every offense.

            Revised Ordinances of the City of Galesburg, the Charter and Amendments, State Laws Relating
            to the Government of Cities and Appendix Page 122-123, Image 127-128 (1869) available at The
            Making of Modem Law: Primary Sources. 1869
            Revised Ordinances [of Galesburg, Ill.], Gunpowder-Fires, Fire-Arms, § 1. The keeping for sale
            or selling gunpowder, without a license therefor, is prohibited, and no license shall be issued
            allowing the keeping in store more than twenty-five pounds of gun powder at any one time,
            unless kept in some secure magazine or fire-proof powder house, located at least one hundred
            feet from any other occupied building, and when kept in a store or place for retail it shall be kept
            in tin or other metallic canisters or cases, and in a part of the building remote from any fire,
            lamp, candle or burning matter liable to produce explosion, and whoever shall violate this
            section, or any provision of it, shall be subject to a penalty of twenty dollars. § 2. Each person
            licensed to sell gunpowder shall keep a sign, with the words "Gunpowder for Sale," in plain
            letters, in some conspicuous place in the front of the building where such powder is kept. And no
            sales of gunpowder, except in unopened cans shall be sold after night, and any person convicted
            of violation of any of the provisions of this section shall be subject to a penalty of ten dollars. §
            3. Whoever shall bring or cause to be brought into the city any gunpowder concealed in any box
            or other package, or in any package marked as containing other articles, in which such powder is
            contained, shall be subject to a penalty of twenty-five dollars. §4. The carrying gunpowder
            through the streets or other public places, in a careless or negligent manner, or the remaining
            with such powder in any place longer than necessary for the transportation of the same from one
            place to another, shall subject the party offending to a penalty of not less than five dollars...
(92 of 300), Page 92 of 300 Case: 24-565, 04/17/2(ER.DI@l8y: 10.7, Page 92 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 261 of 347


            Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park Together with Its
            Charter and General Laws Affecting Municipal Corporations, Special Ordinances and Charters
            under Which Corporations Have Vested Rights in the Village. Also, Summary of Decisions of
            the Supreme Court Relating to Municipal Corporations, Taxation and Assessments Page 64,
            Image 64 (1876) available at The Making of Modern Law: Primary Sources. 1876
            Misdemeanors, § 39. No person, except peace officers, shall carry or wear under their clothes, or
            concealed about their person, any pistol, revolver, slung-shot, knuckles, bowie-krlife, dirk-knife,
            dirk, dagger, or any other dangerous or deadly weapon, except by written permission of the
            Captain of Police.

            Merritt Starr & Russell H. Curtis, Annotated Statutes of the State of Illinois in Force (1885),
            Criminal Code Ch. 38, para. 90.
            All persons dealing in deadly weapons, hereinbefore mentioned, at retail within this State shall
            keep a register of all such weapons sold or given away by them. Such register shall contain the
            date of the sale or gift, the name and age of the person to whom the weapon is sold or given, the
            price of the said weapon, and the purpose for which it is purchased or obtained. The said register
            shall be in the following form. [Form of Register] Said register is to be kept open for inspection
            of the public, and all persons who may wish to examine the same may do so at all reasonable
            times during business hours. A failure to keep such register, or to allow an examination of the
            same, or to record therein any sale or gift of a deadly weapon, or the keeping of a false register,
            shall be a misdemeanor, and shall subject the offender to a fine of not less than twenty-five
            dollars ($25) nor more than two hundred dollars ($200).

            George W. Hess, Revised Ordinances of the City of Evanston : Also Special Laws and
            Ordinances of General Interest Page 131-132, Image 143-144 (1893) available at The Making of
            Modem Law: Primary Sources. 1893
            Concealed Weapons, §531. It shall be unlawful for any person within the limits of the city of
            Evanston to carry or wear under his clothes or concealed about his person, any pistol, colt or
            slung shot, cross knuckler, or knuckles of lead, brass or other metal, or bowie knife, dirk, dagger,
            or any other dangerous or deadly weapon... § 537. The Mayor may grant to so many and such
            persons as he may think proper, licenses to carry concealed weapons, and may revoke any and all
            such licenses at his pleasure. § 538. Applications for such licenses shall be made to the city clerk,
            and when granted, the applicant therefor shall pay to the said clerk, for the use of the city, the
            sum of two dollars. § 539. Every such license shall state the name, age and occupation and
            residence of the person to whom it is granted.

            Samuel A. Ettelson, Opinions of the Corporation Counsel and Assistants from May 1, 1915, to
            June 30, 1916 Page 458-459, Image 458-459 (Vol. 7, 1916) available at The Making of Modern
            Law: Primary Sources. 1914
            Ordinance of May 25, 1914, § 4a. It shall be unlawful for any person, firm or corporation to sell,
            barter or give away to any person within the City of Chicago, any pistol, revolver, derringer,
            bowie knife, dirk or other weapon of like character which can be concealed on the person, except
            to licensed dealers and to persons who have secured a permit for the purchase of such articles
            from the general superintendent of police as hereinafter required, provided, this section shall not
            apply to sales made of such articles which are delivered or furnished outside the City of Chicago.
            § 5. It shall be unlawful for any person to purchase any pistol, revolver, derringer, bowie knife,
(93 of 300), Page 93 of 300 Case: 24-565, 04/17/2(ER.DI@nTI'y: 10.7, Page 93 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 262 of 347


            dirk or other weapon of like character, which can be concealed on the person, without first
            securing from the General Superintendent of Police a permit so to do. Before any such permit is
            granted, an application in writing shall be made therefor, setting forth in such application the
            name, address, age, height, weight, complexion, nationality and other elements of identification,
            of the person desiring such permit, and the applicant shall present such evidence of good
            character as the General Superintendent of Police in his discretion may require. § 6. It shall be
            the duty of the General Superintendent of Police to refuse such permit to (a) All persons having
            been convicted of any crime. (b) all minors. "Otherwise, in case he shall be satisfied that the
            applicant is a person of good moral character, it shall be the duty of the General Superintendent
            of Police to grant such permit, upon the payment of a fee of one dollar. § 8. Any person, firm or
            corporation violating any of the provisions of this ordinance, shall be fined not less than Fifty
            Dollars ($50.00) nor more than Two hundred Dollars ($200.00) for each offense, and every
            purchase, sale or gift of any weapon mentioned in this ordinance shall be deemed a separate
            offense.

            Samuel Irwin, Reports of Cases At Law And In Chancery 566 (vol. #278, Chicago, Ill, 1917).
            1917
            It shall be the duty of the general superintendent of police to refuse such permit to (a) all persons
            having been convicted of any crime, (b) all minors. Otherwise, in case he shall be satisfied that
            the applicant is a person of good moral character, it shall be the duty of the general
            superintendent of police to grant such permit upon the payment of a fee of one dollar.

            1931 Ill.Laws 453, An Act to Regulate the Sale, Possession and Transportation of Machine
            Guns, § 4.
            Every manufacturer or merchant shall keep a register of all machine guns manufactured or
            handled by him. This register shall show the date of the sale, loan, gift, delivery or receipt of any
            machine gun, the name, address and occupation of the person to whom the machine gun was
            sold, loaned, given or delivered, or from whom it was received, and the purpose for which the
            person to whom the machine gun was sold, loaned, given or delivered, purchased or obtained
            said machine gun. Upon demand, every manufacturer or merchant shall permit any sheriff or
            deputy sheriff, or any police officer to inspect his entire stock of machine guns, parts and
            supplies therefor, and shall produce the register herein required and all written permits to
            purchase or possess a machine gun, which he has retained and filed in his place of business for
            inspection by such officer.

            INDIANA

            1847 Ind. Acts 93, An Act to Reduce the Law Incorporating the City of Madison, and the Several
            Acts Amendatory Thereto Into One Act, and to Amend the Same, chap 61, § 8, pt. 4.
            To regulate and license, or provide by ordinance for regulating and licensing ... the keepers of
            gunpowder and other explosive compounds ....

            W. G. Armstrong, The Ordinances and Charter of the City of Jeffersonville Page 15-17, Image
            15-17 (1855) available at The Making of Modem Law: Primary Sources. 1855
(94 of 300), Page 94 of 300 Case: 24-565, 04/17/2(ER.DI@l8y: 10.7, Page 94 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 263 of 347


            Ordinances [of Jeffersonville], § 3, Pt. 11. It shall also be a nuisance and unlawful ... To
            discharge or cause to be discharged any fire arms, squibs, bombs or fire works of any kind
            without license being first obtained therefor.

            Revision of 1895. The General Ordinances of the City of Indianapolis. Containing also, Acts of
            the Indiana General Assembly so far as they Control Said City, to which Prefixed a
            Chronological Roster of Officers from, 1832 to 1895 and Rules Governing the Common Council
            Page 290-291, Image 372-373 (1895) available at The Making of Modem Law: Primary Sources.
            1895
            Laws and Ordinances [of the City of Indianapolis], An Ordinance Licensing Rifle and Pistol
            Practice in the City of Indianapolis, § 1. Be it ordained by the Common Council and Board of
            Aldermen of the City of Indianapolis, That it shall hereafter be unlawful for any person to
            conduct or carry on any shooting gallery or room where rifle or pistol shooting is practiced, in
            the City of Indianapolis, without first having procured a license so to do, as hereinafter provided.
            § 2. A license fee of twenty-five dollars for six months and fifty dollars for one year shall be paid
            by the person conducting such business. Upon the payment of twenty-five dollars to the City
            Treasurer by any person desiring to carry on such a gallery or room, the City Treasurer shall
            issue to him a receipt therefor, designating therein what said money is paid for, and upon the
            surrender thereof to the City Clerk [Comptroller] that officer shall issue to such person a license
            for the said term of six months, and likewise, upon the payment of fifty dollars, a license for one
            year shall issue. The Clerk [Comptroller] shall be entitled to charge one dollar for the issue of
            every such license. Said license shall be in the usual form. § 3. Any person opening or carrying
            on such a gallery or room without such license shall be fined in any sum not exceeding fifty
            dollars, and every day's continuance shall constitute a spate offense.

            1925 Ind. Acts 495, 495-98
            Pistols and Revolvers Defined.
            SECTION 1. Be it enacted by the general assembly of the State of Indiana, That the term "pistol
            or revolver," as used in this act, shall be construed as meaning any firearm with a barrel less than
            twelve inches in length.
            Crime-Committing When Armed With Pistol or Revolver.
            SEc. 2. If any person shall, within the State of Indiana, commit or attempt to commit a crime,
            when armed with a pistol or revolver, and having no permit to carry the same, he shall, in
            addition to the punishment provided for the crime, be guilty of a felony and shall be punished by
            imprisonment for not less than one year and not more than five years.
            Subsequent Offenses.
            SEc. 3. The judge shall have the power to sentence any person who may be convicted for a
            second or third, or other subsequent offense under section 2 of this act, to double or triple the
            penalty imposed thereby.
            Felony-Conviction For-Prohibited From Possessing Pistol.
            SEC. 4. No person who has been convicted of a felony committed against the person or property
            of another shall own or have in his possession or under his control, within the State of Indiana, a
            pistol or revolver. A violation of this section shall constitute a felony and be punishable by
            imprisonment for not less than one year, and not more than five years.
            Pistol or Revolver-Possession Without Permit.
(95 of 300), Page 95 of 300 Case: 24-565, 04/17/2(ER.DI@l9y: 10.7, Page 95 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 264 of 347


            SEc. 5. No person shall carry, within the State of Indiana, a pistol or revolver concealed in any
            vehicle or upon his person, except in his dwelling house or place of business, without a permit
            therefor as hereinafter provided. Violations of this section shall constitute a misdemeanor and be
            punished by a line of one hundred dollars ($100.00), to which may be added imprisonment for
            not more than one year, and upon conviction the pistol or revolver shall be confiscated and
            destroyed by the sheriff on order of the court.
            Persons Exempt From Act.
            SEc. 6. The provisions of the preceding section shall not apply to marshals, sheriffs, deputy
            sheriffs, policemen or any other duly appointed peace officers, nor the pistols or revolvers of any
            bank, trust company, or common carriers, or to the officers or employes of any bank, trust
            company, or common carriers, while such officers or employes are guarding money or valuables
            within the line of their duties as such employes, nor to the regular and ordinary transportation of
            pistols or revolvers as merchandise, nor to members of the army, navy, or marine corps or the
            mail service of the United States, or the national guard, when on duty, or organizations by law
            authorized to purchase or receive such weapons from the United States, or the State of Indiana,
            nor to duly authorized military or civil organizations when parading, nor to the members thereof
            when at .or going to or from their customary places of assembly.
            Permits-Clerk of Circuit Court-Application-Form Fee.
            SEC. 7. The clerk of any circuit court of the State of Indiana, shall, upon application of any
            citizen having a bona fide residence or place of business within the State of Indiana, or of any
            person having a bona fide residence or place of business within the United States, and a permit to
            carry a firearm concealed upon his person issued by the authorities of any other state or
            subdivision of the United States, issue a permit to such citizen to carry a pistol or revolver within
            the State of Indiana, during the period of one year or until revoked, as herein provided. Such
            application for permit Shall be signed by two resident householders and freeholders of the county
            in which the applicant lives, and it shall appear from such application that the applicant is a
            suitable person to be granted a
            permit under the law. The permit shall be in duplicate, in form to be prescribed by the adjutant
            general of the State of Indiana, and shall bear the name, address, description and signature of the
            applicant and reason given for desiring a permit. The original thereof shall be delivered to the
            applicant, the duplicate shall be preserved for six years by the clerk of the circuit court issuing
            the same. For each permit so issued, the applicant shall pay the sum of one dollar ($l .00).
            Minors-Sale of Pistols or Revolvers to Prohibited.
            SEc. 8. Any person or persons who shall, within the State of Indiana, sell, barter, hire, lend, or
            give to any minor under the age of twenty-one years, any pistol or revolver shall be deemed
            guilty of a misdemeanor and shall upon conviction thereof be fined not more than one hundred
            dollars ($100.00), or be imprisoned for not more than three months, or both, except for uses as
            hereinbefore provided.
            Sale of Pistols and Revolvers-Record-Penalty.
            SEc. 9. No person shall within the State of Indiana sell, deliver or otherwise transfer a pistol or
            revolver to a person who he has reasonable cause to believe either is not a citizen or has been
            convicted of a felony against the person or property of another, nor in any event shall he deliver
            a pistol or revolver on the day of the application for the purchase thereof, and when delivered
            said pistol or revolver shall be securely wrapped and shall be unloaded. Before a delivery be
            made, the purchaser or his duly authorized agent and the seller or his duly authorized agent shall
            in the presence of each other sign in duplicate a statement containing the purchaser's full name,
(96 of 300), Page 96 of 300 Case: 24-565, 04/17/2(ER.DI            @y: 10.7, Page 96 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 265 of 347


            age, dress, place of birth, and nationality, the date of sale, the caliber, make, model, and
            manufacturer's number of the weapon. The seller shall, within seven days, forward by registered
            mail, to the clerk of the circuit court of the county in which the seller resides, one copy thereof
            and shall retain the other copy for six years. This section shall not apply to sales at wholesale.
            Where neither party to the transaction holds a dealer's license, no person shall sell or otherwise
            transfer a pistol or revolver to any person not personally known to him. Violations of this section
            shall constitute a misdemeanor and shall be punished by a fine of not less than one hundred
            dollars ($100.00), or by imprisonment for not more than one year, or by both such fine and
            imprisonment.
            Pistols and Revolvers-Sale Without License.
            SEC. 10. Whoever, within the State of Indiana, without being licensed as hereinafter provided,
            sells, delivers, transfers, advertises, or exposes for sale, or has in his possession with intent to
            sell, pistols or revolvers, shall be deemed guilty of a felony and upon conviction thereof shall be
            punished by imprisonment for not less than one year nor more than two years.
            Dealers' Licenses-Conditions on Which Sold-Record Advertisement.
            SEC. II. The clerk of the circuit court of any county may grant licenses, to any reputable,
            established dealer, on forms to be prescribed by the adjutant general, permitting the licensee to
            sell at retail within the State of Indiana pistols and revolvers, subject to the following conditions,
            for breach of any of which the license shall be subject to forfeiture:
            l. The business shall be carried on only in the building designated in the license.
            2. The license or a copy thereof, certified by the issuing authority, shall be displayed on the
            premises where it can easily be read.
            3. No pistol or revolver shall be delivered: (a) On the day of the application for the purchase, and
            when delivered shall be unloaded and securely wrapped, nor, (b) Unless the purchaser either is
            personally known to the seller or shall present clear evidence of his identity, nor, (c) If the seller
            has reasonable cause to believe that the purchaser is an unnaturalized foreign-born person or has
            been convicted of a felony against the person or property of another.
            4. A true record, in duplicate, shall be made of every pistol or revolver sold, said record to be
            made in a book kept for the purpose, the form of which shall be prescribed by the adjutant
            general and shall be signed by the purchaser and by the person effecting the sale, and in the
            presence of each other, and shall include the date of sale, the caliber, make, model, and
            manufacturer's number of the weapon, the name, address, age, place of birth, nationality of the
            purchaser. One copy of said record shall,
            within seven days, be forwarded by registered mail to the clerk of the circuit court of the county
            in which the seller resides, and the other copy shall be retained by the seller for six years.
            5. No pistol or revolver, or placard advertising the sale thereof, or imitation thereof, shall be
            displayed in any part of said premises where it can readily be seen from the outside.
            False Information.
            SEC. 12. If any person in purchasing or otherwise securing delivery of a pistol or revolver or
            applying for a permit to carry same within the State of Indiana shall give false information or
            offer false evidence of his identity he shall be deemed guilty of a felony and upon conviction
            shall be punished by imprisonment for not less than one year nor more than five years.
            Obliteration of Make, Model, Number-Penalty.
            SEC. 13. No person shall within the State of Indiana, change, alter, remove, or obliterate the
            name of the maker, model, manufacturer's number, or other mark of identification on any pistol
            or revolver. Possession of any such firearms upon which the same shall have been changed,
(97 of 300), Page 97 of 300 Case: 24-565, 04/17/2(ER.DI           11ry: 10.7, Page 97 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 266 of 347


            altered, removed, or obliterated, shall be prima facie evidence that such possessor has changed,
            altered, removed, or obliterated the same. Violations of this section shall be a misdemeanor and
            shall be punished by imprisonment for not less than six months nor more than one year.
            Felony-Possession of Revolver Prima Facie Evidence.
            SEC. 14. In the trial of a person charged with committing or attempting to commit a felony
            against the person or property of another while armed with a pistol or revolver, without having a
            permit to carry such firearm as hereinbefore provided, the fact that such person was so armed
            shall be prima facie evidence of his intent to commit such felony.
            Weapons Exempt.
            SEC. 15. This act shall not apply to antique pistols or revolvers incapable of use as a deadly
            weapon.
            Prior Licenses.
            SEC. 16. Any or all licenses heretofore issued to carry or possess revolver or pistol shall be
            revoked and rendered null and void on and after thirty days from the taking effect of this act.
            Revocation of License.
            SEC. 17. Hereafter in any court of record upon trial of any person for a penal offense, and upon a
            showing that such person is not a fit person to carry concealed weapons, the court may enter an
            order revoking such person's license to carry concealed weapons and such fact shall be
            communicated to the public officer issuing the same.
            Licensed Dealers-Statement-Penalty.
            SEC. 17 1/2. It shall be unlawful from and after the taking effect of this act, for any person, firm
            or corporation to receive or have in his or its possession within the State of Indiana any pistol or
            revolver purchased or acquired after the taking effect of this act, except a licensed dealer, who
            shall not have signed and forwarded to the clerk of the county in which he resides the statements
            provided for in section 9 of this act, before or at the time of taking possession of such pistol or
            revolver. Whoever shall violate the provisions of this section of this act shall be deemed guilty of
            a misdemeanor and shall upon conviction thereof be- fined not more than $100, to which may be
            added imprisonment for not more than sixty days .
            Repeal.
            SEC. 18. All laws and parts of laws in conflict herewith are hereby repealed.
            Unconstitutional Provisions.
            SEC. 19. If any provision or section of this act shall be held void or unconstitutional, all other
            provisions and all other sections of this act, which are not expressly held to be void or
            unconstitutional, shall remain in full force and effect.

            IOWA

            John F. Dillon, The Revised Ordinances of the City of Davenport, Revised and Digested by
            Order of the City Council, Containing the Original and Amended City Charters, with Notes and
            References to Judicial Decisions Page 145, Image 145 (1866) available at The Making of
            Modem Law: Primary. 1855
            [Ordinances of Davenport Iowa,] Chapter 19, An Ordinance to Prohibit the Discharge of fire-
            arms, fire-crackers, and rockets within the city, § 1. No person shall discharge any gun, pistol or
            other fire-arms, or use or discharge any fire-crackers, rockets, or any other description of fire-
            works, within the limits of said city, without permission in writing from the Mayor. § 2. Any
(98 of 300), Page 98 of 300 Case: 24-565, 04/17/2(ER.DI            12y: 10.7, Page 98 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 267 of 347


            person violating any provision of this ordinance, shall pay a fine of not less than two dollars nor
            more than ten dollars for each offense.

            The Code: Containing All the Statutes of the State of Iowa, of a General Nature, Passed at the
            Adjourned Session of the Fourteenth General Assembly Page 76-77, Image 88-89 (1873)
            available at The Making of Modem Law: Primary Sources. 1873
            Cities and Incorporated Towns, Powers, § 456. They shall have power to prevent injury or
            annoyance from anything dangerous offensive or unhealthy, and to cause any nuisance to be
            abated, to regulate the transportation and keeping of gunpowder or other combustible, and to
            provide or license magazines for the same, to prevent and punish fast or immoderate riding
            through the streets, to regulated the speed of trains and locomotives on railways running over the
            streets or through the limits of the city or incorporated town by ordinance, and enforce the same
            by a fine not exceeding one hundred dollars: to establish and regulate markets, to provide for the
            measuring or weighing of hay, coal, or any other article of sale, to prevent any riots, noise,
            disturbance, or disorderly assemblages, to suppress and restrain disorderly houses, houses of ill
            fame, billiard tables, nine or ten pin alleys, or tables and ball alleys, and to authorize the
            destruction of all instruments or devices used for purposes of gaming, and to protect the property
            of the corporation and its inhabitants and to preserve peace and order therein.

            E. E. Aylesworth, Compiled Ordinances of the City of Council Bluffs, Containing the Original
            and Amended City Charter, with Statutes, Notes and References to Judicial Decisions Page 175,
            Image 175 (1880) available at The Making of Modern Law: Primary Sources. 1880
            [Ordinances of the] City of Council Bluffs, [Misdemeanors,] § 16. Whoever shall discharge any
            cannon, gun, pistol or other fire-arms in or across any street or other public place, or in or across
            any private lot, tract of land or other place not of his own property, without first obtaining a
            permit to do so from the Mayor of the city, if in a public place, or from the owner of the lot or
            land if in a private place, shall be deemed guilty of misdemeanor, and on conviction thereof shall
            be punished by a fine of not less than three nor more than thirty dollars.

            Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and Containing
            the Statutes Applicable to Cities of the First-Class, Organized under the Laws of Iowa Page 168-
            169, Image 171-172 (1887) available at The Making of Modern Law: Primary Sources. 1887
            Ordinances, City of Council Bluffs, Shooting Gallery, § 5. No person shall carry on or take part
            in carrying on any pistol gallery or shooting gallery without license therefor from said city, and
            the charge for such license shall be ten dollars per month, or fifty dollars per annum. §6. No
            licensee or his employee, or any person in charge of any pin alley, ball alley, pistol gallery or
            shooting gallery, shall at any time, without gain or profit, permit or allow any minor to be or
            remain in or about the same to play thereat, under penalty of the same fine and forfeiture as set
            forth in section 2 of this chapter.

            KENTUCKY

            Charter of the City of Covington, and Amendments Thereto up to the Year 1864, and Ordinances
            of Said City, and Amendments Thereto, up to the Same Date Page 148-149, Image 148-149
            (1864) available at The Making of Modern Law: Primary Sources. 1864
(99 of 300), Page 99 of 300 Case: 24-565, 04/17/2(ER.DI            13y: 10.7, Page 99 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 268 of 347


            Ordinances of the City of Covington, An Ordinance Regulating the Sale of Powder in the City of
            Covington, § 1. Be it ordained by the City Council of Covington, That it shall not be lawful for
            any person or persons to erect, within the limits of the corporation, any powder magazine, or any
            other building for the purpose of storing gun powder in greater quantities than is hereinafter
            specified, and any person violating the provision of this section, shall, on conviction before the
            Mayor, forfeit and pay a fine of one hundred dollars, and ten dollars for every twenty-four hours
            said building shall be used or occupied for the storage of more than twenty-five pounds of
            powder. § 2. Be it further ordained, That it shall not be lawful for any person to keep, in storage
            or for sale, more than one hundred pounds of powder in any one house in said city, at any one
            time: and that amount, or any part thereof, shall be securely and carefully kept, and closed up in
            a good and sufficient safe, so that it can not by any means be exposed. A violation of this section
            shall subject the person to a fine, on conviction, of five dollars for every offense. § 3. Be it
            further ordained, That no person or persons shall sell, or keep for sale, in said city, any gun
            powder without having first obtained a permission so to do from the Mayor of said city, who
            shall, before said license is granted, be fully assured and satisfied that the applicant has good and
            sufficient safes to keep powder in, in conformity with the second section of this ordinance, and
            when the Mayor is satisfied that the license may be granted, without too much risk to the
            community at large, he shall issue said license to the applicant, upon his paying into the City
            Treasury the sum of twenty dollars for one year's license, and to the Mayor fifty cents, and to the
            City Clerk twenty-five cents, for their certificates. Any person who shall sell any gun powder in
            said city from and after the passage of this ordinance, without having first obtained a license
            therefor, shall, for each and every offense, forfeit, pay, on conviction, the sum of five dollars and
            costs.

            1874 Ky. Acts 327, An Act to Revise and Amend the Charter of the City of Newport, § 6.
            To prohibit the manufacture of gunpowder or other explosive, dangerous, or noxious compounds
            or substances in said city, and to regulate their sale and storage by license.

            LOUISIANA

            John C. White, Digest of the Laws and Ordinances of the Parish of East Feliciana, Adopted by
            the Police Jury of the Parish Page 68, Image 70 (1848) available at The Making of Modem Law:
            Primary Sources. 1848
            [Ordinances of the Parish of East Feliciana,] Of Slaves, § 5. No slave shall carry a gun to hunt,
            except on the plantation of his master or mistress, nor then unless accompanied by the overseer
            or some other free white member of the family, or has a written permit from his owner or
            overseer, which permit shall state for what said slave is hunting: Any person having the charge
            of slaves, who shall permit this section to be violated, shall pay a fine of twenty dollars, for the
            use of the parish, upon information to any Justice, whose duty it is to take cognizance of the
            case.

            Henry Jefferson Leovy, The Laws and General Ordinances of the City of New Orleans, Together
            with the Acts of the Legislature, Decisions of the Supreme Court, and Constitutional Provisions,
            Relating to the City Government. Revised and Digested, Pursuant to an Order of the Common
            Council Page 242, Image 268 (1857) available at The Making of Modem Law: Primary Sources.
            1857
(100 of 300), Page 100 of 300
                            Case: 24-565, 04/17/20E4RD11185t4y: 10.7, Page 100 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 269 of 347


             [Ordinances of the City of New dueOrleans,] Revenue - Taxes and Licenses, § No. 680. Every
             keeper of a pistol gallery, the whole tax being levied on each and every gallery, sixty dollars.

             Henry Jefferson Leovy, The Laws and General Ordinances of the City of New Orleans, Together
             with the Acts of the Legislature, Decisions of the Supreme Court. And Constitutional Provisions
             Relating to the City Government. Revised and Digested, Pursuant to an Order of the Common
             Council Page 257, Image 257 (1870) available at The Making of Modern Law: Primary Sources.
             1870
             [Ordinances of the City of New Orleans,] Offences and Nuisances, § 635. No person shall fire or
             discharge any gun, pistol, fowling piece or fire-arms, within the limits of the city, or set fire to,
             or discharge any rocket, cracker, squib or serpent, or shall throw any lighted rocket, cracker,
             squib or serpent, within the limits of the city, without the license of the common council,
             Provided, that nothing herein contained shall apply to military reviews or to the lawful use of
             weapons in self defense.


             MAINE

             The Revised Ordinances of the City of Portland, 1848 Page 22, Image 22 (1848) available at The
             Making of Modem Law: Primary Sources.
             [Ordinances of the City of Portland,] Of Gunpowder, § l. No person not licensed to keep and sell
             gunpowder shall keep or have in his shop, store, dwelling house or other tenement, at any one
             time, a larger quantity of gunpowder than one pound. § 2. No person licensed to keep and sell
             gunpowder shall have or keep in his store, shop, dwelling house or in any other tenement or
             place whatever at any one time, a larger quantity of gunpowder then twenty-five pounds. § 3.
             Every person licensed to keep and sell gunpowder shall provide himself with a strongly made
             copper chest or box with a copper cover well secured, with hinges and a lock of the same
             material, and the keg or canister in which said powder may be, shall be kept in said copper chest
             or box, which shall at all times be placed near the outer door of the building in which it is kept,
             in convenient place to remove in case of fire. § 4. No person shall haul unto, or lay at any wharf
             in the city, any vessel having on board a quantity of gunpowder exceeding twenty-five pounds,
             or receive gunpowder on board exceeding twenty-five pounds, without first having obtained a
             permit from the mayor and aldermen, and said permit shall designate the wharf at which said
             powder may be landed, or received on board.

             The Charter, Amendments, and Acts of the Legislature Relating to the Municipal Court, and the
             Ordinances of the City of Lewiston, Together with the Boundaries of the Several Wards,
             Regulations Respecting Gunpowder, and an Abstract of the Laws Relating to the Powers and
             Duties of Cities and Towns Page 43, Image 43 (1873) available at The Making of Modern Law:
             Primary Sources. 1873
             Regulations Relating to Gunpowder, § l. No person shall keep or have in any shop, store,
             dwelling house or tenement, in the city of Lewiston, at any one time a larger quantity of gun-
             powder than one pound, unless he is licensed by the mayor and aldermen to keep and sell
             gunpowder, or except as hereinafter provided. § 2. It shall not be lawful for any person or
             persons to sell any gunpowder which may at the time be within said city, in any quantity, by
             wholesale or retail, without having first obtained from the mayor and aldermen a license to sell
(101 of 300), Page 101 of 300
                           Case: 24-565, 04/17/20E4RD 158/: 10.7, Page 101 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 270 of 347


            gunpowder, and every license shall be written or printed, and duly signed by the mayor, on a
            paper upon which shall be written or printed a copy of the rules and regulations established by
            the city relative to keeping, selling and transporting gunpowder within said city, and every such
            license shall be in force one year from the date thereof, unless revoked by the mayor and
            aldermen, but such license may, prior to its expiration, be renewed by an endorsement thereon by
            the mayor, for the further term of one year, and so from year to year, provided, always, that it
            may at any time be rescinded or revoked by the mayor and aldermen, for good and sufficient
            reasons. § 3. Every person who shall receive a license to sell gunpowder, as aforesaid, shall pay
            for the same to the treasurer of the city the sum of three dollars, and for each renewal of the
            same, the sum of one dollar.

            A.G. Davis, City Clerk, Charter and Ordinances, and Rules and Orders of the City Council.
            Revised February 1874 Page 52, Image 53 (1874) available at The Making of Modem Law:
            Primary Sources. 1874
            City Ordinances, § 4. No person shall haul unto, or lay at any wharf in the city, any vessel having
            on board more than twenty-five pounds of gun-powder, nor discharge or receive on board
            exceeding that quantity, without having first obtained from the Mayor a permit therefor,
            designating the wharf at which said powder may be landed or received on board.

            MARYLAND

            1806 Md. Laws 44, An Act To Restrain The Evil Practices Arising From Negroes Keeping Dogs,
            And To Prohibit Them From Carrying Guns Or Offensive Weapons, ch. 81
            ...it shall not be lawful for any negro or mulatto within this state to keep any dog, bitch or gun ,
            except he be a free negro or mulatto, and in that case he may be permitted to keep one dog,
            provided such free negro or mulatto shall obtain a license from a justice of the peace for that
            purpose, and that the said license shall be in force for one year, and no longer, and if any dog or
            bitch owned by any negro, not possessed of such license, shall be seen going at large, it shall be
            lawful for any person to kill the same, and in case of any suit instituted therefor, the person or
            persons killing the said dog or bitch may plead the general issue, and give this act in evidence. II.
            ...it shall not be lawful for any free negro or mulatto to go at large with any gun, or other
            offensive weapon, and in case any free negro or mulatto shall be seen going at large carrying a
            gun, or other offensive weapon, he shall be liable to be carried before any magistrate, in virtue of
            a warrant to be issued by any justice of the peace, directed to a constable of the county, and on
            conviction of having violated the provisions of this section of the act, such offender shall
            thereupon forfeit, to the use of the informant, such gun, or other offensive weapon, which shall
            thus have been found in his or her possession, and be subject to the payment of the costs which
            shall have accrued in such prosecution, provided, that nothing in this act shall extend to prevent
            any free negro or mulatto from carrying a gun, or other offensive weapon, who shall, at the time
            of his carrying the same, have a certificate from a justice of the peace, that he is an orderly and
            peacable person, which certificate shall be in force for one year from the date thereof and no
            longer.

            Lewis Mayer, Revised Code of the Public General Laws of the State of Maryland, with the
            Constitution of the State Page 173, Image 202 (1879) available at The Making of Modem Law:
            Primary Sources. 1876
(102 of 300), Page 102 of 300
                            Case: 24-565, 04/17/20E4RD111g5@/: 10.7, Page 102 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 271 of 347


            Wild Fowl and Game, § 23. The clerk of the Circuit Court for Harford county, and the clerk of
            the Circuit Court for Cecil county, shall upon the application of any resident of the State of
            Maryland, being the owner of any sink-box, craft or sneak-boat, such as is allowed by this act to
            be used and employed in shooting at wild water fowl therefrom, and giving satisfactory evidence
            to said clerk that the said applicant is a resident of the State of Maryland, and is the bona fide
            owner of the sink-box, craft, or sneak-boat, grant a license under the seal of his court, to such
            applicant to gun after and shoot at wild water-fowl from such sink-box or sneak-boat northward
            of the line named and described in first section of this act from the first day of November in each
            and every year to the thirty-first day of March next succeeding thereafter in each and every year,
            provided that such license shall not authorize any person using such sink-box or sneak-boat to
            gun after or shoot at wild water-fowl therefrom within a less distance than half a mile from any
            shore in Harford or Cecil County, or southward of the line particularly described in the first
            section of this act.

            1882 Md. Laws 257, An Act to ... Exempt All That Portion of the Waters of the Chesapeake
            Bay Lying Northward of a Certain Line Therein Described from the Operation and Effect of
            Sections One and Three ..., ch. 180, § 8
            ... the special police appointed by this act are authorized to arrest any person or persons who
            may be discovered in the act of hunting or shooting crippled ducks, or in purloining ducks that
            have been killed by other persons having a proper license to shoot, as well as other persons
            violating the provisions of this section, and upon conviction thereof before any justice of the
            peace of Cecil or Harford Counties, the license of such persons or persons shall be revoked, and
            such persons or persons, whether licensed or not, shall be fined not less than twenty dollars for
            each offense, and shall forfeit the boat and gun or guns, and material so employed in violation of
            the provisions of this section, which boat and gun or guns, and material shall be sold, and the
            proceeds of such fine and sale, after the costs of prosecution have been paid, shall go to the
            officer or officers making the arrest...

            1882 Md. Laws 656
            Section 1. Be it enacted by the General Assembly of Maryland, That it shall be unlawful for any
            person or persons within the State of Maryland to manufacture or sell, barter or give away the
            cartridge toy pistol to any one whomsoever Sec. 2. Be it enacted, That it shall be unlawful for
            any person, be he or she licensed dealer or not, to sell, barter or give away any firearm
            whatsoever or other deadly weapons, except shotgun, fowling pieces and rifles, to any person
            who is a minor under the age of twenty-one years. Any person or persons violating any of the
            provisions of this act shall, on conviction thereof, pay a fine of not less than fifty nor more than
            two hundred dollars, together with the cost of prosecution, and upon failure to pay said fine and
            cost, be committed to jail and confined therein until such fine and costs are paid, or for the period
            of sixty days, whichever shall first occur.

            MASSACHUSETTS

            William Henry Whitmore, The Colonial Laws of Massachusetts: Reprinted From the Edition of
            1672, with the Supplements Through 1686: Containing Also, a Bibliographical Preface and
            Introduction, Treating of All the Printed Laws From 1649 to 1686: Together with the Body of
(103 of 300), Page 103 of 300
                           Case: 24-565, 04/17/205¢RDmg5t7y; 10.7, Page 103 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 272 of 347


            Liberties of 1641, and the Records of the Court of Assistants, 1641-1644 Page 126, Image 330
            (1890) available at The Making of Modern Law: Primary Sources. 1651
            Prescriptions, (1651) § 2. And it is further ordered, that no person (except for the defence of
            themselves and their vessels at Sea) shall transport any gunpowder out of this jurisdiction,
            without license first obtained from some two of the Magistrates, upon penalty of forfeiting all
            such powder as shall be transporting or transported, or the value thereof.

            A Collection Of Original Papers Relative To The History Of The Colony Of Massachusetts-Bay
            Page 492, Image 497 (1769) available at The Making of Modern Law: Primary Sources. 1769
            Laws of the Colony of Massachusetts, That notwithstanding the ancient law of the country, made
            in the year 1633, that no person should sell any arms or ammunition to any Indian upon penalty
            of 101. for every gun, 51. for a pound of powder, and 40s. for a pound of shot, yet the government
            of the Massachusetts in the year 1657, upon the design to monopolize the whole Indian trade did
            publish and declare that the trade of furs and peltry with the Indians in their jurisdiction did
            solely and properly belong to their commonwealth and not to every indifferent person, and did
            enact that no person should trade with the Indians for any fort or peltry, except such as were
            authorized by the court, under the penalty of 1001. for every offence, giving liberty to all such as
            should have license from them to sell, unto any Indian, guns, swords, powder and shot, paying to
            the treasurer 3d. for each gun and for each dozen of swords, 6d. for a pound of powder and for
            every ten pound of shot, by which means the Indians have been abundantly furnished with great
            store of arms and ammunition to the utter ruin and undoing of many families in the neighboring
            colonies to enrich some few of their relations and church members.

            The Revised Ordinances of 1885, of the City of Boston, as Passed and Approved December 14,
            1885. (With Amendments Thereto, Passed and Approved, to May 1, 1886): Being the Ninth
            Revision. To Which are Added the Revised Standing Regulations of the Board of Aldermen. 9th
            Rev. Page 172, Image 182 (1886) available at The Making of Modern Law: Primary Sources.
            1884
            Ordinances of the City of Boston. Of Fire-Arms, Bonfires, and Brick-Kilns. § 4. No person shall
            sell to any child under the age of sixteen years without the written consent of a parent or
            guardian of such child, any cartridge or fixed ammunition of which any fulminate is a component
            part, or any gun, pistol, or other mechanical contrivance arranged for the explosion of such
            cartridge, or of any fulminate. But the provisions of this section shall not apply to paper caps of
            which the only component parts are chlorate of potash and sulphide of antimony, nor to any
            appliance for exploding the same. The provisions of this section shall be inserted in every license
            granted for the sale of gunpowder.

            Revised Ordinances of 1892, of the City of Boston, and the Revised Regulations of 1892, of the
            Board of Aldermen of the City of Boston, Being the Eleventh Revision, Third Edition,
            Containing All Ordinances Passed Between March 3, 1892, and February 1, 1895, and A11
            Regulations of the Board of Aldermen Passed Between July 22, 1892, and February 1, 1895 Page
            115, Image 129 (1895) available at The Making of Modern Law: Primary Sources. 1895
            Ordinances of Boston, Prohibitions and Penalties, § 91. No person shall manufacture or sell, or
            expose for sale, any guncotton, nitro-glycerine, or any compounds of the same, nor any fulminate
            or substance, except gunpowder, intended to be used by exploding or igniting it, in order to
            produce a force to propel missiles, or to rend substances apart, except in accordance with a
(104 of 300), Page 104 of 300
                           Case: 24-565, 04/17/20E4RD111358/: 10.7, Page 104 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 273 of 347


            permit from the board of fire commissioners, nor shall any person send or carry through the
            public streets any such substance, except in the manner and in the quantities allowed by statute
            or ordinance.

            Revised Ordinances of the City of Wobum. Revised Woburn, Massachusetts Page 91 Image 91
            (1898) available at The Making of Modern Law: Primary Sources. 1898
            License to Sell Gunpowder in the City of Woburn. No person shall sell any gunpowder within
            the city, without such license. Every license shall be in force one year from the date thereof,
            provided, that any license may be rescinded by the City Council, at their discretion. § 3. Every
            person so licensed shall keep a sign over and outside of the principal entrance from the street of
            the building in which the powder is kept, in which shall be printed in capitals the words:
            "License to keep and sell gunpowder" § 4. The city clerk shall keep a record of all licenses, and
            of the places designated therein, which places shall not be changed, unless by consent of the City
            Council, in writing. Every person who receives a license shall sign his name to a copy of the
            rules prescribed in this chapter, as evidence of his assent thereto. §5. The provisions of the
            foregoing four sections shall not apply or extend to the keeping or storing of metallic cartridges
            in fire proof magazines, nor to cartridge manufacturers, so long as they shall keep their powder
            in canisters, as prescribed in section one, and in fire proof magazines, located and built to the
            satisfaction of the City Council so long as such manufacturers allow no more than one hundred
            pounds of gunpowder in any magazine, or five pounds of gunpowder not made into cartrdiges, in
            any workshop at any one time.

            1906 Mass. Acts 150, ch. 172, An Act to Regulate by License the Carrying of Concealed
            Weapons
            Section 2. Whoever, except as provided by the laws of this Commonwealth, carries on his person
            a loaded pistol or revolver, without authority or permission as provided in section one of this act,
            or whoever carries any stiletto, dagger, dirk-knife, slung-shot or metallic knuckles, shall upon
            conviction be punished by a fine of not less than ten nor more than one hundred dollars, or by
            imprisonment for a term not exceeding one year, or by both such fine and imprisonment.

            1922 Mass. Acts 563, ch. 485, An Act Relative to the Sale and Carrying of Firearms, ch. 485, § 8
            (amending § 130)
            § 8 (amending § 130). Whoever sells or furnishes to a minor under the age of fifteen, or to an
            unnaturalized foreign born person who has who has not a permit to carry firearms under section
            one hundred and thirty-one, any firearm, air gun or other dangerous weapon or ammunition
            therefor shall be punished by a fine of not less than ten nor more than fifty dollars, but instructors
            and teachers may furnish military weapons to pupils for instruction and drill.

            1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch. 326, §§ 1-2
            (amending §§ 121, 123)
            In sections one hundred and twenty-two to one hundred and twenty-nine, inclusive, "firearms"
            includes a pistol, revolver or other weapon of any description, loaded or unloaded, from which a
            shot or bullet can be discharged and of which the length of barrel, not including any revolving,
            detachable or magazine breach, does not exceed twelve inches, and a machine gun, irrespective
            of the length of the barrel. Any gun of small arm calibre designed for rapid fire and operated by a
            mechanism, or any gun which operates automatically after the first shot has been fired, either by
(105 of 300), Page 105 of 300
                           Case: 24-565, 04/17/203904459/: 10.7, Page 105 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 274 of 347


            gas action or recoil action, shall be deemed to be a machine gun for the purposes of said sections,
            and of sections one hundred and thirty-one and one hundred and thirty one B... § 2... Eighth,
            That no pistol or revolver shall be sold, rented or leased to a person who has not a permit, then in
            force, to purchase, rent or lease the same issued under section one hundred and thirty-one A, and
            that no machine gun shall be sold, rented or leased to a person who has not a license to possess
            the same issued under section one hundred and thirty-one...

            MICHIGAN

            The Revised Charter and Ordinances of the City of Detroit Page 150, Image 151 (1848) available
            at The Making of Modern Law: Primary Sources. 1848
            [Ordinances of Detroit,] Prevention of Fires, § 9. No person shall fire or set off any squib,
            cracker, gunpowder or fire works, or fire any gun or pistol in any part of this city, unless by
            written permission of the Mayor or two Aldermen, which permission shall limit the time of such
            firing, and shall be subject to be revoked at any time by the Common Council, and any person or
            persons violating any of the provisions of this section, shall forfeit the penalty of five dollars for
            each and every offence. § 10. Every person firing a cannon within this city, unless by permission
            of the Mayor or two Aldermen, shall forfeit the penalty of twenty-five dollars: Provided, that
            nothing in this or the preceding section shall be construed to prohibit any military company from
            firing any gun or cannon when authorized by their commanding officer or officers .

            1895 Mich. Local Acts 596, § 44
            SEC. 44. No person shall fire or discharge any gun or pistol firearms or fireworks. or carry
            firearms, or throw stones or other missiles within said park or boulevard, nor shall any person
            fire, discharge or set off any rocket, cracker, torpedo, squib or other fireworks or things
            containing any substance of any explosive character on said park or boulevard, without the
            permission of said commissioners, and then only under such regulations as they shall prescribe.

            1913 Mich. Pub. Acts 472, An Act Providing for the Registration of the Purchasers of Guns,
            Pistols, Other Fire-arms and Silencers for Fire-arms and Providing a Penalty for Violation, § 1-2.
            Every person, firm or corporation engaged in any way or to any extent in the business of selling
            at retail guns, pistols, other fire-arms and silencers for fire-arms shall keep a register in which
            shall be entered the name, age, occupation and residence (if residing in the city with the street
            number of such residence) of each and every purchaser of such guns, pistols, other fire-arms or
            silencers for fire-arms together with the number or other mark of identification, if any, on such
            gun, pistol, other fire-arms or silencer for firearms which said register shall be open to the
            inspection of all peace officers at all times. § 2. Every person violating any of the provisions of
            this act shall be deemed guilty of a misdemeanor and shall upon conviction be subject to a fine of
            not more than fifty dollars or to imprisonment in the county jail for not more than ten days or to
            both such fine and imprisonment in the discretion of the court.

            1925 Mich. Pub. Acts 473, An Act to Regulate the Possession and Sale of Pistols, Revolvers and
            Guns, to Provide a Method of Licensing Those Carrying Such Weapons Concealed, and to
            Provide Penalties for Violations of Such Regulations, § 2-4.
            § 2. Any person who shall commit or attempt to commit a felony when armed with a pistol,
            revolver or gun, as defined in section one, shall, in addition to the punishment provided for
(106 of 300), Page 106 of 300
                            Case: 24-565, 04/17/20E4RD11126@/: 10.7, Page 106 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 275 of 347


            committing the crime, be punished by imprisonment for not less than two nor more than five
            years within the discretion of the court. § 3. The court shall have power to sentence any person
            who may be convicted of a second offense to double the addition penalty imposed under section
            two thereof for carrying such concealed weapon without a license. § 4. In the trial of a person for
            the commission of murder, assault with intent to do great bodily harm, robbery, larceny, or any
            attempt to commit any of such offenses, the fact that he was armed with a pistol, revolver or gun
            as herein defined and had no permit to carry the same, shall be prima facie evidence of his
            intention to commit the crime with which he is charged[.]
            No person shall carry a pistol, revolver or gun concealed on or about his person or in any vehicle
            owned or operated by him, except in his dwelling house, place of business or on his premises,
            without a license therefor, as hereinafter provided. The provisions of this section, however, shall
            not apply to the regular and ordinary transportation of pistols, revolvers or guns as merchandise,
            or to any member of the army, navy or marine corps of the United States, or to the national guard
            when on duty, or organizations by law authorized to purchase or receive such weapons from the
            United States or from this state, nor to duly authorized military organizations when on duty, nor
            to the members thereof when going to or returning from their customary places of assembly, nor
            to wholesale or retail dealers therein, nor to peace officers of the state.

            1925 Mich. Pub. Acts 47, An Act to Regulate the Possession and Sale of Pistols, Revolvers and
            Guns, to Provide a Method of Licensing Those Carrying Such Weapons Concealed, and to
            Provide Penalties for Violations of Such Regulations, § 7.
            No person shall deliver or otherwise transfer a pistol, revolver or gun as defined in this act, to a
            person unless it be securely wrapped and unloaded. Before the same is delivered to the
            purchaser, he shall sign in triplicate and deliver to the seller a statement containing his full name,
            address, occupation, nationality, the date of sale, the caliber, make, model and manufacturer's
            number of the weapon. The seller shall, within thirty days thereafter, sign and mail by registered
            letter one copy thereof to the secretary of state, one copy to the chief of police of the city or
            village in which the same was sold or to the sheriff of the county of which the seller is a resident
            and shall retain the other copy. This section shall not apply to sales at wholesale. Any person
            convicted of wilfully violating the provisions of this section shall be punished by a fine of not
            less than one hundred dollars or by imprisonment of not more than one year or by both such fine
            and imprisonment in the discretion of the magistrate.

            1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling, Purchasing,
            Possessing and Carrying of Certain Firearms, § 3.
            It shall be unlawful within this state to manufacture, sell, offer for sale, or possess any machine
            gun or firearm which can be fired more than sixteen times without reloading, or any muffler,
            silencer or device for deadening or muffling the sound of a discharged firearm, or any bomb or
            bombshell, or any black ack, slung shot, billy, metallic knuckles, sandclub, sandbag or bludgeon.
            Any person convicted of a violation of this section shall be guilty of a felony and shall be
            punished by a fine not exceeding one thousand dollars or imprisonment in the state prison not
            more than five years, or by both such fine and imprisonment in the discretion of the court....

            1927 Mich. Pub. Acts 891, An Act to Regulate and License the Selling, Purchasing, Possessing
            and Carrying of Certain Firearms, § 9.
(107 of 300), Page 107 of 300
                            Case: 24-565, 04/17/20E4RD111g6l11y: 10.7, Page 107 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 276 of 347


             SEC. 9. On or before the first day of November, nineteen hundred twenty-seven, any person
             within this state who owns or has in his possession a pistol as defined in this act, shall, if he
             reside in an incorporated city or an incorporated village having an organized police department,
             present such weapon for safety inspection to the commissioner or chief of police of such city or
             village, if such person reside in a part of the county not included within the corporate limits of
             such city or village he shall so present such pistol for safety inspection to the sheriff of such
             county. Any person owning or coming into possession of a pistol after the first day of November,
             nineteen hundred twenty-seven, shall forthwith present such pistol for safety inspection in the
             manner provided in this section. A certificate of inspection shall thereupon be issued in triplicate
             on a form provided by the commissioner of public safety, containing the name, age, address,
             description and signature of the person presenting such pistol for inspection, together with a full
             description thereof, the original of such certificate shall be delivered to the registrant, the
             duplicate thereof shall be mailed to the commissioner of public safety and field and indexed by
             him and kept as a permanent official record for a period of six years, and the triplicate of such
             certificate shall be retained and filed in the office of said sheriff, or commissioner or chief of
             police, as the case may be. The provisions of this section shall not apply to wholesale or retail
             dealers in firearms or to collections of pistols kept solely for the purpose of display, as relics,
             souvenirs, curios or antiques, nor to weapons heretofore registered under the provisions of
             section eleven of act number three hundred thirteen of the public acts of nineteen hundred
             twenty-five. Any person who fails to comply with the provision of this section shall be guilty of
             a misdemeanor and shall be punished by a fine not exceeding one hundred dollars or
             imprisonment in the county jail not exceeding ninety days, or by both such fine and
             imprisonment in the discretion of the court.

             MINNESOTA

             Henry John Hom, The Charter and Ordinances of the City of St. Paul, Together with Legislative
             Acts Relating to the City, and the State Constitution, in an Appendix Page 113, Image 114
             (1858) available at The Making of Modem Law: Primary Sources. 1858
             Revised Ordinances [of the City of St. Paul], An Ordinance to Restrain the Use of Fire Arms and
             the Exhibition of Fire Works. The Common Council of the City of Saint Paul do ordain as
             follows: § 1. It shall not be lawful for any person to fire or discharge any cannon, gun, fowling
             piece, pistol or fire arms of any description, or fire, explode or set off any squib, cracker or other
             thing containing powder or other combustible or explosive material, or to exhibit any fire works
             or make or exhibit any bonfire, within the limits of said city, without permission from the
             Common Council or written permission from the Mayor, which permission shall limit the time of
             such firing, and shall be subject to be revoked by the Common Council at any time after it has
             been granted. §2. Any person violating any provision of this ordinance, shall on conviction
             thereof, be punished by a fine not exceeding one hundred dollars.

             The Charter and Ordinances of the City of St. Paul, (To August 1st, 1863, Inclusive,) Together
             with Legislative Acts Relating to the City. Page 166-167, Image 167-168 (1863) available at The
             Making of Modem Law: Primary Sources. 1858
             Ordinances of the City of St. Paul, An Ordinance to Regulate the Sale of Gunpowder, § 1. No
             person shall keep, sell or give away gunpowder or guncotton in any quantity without first having
             paid into the City Treasurer the sum of five dollars, and obtain from the Common Council a
(108 of 300), Page 108 of 300
                            Case: 24-565, 04/17/20E4RD11126@/: 10.7, Page 108 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 277 of 347


            permission in writing, signed by the Mayor and Clerk, and sealed with the corporate seal, under a
            penalty not exceeding fifty dollars, for every offence, provided any person may keep for his own
            use not exceeding one pound of powder or one pound of gun cotton, at one and the same time. §
            2. All applications for permits shall be addressed to the Common Council, in writing, signed by
            the applicant. Not exceeding four permits shall be granted in any one block, when the number of
            applications in any block shall at any time exceed the numbers to be granted, the requisite
            number shall by chosen by ballot. When issued, the Clerk shall make an entry thereof in a
            register to be provided for the purpose which entry shall state the name and place of business,
            and date of permits. Persons to whom permits may be issued, shall not have or keep at their place
            of business or elsewhere within the city, a greater quantity of gunpowder or guncotton than fifty
            pounds at one time, and the same shall be kept in tin canisters or cans, or kegs securely looped
            and headed, containing not to exceed twenty-five pounds each and in a situation remote from
            fires or lighted lamps, candles or gas, from which they may be easily removed in case of fire.
            Nor Nor shall any person sell or weigh any gunpowder or guncotton, after the lighting of lamps
            in the evening, unless in sealed canisters or cans. It shall be the duty of every person to whom a
            permit shall be given to keep a sign at the front door of his place of business, with the word
            "gunpowder" painted or printed thereon in large letters. Any person violating any clause of this
            section, shall, upon conviction therof be punished by a fine of not less than ten, nor more than
            one hundred dollars. § 3. No person shall convey or carry any gunpowder or guncotton,
            exceeding (one pound in quantity) through any street or alley in the city, in any cart, carriage,
            wagon, dray, wheelbarrow, or otherwise, unless the said gunpowder or guncotton be secured in
            tight cans or kegs well headed and hooped, sufficient to prevent such gunpowder or guncotton
            from being spilled or scattered, under a penalty of fifty dollars. § 4. All permissions granted
            under this ordinance shall expire on the second Tuesday of May in each year, and no permit shall
            be granted to any retailer of intoxicating liquors, or to any intemperate person. The clerk shall be
            entitled to a fee of one dollar for every permit which may be issued.

            W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the State of
            Minnesota Relating to the City of Saint Paul, and the Ordinances of the Common Council,
            Revised to December l, 1884 Page 289, Image 295 (1884) available at The Making of Modern
            Law: Primary Sources. 1882
            Concealed Weapons - License, § 1. It shall be unlawful for any person, within the limits of the
            city of St. Paul, to carry or wear under his clothes, or concealed about his person, any pistol or
            pistols, dirk, dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
            bowie-knife, dirk-krlife or razor, or any other dangerous or deadly weapon. § 2. Any such
            weapons or weapons, duly adjudged by the municipal court of said city to have been wom or
            carried by any person, in violation of the first section of this ordinance, shall be forfeited or
            confiscated to the said city of St. Paul, and shall be so adjudged. § 3. Any policeman of the city
            of St. Paul, may, within the limits of said city, without a warrant, arrest any person or persons,
            whom such policeman may find in the act of carrying or wearing under their clothes, or
            concealed about their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-
            knuckles, or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any other
            dangerous or deadly weapon, and detain him, her or them in the city jail, until a warrant can be
            procured, or complaint made for the trial of such person or persons, as provided by the charter of
            the city of St. Paul, for other offenses under said charter, and for the trial of such person or
            persons, and for the seizure and confiscation of such of the weapons above referred to, as such
(109 of 300), Page 109 of 300
                            Case: 24-565, 04/17/20E4RD11126@y: 10.7, Page 109 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 278 of 347


            person or persons may be found in the act of carrying or wearing under their clothes, or
            concealed about their persons.

            George Brooks Young. General Statutes of the State of Minnesota in Force January 1, 1889 Page
            1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern Law: Primary Sources.
            1888 ,
            Making, Selling, etc., Dangerous Weapons, § 333. A person who manufactures, or causes to be
            manufactured, or sells, or keeps for sale, or offers or gives or disposes of any instrument or
            weapon of the kind usually known as slung-shot, sand-club, or metal knuckles, or who, in any
            city of this state, without the written consent of a magistrate, sells or gives any pistol or fire-arm
            to any person under the age of eighteen years, is guilty of a misdemeanor. Carrying, using, etc.,
            certain Weapons, § 334. A person who attempts to use against another, or who, with intent so to
            use, carries, conceals, or possesses any instrument or weapon of the kind commonly known as a
            slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol or other fire-arm, or any
            dangerous weapon, is guilty of a misdemeanor.

            Harry Toulmin, Ordinances of the City of Saint Paul, from May, 1887, to July, 1889 Page 90,
            Image 90 (1889) available at The Making of Modern Law: Primary Sources. 1889
            Ordinances of the City of St. Paul, [Establishing and Fixing the License to be Paid to the City of
            St. Paul for Conducting, Managing or Carrying on Either or any of the Different Branches of
            Business Hereinafter Mentioned and Limiting the Duration Thereof, and Also Repealing Certain
            Ordinances Herein Named,] § 2. The different and various kinds of business, employments and
            avocations for which licenses are hereby fixed and established, and the sum and amount of the
            license for each separate one are as follows, to wit: Gun powder .             .$15.00.

            MISSISSIPPI

            1804 Miss. Laws 90-91, An Act Respecting Slaves, § 4.
            [Slaves not to carry offensive or defensive weapons]. [N]o Slave shall keep or carry any gun,
            powder, shot, club or other weapon whatsoever offensive or defensive, except tools given him to
            work with, or that he is ordered by his master, mistress or overseer to carry the said articles from
            one place to another, but all, and every gun, weapon or ammunition found in the possession or
            custody of any slave, may be seized by any person, and upon due proof thereof made before any
            justice of the peace of the county or corporation, where such seizure shall be made, by his order,
            be forfeited to the seizer for his own use, and moreover, every such offender shall have and
            receive by order of such justice, any number of lashes not exceeding thirty nine, on his bare back
            for every such offence: Provided nevertheless, That any justice of the peace may grant, in his
            proper county, permission in writing, to any slave, on application of his master, or overseer to
            carry and use a gun and ammunition within the limits of his said master's or owner's plantation,
            for a term not exceeding one year, and recoverable, at any time within such term, at the
            discretion of said justice.

            [REGULATORY TAX] 1867 Miss. Laws 327-28, An Act To Tax Guns And Pistols in The
            County Of Washington, ch. 249, § 1.
            [A] tax of not less than five dollars or more than fifteen dollars shall be levied and assessed
            annually by the board of Police of Washington county upon every gun and pistol which may be
(110 of 300), Page 110 of 300
                            Case: 24-565, 04/17/20E4RD1112614y: 10.7, Page 110 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 279 of 347


             in the possession of any person in said county, which tax shall be payable at any time on
             demand, by the Sheriff, and if not so paid, it shall be the duty of the Sheriff to forthwith distrain
             and seize such gun or pistol, and sell the same for cash at the door of the Court House, after
             giving ten days notice by advertisement, posted in front of said Court House, and out of the
             proceeds of such sale, there shall be paid the amount of such tax and the cost of sale, and if any
             surplus remains, it shall be paid to the owner of such gun or pistol. The amount of the tax so
             assessed and collected, shall be paid to the county Treasurer, and shall constitute a part of the
             bridge fund of said county.

             1906 Miss. Laws 367, Privilege Taxes, ch. 114, § 3887.
             Dealers in Deadly Weapons: On each person or firm dealing in pistols, dirk knives, sword canes,
             brass or metallic knuckles, or other deadly weapons (shotguns and rifles excepted) - 100.00. And
             which shall be in addition to all and any other taxes or privileges paid. On each firm or dealer
             selling air guns, target or flaubert rifles (and this shall apply even if the same has a license to sell
             merchandise, pistols or cartridges) - $25.00.

             MISSOURI

             Henry S. Geyer, A Digest of the Laws of Missouri Territory. Comprising: An Elucidation of the
             Title of the United States to Louisiana:-Constitution of the United States:-Treaty of Session:-
             Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish Regulations for
             the Allotment of Lands:- Laws of the United States, for Adjusting Titles to Lands, &c. to Which
             are Added, a Variety of Forms, Useful to Magistrates Page 374, Image 386 (1818) available at
             The Making of Modern Law: Primary Sources. 1818
             Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder, shot, club or
             other weapon whatsoever, offensive or defensive, but all and every gun weapon and ammunition
             found in the possession or custody of any negro or mulatto, may be seized by any person and
             upon due proof made before any justice of the peace of the district [county] where such seizure
             shall be, shall by his order be forfeited to the seizor, for his own use, and moreover, every such
             offender shall have and receive by order of such justice any number of lashes not exceeding
             thirty nine on his or her bare back well laid on for every such offence. § 4. Every free negro or
             mulatto, being a housekeeper may be permitted to keep one gun, powder and shot, and all
             negroes or mulattoes bond or free, living at any frontier plantation, may be permitted to keep and
             use guns, powder shot and weapons, offensive and defensive, by license from a justice of the
             peace of the district [county] wherein such plantation lies, to be obtained upon the application of
             free negroes or mulattoes or of the owners of such as are slaves.

             Adam B. Chambers, The Revised Ordinances of the City of Saint Louis, Revised and Digested
             by the Fifth City Council during the First Session, Begun and Held in the City of St. Louis, on
             the Second Monday of May, A. D. 1843. with the Constitutions of the United States and the
             State of Missouri, and the City Charter Page 304, Image 305 (1843) available at The Making of
             Modem Law: Primary Sources. 1843
             [Ordinances of Kansas City,] Misdemeanors, § 10. Every person who shall discharge any cannon
             or other ordinance, or fire off any carbine, fusil, rifle, musket, gun, pistol, or other arms, or set
             off any squib or cracker, or fly any kite in the air, within the city, shall be deemed guilty of a
             misdemeanor. This section shall not apply to the firing of salutes by any military corps, or to the
(111 of 300), Page 111 of 300
                           Case: 24-565, 04/17/20E4RD111268/: 10.7, Page 111 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 280 of 347


            firing of salutes upon any occasion of general public interest. Provided, such firing be caused by
            persons, associations or companies, volunteers or otherwise, who may be engaged in lawful
            celebrations of public rejoicings, or in the lawful military exercises of said companies or
            volunteers, nor to prevent any manufacturer from trying or proving the articles manufactured by
            him within the limits of the city, provided the same be done without danger or injury to the
            neighborhood. § II. Every person who shall fire any heavy cannon, or set off any rockets or fire
            works, or illuminate in any unusual manner any house or building, without first having obtained
            written permission from the Mayor, specifying the time and place, when and where the same
            shall be allowed, shall be deemed guilty of a misdemeanor.

            1844 Mo. Laws 577, An Act To Restrain Intercourse With Indians, ch. 80, § 4.
            No person shall sell, exchange or give, to any Indian, any horse, mule, gun, blanket, or any other
            article or commodity whatever, unless such Indian shall be traveling through the state, and leave
            a written permit from the proper agent, or under the direction of such agent in proper person.

            1854 Mo. Laws 1094, An Act Concerning Free Negros and Mulattoes, ch. 114, §§ 2-3 .
            § 2. No free negro or mulatto shall be suffered to keep or carry any firelock, or weapon of any
            kind, or any ammunition, without license first had and obtained for the purpose, from a justice of
            the peace of the county in which such free negro or mulatto resides, and such license may be
            revoked at any time by the justice granting the same or by any justice of the county. § 3. Any
            gun, firelock, or weapon of any kind, or any ammunition, found in the possession of any free
            negro or mulatto not having a license, as required by the last preceding section, may be seized by
            any person, and upon due proof thereof, before any justice of the peace of the county in which
            such seizure shall have been made, shall be forfeited by order of such justice, to the person
            making the seizure, for his own use.

            Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together with the
            Constitution of the United States, and of the State of Missouri, the Charter of the City, and a
            Digest of the Acts of the General Assembly, Relating to the City Page 491-492, Image 499-500
            (1871) available at The Making of Modern Law: Primary Sources. 1871
            Ordinances of the City of St. Louis, Misdemeanors, § 9. Hereafter it shall not be lawful for any
            person to wear under his clothes, or concealed about his person, any pistol, or revolver, colt,
            billy, slung shot, cross knuckles, or knuckles of lead, brass or other metal, bowie knife, razor,
            dirk knife, dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or deadly
            weapon, within the City of St. Louis, without written permission from the Mayor, and any person
            who shall violate this section shall be deemed guilty of a misdemeanor, and, upon conviction
            thereof, be fined not less than ten nor more than five hundred dollars for each and every offence.
            § 10. Nothing in the preceding section shall be so construed as to prevent any United States,
            State, county or city officer, or any member of the city government, from carrying or wearing
            such weapons as may be necessary in the proper discharge of his duties.

            An Ordinance in the Revision of the Ordinances Governing the City of Kansas (Kansas City,
            MO, Isaac P. Moore's Book and Job, 1880), p. 264, Sec. 3. 1880
            Chapter XXXIV. Public Safety....
            Sec. 3. No person shall, in this city, wear under his clothes or concealed about his person, any
            pistol or revolver, except by special permission from the Mayor, nor shall any person wear under
(112 of 300), Page 112 of 300
                            Case: 24-565, 04/17/20E4RD111,'§6@/: 10.7, Page 112 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 281 of 347


             his clothes, or concealed about his person, any slung-shot, cross krluckles, krluckles of lead, brass
             or other metal, or any bowie knife, razor, billy, dirk, dirk-knife or dagger, or any knife
             resembling a bowie knife, or any other dangerous or deadly weapon. Any person, violating any
             provision or requirement of this section, shall be deemed guilty of a misdemeanor, and, upon
             conviction thereof before the City Recorder, shall be fined not less than fifty dollars nor more
             than five hundred dollars 1 Provided, however, That this section shall not be so construed as to
             prevent any United States, State, County or City officer, or any member of the City government,
             from carrying such weapons as may be necessary in the proper discharge of his duties.

             Henry Smith Kelley, Laws Applicable to and Governing the City of Saint Joseph, Mo., As a City
             of the Second Class, Contained in the Revised Statutes of 1879, and Subsequent Legislative
             Enactments, Also the General Ordinances Now in Force, Revised and Made to Conform to the
             Laws Governing Such Cities Page 192, Image 222 (1888) available at The Making of Modern
             Law: Primary Sources. 1888
             General Ordinances [of the City of St. Joseph], [Amusement-Shows,] Shooting Gallery, license
             for. - § 3. No person shall carry on or take part in carrying on, any pistol gallery or shooting
             gallery, without a license therefor from said city, and the charge for such license shall be five
             dollars per month.

             The Municipal Code of St. Louis (St. Louis: Woodward 1901), p.738, Sec. 1471. 1892
             Chapter 18. Of Misdemeanors.
             Sec. 1471. Concealed weapons - carrying of, prohibited.
             Hereafter it shall not be lawful for any person to wear under his clothes, or concealed about his
             person, any pistol or revolver, colt, billy, slung shot, cross knuckles, or knuckles of lead, brass or
             other metal, bowie knife, razor, dirk knife, dirk, dagger, or any knife resembling a bowie knife or
             any other dangerous or deadly weapon, within the City of St. Louis, without written permission
             from the mayor, and any person who shall violate this section shall be deemed guilty of a
             misdemeanor, and upon conviction thereof, be fined not less than ten nor more than five hundred
             dollars for each and every offense.

             The Revised Ordinances of the City of Huntsville, Missouri, of 1894. Collated, Revised, Printed
             and Published by Authority of the Mayor and Board of Aldermen of the City of Huntsville,
             Missouri, Under an Ordinance of the Said City, Entitled: "An Ordinance in Relation to
             Ordinances, and the Publication Thereof." Approved on the llth Day of June, 189 Page 58-59,
             Image 58-59 (1894) available at The Making of Modern Law: Primary Sources. 1894
             Ordinances of the City of Huntsville, An Ordinance in Relation to Carrying Deadly Weapons, §
             1. If within the city any person shall carry concealed upon or about his person any deadly or
             dangerous weapon, or shall go into any church or place where people have assembled for
             religious worship, or into any school room or place where people are assembled for educational,
             literary or social purposes, or to any election precinct on any election day, or into any court room
             during the sitting of court, or into any other public assemblage of persons met for any lawful
             purpose other than for militia drill or meetings called under militia law of the state, having upon
             or about his person any kind of fire arms, bowie-knife, dirk, dagger, sling-shot, or other deadly
             weapon or shall in the presence of one or more persons exhibit any such weapon in a rude, angry
             or threatening manner, or shall have or carry any such weapon upon or about his person when
             intoxicated or under the influence of intoxicating drinks, he shall be deemed guilty of a
(113 of 300), Page 113 of 300
                            Case: 24-565, 04/17/20E4RD11126t7y: 10.7, Page 113 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 282 of 347


             misdemeanor, and upon conviction thereof, shall be punished by a fine of not less than five nor
             more than one hundred dollars, or by imprisonment in the city prison not exceeding thirty days
             nor less than five days or by both such fine and imprisonment, provided, the Mayor may grant
             permission to any person to discharge gun, pistol or other firearms under the proper
             circumstances shown to him. § 2. The next preceding section shall not apply to police officers,
             nor to any officer or person whose duty it is to exercise process or warrants, or to suppress
             breaches of the peace or to make arrests, nor to persons moving or travelling peaceably through
             this state, and it shall be good defense to the charge of carrying such weapon, if the defendant
             shall show that he has been threatened with great bodily harm, or had good reason to carry the
             same in the necessary defense of his home, person or property.

             Francis M. Wilson, The Revised Statutes of the State of Missouri, 1899. To This Volume are
             Annexed the Acts of Congress in Relation to the Election of United States Senators, in Relation
             to Fugitives from Justice, Concerning Naturalization and the Authentication of Public Records,
             an Appendix Containing the Scheme and Charter of and Laws Specially Applicable to the City
             of St. Louis and the Acts Establishing the Criminal Court of the Fifteenth Circuit, the Criminal
             Court of Jackson County, the Criminal Court of Buchana County, the Criminal Court of Greene
             County, the Louisiana Court of Common Pleas, the Hannibal Court of Common Pleas, the Cape
             Girardeau Court of Common Pleas and the Sturgeon Court of Common Pleas. Revised and
             Promulgated by the Fortieth General Assembly Page 1752, Image 645 (Vol. 2, 1899) available at
             The Making of Modern Law: Primary Sources. 1899
             [Permit to Keep Explosives, § 7457. No person, corporation or joint-stock company shall, on and
             after ten days after this article shall take effect, have retain or keep in his possession or under his
             or her control, nor sell, give away or in any manner or way dispose of dynamite, giant powder,
             nitro-glycerine or any explosive substance, except gunpowder and blasting powder for ordinary
             purposes, without first obtaining a permit authorizing the same from the clerk of the county
             court, or mayor of the city of St. Louis, in whichever county or city such applicant may desire to
             do such business, nor without first making and delivering the affidavit required by the next
             succeeding section of this article.]

             1921 Mo. Laws 691, 692
             Section 1. Pistol, revolver or firearms to be plainly marked. No wholesaler or dealer therein shall
             have in his possession for the purpose of sale, or shall sell, any pistol, revolver, or other firearm
             of a size which may be concealed upon the person, which does not have plainly and permanently
             stamped ,upon the metallic portion thereof, the trademark or name of the maker, the model and
             the serial factory number thereof, which number shall not be the same as that of any other such
             weapon of the same model made by the same maker, and the maker, and no wholesale or retail
             dealer therein shall have in his possession for the purpose of sale, or shall sell, any such weapon
             unless he keep a full and complete record of such description of such weapon, the name and
             address of the person from whom purchased and to whom sold, the date of such purchase or sale,
             and in the' case of retailers the date of the permit and the name of the circuit clerk granting the
             same, which record shall be open to inspection at all times by any police officer or other peace
             officer of this state.
             Sec. 2. Shall secure permit to acquire weapon.-No person, other than a manufacturer or
             wholesaler thereof to or from a wholesale or retail dealer therein, for the purposes of commerce,
             shall directly or indirectly buy, sell, borrow, loan, give away, trade, barter, deliver or receive, in
(114 of 300), Page 114 of 300
                           Case: 24-565, 04/17/20E4RD111268/: 10.7, Page 114 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 283 of 347


            this state, any pistol, revolver or other firearm of a size which may be concealed upon the person,
            unless the buyer, borrower or person receiving such weapon shall first obtain and deliver to, and
            the same be demanded and received by, the seller, loaner, or person delivering such weapon,
            within thirty days after the issuance thereof, a permit authorizing such person to acquire such
            weapon. Such permit shall be issued by the circuit clerk of the county in which the applicant for
            a permit resides in this state, if the sheriff be satisfied that the person applying for the same is of
            good moral character and of lawful age, and that the granting of the same will not endanger the
            public safety. The permit shall recite the date of the issuance thereof and that the same is invalid
            after thirty days after the said date, the -name and address of the person to whom granted and of
            the person from whom such weapon is to be acquired, the nature of the transaction, and a full
            description of such weapon, and shall be countersigned by the person to whom granted in the
            presence of the circuit clerk. The circuit clerk shall receive therefor a fee of $0.50. If the permit
            be used, the person receiving the same shall return it to the circuit clerk within thirty days after
            its expiration, with a notation thereon showing the date and manner of the disposition of such
            weapon. The circuit clerk shall keep a record of all applications for such permits and his action
            thereon, and shall preserve all returned permits. No person shall in any manner transfer, alter or
            change any such permit or make a false notation thereon or obtain the same upon any false
            representation to the circuit clerk granting the same, or use or attempt to use a permit granted to
            another.
            Sec. 3. Weapons must be stamped.-No person within this state shall lease, buy or in anywise
            procure the possession from any person, firm or corporation within or without the state, of any
            pistol, revolver or other firearm of a size which may be concealed upon the person, that is not
            stamped as required by section l of this act, and no person shall buy or otherwise acquire the
            possession of any such article unless he shall have first procured a written permit so to do from
            the circuit clerk of the county in which such person resides, in the manner as provided in section
            2 of this act.
            Sec. 4. Manufacture not prohibited.-Nothing herein contained shall be considered or construed as
            forbidding or making it unlawful for a dealer in or manufacturer of pistols, revolvers or other
            firearms of a size which may be concealed upon the person, located in this state, to ship into
            other states or foreign countries, any such articles whether stamped as required by this act or not
            so stamped.

            MONTANA

            Decius Spear Wade, The Codes and Statutes of Montana. In Force July 1st, 1895. Including the
            Political Code, Civil Code, Code of Civil Procedure and Penal Code. As Amended and Adopted
            by the Fourth Legislative Assembly, Together with Other Laws Continued in Force Page 873,
            Image 914 (Vol. 2, 1895) available at The Making of Modern Law: Primary Sources. 1895
            Crimes Against the Public Peace, § 759: Every person who brings into this state an armed person
            or armed body of men for the preservation of the peace or the suppression of domestic violence,
            except at the solicitation and by the permission of the legislative assembly or of the governor, is
            punishable by imprisonment in the state prison not exceeding ten years and by a fine not
            exceeding ten thousand dollars.

            1913 Mont. Laws 53, An Act to Provide that Aliens Shall Pay a Gun License, and Providing a
            Penalty for Failure to Obtain License, to Provide for and Regulate the Duties of the Game and
(115 of 300), Page 115 of 300
                            Case: 24-565, 04/17/20E4RD11126@/: 10.7, Page 115 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 284 of 347


            Fish Warden and His Deputies, and to Provide for the Disposition of the Fines so Collected, ch.
            38, § 1.
            There is hereby created a gun license for aliens. No person not a bona fide citizen of the United
            States shall own or have in his possession, in the State of Montana, any gun, pistol or other
            firearm without first having obtained from the Game and Fish Warden a license therefor, which
            said license shall cost the owner of said firearm the sum of Twenty-five ($25) Dollars, and shall
            expire one year from date of issuance thereof, provided, however, that this section shall not
            apply to one who has obtained the Twenty-five ($25) Dollar hunting license required by the laws
            of Montana, provided, further, that the provisions of this section shall not apply to any alien who
            is a bona fide resident of the State of Montana and the owner of not less than one hundred and
            sixty acres of land therein, nor shall it apply to any settler on the public lands of the State of
            Montana who shall have begun to acquire land under the laws of the United States by filing
            thereon, nor shall it apply to persons engaged in tending or herding sheep or other animals, held
            in herd.

            1918 Mont. Laws 6-7,9, An Act Entitled "An Act Providing for the Registration ofAll Fire
            Arms and Weapons and Regulating the Sale Thereof and Defining the Duties of Certain County
            Officers and Providing Penalties for a Violation of the Provisions of This Act," ch. 2, §§ l, 3, 8.
            § l. Within thirty days from the passage and approval of this Act, every person within the State
            of Montana, who owns or has in his possession any fire arms or weapons shall make a full, true,
            and complete verified report upon the form hereinafter provided to the sheriff of the County in
            which such person lives, of all fire arms and weapons which are owned or possessed by him or
            her or are in his or her control, and on sale or transfer into the possession of any other person
            such person shall immediately forward to the sheriff of the County in which such person lives the
            name and address of that purchaser and person into whose possession or control such fire arm or
            weapon was delivered. § 3. Any person signing a fictitious name or address or giving any false
            information in such report shall be guilty of misdemeanor, and any person failing to file such
            report as in this Act provided, shall be guilty of a misdemeanor. § 8. For the purpose of this Act a
            fire arm or weapon shall be deemed to be any revolver, pistol, shot gun, rifle, dirk, dagger, or
            sword.

            NEBRASKA

            1869 Neb. Laws 53, An Act to Incorporate Cities of the First Class in the State of Nebraska, §
            47.
            The City Council shall have power to license all ... vendors of gunpowder[.]

            1895 Neb. Laws 210, Laws of Nebraska Relating to the City of Lincoln, An Ordinance
            Regulating and Prohibiting the Use of Fire-arms, Fire-works and Cannon in the City of Lincoln .
            .. Prescribing Penalties for Violation of the Provisions of This Ordinance, and Repealing
            Ordinances in Conflict Herewith, Art. XVI, § 6.
            The Mayor may grant to so many and such persons as he may think proper, licenses to carry
            concealed weapons, and may revoke any and all of such licenses at his pleasure. Every such
            license shall state the name, age, occupation, and residence, of the person to whom granted, and
            shall be good for one year. A fee of fifty cents shall be paid therefor to the City Treasurer, and by
            him placed in the police fund.
(116 of 300), Page 116 of 300
                            Case: 24-565, 04/17/20E4RD1118?f@/: 10.7, Page 116 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 285 of 347



             NEW HAMPSHIRE

             1820 N.H. Laws 274-76, An Act to Provide for the Appointment of Inspectors and Regulating
             the Manufacture of Gunpowder, ch. 25, §§ 1-9.
             § 1. [T]he Governor ... is hereby authorized to appoint an inspector of gunpowder for every
             public powder magazine, and at every manufactory of gunpowder in this state, and such other
             places as may by him thought to be necessary[.] § 2. [F]rom and after the first day of July next,
             all gunpowder which shall be manufactured within this state shall be composed of the following
             proportions and quality of materials ... § 3. It shall be the duty of each of said inspectors to
             inspect, examine and prove all gunpowder which after the first day of July shall not be deposited
             at any publick [sic] powder magazine, or manufactory of this state ... § 4. [N]o gunpowder
             within this state shall be considered to be of proof unless one ounce thereof, placed in a chamber
             of a four and an half inch howitzer, with the howitzer elevated so as to form an angle of forty-
             five degrees with the horizon, will, upon being fired throw a twelve pound shot seventy-five
             yards at the least. § 5. [W]henever any of said inspectors shall discover any gunpowder,
             deposited at any public powder magazine, or any other place within this state, which is not well
             manufactured or which is composed of impure materials ... the inspector in such case, shall
             mark each cask containing such impure, ill manufactured, or deficient gunpowder, with the word
             "Condemned" on both heads of the cask ... § 6. [I]f any person shall knowingly sell any
             condemned gunpowder ... every such person, so offending, shall forfeit and pay not less than
             two hundred nor more than five hundred dollars ... § 7. [E]ach inspector ... be sworn to the
             faithful and impartial discharge of the duties of his office, and each inspector shall be allowed
             one cent for each pound of gunpowder, by him examined, inspected and proved ... to be paid by
             the owner or owners of the gunpowder. § 8. [I]fany manufacturer of gunpowder shall sell or
             dispose of, or shall cause or permit to be sold or disposed of, or shall export or cause to be
             exported withou the limits of this state, any powder of his manufacture, before the same has been
             inspected and marked agreeably to the provisions of this act, he shall forfeit and pay the sum of
             fifty cents for every pound of powder so sold, disposed of, or exported, to be recovered in the
             manner provided in the sixth section of this act. § 9. [I]f any person with within this state .. shall
             knowingly sell, expose, or offer for sale, within this state, any gunpowder which is not well
             manufactured, or which is composed of impure materials, and which shall not be composed of
             the proof herein before required, shall forfeit and pay not less than five dollars nor more than
             fifty dollars for each and every offence, to be recovered in the manner provided in the sixth
             section of this act.

             1823 N.H. Laws 73-74, An Act to Establish a System of Police in the Town of Portsmouth, and
             for Other Purposes, ch. 34, § 4.
             That if any person or persons shall within the compact part of the town of Portsmouth, that is to
             say, within one mile of the courthouse, fire or discharge any cannon, gun, pistol or other fire
             arms, or beat any drum, (except by command of a military officer, having authority therefor) or
             fire or discharge any rockets, squibs, crackers, or any preparation of gunpowder, (except by the
             permission of the police officers, or of a major part of them first had in writing) ... every such
             person, for every such act shall be taken and deemed to be an offender against the police of
             Portsmouth, and shall be liable to the penalties hereinafter expressed.
(117 of 300), Page 117 of 300
                            Case: 24-565, 04/17/20E4RD1118?fl11y: 10.7, Page 117 of 300

                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 286 of 347


             The Charter, with Its Amendments and the General Ordinances of the City of Dover Page 32,
             Image 32 (1870) available at The Making of Modem Law: Primary Sources. 1870
             General Statutes [Ordinances of the City of Dover, [New Hampshire] Offences Against the
             Police of Towns,] § 5. No person shall, within the compact part of any town, fire or discharge
             any cannon, gun, pistol, or other fire-arms, or beat any drum, except by command of a military
             officer having authority therefor, or fire or discharge any rockets, squibs, crackers, or any
             preparation of gunpowder, except by permission of a majority of the police officers or selectmen
             in writing, or make any bonfire, or improperly use or expose any friction matches, or knowingly
             raise or repeat any false cry of fire.

             1917 N.H. Laws 727-28, An Act for the Regulation of the Sale and Use of Explosives and
             Firearms, ch. 185, §§ 1-3, 6.
             § 1. No person shall manufacture, sell, or deal in firearms or in gunpowder, dynamite, nitro-
             glycerine, or other form of high explosive, unless he shall first obtain, from the selectmen of the
             town or the chief of police of the city where such business is to be conducted, a written license
             therefor, and no person shall conduct such business within the state but outside the limits of any
             organized town or city, unless he shall first obtain such license from the county commissioners
             of the county in which such business is to be conducted, which license shall specify the building
             where such business is to be carried on or material deposited or used. § 2. No such licensed
             person shall sell or deliver firearms to any person not a citizen of the United States, unless he
             shall have legally declared his intention of becoming a citizen, or any such explosive material or
             compound to any person, except upon presentation of a permit such as is hereinafter provided
             for, nor unless satisfied that the same is to be used for a lawful purpose. § 3. Every person so
             licensed shall keep, on blanks to be furnished by the secretary of state, a record of the names and
             residences of all persons to whom he shall sell or deliver firearms or any such explosive material
             or compound, the purpose of which the same is to be used, the date of sale, the amount paid, the
             date of the purchaser's permit, the name and title of the person by whom the permit was issued,
             and, within five days after such sale or delivery, shall file such record thereof with the clerk of
             the city or town wherein he sale or delivery was made, or with the county commissioners in case
             of sales or deliveries within the state, but outside the limits of any organized city or town. The
             records thus filed shall at all times be open to the inspection of the police departments, or other
             public authorities. He shall also affix to the receptacle containing such explosive material or
             compound a label with the name of the compound, his own name, and the date of sale.
             § 6. No person not a citizen of the United States or one who has legally declared his intention of
             becoming such a citizen shall have in his possession any firearm or firearms of whatsoever kind
             or description unless he has a written permit to have such possession issued and signed as
             hereinafter provided. Any such person desiring to possess a firearm or firearms for any lawful
             purpose shall first make written application to the chief of police or selectmen of the town
             wherein he resides ... stating the purposes for which the possession of the firearm or firearms is
             desired and a description of the firearm or firearms. The applicant shall also state his full name,
             occupation, place of residence and if in a city the street and number. If such chief of police or
             selectmen or county commissioners are satisfied that the applicant intends to use the firearm or
             firearms in a lawful manner and as set forth in his application, a permit shall be issued, signed by
             the chief of police of the city, a selectmen of the town, or county commissioners, as the case may
             be, giving to the applicant the right to have in his possession such firearm or firearms. The holder
             of any such permit shall keep the permit on his person at all times when he is in possession of the
(118 of 300), Page 118 of 300
                            Case: 24-565, 04/17/20E4RD1118?f@: 10.7, Page 118 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 287 of 347


            firearm or firearms as authority for such possession and shall exhibit the same when so requested
            by any person.

            1917 N.H. Laws 728-29, An Act for the Regulation of the Sale and Use of Explosives and
            Firearms, ch. 185, § 6.
            No person not a citizen of the United States or one who has legally declared his intention of
            becoming such a citizen shall have in his possession any firearm or firearms of whatsoever kind
            or description unless he has a written permit to have such possession issued and signed as
            hereinafter provided. Any such person desiring to possess a firearm or firearms for any lawful
            purpose shall first make written application to the chief of police or selectmen of the town
            wherein he resides ... stating the purposes for which the possession of the firearm or firearms is
            desired and a description of the firearm or firearms. The applicant shall also state his full name,
            occupation, place of residence and if in a city the street and number. If such chief of police or
            selectmen or county commissioners are satisfied that the applicant intends to use the firearm or
            firearms in a lawful manner and as set forth in his application, a permit shall be issued, signed by
            the chief of police of the city, a selectmen of the town, or county commissioners, as the case may
            be, giving to the applicant the right to have in his possession such firearm or firearms. The holder
            of any such permit shall keep the permit on his person at all times when he is in possession of the
            firearm or firearms as authority for such possession and shall exhibit the same when so requested
            by any person.

            1923 N.H. Laws 138
            SECTION 1. Pistol or revolver, as used in this act shall be construed as meaning any firearm
            with a barrel less than twelve inches in length.
            SECT. 2. If any person shall commit or attempt to commit a crime when armed with a pistol or
            revolver, and having no permit to carry the same, he shall in addition to the punishment provided
            for the crime, be punished by imprisonment for not more than five years.
            SECT. 3. No unnaturalized foreign-born person and no person who has been convicted of a
            felony against the person or property of another shall own or have in his possession or under his
            control a pistol or revolver, except as hereinafter provided. Violations of this section shall be
            punished by imprisonment for not more than two years and upon conviction the pistol or
            revolver shall be confiscated and destroyed.
            SECT. 4. No person shall carry a pistol or revolver concealed in any vehicle or upon his person,
            except in his dwelling house or place of business, without a license therefor as hereinafter
            provided. Violations of this section shall be punished by a fine of not more than one hundred
            dollars or by imprisonment not exceeding one year or by both fine and imprisonment.
            SECT. 5. The provisions of the preceding sections shall not apply to marshals, sheriffs,
            policemen, or other duly appointed peace and other law enforcement officers, nor to the regular
            and ordinary transportation of pistols or revolvers as merchandise, nor to members of the army,
            navy, or marine corps of the United States, nor to the national guard when on duty, nor to
            organizations by law authorized to purchase or receive such weapons, nor to duly authorized
            military or civil organizations when parading, or the members thereof when at or going to or
            from their customary places of assembly.
            SECT. 6. The selectmen of towns or the mayor or chief of police of cities may, upon application
            of any person issue a license to such person to carry a loaded pistol or revolver in this state, for
            not more than one year from date of issue, if it appears that the applicant has good reason to fear
(119 of 300), Page 119 of 300
                           Case: 24-565, 04/17/20E4RD1118 fly: 10.7, Page 119 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 288 of 347


            an injury' to his person or property or for any other proper purpose, and that he is a suitable
            person to be licensed. The license shall be in duplicate and shall bear the name, address,
            description, and signature of the licensee. The original thereof shall be delivered to the licensee,
            the duplicate shall be preserved by the selectmen of towns and the chief of police of the cities
            wherein issued for a period of one year.
            SECT. 7. Any person or persons who shall sell, barter, hire, lend or give to any minor under the
            age of twenty-one years any pistol or revolver shall be deemed guilty of a misdemeanor and shall
            upon conviction thereof be fined not more than one hundred dollars or be imprisoned not more
            than three months, or both. This section shall not apply to fathers, mothers, guardians,
            administrators, or executors who give to their children, wards, or heirs to an estate, a revolver.
            SECT. 8. No person shall sell, deliver, or otherwise transfer a pistol or revolver to a person who
            is an unnaturalized foreign-bom person or has been convicted of a felony against the person
            property of another, except upon delivery of a written permit to purchase, signed by the
            selectmen of the town or the mayor or chief of police of the city. Before a delivery be made the
            purchaser shall sign in duplicate and deliver to the seller a statement containing his full name,
            address, and nationality, the date of sale, the caliber, make, model, and manufacturer's number of
            the weapon. The seller shall, within seven days, sign and forward to the chief of police of the city
            or selectmen of the town one copy thereof and shall retain the other copy for one year. This
            section shall not apply to sales at wholesale. Where neither party to the transaction holds a
            dealer's license, no person shall sell or otherwise transfer a pistol or revolver to any person not
            personally known to him. Violations of this section shall be punished by a fine of not more than
            one hundred dollars or by imprisonment for not more than one year, or by both such fine and
            imprisonment.
            SECT. 9. Whoever, without being licensed as hereinafter provided, sells, advertises, or exposes
            for sale, or has in his possession with intent to sell, pistols or revolvers, shall be punished by
            imprisonment for not more than two years.
            SECT. 10. The selectmen of towns and the chief of police of cities may grant licenses, the form
            of which shall be prescribed by the secretary of state, effective for not more than one year from
            date of issue, permitting the licensee to sell at retail pistols and revolvers subject to the following
            conditions, for breach of any of which the license shall be subject to forfeiture:
            l. The business shall be carried on only in the building designated in the license.
            2. The license or a copy thereof, certified by the issuing authority, shall be displayed on the
            premises where it can easily be read.
            3. No pistol or revolver shall be delivered (a) to a purchaser not personally known to the seller or
            who does not present clear evidence of his identity, nor (b) to an unnaturalized foreign-born
            person or a person who has been convicted of a felony and has no permit as required by section 8
            of this act.
            A true record, in duplicate, shall be made of every pistol or revolver sold, said record to be made
            in a book kept for the purpose, the form of which shall be prescribed by the secretary of state and
            shall be signed by the purchaser and by the person effecting the sale, and shall include the date of
            sale, the caliber, make, model, and manufacturer's number of the weapon, the name, address, and
            nationality of the purchaser. One copy of said record shall, within seven days, be forwarded to
            the selectmen of the town or the chief of police of the city and the other copy retained for one
            year.
(120 of 300), Page 120 of 300
                            Case: 24-565, 04/17/20E4RD1118W4y: 10.7, Page 120 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 289 of 347


            SECT. 11. If any person in purchasing or. otherwise securing delivery of a pistol or revolver
            shall give false information or offer false evidence of his identity he shall be punished by
            imprisonment punished, for not more than two years.
            SECT. 12. No person shall change, alter, remove, or obliterate the name of the maker, model,
            manufacturer's number, or other mark of identification on any pistol or revolver. Possession of
            any such firearms upon which the same shall have been changed, altered, removed, or
            obliterated, shall be presumptive evidence that such possessor has changed, altered, removed or
            obliterated the same. Violations of this section shall be punished by a fine of not more than two
            hundred dollars or by imprisonment for not more
            than one year, or both.
            SECT. 13. All licenses heretofore issued within the state permitting the carrying of pistols or
            revolvers upon the person shall expire at midnight of July 31, 1923 .
            SECT. 14. This act shall not apply to antique pistols or revolvers incapable of use as such.
            SECT. 15. All acts and parts of acts inconsistent herewith are hereby repealed, and this act shall
            take effect upon its passage.

            NEW JERSEY

            Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871, under the Act
            Entitled "An Act to Re-organize the Local Government of Jersey City," Passed March 31, 1871,
            and the Supplements Thereto Page 46, Image 46 (1874) available at The Making of Modem
            Law: Primary Sources. 1871
            [Ordinances of Jersey City, NJ, In Relation to the Sidewalks, Public Grounds and Streets in
            Jersey City,] § 26. No person shall, within this city, fire or discharge any gun, pistol, cannon, or
            fowling piece or other fire-arms, unless in defense of his property or person, nor let off any
            squibs, crackers or other fireworks, unless by permission of the city authorities, under the penalty
            of ten dollars for each and every offense, provided, however, that this section of the ordinance
            shall not apply to the Fourth of July.

            Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871, under the Act
            Entitled "An Act to Re-organize the Local Government of Jersey City," Passed March 31, 1871,
            and the Supplements Thereto Page 86- 87, Image 86-87 (1874) available at The Making of
            Modem Law: Primary Sources. 1873
            An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and Aldermen of
            Jersey City do ordain as follows: § 1. That with the exceptions made in the second section of this
            ordinance, no person shall, within the limits of Jersey City, carry, have or keep on his or her
            person concealed, any slung-shot, sand-club, metal knuckles, dirk or dagger not contained as a
            blade of a pocket knife, loaded pistol or other dangerous weapon. § 2. That policemen of Jersey
            City, when engaged in the performance of police duty, the sheriff and constables of the County
            of Hudson, and persons having permits, as hereinafter provided for, shall be and are excepted
            from the prohibitions of the first section of this ordinance. § 3. The Municipal Court of Jersey
            City may grant permits to carry any of the weapons named in the first section to such persons as
            should, from the nature of their profession, business or occupation, or from peculiar
            circumstances, be allowed so to do, and may, in granting such permits, impose such conditions
            and restrictions in each case as to the court shall seem proper. All applications for permits shall
            be made in open court, by the applicant in person, and in all cases the court shall require a
(121 of 300), Page 121 of 300
                           Case: 24-565, 04/17/205490419155/; 10.7, Page 121 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 290 of 347


            written endorsement of the propriety of granting a permit from at least three reputable
            freeholders, nor shall any such permit be granted to any person until the court is satisfied that
            such person is temperate, of adult age, and capable of exercising self-control . Permits shall not
            be granted for a period longer than one year, and shall be sealed by the seal of the court. The
            possession of a permit shall not operate as an excuse unless the terms of the same are strictly
            complied with. In cases of emergency, permits may be granted by a single Justice of the
            Municipal Court, or by the Chief of Police, to be in force not longer than thirty days, but such
            permit shall not be renewable. §4. That no person shall, within the limits of Jersey City, carry
            any air gun or any sword cane. § 5. The penalty for a violation of this ordinance shall be a fine
            not exceeding fifty dollars, or imprisonment in the city prison not exceeding ten days, or both
            fine and imprisonment not exceeding the aforesaid amount and time, in the discretion of the
            court.

            1902 NJ. Laws 780, An Act to Require Non-residents to Secure Licenses before Hunting or
            Gunning within the State of New Jersey and Providing Penalties for Violation of Its Provisions,
            ch. 263, § 1.
            Every non-resident of this state shall be required to take out a license before he shall begin
            hunting or gunning in this state, which license the several county clerks of this state, and each of
            them, are hereby authorized and required to issue upon the payment by the applicant of a license
            fee of ten dollars, and an issuance fee of fifty cents to the county clerk issuing the same, such
            license shall be a certificate of permission to hunt and gun within the state of New Jersey and
            shall include the name, age and place of residence and business of the applicant with his
            description as nearly as may be[.]

            1905 N.J. Laws 324-25, A Supplement to an Act Entitled "An Act for the Punishment of
            Crimes," ch. 172, § 1.
            Any person who shall carry any revolver, pistol or other deadly, offensive or dangerous weapon
            or firearm or any stiletto, dagger or razor or any knife with a blade of five inches in length or
            over concealed in or about his clothes or person, shall be guilty of a misdemeanor, and upon
            conviction thereof shall be punishable by a fine not exceeding two hundred dollars or
            imprisonment at hard labor, not exceeding two years, or both, provided, however, that nothing in
            this act shall be construed to prevent any sheriff, deputy sheriff, police officer, constable, state
            detective, member of a legally organized detective agency or any other peace officer from
            carrying weapons in the discharge of his duty, nor shall this act apply to any person having a
            written permit to carry such weapon, firearm, stiletto, razor, dagger or knife, from the mayor of
            any city, borough or other municipality, having a mayor, or from the township committee or
            other governing body of any township or other municipality not having a mayor, which permits
            such officers and governing bodies are hereby authorized to grant, said permits shall be issued at
            the place of residence of the person obtaining the same and when issued shall be in force in all
            parts of the state for a period of one year from date of issue unless sooner revoked by the officer
            or body granting the same, and provided further, that nothing contained herein shall prevent any
            person from keeping or carrying about his or her place of business, dwelling house or premises
            any such weapon, firearm, stiletto, dagger, razor or knife, or from carrying the same from any
            place of purchase to his or her dwelling house, or place of business, or from his or her dwelling
            house or place of business to any place where repairing is done to have the same repaired and
            returned, and provided further, that nothing in this act shall be construed to make it unlawful for
(122 of 300), Page 122 of 300
                            Case: 24-565, 04/17/20E4RD1118?f@/: 10.7, Page 122 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 291 of 347


             any person to carry a gun, pistol, rifle or other firearm or knife in the woods or fields or upon the
             waters of this state for the purpose of hunting, a fee of twenty-five cents may be lawfully
             charged by such officer or body granting such permit.

             1914 N.J. Laws 65, Supplement to an Act Entitled "An Act to License Citizens of this State to
             Hunt and Pursue Wild Animals and Fowl," ch. 43, § l.
             No license to hunt, pursue or kill with a gun or any fire-arm any of the game birds, wild animals
             or fowl of this State, shall be issued to any person under the age of fourteen years, and if any
             applicant for license shall misrepresent his age he shall be liable to a penalty of twenty dollars, to
             be sued for and recovered as other penalties under the fish and game laws.

             1916 N.J. Laws 275-76, An Act to Prohibit Any Person from Going into the Woods or Fields
             with a Gun or Other Firearm when Intoxicated, or under the Influence of any Drug or
             Intoxicating Liquor, ch. 130, §§ 1-2.
             1. It shall be unlawful for any person to go into the woods or fields at any time with a gun or
             firearm when intoxicated or under the influence of any drug or drugs or of intoxicating liquor. 2.
             Any person violating any of the provisions of this act shall be liable to a penalty of fifty dollars
             for each offense, to be sued for and recovered in the manner provided and by the persons
             authorized to sued for and recover penalties.... Upon the conviction of any person for violating
             the provisions of this act, the license to hunt and fish of such person issued to him ... shall
             become void, and the justice of the peace, District Court judge, or police magistrate before whom
             such conviction is had, shall take from the person so convicted the license, mark the same
             "revoked" and send it to the Board of Fish and Game Commissioners. If such conviction is
             reversed on appeal the license shall be restored to the defendant. Any license to hunt or fish
             issued to any person convicted of a violation of this act during the calendar year in which such
             offense occurred shall be null and void.

             1927 N.J. Laws 180-81, A Supplement to an Act Entitled "An Act for the Punishment of
             Crimes," ch. 95, §§ 1-2.
             1. The term "machine gun or automatic rifle," as used in this act, shall be construed to mean any
             weapon, mechanism or instrument not requiring that the trigger be pressed for each shot and
             having a reservoir, belt or other means of storing and carrying ammunition which can be loaded
             into the said weapon, mechanism or instrument and fired therefrom at a rate of five or more shots
             to the second. 2. Any person who shall sell, give, loan, furnish or deliver any machine gun or
             automatic rifle to another person, or any person who shall purchase, have or possess any machine
             gun or automatic rifle, shall be guilty of a high misdemeanor, provided, the provisions of this
             section shall not apply to any person who has procured and possesses a license to purchase, have
             and possess a machine gun or automatic rifle as hereinafter provided for, nor to the authorized
             agents and servants of such licensee, or to the officers and members of any duly authorized
             military organization, nor to the officers and members of the police force of any municipality,
             nor to the officers and members of the State Police force, nor to any sheriff or undersheriff, nor
             to any prosecutor of the pleas, his assistants, detectives and employees.

             1927 NJ. Laws 742
               No retail dealer shall sell or expose for sale, or have in his possession with intent to use, any of
             the firearms or instruments enumerated in section one hereof without being licensed as hereafter
(123 of 300), Page 123 of 300
                            Case: 24-565, 04/17/20E4RD1118?ft7y: 10.7, Page 123 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 292 of 347


             provided. The Common Pleas judge of any court of this State, by the Secretary of State, effective
             for not more than one year from date of issue, permitting the licensee to sell at retail within the
             said city or town or political-division, pistols or revolvers, subject to the follow-ing conditions,
             for breach of any of which the license shall be subject to forfeiture:
             l. The business shall be carried on only in the building or buildings designated in the license.
             2. The license or a copy thereof certified by the issuing authority shall be displayed in a
             conspicuous place on the premises where it can be easily read.
             3. No pistol or revolver, or imitation thereof, or placard advertising the sale thereof, shall be
             placed in any window or in any part of said premises where it can be readily seen from the
             outside.
             4. No pistol or revolver shall be delivered (a) unless the purchaser shall have obtained a permit to
             purchase days shall have elapsed after the application for the permit, (c) unless the purchaser
             either is personally known to the seller or shall present evidence of his identity, (d) unless the
             pistol or revolver shall be unloaded and securely wrapped, provided, however, a permit to cover
             a pistol or revolver shall, for the purposes of this section and of section nine of this act, be
             equivalent to a permit to purchase a pistol or revolver. 5. A true record of every pistol shall be
             made in a book kept for the purpose, the form of which shall be prescribed by the Secretary of
             State and shall be personally signed by the person effecting the sale, and shall contain the date of
             the sale, the calibre, make, model, and manufacturer's number of the weapon, and the name,
             address and permit number of the purchaser.
                Any person who shall knowingly sell any of the firearms or instruments enumerated in section
             one hereof to a minor under the age of eighteen years, or to a person not of sound mind, or to a
             drug addict, or to a person who has been convicted of committing or attempting to commit any of
             the crimes enumerated in section two hereof when armed with any of the firearms or instruments
             enumerated in section one hereof, shall he guilty of misdemeanor.
                No person shall sell a pistol or revolver to another person unless the purchaser has first
             secured a permit to purchase or carry a pistol or revolver. No person of good character and who
             is of good repute in the community in which he lives, and who is not subject to any of the
             disabilities set forth in other sections of this act, shall be denied a permit to purchase a pistol or
             revolver. The judge of any court within this State (except, however, justices of the peace), the
             sheriff of a county or the chief of police of a city, town or municipality shall upon application
             issue-to any person qualified under the provisions of this section a permit to purchase a pistol or
             revolver, and the Secretary of State shall have concurrent jurisdiction to issue such permit in any
             case, notwithstanding it has been refused by any other licensing official, if in his opinion the
             applicant is qualified.
             Applications for such permits shall be in form as prescribed by the Secretary of State and shall
             set forth the name, residence, place of business, age, occupation, sex, color, and physical
             description of the applicant, and shall state whether the applicant is a citizen, and whether he has
             ever been convicted of any of the crimes enumerated in section two hereof as defined in this act.
             Such application shall he signed by the applicant and shall contain as reference the names and
             addresses of two reputable citizens personally acquainted with him. Application blanks shall be
             obtainable from the Secretary of State and from any other officers authorized to grant such
             permit.. and may be obtained from licensed retail dealers. The application, together with a fee of
             fifty cents. shall be delivered or forwarded to the licensing authority who shall investigate the
             same, and unless food cause for the denial thereof shall appear, shall rant said permit within
             seven days from the date of the receipt of the application. The permit shall be in form prescribed
(124 of 300), Page 124 of 300
                            Case: 24-565, 04/17/20E4RD1118?f8/: 10.7, Page 124 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 293 of 347


             by the Secretary of State and shall be issued to the applicant in triplicate. The applicant shall
             deliver to the seller the permit in triplicate and the seller shall indorse on the back of each copy
             the make, model, calibre and serial number of the pistol or revolver, sold tinder the permit. One
             copy shall then be returned to the purchaser with the pistol or revolver, one copy shall be kept by
             the seller as a permanent record, and the third copy shall be forwarded by the seller within three
             days to the Secretary of State. If the permit is not granted, the fee shall be returned to the
             applicant.
             All fees for permits shall be paid into the general fund of the State if the permit be issued by the
             Secretary of State, to the municipality if the permit be issued by a municipal officer, in all other
             instances to the general fund of the county wherein the officer acts or the licensee resides or does
             business.
             A person shall not be restricted as to the number of pistols or revolvers he may purchase, if he
             applies for and obtains permits to purchase the same, but only one pistol or revolver shall be
             purchased or delivered on each permit.

             1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled "An Act for the Punishment of
             Crimes," ch. 155, §§ 1-5.
             1. A gangster is hereby declared to be an enemy of the state. 2. Any person in whose possession
             is found a machine gun or a submachine gun is declared to be a gangster, provided, however,
             that nothing in this section contained shall be construed to apply to any member of the military
             or naval forces of this State, or to any police officer of the State or of any county or municipality
             thereof, while engaged in his official duties. 3. Any person, having no lawful occupation, who is
             apprehended while carrying a deadly weapon, without a permit so to do and how has been
             convicted at least three times of being a disorderly person, or who has been convicted of any
             crime, in this or in any other State, is declared to be a gangster. 4. Any person, not engaged in
             any lawful occupation, known to be a member of any gang consisting of two or more persons,
             who has been convicted at least three times of being a disorderly person, or who has been
             convicted of any crime, in this or in any other State, is declared to be a gangster, provided,
             however, that nothing in this section contained shall in any wise be construed to include any
             participant or sympathizer in any labor dispute. 5. Any person convicted of being a gangster
             under the provisions of this act shall be guilty of a high misdemeanor, and shall be punished by a
             fine not exceeding ten thousand dollars ($10,000.00), or by imprisonment not exceeding twenty
             years, or both.

             NEW MEXICO

             1915 N.M. Law 153, An Act to Amend Sections ... of Chapter 85 of the Laws of 1912 Relative
             to the Protection of Game and Fish, ch. 101, §7.
             ... No person shall at any time shoot, hunt or take in any manner any wild animals or birds or
             game fish as herein defined in this state without first having in his or her possession a hunting
             license as hereinafter provided for the year in which such shooting, fishing or hunting is done.
             The presence of any person in any open field, prairie or forest, whether enclosed or not with
             traps, gun or other weapon for hunting, without having in possession a proper hunting license as
             herein provided, shall be prima facie evidence of the violation of this section.

             NEW YORK
(125 of 300), Page 125 of 300
                            Case: 24-565, 04/17/20E4RD1118?f@/: 10.7, Page 125 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 294 of 347



             The Colonial Laws Of New York From The Year 1664 To The Revolution, Including The
             Charters To The Duke Of York, The Commissions And Instructions To Colonial Governors, The
             Dukes Laws, The Laws Of The Dongan And Leisler Assemblies, The Charters Of Albany And
             New York And The Acts Of The Colonial Legislatures From 1691 To 1775 Inclusive Page 40-
             41, Image 62-63 (1896) available at The Making of Modem Law: Primary Sources. 1680.
             Laws of the Colony of New York, Indians. No person shall sell, give or barter directly or
             indirectly any gun or guns, powder, bullet, shot, lead nor any vessel or burthen, or row boat,
             canoes only excepted without license first had and obtained under the governors hand and seal to
             any Indian whatsoever, nor to any person inhabiting out of this Government, nor shall amend or
             repair any gun belonging to any Indian, nor shall sell any armor or weapons, upon penalty of ten
             pounds for every gun, armor, weapon, vessel, or boat so sold given or bartered, five pounds for
             every for every pound of powder, and forty shillings for every pound of shot or lead and
             proportionately for any greater or lesser quantity.

             Laws of the State of New-York, Relating to the City of Schenectady: And the Laws and
             Ordinances of the Common Council of the City of Schenectady Page 58, Image 58 (1824)
             available at The Making of Modem Law: Primary Sources. 1824
             [Ordinances of the City of Schenectady,] XI. And be it further ordained, That if any person shall
             fire or discharge any gun, pistol, rocket, cracker, squib or other fire works, in any street, lane or
             alley, or in any yard, garden or other enclosure, or in any place which persons frequent to walk
             within the limits aforesaid, without permission of the mayor or one of the aldermen or assistants
             of this city, such person shall forfeit for every such offence the sum of one dollar...

             Elliott Fitch Shepard, Ordinances of the Mayor, Aldermen and Commonalty of the City of New
             York, in Force January 1, 1881, Adopted by the Common Council and Published by Their
             Authority Page 214-215, Image 214-215 (1881) available at The Making of Modern Law:
             Primary Sources. 1881
             Carrying of Pistols, § 264. Every person except judges of the federal, state and city courts, and
             officers of the general, state and municipal governments authorized by law to make arrests, and
             persons to whom permits shall have been issued, as hereinafter provided, who shall have in his
             possession within the city of New York a pistol of any description concealed on his person, or
             not carried openly, shall be deemed guilty of a misdemeanor, and shall be punished, on
             conviction by a fine not exceeding ten dollars, or, in default of payment of such fine by
             imprisonment not exceeding ten days. § 265. Any person, except as provided in this article, who
             has occasion to carry a pistol for his protection, may apply to the officer in command at the
             station-house of the precinct where he resided, and such officer, if satisfied that the applicant is a
             proper and law abiding person, shall give said person a recommendation to the superintendent of
             police, or the inspector in command at the central office in the absence of the superintendent,
             who shall issue a permit to the said person allowing him to carry a pistol of any description. Any
             non-resident who does business in the city of New York, and has occasion to carry a pistol while
             in said city, must make application for permission to do so to the officer in command of the
             station-house of the police precinct in which his so does business, in the same manner as is
             required by residents of said city, and shall be subject to the same conditions and restrictions.
(126 of 300), Page 126 of 300
                            Case: 24-565, 04/17/20E4RD11188@/: 10.7, Page 126 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 295 of 347


            Charles Wheeler, By-Laws of the Village of Mechanicville. Adopted by the Trustees October 18,
            1881 Page 7, Image 8 (1881) available at The Making of Modern Law: Primary Sources. 1881
            [Ordinances of the Village of Mechanicville, NY,] Fires and Their Prevention, Fire Arms and
            Fire Works, § 20. No person, except on the anniversary of our national independence, and on that
            day only, at such place or places as the President or Trustees shall permit, shall fire, discharge or
            set off, in the village, any gun, cannon, pistol, rocket, squib, cracker or fire ball, under the
            penalty of five dollars for each offense.

            George R. Don fan, Annotated Code of Criminal Procedure and Penal Code of the State of New
            York as Amended 1882-5 Page 172, Image 699 (1885) available at The Making of Modern Law:
            Primary Sources. 1884
            Carrying, Using, Etc., Certain Weapons, § 410. A person who attempts to use against another, or
            who, with intent so to use, carries, conceals or possesses any instrument or weapon of the kind
            commonly known as the slung-shot, billy, sand -club or metal knuckles, or a dagger, dirk or
            dangerous knife, is guilty of a felony. Any person under the age of eighteen years who shall
            have, carry or have in his possession in any public street, highway or place in any city of this
            state, without a written license from a police magistrate of such city, any pistol or other fire-arm
            of any kind, shall be guilty of a misdemeanor. This section shall not apply to the regular and
            ordinary transportation of fire-arms as merchandise, or for use without the city limits. § 411 .
            Possession, Presumptive Evidence. The possession, by any person other than a public officer, of
            any of the weapons specified in the last section, concealed or furtively carried on the person, is
            presumptive evidence of carrying, or concealing, or possessing, with intent to use the same in
            violation of that section.

            George R. Don fan, Annotated Code of Criminal Procedure and Penal Code of the State of New
            York as Amended 1882-5. Fourth Edition Page 298, Image 824 (1885) available at The Making
            of Modem Law: Primary Sources. 1885
            An Act to Limit the Carrying and Sale of Pistols and other fire arms in the cities of this state.
            Chap. 375, § l. No person under the age of eighteen years shall have, carry or have in his
            possession in any public street, highway or place in any of the cities of this state, any pistol or
            other firearms of any kind, and no person shall in such cities sell or give any pistol or other fire-
            arms to any person under such age. § 2. Any person violating any of the provisions of this act
            shall be guilty of a misdemeanor, and in all trials or examinations for said offense the appearance
            of the person so alleged or claimed to be under the age of eighteen years shall be evidence to the
            magistrate or jury as to the age of such person. § 3. Nothing herein contained shall apply to the
            regular and ordinary transportation of pistols or fire-arms as articles of merchandise in said
            cities, or to the carrying of a gun or rifle through a street or highway of any city, with the intent
            to use the same outside the said city, nor to any person under such age carrying an pistol or
            firearms under license given by the mayor of said cities, but no license so given shall be in force
            more than one year from its date, and all such licenses may be revoked at the pleasure of the
            mayor, and a full complete and public record shall be kept by the mayor of said cities of all such
            licenses and the terms and date thereof.

            Charter and Ordinances of the City of Syracuse: Together with the Rules of the Common
            Council, the Rules and Regulations of the Police and Fire Departments, and the Civil Service
(127 of 300), Page 127 of 300
                            Case: 24-565, 04/17/20E4RD11188111y: 10.7, Page 127 of 300

                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 296 of 347


             Regulations Page 184, Image 185 (1885) available at The Making of Modern Law: Primary
             Sources. 1885
             Ordinances of [the City of Syracuse,] Gunpowder, Etc. § 1. No person except when on military
             duty in the public service of the United States, or of this State, or in case of public celebration
             with permission of the mayor or common council, shall have, keep or possess in any building, or
             carriage, or on any dock, or in any boat or other vessel, or in any other place within the city
             limits, gun-powder, giant- powder, nitro-glycerine, dynamite or other explosive material, in
             quantity exceeding one pound, without written permission from the chief engineer of the fire
             department. Any person violating any of the provisions of this section shall be liable to a fine of
             not less than ten nor more than one hundred dollars, or to imprisonment in the penitentiary of the
             county for not less than thirty days nor more than three months, for each offense.

             Mark Ash, The New York City Consolidation Act, as in Force in 1891: With Notes Indicating
             the Statutory Sources, References to Judicial Decisions, and All Laws Relating to New York
             City, Passed Since January l, 1882, Together with an Appendix of the Royal English Colonial
             Charters of New York City Page 209, Image 233 (Vol. 1, 1891) available at The Making of
             Modem Law: Primary Sources. 1890
             Ordinances of the City of New York, § 455. No person shall manufacture, have, keep, sell, or
             give away any gunpowder, blasting powder, gun-cotton, niro-glycerine, dualin, or any explosive
             oils or compounds, within the corporate limits of the city of New York, except in the quantities
             limited, in the manner, and upon the conditions herein provided, and under such regulations as
             the board of fire commissioners shall prescribe : and said board shall make suitable provision for
             the storage and safe keeping of gunpowder and other dangerous and explosive compounds or
             articles enumerated under this title, beyond the interior line of low water-mark in the city and
             county of New York. The said board may issue licenses to persons desiring to sell gunpowder or
             any of the articles mentioned under this section at retail, at a particular place in said city to be
             named in said license (provided that the same shall not be in a building used in any part thereof
             as a dwelling unless specially authorized by said license), and persons so licensed may on their
             premises, if actually kept for sale, persons so licensed may have on their premises, if actually
             kept for sale, a quantity not exceeding at any one time, of nitro-glycerine, five pounds, of gun-
             cotton, five pounds of gunpowder, fourteen pounds, blasting powder, twenty-five pounds...

             1891 N.Y. Laws 129, 177, An Act to Revise the Charter of the City of Buffalo, ch. 105, tit. 7, ch.
             2, § 209.
             No person other than members of the police force, regularly elected constables, the sheriff of
             Erie county, and his duly appointed deputies, shall, in the city, carry concealed upon or about his
             person, any pistol or revolver, or other dangerous weapon or weapons, without first obtaining a
             permit, as hereinbefore provided, and such permit shall be produced and exhibited by any person
             holding the same, upon the request of a member of the police force. A violation of any of the
             provisions of this section shall be a misdemeanor and punishable as such, and all fines imposed
             and collected for such violations shall be deposited to the credit of said pension fund by the clerk
             of the court imposing the same.

             Rules, By-Laws and Ordinances of the Village of Wappingers Falls. Adopted September 13,
             1898 Page 34, Image 32.(Wappingers Falls, 1898) available at The Making of Modern Law:
             Primary Sources. 1898
(128 of 300), Page 128 of 300
                            Case: 24-565, 04/17/20E4RD11188@: 10.7, Page 128 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 297 of 347


            Ordinances of Wappinger Falls. Park Ordinances. § 1. No person or persons shall fire or
            discharge any gun or pistol or other firearm, or any rocket torpedo, or other fireworks of any
            description, nor send up any balloon, nor throw stones or missiles, nor play ball within the limits
            of Mesier Park, without the permission obtained of the Park Commissioners at a meeting of the
            Board.

            An Ordinance to regulate the government of parks and other public pleasure grounds of The City
            of New York, at 600 (1903). 1903
            Be it Ordained by the Board of Aldermen of The City of New York, as follows: All persons are
            forbidden ...
            XXIV. No one shall fire or carry any firearm, fire cracker, torpedo or fire-works, nor make a fire,
            nor make any oration, nor conduct any religious or other meeting or ceremony within any of the
            parks, parkways, squares or places in The City of New York under the jurisdiction of the
            Department of Parks without special permission from the Commissioner having jurisdiction.

            1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale and Carrying
            of Dangerous Weapons. ch. 195, §1.
            Section ... eighteen hundred and ninety-seven ... [is] hereby amended to read as follows: §
            1897. Carrying and use of dangerous weapons. A person who attempts to use against another, or
            who carries, or possesses any instrument or weapon of the kind commonly known as a blackjack,
            slunghsot, billy, sandclub, sandbag, metal knuckles or bludgeon, or who with intent to use the
            same unlawfully against another, carries or possesses a dagger, dirk, dangerous knife, razor,
            stiletto, or any other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
            under the age of sixteen years, who shall have, carry, or have in his possession, any of the
            articles named or described in the last section, which is forbidden therein to offer, sell, loan,
            lease or give to him, shall be guilty of a misdemeanor.... Any person over the age of sixteen
            years, who shall have or carry concealed upon his person in any city, village, or town of this
            state, any pistol, revolver, or other firearm without a written license therefor, theretofore issued
            to him by a police magistrate of such city or village, or by a justice of the peace of such town, or
            in such manner as may be prescribed by ordinance of such city, village or town, shall be guilty of
            a felony.

            1911 N.Y. Laws 443, An Act to Amend the Penal Law, in Relation to the Sale and Carrying of
            Dangerous Weapons. ch. 195, §1.
            Any person over the age of sixteen years, who shall have in his possession in any city, village or
            town of this state, any pistol, revolver or other firearm of a size which may be concealed upon
            the person, without a written license therefor, issued to him by a police magistrate of such city or
            village, or by a justice of the peace of such town, or in such manner as may be prescribed by
            ordinance in such city, village or town, shall be guilty of a misdemeanor.

            1911 N.Y. Laws 444-45, An Act to Amend the Penal Law, in Relation to the Sale and Carrying
            of Dangerous Weapons. ch. 195, § 2.
            Such chapter is hereby amended ... § 1914. Sale of pistols, revolvers and other firearms. Every
            person selling a pistol, revolver or other firearm of a size which may be concealed upon the
            person whether such seller is a retail dealer, pawnbroker or otherwise, shall keep a register in
            which shall be entered at the time of sale, the date of sale, name, age, occupation and residence
(129 of 300), Page 129 of 300
                            Case: 24-565, 04/17/20E4RD11188(3y: 10.7, Page 129 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 298 of 347


             of every purchaser of such a pistol, revolver or other firearm, together with the calibre [sic],
             make, model, manufacturer's number or other mark of identification on such pistol, revolver or
             other firearm. Such person shall also, before delivering the same to the purchaser, require such
             purchaser to produce a permit for possessing or carrying the same as required by law, and shall
             also enter in such register the date of such permit, the number thereon, if any, and the name of
             the magistrate or other officer by whom the same was issued. Every person who shall fail to kep
             a register and enter therein the facts required by this section, or who shall fail to exact the
             production of a permit to possess or carry such pistol, revolver or other firearm, if such permit is
             required by law, shall be guilty of a misdemeanor. Such register shall be open at all reasonable
             hours for the inspection of any peace officer. Every person becoming the lawful possessor of
             such pistol, revolver or other firearm, who shall sell, give or transfer the same to another person
             without first notifying the police authorities, shall be guilty of a misdemeanor. This section shall
             not apply to wholesale dealers.

             1923 N.Y. Laws 140-141, An Act to Amend the Conservation Law in Relation to Aliens, ch.
             110, § 2.
             2. It shall be unlawful for any unnaturalized foreign born person to hunt for, or capture or kill, in
             this state any wild bird or animal, either game or otherwise, of any description except in defense
             of person or property or except under a special license issued directly by the conservation
             commission, and to that end it shall be unlawful for any unnaturalized foreign born person within
             this state, to own or be possessed of a shotgun or rifle of any make, unless he possess such
             special license.


             NORTH CAROLINA

             James Iredell, A Digested Manual of the Acts of the General Assembly of North Carolina, from
             the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of a Private and Local Nature,
             and Such as were Temporary and Whose Operation Has Ceased to Exist Page 73, Image 73
             (1847) available at The Making of Modern Law: Primary Sources. 1840
             Crimes and Punishments, 1840 - 1. - Ch. 30, If any free negro, mulatto, or free person of color
             shall wear, or carry about his or her person, or keep in his or her house, any shot gun, musket,
             rifle, pistol, sword, dagger, or bowie knife, unless he or she shall have obtained a license therefor
             from the Court of Pleas and Quarter Sessions of his or her county, within one year preceding the
             wearing, keeping or carrying thereof, he or she shall be guilty of a misdemeanor and may be
             indicted therefor.

             1909 N.C. Sess. Laws 777, Priv. Laws, An Act for a New Charter for the City of Southport,
             North Carolina, ch. 345, § 23, pt. 14.
             [O]n dealers in pistols, guns, dirks, bowie knives, sling shots, brass or metal knuckles or other
             like deadly weapons, in addition to all other taxes, a license tax not exceeding fifty dollars, on
             dealers in firecrackers, Roman candles, skyrockets, toy pistols or fireworks of any kind, a tax not
             exceeding fifty dollars.

             1919 N.C. Sess. Laws 397-99, Pub. Laws, An Act to Regulate the Sale of Concealed Weapons in
             North Carolina, ch. 197, §§1, 5.
(130 of 300), Page 130 of 300
                            Case: 24-565, 04/17/20E4RD11188t4y: 10.7, Page 130 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 299 of 347


             § 1. That it shall be unlawful for any person, firm, or corporation in this State to sell, give away
             or dispose of, or to purchase or receive, at any place within the State from any other place within
             or without the State, without a license or permit therefor shall have first been obtained by such
             purchaser or receiver from the clerk of the Superior Court of the county in which such purchase,
             sale, or transfer is intended to be made, any pistol, so-called pump-gun, bowie knife, dirk, dagger
             or metallic knucksn[sic]... § 5. That each and every dealer in pistols, pistol cartridges and other
             weapons mentioned in section one of this act shall keep and accurate record of all sales thereof,
             including the name, place of residence, date of sale, etc., of each person, firm, or corporation, to
             whom or which any and all such sales are made, which said record shall be open to the
             inspection of any duly constituted State, county or police officer, within this State.

             NORTH DAKOTA

             1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying Concealed
             Any Dangerous Weapons or Explosives, or Who Has the Same in His Possession, Custody or
             Control, unless Such Weapon or Explosive Is Carried in the Prosecution of a Legitimate and
             Lawful Purpose, ch. 83, §§ 1-3, 5.
             § l. Any person other than a public officer, who carries concealed in his clothes any instrument
             or weapon of the kind usually known as a black-jack, slung-shot, billy, sand club, sand bag,
             bludgeon, metal knuckles, or any sharp or dangerous weapon usually employed in attack or
             defense of the person, or any gun, revolver, pistol or other dangerous fire arm loaded or
             unloaded, or any person who carries concealed nitro-glycerin, dynamite, or any other dangerous
             or violent explosive, or has the same in his custody, possession or control, shall be guilty of a
             felony, unless such instrument weapon or explosive is carried in the prosecution of or to effect a
             lawful and legitimate purpose. § 2. The possession, in the manner set forth in the preceeding
             Section, of any of the weapons or explosives mentioned therein, shall be presumptive evidence
             of intent to use the same in violation of this act. § 3. Penalty - Any person upon conviction of
             violating the provisions of this Act, shall, in the discretion of the court, be imprisoned in the
             State Penitentiary nor more than two years, or in the county jail not more than one year, or by a
             fine of not more than one hundred dollars, or by both such fine and imprisonment. Provided,
             however, that any citizen of good moral character may, upon application to any district court,
             municipal, or justice of the court, be granted the permission to carry a concealed weapon upon
             the showing of reasonable cause.... § 5. Emergency. An emergency is hereby declared to exist
             in that professional criminals are frequently found to carry concealed about their persons, the
             dangerous weapons or explosives mentioned in Section l of this Act. And, whereas, the present
             law is inadequate to prevent such criminals from carrying concealed weapons or explosives,
             therefore, this Act shall take effect and be in force from and after its passage and approval.

             1923 N.D. Laws 379, 380-82 ch. 266
             Sec. 2. Commiting Crime When Armed. If any person shall commit or attempt to commit a
             crime when armed with a pistol or revolver, and having no permit to carry the same, he shall be
             in addition to the punishment provided for the crime, be punished by imprisonment for not less
             than ten years.
             Sec. 6. Carrying Pistol Concealed. No person shall carry a pistol or revolver concealed in any
             vehicle or in any package, satchel, grip, suit case or carry in any way or upon his person, except
             in his dwelling house or place of business, without a license therefor as hereinafter provided.
(131 of 300), Page 131 of 300
                           Case: 24-565, 04/17/20E4RD111288/: 10.7, Page 131 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 300 of 347


            Violations of this section shall be punished by imprisonment for not less than one year, and upon
            conviction the pistol or revolver shall be confiscated or destroyed.
            Sec. 8. Issue of Licenses to Carry. The justice of a court of record, the chief of police of a city or
            town and the sheriff of a county, or persons authorized by any of them shall upon the application
            of any person having a bonafide residence or place of business within the jurisdiction of said
            licensing authority, or of any person having a bona fide residence or place of business within the
            United States and license to carry a fire arm concealed upon his person issued by the authorities
            of any State or sub-division of the United States, issue a license to such person to carry a pistol
            or revolver within this State for not more than one year from date of issue, if it appears that the
            applicant has good reason to fear an injury to his person or property or for any other proper
            purpose, and that he is a suitable person to be so licensed ...
            Sec. 10. SALES REGULATED. No person shall sell, deliver, or otherwise transfer a pistol or
            revolver to a person who he has reasonable cause to believe either is an unnaturalized foreign
            born person or has been convicted of a felony against the person or property of another, or
            against the Government of the United States or any State or subdivision thereof, nor in any event
            shall he deliver a pistol or revolver on the day of the application for the purchase thereof, and
            when delivered, said pistol or revolver shall be securely wrapped and shall be unloaded. Before a
            delivery be made the purchaser shall sign in triplicate and deliver to the seller a statement
            containing his full name, address, occupation, and nationality, the date of sale, the caliber, make,
            model, and manufacturer's number of the weapon. The seller shall, within seven days, sign and
            forward by registered mail one copy thereof to the Secretary of State, and one copy thereof to the
            chief of police of the city or town, or the sheriff of the county of which the seller is a resident,
            and shall retain the other copy for six years. This section shall not apply to sales at wholesale.
            Where neither party to the transaction holds a dealer's license, no person shall sell or otherwise
            transfer a pistol or revolver to any person not personally known to him. Violations of this section
            shall be punished by a fine of not less than $100 or imprisonment for not less than one year, or
            by both such fine and imprisonment.
            Sec. II. DEALERS TO BE LICENSED. Whoever, without being licensed as hereinafter
            provided, sells, or otherwise transfers, advertises, or exposes for sale, or transfers or has in his
            possession with intent to sell, or otherwise transfer, pistols or revolvers, shall be punished by
            imprisonment for not less than two years.
            Sec. 12. DEALERS' LICENSES2 By WHOM GRANTED, AND CONDmoNs THEREOF.) The
            duly constituted licensing authorities of any city, town or subdivision of this state, may grant
            licenses in form prescribed by the Secretary of State, effective for not more than one year from
            date of issue, permitting the licensee to sell at retail within the said city or town or political
            subdivision, pistols and revolvers, subject to the following conditions, for breach of any of which
            the license shall be subject to forfeiture:
               The business shall be carried on only in the building designated in the license.
               The license or a copy thereof, certified by the issuing authority, shall be displayed on the
            premises where it can easily be read.
               No pistol or revolver shall be delivered-
            (a) On the day of the application for the purchase, and when delivered shall be unloaded and
            securely wrapped, nor
            (b) Unless the purchaser either is personally known to the seller or shall present clear evidence of
            his identity, nor
(132 of 300), Page 132 of 300
                            Case: 24-565, 04/17/20E4RD111g8@/: 10.7, Page 132 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 301 of 347


            (c) If the seller has reasonable cause to believe that the purchaser either is an unnaturalized
            foreign born person or has been convicted of a felony against the person or property of another,
            or against the Government of the United States or any State or subdivision thereof.
               A true record, in triplicate, shall be made of every pistol or revolver sold, said record to be
            made in a book kept for the purpose, the form of which may be prescribed by the Secretary of
            State, and shall be personally signed by the purchaser and by the person affecting the sale, each
            in the presence of the other, and shall include the date of sale, the caliber, make, model, and
            manufacturer's number of the weapon, the name, address, occupation, and nationality of the
            purchaser. One copy of said record shall, within seven days, be forwarded by registered mail to
            the Secretary of State and one copy thereof to the chief of police of the city or town or the sheriff
            of the county of which the seller is a resident, and the other copy retained for six years.
               No pistol or revolver, or imitation thereof, or placard advertising the sale or other transfer
            thereof, shall be displayed in any part of said premises where it can readily be seen from the
            outside.

            1925 N.D. Laws 216-17, Pistols and Revolvers, ch. 174, § 2.
            § 2 Committing Crime When Armed. If any person shall commit, or attempt to commit, a crime
            when armed with a pistol or revolver, and has no permit to carry the same, he may be punished
            by imprisonment for not more than ten years, in addition to the punishment provided for the
            crime. Such imprisonment, if not exceeding one year, to be in the County jail, and if exceeding
            one year to be in the State Penitentiary.

            1931 N. D. Laws 305-06, An Act to Prohibit the Possession, Sale and Use of Machine Guns,
            Sub-Machine Guns, or Automatic Rifles and Defining the Same ... , ch. 178, §§ 1-2.
            § 1. The term "machine gun, sub-machine gun or automatic rifle" as used in this act shall be
            construed to mean a weapon mechanism or instrument not requiring the trigger be pressed for
            each shot and having a reservoir, belt or other means of storing and carrying ammunition which
            can be loaded into the said weapon, mechanism or instrument and fired therefrom at a rate of five
            or more shots to the second. § 2. Any person who shall sell, give, loan, furnish or deliver any
            machine gun, sub-machine gun, automatic rifle of a caliber larger than twenty-two, or a bomb
            loaded with explosives or poisonous or dangerous gases to another person, or any person who
            shall purchase, have or possess any machine gun, sub-machine gun, automatic rifle, or a caliber
            larger than twenty-two or a bomb loaded with explosives or poisonous or dangerous gases, shall
            be guilty of a felony and shall be punished by imprisonment in the state penitentiary not to
            exceed ten years, or by a fine of not more than three thousand dollars, or both. Provided, that the
            provisions of this act shall not apply to any person who has procured and possesses a license to
            purchase, sell, have or possess a machine gun, sub-machine gun, automatic rifle, of a caliber
            larger than twenty-two, or bomb loaded with explosives or poisonous or dangerous gases, as
            hereinafter provided for, nor to the authorized agents and servants of such licensee or to the
            officers and members of any duly authorized military organization, nor to the officers and
            members of the police force of any municipality, nor to any Sheriff, deputy sheriff, nor any other
            officer having police powers under the laws of the State.


            OHIQ
(133 of 300), Page 133 of 300
                            Case: 24-565, 04/17/20E4RD11188tTy: 10.7, Page 133 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 302 of 347


             The Act of Incorporation, and the Ordinances and Regulations of the Town of Marietta,
             Washington County, Ohio Page 17-18, Image 17-18 (1837) available at The Making of Modern
             Law: Primary Sources. 1823
             [Ordinances of Marietta, Ohio, An Ordinance For Preventing the Wanton Use of Fire Arms, Etc.,
             § 1. Be it ordained by the Town of Marietta, in Town meeting legally assembled, and by the
             authority thereof it is ordained and enacted , That if any person, after this ordinance takes effect,
             shall discharge or explode, or aid or assist in discharging or exploding any gun powder, from
             guns, fire arms, or by any other means, within the limits of the town plot of Marietta, where by
             the quiet of any of the inhabitants may be disturbed, or their lives and safety endangered (unless
             such firing shall by authorized by permission in writing from the town council then in office, or
             by the command of some military officer in discharge of his duty as such,) the person so
             offending may be complained of before any justice of the peace for the town and upon
             conviction, shall be fined by such justice not than less one dollar (sic), nor more than five dollars
             for the first offence, and for the second and all subsequent offences against this ordinance, such
             person shall be fined not less than five, nor more than ten dollars, and pay all costs, to be
             collected as other penalties by law are...

             An Act Incorporating the City of Cincinnati: And a Digest of the Ordinances of Said City, of a
             General Nature, Now in Force, with an Appendix Page 57-58, Image 58-59 (1835) available at
             The Making of Modern Law: Primary Sources. 1835
             Ordinances of the City of Cincinnati, An Ordinance to Regulate the Keeping of Gunpowder, § l.
             Be it ordained by the City Council of the City of Cincinnati, That no person or persons in the city
             of Cincinnati, shall keep, have, or possess, in any house, warehouse, shop, shed, or other
             building, nor in any street, side walk, lane, alley, passage, way, or yard, nor in any cellar, wagon,
             Cary, or carriage, of any kind whatever, nor in any other place, within said city, Gun Powder, in
             any way or manner, other than as provided for by this ordinance, nor in any quantity exceeding
             twenty-five pounds, to be divided into six equal parts. § 2. Be it further ordained, That it shall not
             be lawful for any person or persons to sell gun powder by retail within said city, without having
             first obtained a license from the city council for that purpose, and every person obtaining a grant
             for a license to sell gun powder, shall receive a certificate of such grant from the city clerk, and
             pay into the city treasury, a sum not exceeding one hundred dollars, nor less than ten dollars,
             besides fifty cents to the Mayor for issuing the same, Provided that license be granted to not
             more than four persons in any one ward, and so that they be separated from each other, by at
             least two entire blocks or squares, and all applications for such license, shall be in writing,
             stating the situation where such gunpowder is to be kept. § 3. Be it further ordained, That every
             person who obtains a license as aforesaid to retail gun powder, shall keep the same in tin
             canisters, well secured with good and sufficient covers, and shall place on the store or building
             containing the same, a sign with the words, LICENSED TO SELL GUN POWDER, Provided
             that nothing in this ordinance shall be so construed to prevent any person from carrying gun
             powder through the streets in its exportation, or to some place of deposit, without the limits of
             the corporation, if the same be put up in tight and well secured kegs or vessels. § 4. Be it further
             ordained, That it shall be the duty of the city marshal and his deputies, and any of the fire
             wardens, on any day, (Sundays excepted) between sun rising and setting, to enter into any house
             or building, or any other place within said city, where gun powder is kept or suspected to be
             kept, and examine the premises, and if they or either of them shall find any gun powder, contrary
             to the provisions of this ordinance, they or either of them shall seize such powder, together with
(134 of 300), Page 134 of 300
                           Case: 24-565, 04/17/20E4RD111288/: 10.7, Page 134 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 303 of 347


            the vessel containing the same, in the name of the city of Cincinnati, and the officer making such
            seizure, if he be other than the marshal, shall forthwith report such seizure to the marshal, who
            shall immediately take charge of the gun powder so seized, as if in case of seizure by himself,
            and in either case he shall immediately take charge of the gun powder so seized, to be conveyed
            to some safe place of deposit without the limits of the city. And the marshal shall, moreover,
            forthwith report such seizure to the mayor, with the name of the person in whose possession such
            gun powder was seized, or with the name of the owner, if his name be known, whereupon the
            mayor shall issue a citation against the owner, if known and within his jurisdiction, and if not,
            then against the person whose possession such gunpowder was seized, citing the defendant to
            appear on a day to be named in such citation, and show cause, if any he have, why the gun
            powder so seized should not be forfeited to the city, and a fine imposed agreeably to the
            provisions of this ordinance, upon which citation proceedings shall be had as in other cases upon
            the city ordinances, and if a final judgment of forfeiture be pronounced against the gun powder
            so seized, the marshal shall proceed to sell and dispose of the same for the benefit of said city,
            after having given three days notice of such sale, by advertisement in at least three public places
            in the city, and at one of the market houses on market day, to the highest bidder, and the net
            proceeds thereof shall be credited on the execution against the person fined for keeping the same
            contrary to the provisions of this ordinance: Provided, that, of any lot of powder seized according
            to the provisions of this ordinance, not more shall be sold by the marshal than will pay the fine
            and costs of suit and expense attending the seizure.

            George W. Malambre, Laws and General Ordinances of the City of Dayton, Containing the Laws
            of the State upon Municipal Government, All the General Ordinances in Force August 30th,
            1855, a List of the Officers of the City under the New Act of Incorporation, Together with the
            Amount of Taxes Levied in Each Year for General and Special Purposes, since 1851, and the
            Total Amount in Each Year, of Property Subject to Taxation Page 214, Image 219 (1855)
            available at The Making of Modem Law: Primary Sources. 1855
            Ordinances of the City of Dayton. Offenses. § 38. Sec. XXXIX. If any person, or persons, shall
            fire any cannon, gun, or other firearms, within the bounds of the building lots, or cemetery
            ground in this city, or within one hundred yards of any public road, within this corporation,
            except by permission of council, and except in proper situations for firing salutes, or by
            command of a military officer in performance of military duty, every person, so offending, on
            conviction thereof, shall pay a fine not exceeding ten dollars, and costs.

            W. H. Gaylord, Standing Rules of Order of the Cleveland City Council: With a Catalogue of the
            Mayors and Councils of the City of Cleveland, from Its Organization, April, 1836, to April,
            1871, and Officers of the City Government for 1872 Page 101, Image 124 (1872) available at
            The Making of Modern Law: Primary Sources. 1856
            [Ordinances of the City of Cleveland,] An Ordinance to Prevent the Firing of Guns and Fire-
            works, § 1. Be it ordained by the City Council of the City of Cleveland, That no person shall fire
            any cannon, gun, rifle, pistol, or fire-arms of any kind, or fire or explode any squib, rocket,
            cracker, Roman candle, or other combustible fire-works within the city. § 2. This ordinance shall
            not apply to any military company, when drilling under command of any officer thereof, or to the
            use of fire-arms in the lawful defense of the person, family or property of any person, or to the
            killing of any dog whose owner or possessor has not complied with the provisions of the
            ordinance relating to dogs. § 3. The board of city improvements may, at its discretion, give
(135 of 300), Page 135 of 300
                            Case: 24-565, 04/17/20E4RD11188@/: 10.7, Page 135 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 304 of 347


            permission to any person or persons to discharge fire-arms or fire-works on the fourth day of
            July, such permission may be given through any public paper of the city, or otherwise. § 4. That
            any person violating any provision of this ordinance shall, on conviction thereof, be fined in any
            sum not exceeding twenty dollars.

            1878 Ohio Laws 199, An Act to Amend, Revise, and Consolidate the Statutes Relating to
            Municipal Corporations, to Be Known as Title Twelve, Part One, of the Act to Revise and
            Consolidate the General Statutes of Ohio, div. 3, ch. 3, § l, pt. 14.
            To regulate the transportation and keeping of gunpowder, and other explosive and dangerous
            combustibles, and to provide or license magazines for the same.

            M. Augustus Daugherty, Supplement to the Revised Statutes of the State of Ohio Containing All
            the Statutes Amendatory of or Supplementary to the Revised Statutes, Together with the
            Miscellaneous Acts, General or Permanent in Their Nature, In Force January l, 1884. 3d ed.
            Edited by James M. Williams Page 633, Image 641 (1884) available at The Making of Modern
            Law: Primary Sources. 1884
            Licenses, § 24. All vendors of gunpowder shall pay a license fee of fifteen (15) dollars per
            annum. All keepers or owners of gunpowder magazines shall pay a license fee of one hundred
            (100) dollars per annum.

            1889 Ohio Laws 164, An Act to Amend Section 2669 of the Revised Statutes, as Amended April
            22, 1885, § 1.
            The council of the city or village may provide by ordinance for licensing all exhibiters of shows
            or performances of any kind, not prohibited by law, hawkers, peddlers, auctioneers of horses and
            other animals on the highways or public grounds of the corporation, venders [sic] of gun powder
            and other explosives, taverns and houses of public entertainment, and hucksters in the public
            streets or markets, and in granting such license, may extract and receive such sum of money as it
            may think reasonable[.]

            1900 Ohio Laws 730, An Act to Provide a License on Trades, Business and Professions Carried
            on ... , §§24-25.
            § 24. All keepers or owners of gun powder magazines shall pay a license fee of one hundred
            dollars ($l00) per annum, and shall notify the chief of the fire department, in writing, of the
            place where the same is kept or stored, but no license shall be issued under this section without
            the consent of the mayor. § 25. All keepers of shooting galleries shall pay a license fee of fifty
            dollars ($50) per annum, or for a less period of one year at a rate of ten dollars ($l0) per month,
            no license to be issued for a less period than one month.

            1902 Ohio Laws 23, Extraordinary Sess., An Act to Provide for the Organization of Cities and
            Incorporated Villages ... and to Repeal All Sections of the Revised Statutes Inconsistent
            Herewith, § 7, pt. II.
            To regulate the transportation, keeping and sale of gunpowder and other explosives or dangerous
            combustibles and materials and to provide or license magazines for the same.

            1933 Ohio Laws 189-90, Reg. Sess., An Act... Relative to the Sale and Possession of Machine
            Guns, § 1.
(136 of 300), Page 136 of 300
                            Case: 24-565, 04/17/20E4RD111gQ'@/: 10.7, Page 136 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 305 of 347


             That § 12819 of the General Code be supplemented ... to read as follows: Definitions. § 12819-
             3. For the purpose of this act, a machine gun, a light machine gun or a sub-machine gun shall be
             defined as any firearm which shoots automatically, or any firearm which shoots more than
             eighteen shots semi-automatically without reloading. Automatically as above used means that
             class of firearms which, while the trigger on the firearm is held back continues to fire successive
             shots. Semi-automatically means that class of firearm which discharges one shot only each time
             the trigger is pulled, no manual reloading operation being necessary between shots. Machine gun
             permit, application, bond or applicant, exceptions. § 12819-4. No person shall own, possess,
             transport, have custody of or use a machine gun, light machine gun or sub-machine gun, unless
             he first procures a permit therefor from and at the direction of the adjutant general of Ohio, who
             shall keep a complete record of each permit so issued. A separate permit shall be obtained for
             each gun so owned, possessed or used. The adjutant general shall require each applicant for such
             permit to give an accurate description of such weapon, the name of the person from whom it was
             or is to be obtained, the name of the person or persons to have custody thereof and the place of
             residence of the applicant and custodian. Before obtaining such permit each applicant shall give
             bond to the state of Ohio, to be approved by the adjutant general in the sum of five thousand
             dollars, conditioned to save the public harmless by reason of any unlawful use of such weapon
             while under the control of such applicant or under the control of another with his consent, and
             any person injured by such improper use may have recourse on said bond. Provided, however,
             that this section shall not affect the right of the national guard of Ohio, sheriffs, regularly
             appointed police officers of incorporated cities and villages, regularly elected constables,
             wardens and guards of penitentiaries, jails, prisons, penal institutions or financial institutions
             maintaining their own police force and such special officers as are now or may be hereafter
             authorized by law to possess and use such weapons when on duty. Any person who owns,
             possesses or has custody of a machine gun, light machine gun or sub-machine gun at the time
             when this section shall become effective, shall have thirty days thereafter in which to comply
             with the provisions of this section. Penalty for possession, transportation, etc., without permit. §
             12819-5. Whoever owns, possesses, transports or has custody of or uses a machine gun, light
             machine gun or sub-machine gun without a permit, as provided by section 12819-4 of the
             General Code, or whoever having such permit, uses or consents to the use by another of such
             weapon in an unlawful manner, shall be guilty of a felony and upon conviction thereof, shall be
             imprisoned in the penitentiary not less than one nor more than ten years. [War trophies
             excepted].

             OKLAHOMA

             General Laws Relating to Incorporated Towns of Indian Territory Page 43, Image 39 (1890)
             available at The Making of Modern Law: Primary Sources. 1890
             Revised Ordinances of the Town of Checotah, [An Ordinance Requiring Persons Engaged in
             Certain Businesses or Avocations to Procure a License for so Doing and Providing of Penalty for
             Failure so to do, § l. That the licenses hereinafter named shall be fixed, imposed and collected at
             the following rates and sums, and it shall be unlawful for any person or persons to exercise or
             pursue any of the following avocations or businesses within the corporate limits of Checotah
             without having first obtained a license therefor from the proper authority, having paid for the
             same in lawful money of the united States as hereinafter provided,] 29th. Pistol or shooting
             Gallery - For each and every pistol and shooting gallery, per month, five dollars.
(137 of 300), Page 137 of 300
                            Case: 24-565, 04/17/20E4RD11139111y: 10.7, Page 137 of 300

                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 306 of 347



             OREGON

             Charter of the City of Portland, Street and Fire Department Laws, Ordinances, Regulations &C .
             Page 205-206, Image 206-207 (1872) available at The Making of Modem Law: Primary Sources.
             1868
             [Concerning Offences and Disorderly Conduct, § 2. That any person or persons who shall fire
             any pistol, gun or rifle, or any other species of fire-arms within the following limits: the
             Willamette river on the east and (10) Tenth Street on the west, Caruther's Addition on the south
             nd F Street on Couch's Addition on the north, shall on conviction thereof before the Recorder, be
             subject to a penalty of not less than five nor more than fifty dollars, or imprisonment, at the
             discretion of the Recorder, not exceeding twenty days. Provided that the Marshal shall permit
             upon the national holidays and other days of public celebration, any appropriate display of fire-
             arms and other instruments named in this section.]

             Charter of the City of Portland, Street and Fire Department Laws, Ordinances, Regulations &C .
             Page 225-227, Image 226-228 (1872) available at The Making of Modem Law: Primary Sources.
             1872
             Ordinances of the City of Portland, To Regulate the Storage and Sale of Gunpowder, and Other
             Explosive Materials, § l. No person shall keep for sale any gunpowder in any building, store or
             place in the City of Portland, without having first obtained a license therefor. § 2. The license for
             selling gunpowder shall be five dollars per quarter, to be issued as other licenses are issued under
             the provisions of Ordinance 984, entitled "An Ordinance to impose and regulate licenses in the
             City of Portland." § 3. No person shall receive, keep or store, or aid or assist any person in
             receiving, keeping or storing gunpowder in a larger quantity than five pounds, in or into any
             building, or upon any premises, unless the person receiving, keeping or storing the same is duly
             licensed to sell gunpowder. § 4. No person or persons duly authorized to sell gunpowder, as
             hereinbefore provided, shall keep, store, or have in any one place more than twenty five pounds
             of powder, which shall be kept in any air-tight metallic vessel marked with the word
             "Gunpowder," in plain Roman letters, not less than three inches in height, and of proportionate
             width, which vessel shall be placed or kept at all times, conspicuously in view near the entrance
             of the premises where kept, and convenient for removal therefrom. § 5. Upon the front of every
             building or premises where powder is kept in a conspicuous place a sign with the word
             "gunpowder" painted thereon in Roman letters, not less than three inches in height. § 6. No
             person shall convey, cause to be conveyed, or assist in conveying in any vehicle and gunpowder,
             unless the same shall be securely packed in close packages, nor unless such packages shall be
             securely covered while on the vehicle. § 7. No vessel shall be allowed to remain at any wharf
             more than twenty-four hours with gunpowder on board, except such as may be kept for ship's
             use, and if such vessel shall be at the wharf overnight, a watchman shall be kept on duty on
             board all night. All gunpowder landed or placed on a wharf, sidewalk, street or public way for
             forwarding or shipment shall be forwarded or shipped immediately after it shall be so landed or
             placed. § 8. The provisions of this Ordinance shall be deemed to apply to "giant powder" "gun
             cotton" or any other explosive substance having an explosive power equal to that of ordinary
             gunpowder. § 9. Any person or persons violating any of the provisions of this ordinance, shall be
             deemed guilty of a misdemeanor, and on conviction before the Police Judge, shall be fined not
             less than ten nor more than one hundred dollars, or by imprisonment in the city jail not less than
(138 of 300), Page 138 of 300
                            Case: 24-565, 04/17/20E4RD111gQ'@: 10.7, Page 138 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 307 of 347


            two nor more than twenty days, or both, at the discretion of the Police Judge. § 10. The officers
            of the Fire Department and Police are directed to see that the provisions of this Ordinance are
            enforced, and to make complaint before the Police Judge for the violation of its provisions.

            J.C. Moreland, Charter and Ordinances of the City of Portland and Table of Grades: Together
            with the Rules of Order, Reports of officers, etc. Page 207, Image 212 (1879) available at The
            Making of Modem Law: Primary Sources. 1879
            Ordinances [of the City of Portland], Concerning Offenses and Disorderly Conduct, § 2. The
            City of Portland does ordain as follows... That any person or persons who shall fire any pistol,
            gun or rifle, or any other species of fire-arms, within the corporate limits of the city, shall, on
            conviction thereof before the Police Court, be fined not less than five dollars nor more than fifty
            dollars: Provided, That all circumstances of necessity may be plead as a defense to the offense
            described in this section, and, provided further, that the Chief of Police may permit upon the
            national holidays and other days of public celebration any appropriate display of firearms named
            in this section.

            The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of Order Page
            259, Image 261 (1898) available at The Making of Modern Law: Primary Sources.
            Carrying Weapons | Oregon | 1898
            An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers and Owners of
            Disorderly Houses, § 2.
            It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any concealed
            deadly weapon or to discharge any firearms, air gun, sparrow gun, flipper or bean shooter within
            the corporate limits of the city, unless in self-defense, in protection of property or an officer in
            the discharge of his duty, provided, however, permission may be granted by the mayor to any
            person to carry a pistol or revolver when upon proper representation it appears to him necessary
            or prudent to grant such permission.

            1913 Or. Laws 497
            Section 1. It shall be unlawful for any person, firm or corporation to display for sale at retail any
            pocket pistol or revolver or to sell at retail, barter, give away or dispose of the same to any
            person whomsoever, excepting a policeman, member of the militia or peace officer of the State
            of Oregon, unless the purchaser or person attempting to procure the same shall have a permit for
            the purpose of procuring such pocket pistol or revolver signed by the municipal judge or city
            recorder of the city or county judge or a justice of the peace of the county wherein such person
            resides.
            Section 2. Provided, that no judge, city recorder or justice of the peace shall issue such permit
            until said applicant has furnished him with an affidavit from at least two reputable freeholders as
            to the applicant's good moral character.
            Section 3. All persons, firms or corporations engaged in the retail sale of pocket pistols or
            revolvers shall keep a record of the sale of such pocket pistols or revolvers by registering the
            name of the person or persons and the number of the pocket pistol or revolver and shall transmit
            same to the sheriff of the county in which purchase is made on the 1st and 15th day of each
            calendar month.
(139 of 300), Page 139 of 300
                            Case: 24-565, 04/17/20E4RD111gQ'@y: 10.7, Page 139 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 308 of 347


             1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale, possession, carrying, or
             use of any blackjack, slungshot, billy, sandclub, sandbag, metal knuckles, dirk, dagger or stiletto,
             and regulating the carrying and sale of certain firearms, and defining the duties of certain
             executive officers, and providing penalties for violation of the provisions of this Act, § 9.
             Section l. No person shall carry in any city, town, or municipal corporation of this State any
             pistol, revolver or other firearm concealed upon his or her person, or of a size which may be
             concealed upon his or her person, without a license or permit therefor, issued to him or her by a
             chief of police or sheriff of such city, town or municipal corporation, or in such manner as may
             be prescribed by ordinance of such city, town or municipal corporation. This section, however,
             shall not apply to sheriffs and their deputies, constables, marshals, police officers or any other
             duly appointed peace officers, nor to any person or persons summoned by such officers to assist
             in making arrest or preserving the peace while said person or persons are engaged in assisting
             such officers, nor to duly authorized military organizations when parading, nor to members
             thereof when going to and from places of meeting of their respective organizations.
             Section 3-A. Any person who violates the provisions of Section l, Section 2, or Section 3 of this
             Act, shall be fined in a sum no greater than $100.00, or be imprisoned in the county jail for a
             term no longer than three months, or by both such fine and imprisonment.
             Section 4. Any person who violates the provisions of Section l, Section 2 or Section 3 of this
             Act, who theretofore has once been convicted of a violation of any of said sections, is guilty of a
             misdemeanor, and upon conviction thereof shall be imprisoned in a county jail or reformatory for
             not less than thirty days nor for more than one year.
             Section 4-A. Any person who violates the provisions of Section l, Section 2 or Section 3 of this
             Act, who theretofore has more than once been convicted of a violation of any of said sections, is
             guilty of a felony, and shall be punished by imprisonment in the State prison for a term not
             exceeding three years.
             Section 4-B. Any person who violates any of the provisions of Section l, Section 2 or Section 3
             of this Act, who theretofore has been convicted of a felony, upon conviction thereof shall be
             imprisoned in the penitentiary of this State for a period not exceeding five years.
             Section 4-C. For the purposes of this Act any pistol, revolver, or other firearm of a size which
             may be concealed upon his or her person shall be deemed a dangerous weapon.
             Section 9. It shall be lawful for the sheriff of any county, chief of police, city or town marshal, or
             other head of the police department of any city, town or other municipal corporation of this State,
             upon proof before him that the person applying therefor is of good moral character, and that
             proper cause exists for the issuance thereof, to issue to such person a license for one year, to have
             and carry concealed a pistol, revolver or other firearm, provided, however, that no such license
             shall be issued to any person under the age of twenty-one years.
             The person obtaining a permit to carry a concealed pistol or revolver shall pay to the officer
             issuing such permit the sum of One Dollar. Said license for carrying a concealed pistol or
             revolver is revocable at any time and must be immediately surrendered on demand. The license
             while in force entitles the holder to carry the said arm in any county in the State of Oregon.

             1925 Or. Laws 468, 469-471
             Section 5. Except as otherwise provided in this act, it shall be unlawful for any person within this
             state to carry concealed upon his person or within any vehicle which is under his control or
             direction any pistol, revolver or other firearm capable of being concealed upon the person
             without having a license to carry such firearm, as hereinafter provided in section 8 hereof. Any
(140 of 300), Page 140 of 300
                            Case: 24-565, 04/17/20E4RD1118914y: 10.7, Page 140 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 309 of 347


             person who violates the provisions of this section shall be guilty of a misdemeanor, and if he has
             been convicted previously of any felony, or of any crime made punishable by this act, he is
             guilty of a felony. This section shall not be construed to prohibit any citizen of the United States,
             over the age of eighteen years, who resides or is temporarily sojourning within this state, and
             who is not within the excepted classes prescribed by section 2 hereof, from owning, possessing
             or keeping within his place of residence or place of business any pistol, revolver or other firearm
             capable of being concealed upon the person, and no permit or license to purchase, own, possess
             or keep any such firearm at his place of residence or place of business shall be required of any
             such citizen. Firearms carried openly in belt holsters shall not be deemed to be concealed within
             the meaning of this section.

             PENNSYLVANIA

             Charter To William Penn, And Laws Of The Province Of Pennsylvania, Passed Between The
             Years 1682 And 1700 Page 32, Image 37 (1879) available at The Making of Modem Law:
             Primary Sources. 1676
             Laws of the Duke of York, Indians (1676). No person shall sell give or barter directly or
             indirectly any gun or guns powder, bullet, shot, lead nor any vessel of burthen, or row boat
             canoes only excepted without license first had and obtained under the Governor's hand and Seal,
             to any Indian whatsoever, nor to any person inhabiting out of this government nor shall amend or
             repair any gun belonging to any Indian, nor shall sell any armor or weapons, upon penalty of ten
             pounds for every gun, armor, weapons, vessel or boat, so sold given or bartered, five pounds for
             every pound of shot or lead and proportionally for any greater or lesser quantity.

             Pennsylvania Archives. Selected And Arranged From Original Documents In The Office Of The
             Secretary Of The Commonwealth, Conformably To Acts Of The General Assembly, February
             15, 1851, & March 1, 1852 Page 160, Image 162 (1852) available at The Making of Modern
             Law: Primary Sources. 1713
             Pennsylvania Archives 1713, The Act for the Better Government of the City of Philadelphia
             (1713), This Act inflicts 5s penalty on persons riding a gallop and 10s for persons trotting, with
             Drays or their Teams in the streets, and 5th for suffering a Dog or a Bitch going at large, or firing
             a Gun without license, or if a Negro be found in any disorderly practices or other Misbehaviors
             may be whipped 21 lashes for any one offence or committed to prison, which words "other
             misbehaviors," are very uncertain and give very arbitrary power where the punishment is great.
             [(Summary of Statute from Archive compilation)].

             Act of 26th August 1721. 1721
             [An Act of 9th of February, 1750-51, § 1. If any person or persons whatsoever, within any
             county, town or within any other town or borough in this province, already built and settled, or
             hereafter to be built and settled , not hitherto restricted nor provided for by our laws, shall set on
             fire their chimneys to cleanse them, or shall suffer them or any of them to take fire, and blaze out
             at the top, or shall fire any gun or other fire arm, or shall make or cause to be made, or sell or
             utter, or offer to expose to sale, and squibs, rockets, or other fire works, or shall cast, throw or
             fire any squibs, rockets, or other fire works within any of the said towns or boroughs without the
             governor's special license for the same, every such person or persons so offending shall be
             subject to the like penalties and forfeitures, and be recovered in like manner, as in and by an act,
(141 of 300), Page 141 of 300
                           Case: 24-565, 04/17/ZOERDKQQQ/: 10.7, Page 141 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 310 of 347


            passed in the eighth year of the reign of king George the first, entitled 'An act for preventing
            accidents that may happen by fire are directed to be levied and recovered.]

            John C. Lowber, Ordinances of the Corporation of the City of Philadelphia, to Which are
            Prefixed, the Original Charter, the Act of Incorporation, and Other Acts of Assembly Relating to
            the City, with an Appendix, Containing the Regulation of the Bank of the River Delaware, the
            Portraiture of the City, as Originally Laid Out by the Proprietor, &c. &c. Page 15-16, Image 18-
            19 (1812) available at The Making of Modern Law: Primary Sources. 1721
            [An Act for Preventing Accidents that may Happen by Fire, § IV. And whereas much mischief
            may happen by shooting of guns, throwing casting and firing of squibs, serpents, rockets, and
            other fire-works, within the city of Philadelphia, if not speedily prevented: Be it therefore
            enacted, That if any person or persons, of what sex, age, degree or quality soever, from and after
            publication hereof, shall fire any gun or other fire-arms, or shall make, or cause to be made, or
            sell or utter, or offer to expose to sale, any squibs, rockets or other fire works, or shall cast, throw
            or or fire, any squibs, rockets, or other fire works, within the city of Philadelphia, without the
            governor's special license for the same, of which license due notice shall first be given to the
            mayor of the said city, such person or persons so offending, and being thereof convicted before
            any one justice of the peace of the said city, either by confession of the party so offending, or by
            the view of any of the said justices, or by the oath or affirmation of one or more witnesses, shall
            for every such offence forfeit and pay the sum of five shillings, one half to the use of the poor of
            the said city, and the other half to the use of him or them who shall prosecute, and cause such
            offender to be as aforesaid convicted, which forfeitures shall be levied by distress and sale of the
            offenders goods as aforesaid, and for want of such distress, if the offender refuse to pay the said
            forfeiture, he shall be committed to prison, for every such offence the space of two days without
            bail or main-prize, Provided, that such conviction be made within ten days after such offence
            committed [ and if such offender be a negro or Indian slave, he shall instead of imprisonment be
            publically whipped, at the discretion of the magistrate.]

            1750 Pa. Laws 208, An Act For The More Effectual Preventing Accidents Which May Happen
            By Fire, And For Suppressing Idleness, Drunkenness, And Other Debaucheries
            That if any persons or persons whatsoever, within any county town, or within any other town or
            borough, in this province, already built and settled, or hereafter to be built and settled ... shall
            fire any gun or other fire-arm, or shall make or cause to be made, or sell or utter, or offer or
            expose for sale, any squibs, rockets or other fire-works, within any of the said towns or
            boroughs without the Governor's special license for the same, every such person or persons, so
            offending shall be subject to the like penalties and forfeitures, and to be recovered in like
            manner, as in and by an act, passed in the eighth year of the reign of King George the first,
            entitled, An act for preventing accidents that may happen by fire, are directed to be levied and
            recovered.

            Ordinances of the Corporation of the District of Southwark and the Acts of Assembly Relating
            Thereto Page 49, Image 47 (1829) available at The Making of Modem Law: Primary Sources.
            1750
            [Ordinances of the District of Southwark,] An Act for the More Effectual Preventing [of]
            Accidents, etc. § l. Be it enacted, That if any person shall fire any gun or other fire-arm, or shall
            make, or cause to be made, or sell or utter, or offer to expose to sale, any squibs, rockets or other
(142 of 300), Page 142 of 300
                            Case: 24-565, 04/17/20E4RD1118Q'@/: 10.7, Page 142 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 311 of 347


             fire-works, or shall cast, throw or fire any squibs, rockets or other fire-works, within any of the
             said towns or boroughs, without the Governor's special license for the same, every such person
             or persons, so offending, shall be subject to the like penalties and forfeitures, and to be recovered
             in like manner, as in and by an act, passed in the eighth year of the reign of King George the
             first, entitled, " An Act for Preventing Accidents, Etc

             1763 Pa. Laws 319, An Act to Prohibit the Selling of Guns, Gunpowder or Other Warlike Stores
             to the Indians, § 1.
             If any person or persons whatsoever shall directly or indirectly give to, sell barter or exchange
             with any Indian or Indians whatsoever any guns, gunpowder, shot, bullets, lead or other warlike
             stores without license ... every such person or persons so offending, being thereof legally
             convicted ... shall forfeit and pay the sum of five hundred pounds ... and shall be whipped with
             thirty-nine lashes on his bare back, well laid on, and be committed to the common gaol(jail) of
             the county, there to remain twelve months without bail or mainprise.

             An Act of Incorporation for that Part of the Northern Liberties, Lying between the Middle of
             Sixth Street and the River Delaware, and between Vine Street and Cohocksink Creek, with
             Ordinances for the Improvement of the Same Page 51, Image 52 (1824) available at The Making
             of Modem Law: Primary Sources. 1824
             [An Ordinance for the Suppression of Nuisance, and for the regulation of drivers of carriages and
             horses, in and through the streets, lanes and alleys, within the incorporated part of the township
             of the Northern Liberties, and for enforcing useful regulations therein.] § 8. And be it further
             ordained and enacted by the authority aforesaid, That no person or persons shall fire, or
             discharge any cannon, or piece of artillery, or small arms, or prove any pistol, gun, musket
             barrels, or cannon, or illuminate, or cause to be illuminated, any house within the regulated parts,
             incorporated as aforesaid, in said township, without permission from the president of the board
             of commissioners, under the penalty of forfeiting and paying for every piece of cannon or other
             artillery, or small arms, or pistol, gun, or musket barrel so fired, or house so illuminated, the sum
             of two dollars.

             1903 Pa. Laws 178, An Act Requiring non-resident hunters, and unnaturalized, foreign born,
             resident-hunters, to procure a license before hunting in the Commonwealth §§1 and 2
             § 1.... every non-resident and every unnaturalized foreign-bom resident of this Commonwealth
             shall be required to take out a license from the treasurer of the county in which he proposes to
             hunt... § 2. Possession of a gun, in the fields or in the forests or on the waters of this
             Commonwealth, by an unnaturalized, foreign-born resident or a non-resident of this
             Commonwealth, without having first secured the license required by this act, shall be prima facie
             evidence of a violation of its provisions, and any person so offending shall be liable to a penalty
             of twenty-five dollars for each offense...

             1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing, owning,
             possession and use of machine guns: §§l and 2
             § 1. Be it enacted, etc., That the term "machine gun" as used in this act, shall mean any firearm
             that fires two or more shots consecutively at a single function of the trigger or firing device. § 2.
             It shall be unlawful for any person, copartnership, association or corporation to sell, or give, or
             transfer, any machine gun to any person, copartnership, association or corporation within this
(143 of 300), Page 143 of 300
                            Case: 24-565, 04/17/20E4RD1118Qt7y: 10.7, Page 143 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 312 of 347


             Commonwealth, and it shall be unlawful for any person, copartnership, association, or
             corporation to purchase, own or have in possession any machine gun. Any person violating any
             of the provisions of this section shall be guilty of a felony, and, on conviction thereof, shall be
             sentenced to pay a fine not exceeding one thousand dollars, and undergo imprisonment by
             separate or solitary confinement at labor not exceeding five years. § 3. Any person who shall
             commit, or attempt to commit, any crime within this Commonwealth, when armed with a
             machine gun, shall, upon conviction of such crime or attempt to commit such crime, in addition
             to the punishment for the crime for which he has been convicted, be sentenced to separate and
             solitary confinement at labor for a term not exceeding ten years. Such additional penalty of
             imprisonment shall commence upon the expiration or termination of the sentence imposed for
             the crime of which he stands convicted, and shall not run concurrently with such sentence. § 4.
             Nothing contained in this act shall prohibit the manufacture for, and sale of, machine guns to the
             military forces of the United States, or of the Commonwealth of Pennsylvania, or to any police
             department of this Commonwealth, or of any political subdivision thereof, nor to the purchase or
             possession of machine guns by such governments and departments, and nothing contained in this
             act shall prohibit any organization, branch, camp or post of veterans, or any veteran of any war in
             which the United States was engaged, from owning and possessing a machine gun as a relic, if a
             permit for such ownership or possession has been obtained from the sheriff of the county, which
             permit is at all times attached to such machine gun. The sheriffs of the several counties are
             hereby authorized, upon application and the payment of a fee of one dollar, to issue permits for
             the ownership and possession of machine guns by veteran and organizations, branches, camps or
             posts of veterans and organizations, branches, camps or posts of veterans, upon production to the
             sheriff of such evidence as he may require that the organization, branch, camp or post is a bona
             fide organization of veterans, or that any such veteran applicant is a veteran of good moral
             character and reputation, and that the ownership and possession of such machine gun is actually
             desired as a relic.

             1931 PA. Laws 498, No. 158
             Sec. 4. No person who has been convicted in this Commonwealth or elsewhere of a crime of
             violence shall own a firearm, or have one in his possession or under his control.
             Sec. 5. No person shall carry a firearm in any vehicle or concealed on or about his person, except
             in his place of abode or fixed place of business, without a license therefor as hereinafter
             provided.

             RHODE ISLAND

             The Charter and Ordinances of the City of Providence, Together with the Acts of the General
             Assembly Relating to the City Page 89-96, Image 89-96 (1854) Available at The Making of
             Modem Law: Primary Sources. 182 l
             An Act Regulating the Storage, Safe Keeping and Transportation of Gunpowder in the Town of
             Providence, (1821) § 2. And be it further enacted, That is shall not be lawful for any person or
             persons to sell any gunpowder which may at the time be within the town of Providence in any
             quantity, by wholesale or retail, without first having obtained from the town council of said town
             a license to sell gunpowder, and every such license shall be written or printed, and signed by the
             president of said council or their clerk, on a paper upon which shall be written or printed a copy
             of this act, and every such license shall be in force for one year from the date thereof, unless
(144 of 300), Page 144 of 300
                            Case: 24-565, 04/17/20E4RD1118Q'®/: 10.7, Page 144 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 313 of 347


             annulled by said council, and no longer, but such license may, prior to the expiration of that time,
             be renewed, by endorsement thereon, for a further term of one year, and so from year to year:
             provided, always, that the said town council may annul any such license, if in their opinion the
             person or persons licensed have forfeited the right of using the same by any violation of the law
             relative thereto, and every person who shall receive a license as aforesaid shall pay therefor the
             sum of five dollars, and on having the same renewed shall pay therefor the sum of one dollar,
             which shall be paid to the clerk of said council, for their use, for the purpose of defraying the
             expense of carrying this act into execution. § 3. And be it further enacted, That any person or
             persons who shall keep, have, possess or transport any gunpowder within the town of
             Providence, contrary to the provisions of this act, or who shall sell any gunpowder therein,
             without having a license therefor, then in force, shall forfeit and pay a fine of not less than
             twenty dollars, and not exceeding five hundred dollars, for each and every offence, and if any
             gunpowder kept contrary to the provisions of this act shall explode in any shop, store, dwelling-
             house, ware-house or other building, or in any place in said town, the occupant, tenant or owner
             of which has not a license in force to keep and sell gunpowder therein, or which gunpowder shall
             have been kept in a manner contrary to the terms and conditions of such license, such occupant
             tenant or owner shall forfeit and pay a fine of not less than twenty dollars nor more than five
             hundred dollars... § 6. And be it further enacted, That the said firewards, or any of them, may
             enter the store or place of any person or persons licensed to sell gunpowder, to examine and
             ascertain whether the laws relating thereto are strictly observed, and also whenever there may be
             an alarm or fire, and in such last case may cause the powder there deposited to be removed to a
             place of safety, or to be destroyed by wetting or otherwise, as the exigency of the case may
             require, and it shall be lawful for any one or more of the firewards aforesaid to enter any
             dwelling house, store, building or other place in said town to search for gunpowder which they
             may have reason to suspect to be concealed or unlawfully kept therein, first having obtained
             from some justice of the peace of said town a search warrant therefor, which warrant any one of
             the justices of said town is hereby respectively authorized to issue, upon the complaint of such
             fireguard or firewards, supported by his or their oath or affirmation... And be it further enacted,
             That all persons who wish have a license to keep and sell gunpowder within the town shall make
             application to the town council in writing, stating the place of business and whether they wish to
             sell by wholesale or retail, or both, and to each person or firm who may be approbated, a
             certificate of license shall be granted, on payment of the fee established by law. § 14. And be it
             further enacted, That every person or firm who may be licensed to sell gunpowder by retail, shall
             be allowed to keep in the place or building designated in the license, twenty-five pounds of
             gunpowder, and no more, at one time, which shall always be kept in tin or copper canisters,
             capable of containing no more than twelve and a half pounds each with a small aperture at the
             top, and a tin or copper cover thereto. § 15. And be it further enacted, That every person or firm
             who may be licensed to sell gunpowder by wholesale, shall provide and keep a tine or copper
             chest, with two handles and a tight cover, furnished with a hinge, and secured with a padlock, all
             of tin or copper chest, with two handles and a tight cover furnished with a hinge and secured
             padlock, all of tin or copper, such chest shall always be kept on the lower floor, on the right side
             of and close to the principal door or entrance from the street into the building so licensed, except
             when otherwise designated by the council and shall always be kept locked, except when powder
             is put in or taken out, and such person or firm, so licensed shall be allowed to deposit and keep,
             in such tin or copper chest, a quantity of gunpowder not exceeding four casks of twenty-five
             pounds each, the heads of each cask not to be opened, and each cask to be kept in a strong
(145 of 300), Page 145 of 300
                            Case: 24-565, 04/17/20E4RD1118Q'@/: 10.7, Page 145 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 314 of 347


             leather bag, closely tied and marked as aforesaid. § 16. And be it further enacted, that every
             person or firm licensed to keep and sell gunpowder as aforesaid, by wholesale or retail, shall
             have and keep a signboard placed over the door or building in which such powder is kept, on
             which shall be painted in Roman capitals the words "Licensed to sell Gunpowder"

             1902 R.I. Pub. Laws 67, An Act in addition to chapter 40 of the General Laws, Entitled "Of the
             Town Council": § 1.
             Town councils and city councils may from time to time make and ordain all ordinances and
             regulations for their respective towns, not repugnant to law, which they may deem necessary for
             the safety of their inhabitants from the manufacture, storage, keeping, having in possession,
             transportation, sale, or use of gunpowder, gun-cotton, dynamite, nitro-glycerine, nitro-gelatine,
             lyddite, chlorate of potash, picric acid, sodium calcium carbide, acetylene gas, gasoline gas, and
             any and all other explosives and explosive chemicals, and may prohibit the manufacture, storage,
             keeping having in possession, transportation , sale , or use by any and all persons or persons of
             any or all said substances and gases in their respective towns, unless a license for the same shall
             be first obtained from the town council or board of aldermen, which license shall be for the term
             of one years from the date thereof unless sooner revoked by order of said town council or board
             of aldermen, Any person violating any provision of any such ordinance or regulation, or any
             such prohibition, shall be fined not less than twenty dollars nor more than one hundred dollars
             for each such offense.

             1907 R.I. Pub. Laws 66, An Act for the Protection of Deer
             § 1. It shall be unlawful to pursue or shoot deer in this state except in accordance with the
             provisions of this act. § 2. Any person owning or occupying any farm or orchard and any person
             in his employ may, while on his own premises or the premises of his employer, kill any deer
             which shall be found destroying any crops, vegetables, or fruit trees belonging to such person or
             his employer: Provided, however, that no such person shall shoot any deer unless he has obtained
             from the secretary of state a permit so to do, and the secretary of state shall, upon application,
             issue to any responsible land owner, or his employees, a permit authorizing such person to shoot
             deer in accordance with the provisions of this section. No person shall pursue or shoot any deer
             except with a shot gun, or employ any missile larger than buck shot. § 3. Any person violating
             the provisions of this act shall be fined not less than one hundred dollars nor more than five
             hundred dollars for each offence.

             1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: § §
             1, 4, 5 and 6
             § 1. When used in this act the following words and phrases shall be construed as follows:
             "Pistol" shall include any pistol or revolver, and any shot gun, rifle or similar weapon with
             overall less than twenty-six inches, but shall not include any pistol without a magazine or any
             pistol or revolver designed for the use of blank cartridges only. "machine gun" shall include any
             weapon which shoots automatically and any weapon which shoots more than twelve shots semi-
             automatically without reloading. "Firearm shall include any machine gun or pistol... "Crime of
             violence" shall mean and include any of the following crimes or any attempt to commit any of
             the same, viz.: murder, manslaughter, rape, mayhem, assault or battery involving grave bodily
             injury, robbery, burglary, and breaking and entering. "Sell" shall include let or hire, give, lend
(146 of 300), Page 146 of 300
                            Case: 24-565, 04/17/20E4RD11@()@/: 10.7, Page 146 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 315 of 347


            and transfer, and the word "purchase" shall include hire, accept and borrow, and the expression
            "purchasing" shall be construed accordingly.
            § 2. If any person shall commit or attempt to commit a crime of violence when armed with or
            having available any firearm, he may in addition to the punishment provided for such crime of
            violence be punished as provided in this act. In the trial of a person for committing or attempting
            to commit a crime of violence the fact that he was armed with or had available a pistol without
            license to carry the same, or was armed with or had available a machine gun, shall be prima facie
            evidence of his intention to commit said crime of violence.
            § 4. No person shall, without a license therefor, issued as provided in section six hereof, carry a
            pistol in any vehicle or concealed on or about his person, except in his dwelling house or place of
            business or on land possessed by him, and no person shall manufacture, sell, purchase or possess
            a machine gun except as otherwise provided in this act. § 5. The provisions of section four shall
            not apply to sheriffs, deputy sheriffs, the superintendent and members of the state police, prison
            or jail wardens or their deputies, members of the city or town police force or other duly
            appointed law enforcement officers, nor to members of the army, navy or marine corps of the
            United States, or of the national guard, when on duty, or of organizations by law authorized to
            purchase or receive firearms from the United States or this state, nor to officers or employees of
            the United States authorized by law to carry a concealed firearm, nor to duly authorized military
            organizations when on duty, nor to members thereof when at or going to or from their customary
            places of assembly, nor to the regular and ordinary transportation of pistols as merchandise, nor
            to any person while carrying a pistol unloaded in a wrapper from the place of purchase to his
            home or place of business, or to a place of repair or back to his home or place of business, or in
            moving goods from one place or abode or business to another. § 6. The licensing authorities of
            any city or town shall upon application of any person having a bona fide residence or place of
            business within such city or town, or of any person having a bona fide residence or place of
            business within the United States and a license to carry a pistol concealed upon his person issued
            by the authorities of any other state or subdivision of the United States, issue a license to such
            person to carry concealed upon his person a pistol within this state for not more than one years
            from date of issue, if it appears the applicant has good reason to fear an injury to his person or
            property or has any other proper reason for carrying a pistol, and that he is a suitable person to be
            so licensed. The license shall be in triplicate, in form to be prescribed by the attorney-general and
            shall bear the fingerpring, name, address, description and signature of the licensee and the reason
            given for desiring a license. The original thereof shall be delivered to the licensee, the duplicate
            shall within seven days be sent to the attorney-general and the triplicate shall be preserved for six
            years by the licensing authorities issuing said license. A fee of two dollars may be charged and
            shall be paid for each license, to the officer issuing the same. Before issuing any such permit the
            applicant for the same shall be required to give bond to the city or town treasurer in the penal
            sum of three hundred dollars, with surety satisfactory to the authority issuing such permit, to
            keep the peace and be of good behavior. Every such permit shall be valid for one year from the
            date when issued unless sooner revoked. The fee charged for the issuing of such license or
            permit shall be applied in accordance with the provisions of section thirty-three of chapter 401 of
            the general laws.
            § 7. The attorney-general may issue a permit to any banking institution doing business in this
            state or to any public carrier who is engaged in the business of transporting mail, money,
            securities or other valuables, to possess and use machine guns under such regulations as the
            attorney general may prescribe.
(147 of 300), Page 147 of 300
                           Case: 24-565, 04/17/20E4RD 1@l11y: 10.7, Page 147 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 316 of 347


            § 8. It shall be unlawful within this state to manufacture, sell, purchase or possess except for
            military or police purposes, any muffler, silencer or device for deadening or muffling the sound
            of a firearm when discharged.

            SOUTH CAROLINA

            1731-43 S.C. Acts 168, § 23. 1740
            It shall not be lawful for any slave, unless in the presence of some white person, to carry or make
            use of firearms or any offensive weapon whatsoever, unless such negro or slave shall have a
            ticket or license in writing from his master, mistress or overseer, to hunt and kill game, cattle, or
            mischievous birds or beasts of prey, and that such license be renewed once every month, or
            unless there be some white person of the age of 16 or upwards, in the company of such slave
            when he is hunting or shooting, or that such slave be actually carrying his masters arms to or
            from his masters plantation, by a special ticket, for that purpose, or unless such slave be found in
            the day time actually keeping off rice birds, or other birds within the plantation to which such
            slave belongs, lodging the same gun at night within the dwelling house of his master, mistress or
            white overseer. And provided also that no negro or other slave shall have liberty to carry any
            guns, cutlass, pistol or other weapon abroad form at any time between Saturday evening after
            sunset and Monday morning before sunrise notwithstanding a license or ticket for so doing. And
            in case any person shall find any slave using or carrying fire-arms, or other offensive weapons,
            contrary to the true intention of this act, every such person may lawfully seize and take away
            such fire-arms or offensive weapons, but before the property of such goods shall be vested in the
            person who shall seize the same, such person shall, within 48 hours next after such seizure, go
            before the next justice of the peace, and shall make oath of the manner of the taking, and if such
            justice of the peace after such oath shall be made, or upon any other examination, he shall be
            satisfied, that the said fire-arms or other offensive weapons, shall have been seized according to
            the directions and agreeable to the true intent and meaning of this act, the said justice shall, by
            certificate under his hand and seal, declare them forfeited, and that the property is lawfully
            vested in the person who seized the same. Provided that no such certificate shall be granted by
            any justice of the peace until the owner or owners of such fire-arms or other offenisve weapons
            so to be seized as aforesaid, or the overseer or overseers who shall or may have the charge of
            such slave or slaves from, whom such fire-arms or other offensive weapons shall be taken or
            seized shall be duly summoned, to show cause (if any such they have) why the same should not
            be condemned as forfeited, or until 48 hours after the service of such summons and oath made of
            the service thereof before the said justice.

            Alexander Edwards, Ordinances of the City Council of Charleston, in the State of South-
            Carolina, Passed since the Incorporation of the City, Collected and Revised Pursuant to a
            Resolution of the Council Page 289, Image 299 (1802) available at The Making of Modern Law:
            Primary Sources. 1802
            [Ordinances of the City of Charleston, An Ordinance for Appointing Commissioners of the
            Streets, Defining their Powers, and for other Purposes therein Mentioned, § 8. And be it further
            ordained by the authority aforesaid, That no person or persons, shall fire any squibs, crackers, or
            other fireworks, except at times of public rejoicing, and at such places as the intendant for the
            time being may permit, by license under his hand, nor burn any chips, shavings, or other
            combustible matters, in any of the streets, lanes, wharves, alleys, or open or enclosed lots of the
(148 of 300), Page 148 of 300
                           Case: 24-565, 04/17/20E4RD 10@: 10.7, Page 148 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 317 of 347


            city, nor fire any gun, pistol, or fire arms, within the limits of the city, except on occasion of
            some military parade, and then by the order of some officer having the command, under the
            penalty of ten dollars, for every such offense, nor shall any person or persons, raise or fly any
            paper or other kite, within the said city, under the said penalty of ten dollars.]

            John E. Breazeale, The Revised Statutes of South Carolina, Containing the Code of Civil
            Procedure, and the Criminal Statutes. Also The Constitutions of the United States and of the
            State, and the Rules of the Supreme and of the Circuit Courts of the State Page 431, Image 529
            (Vol. 2, 1894) available at The Making of Modern Law: Primary Sources. 1890
            Chapter XXVIII Violations of the License Laws by Insurance and Other Companies, Emigrant
            Agents, owners or shows, etc., Persons Selling Pistols, etc. §490. No person or corporation
            within the limits of this State shall sell or offer for sale any pistol, rifle, cartridge or pistol
            cartridge less than .45 caliber, or metal knuckles, without first obtaining a license from the
            county in which such person or corporation is doing business so to do. The County Board of
            Commissioners of the several Counties of this State are authorized to issue licenses in their
            respective Counties for the sale of pistols and pistol and rifle cartridges of less than .45 caliber,
            and metal knuckles, upon the payment to the County Treasurer by the person or corporation so
            applying for said license of the sum of twenty-five dollars annually, and any person who shall
            sell or offer for sale any pistol, or pistol or rifle cartridge of less than .45 caliber, or metal
            knuckles, without having obtained the license provided in this Section shall be deemed guilty of
            a misdemeanor, and on conviction shall be punished by a fine not exceeding five hundred
            dollars, or by imprisonment not exceeding one year, or both, at the discretion of the court.

            1893 S.C. Acts 426, An Act To Amend An Act Entitled "An Act To Provide For A License For
            The Sale Of Pistols Or Pistol Cartridges Within The Limits Of This State", § 2
            ... That the County Commissioners of the Several Counties of the State be, and they are herby,
            authorized to issue licenses in their respective Counties for the sale of pistols and pistol
            cartridges upon the payment to County Treasurer by the person or corporation so applying for
            said licenses of the sum of twenty-five dollars annually.

            1923 S.C. Acts 19-20, License Tax on Ammunition - Candy Admissions Regulations to
            have force of law.
            That every person, firm or corporation doing business within the State of South Carolina and
            engaging in the business of selling at retail or in any individual instance selling to the final
            consumer, such articles as are named in this section, for the privilege of carrying on such
            business, shall be subject to the payment of a license tax which shall be measured by and
            graduated in accordance with the volume of sales of such person, firm or corporation as follows:
            (a) There shall be levied, assessed, collected and paid upon all ammunition, including shells for
            shotguns and cartridges for rifles, pistols, revolvers, automatic pistols, rifles and machine guns,
            and upon such shells and cartridges partially prepared for use but lacking powder or shot or other
            necessary constituent, and upon blank shells and cartridges (but not upon powder or shot or caps
            not prepared and not in form to use in modern firearms), when sold at retail or to the ultimate
            consumer, the following: Upon all shotgun or other shells, two ($2.00) dollars per thousand
            rounds, Upon all cartridges, twenty-five (25) caliber or greater, two ($2.00) dollars per thousand
            rounds. (b) The license taxes imposed upon ammunition shall be paid by stamps to be affixed
            and cancelled by the retailer or other final seller, and said stamps shall be affixed to the smallest
(149 of 300), Page 149 of 300
                           Case: 24-565, 04/17/20E4RD 10(3y: 10.7, Page 149 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 318 of 347


            container in which or from which articles are sold, as soon as the original packages are opened or
            broken, or if received in no other form than that in which sold, as soon as the containers are
            placed in the place of business of the retailer, in the case of articles interceded for sale in the
            packages in which received from outside the State of South Carolina without opening or
            alteration of any sort, each package must be immediately marked with the date of receipt and the
            place from which received and no stamps need be affixed so long as such package remains
            unopened and unaltered.

            1934 S.C. Acts 1288, An Act regulating the use and possession of Machine Guns: §§ 1 to 6.
            § 1. "Machine gun" defined. - Be it enacted by the General Assembly of the State of South
            Carolina: For the purposes of this Act the word "machine gun" applies to and includes all
            firearms commonly known as machine rifles, machine guns and sub-machine guns of any caliber
            whatsoever, capable of automatically discharging more than eight cartridges successively
            without reloading, in which the ammunition is fed to such gun from or by means of clips, disks,
            belts or other separable mechanical device. § 2. Transportation of Machine Gun. - It shall be
            unlawful for any person or persons in any manner to transport from one place to another in this
            State, or from any railroad company, or express company, or other common carrier, or any
            officer, agent or employee of any of them, or any other person acting in their behalf knowingly
            to ship or to transport form one place to another in this State in any manner or by any means
            whatsoever, except as hereinafter provided, any firearm as described hereinabove or commonly
            known as a machine gun. § 3. Storing, Keeping, and/or Possessing Machine Gun. - It shall be
            unlawful for any person to store, keep, possess, or have in possession, or permit another to store,
            keep, possess, or have in possession, except as hereinafter provided, any firearm of the type
            defined above or commonly known as a machine gun. § 4. Selling, Renting or Giving away
            Machine Gun. - It shall be unlawful for any person to sell, rent, or give away, or be interested
            directly or indirectly, in the sale, renting or giving away, or otherwise disposing of any firearm of
            the type above described or commonly known as a machine gun. § 5. Exceptions - Register
            Machine Guns. - The provisions of this Act shall not apply to the army, navy or marine corps of
            the United States, the National Guard, and organizations authorized by law to purchase or
            received machine guns from the United States, or from this State, and the members of such
            corps. National Guard and organizations while on duty or at drill, may possess, carry and
            transport machine guns, and, Provided, further, That any peace officer of the State, counties or
            political sub-division thereof. State Constable, member of the Highway patrol, railway
            policemen, warden, superintendents, headkeeper or deputy of any State prison, penitentiary,
            worldiouse, county jail, city jail, or other institution for detention of persons convicted or
            accused of crime, or held as witnesses in criminal cases, or persons on duty in the postal service
            of the United States, or common carrier while transporting direct to any police department,
            military or naval organization, or persons authorized by law to possess or use a machine gun,
            may possess machine guns when required in the performance of their duties, nor shall the
            provisions of this Act be construed to apply to machine guns kept for display as relics and which
            are rendered harmless and not useable. Within thirty days after the passage of this Act every
            person permiteed by this Act to possess a machine gun or immediately after any person is elected
            to or appointed to any office or position which entitles such person to possess a machine gun,
            shall file on the office of the Secretary of State on a blank to be supplied by the Secretary of
            State on application therefor, an application to be properly sworn to, which shall be approved by
            the Sheriff of the county in which the applicant resides or has its principal place of business,
(150 of 300), Page 150 of 300
                           Case: 24-565, 04/17/20E4RD 10t4y: 10.7, Page 150 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 319 of 347


            which shall include the applicants name, residence and business address, description including
            sex, race, age weight, height, color of eyes, color of hair, whether or not ever charged or
            convicted of any crime, municipal, State or otherwise, and where, if so charged, and when same
            was disposed of. The applicant shall also give the description including the serial number and
            make the machine gun which he possesses or desires to possess. Thereupon the Secretary of
            State shall file such application in his office, registering such applicant togther with the
            information required in the application in a book or index to be kept for that purpose, and assign
            to him a number, an dissue to him a card which shall bear the signature of the applicant, and
            which he shall keep with him while he has such machine gun in his possession. Such
            registeration shall be made on the date application is received and filed iwth the Secretary of
            State, and shall expire on December 31, of the year in which said license is issued. § 6. Penalty -
            Any person violating any of the provisions of this Act shall be guilty of a felony, and, on
            conviction thereof shall be sentenced to pay a fine not exceeding One Thousand Dollars, and
            undergo imprisonment by separate or solitary confinement at labor not exceeding twenty (20)
            years.

            SOUTH DAKOTA

            1899 S.D. Sess. Laws 112, An Act For The Protection Of Game And The Appointment Of
            Wardens, And The Licensing Of Hunters And Prescribing Penalties For The Violation Of Its
            Provisions, pt. 3
            At any time kills or shoots any wild duck, goose or brant with any swivel gun or other gun,
            except as is commonly shot form the shoulder, or in hunting such birds makes us of any artificial
            light or battery...

            TENNESSEE

            William H. Bridges, Digest of the Charters and Ordinances of the City of Memphis, Together
            with the Acts of the Legislature Relating to the City, with an Appendix Page 148-149, Image
            149-150 (1863) available at The Making of Modern Law: Primary Sources. 1863
            [Ordinances of the City of Memphis, Shooting Galleries, § 1. That no person or persons shall set
            up or use any pistol gallery, or place for the discharging of pistols, guns or other firearms in the
            first story of any building in the city, nor shall any gallery be used in any manner involving risk
            or danger to any person in the city, nor shall any person setting up or using such pistol gallery be
            exempt from the ordinance and penalties now in force, for discharging or shooting any pistol,
            gun or firearms within the city limits, until such person or persons have applied and paid for
            license to set up and use such pistol gallery, according to the provisions of this ordinance. § 2.
            That the person or persons applying for license to keep such pistol gallery, shall, at the time of
            obtaining such license, enter into bond with good security, to be approved by the City Register,
            in the sum of three thousand dollars, payable as other city bonds, conditioned that no gambling
            of any kind be permitted in such pistol gallery, or in the room used for such pistol gallery, or any
            room adjacent thereto, under the control and connected with said pistol gallery, or its proprietors
            or keepers, and that all shooting or discharging of firearms shall be done only with the perfect
            security against any harm to persons or property in the vicinity of such pistol gallery, such
            penalty to be recoverable for every violation of this section of this ordinance, and of the
            conditions of said bond. § 3. That the proprietors or persons keeping such pistol gallery shall not
(151 of 300), Page 151 of 300
                           Case: 24-565, 04/17/20E4RD 108/: 10.7, Page 151 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 320 of 347


            permit any minors to shoot in such gallery without the written consent of the lawful guardian of
            such minor, unless such guardian be personally present, and consenting to such shooting, nor
            shall the proprietors or keepers of such gallery permit any shooting in the same after eleven
            o'clock at night, or on Sunday, nor shall such shooting gallery be allowed to be kept open for
            shooting after eleven o'clock at night or on Sunday. Any violation of this ordinance is hereby
            declared a misdemeanor, and each offender, on conviction shall be fined in any sum not less than
            five nor more than fifty dollars for any violation of this ordinance, recoverable as other fines. § 4.
            Any person or persons shall before putting up or using such pistol or shooting gallery, first apply
            for, and obtain license, as other licenses are obtained, and shall pay for such license the sum of
            one hundred dollars per annum for each and every pistol or shooting gallery establishment under
            the provision of this ordinance. § 5. That the board of Mayor and Aldermen retain the power and
            right to, at any time, repeal this ordinance and revoke and recall any license to keep a pistol
            gallery, by refunding a pro rata part of the amount paid for any license then outstanding.]

            1879 Tenn. Pub. Acts 135-36, An Act to Prevent the Sale of Pistols, chap. 96, § 1.
            It shall be a misdemeanor for any person to sell, or offer to sell, or to bring into the State for the
            purpose of selling, giving away, or otherwise disposing of belt or pocket pistols, or revolvers, or
            any other kind of pistols, except army or navy pistol, Provided that this act shall not be enforced
            against any persons now having license to sell such articles until the expiration of such present
            license.

            TEXAS

            Charter and Revised Ordinances of the City of Galveston, and All Ordinances in Force to April
            2d, 1872 Page 94, Image 107 (1873) available at The Making of Modern Law: Primary Sources.
            1872
            [Ordinances of the City of Galveston, Taxes - License Tax and Ad-Valorem Tax,] Art. 418, §
            26. Every keeper of a billiard or other like table, for public use, a tax of twenty dollars for each
            and every table so kept, and every keeper of a tenpin alley, a tax of thirty dollars for each and
            every alley so kept for public use. Every keeper of a pistol or rifle gallery, a tax of twenty-five
            dollars.

            Revised Ordinances of the City efFort Worth, Texas, 1873-1884 Page 64-65, Image 62-63
            (1885) available at The Making of Modern Law: Primary Sources. 1880
            Ordinances of the City of Fort Worth, An Ordinance prohibiting the shooting off, firing or
            discharging of Fire-arms, the firing, exploding or setting off of Squibs, Firecrackers, Torpedoes,
            Roman Candles, Sky-rockets or other things containing powder or other explosive matter, or the
            throwing of any fire balls, or making of any bon-fires in the corporate limits of the City of Fort
            Worth. Be it ordained by the City Council of the City of Fort Worth: § 1. It shall be unlawful for
            any person or persons to shoot off, fire, or discharge any gun, pistol, revolver or any firearm of
            any description, or to fire, explode or set off any squib, firecracker, torpedo, roman candle, sky-
            rocket, or other thing containing powder or other explosive matter, or to throw any fire-ball or
            make any bon-fire in the corporate limits of this city, and that any person or persons violating the
            provisions of this ordinance, shall be deemed guilty of a misdemeanor, and, on conviction
            thereof, shall be fined in any sum not less than one dollar nor more than one hundred dollars.
(152 of 300), Page 152 of 300
                            Case: 24-565, 04/17/20E4RD11@()@/: 10.7, Page 152 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 321 of 347


            Provided that this shall not apply to any licensed shooting gallery nor to the shooting of dogs
            running at large in violation of the city ordinances

            The Laws of Texas 1822-1897. Austin's Colonization Law and Contract, Mexican Constitution
            of 1824, Federal Colonization Law, Colonization Laws of Coahuila and Texas, Colonization
            Law of State of Tamaulipas, Fredonian Declaration of Indpendence, Laws and Decrees, with
            Constitution of Coahuila and Texas, San Felipe Convention, Journals of the Consultation,
            Proceedings of the General Council, Goliad Declaration of Independence, Journals of the
            Convention at Washington, Ordinances and Decrees of the Consultation, Declaration of
            Independence, Constitution of the Republic, Laws, General and Special, of the Republic ,
            Annexation Resolution of the United States, Ratification of the Same by Texas, Constitution of
            the United States, Constitutions of the State of Texas, with All the Laws, General and Special,
            Passed Thereunder, Including Ordinances, Decrees, and Resolutions, with the Constitution of the
            Confederate States and the Reconstruction Acts of Congress Page 234-235, Image 734-735 (Vol.
            6, 1898) available at The Making of Modern Law: Primary Sources. 1898
            [An Act to Incorporate the Town of Round Top, County of Fayette, ... Article Tenth. That from
            and after the passage of this act it shall be unlawful to fire any pistol, rifle, shot gun, or other
            kind of fire-arms, within the limits of the town of Round Top, and any person violating this act
            shall be guilty of a misdemeanor, and on conviction thereof shall be fined not less than five nor
            more than twenty-five dollars, to be collected by the mayor of the town, but this act shall not
            prevent any gunsmith, within the limits of the town, from discharging on the premises thereof,
            fire-arms made or repaired in his shop, for the purpose of training such fire-arms, provided, that
            none but gunsmiths shall have the privilege of being authorized to discharge fire-arms, and for
            that purpose each gunsmith shall build a rock wall, in front of which he shall cause a target to be
            placed, The mayor shall issue a permit to any gunsmith applying for the same, for the period of
            one year, which permit may be renewed after its expiration.]

            Revised Ordinances of the City of Victoria Texas Page 75, Image 77 (1899) available at The
            Making of Modem Law: Primary Sources. 1899
            [Ordinances of the City of Victoria,] Revised Penal Ordinances: Discharging Firearms, § 1. If
            any person shall discharge any gun, pistol or firearm of any description on or across any public
            square, street or alley, or elsewhere within the corporate limits of the City of Victoria, whether
            the premises on or across which such fire arm is discharged be public or private he shall be fined
            in any sum not to exceed ten dollars. § 2. Exceptions. The provisions of the foregoing section
            shall not be construed to apply to gunsmiths discharging fire arms brought to them for repairs, or
            to training guns or pistols of their own make, when done with the permission and at a place
            approved by the City Marshal, nor shall parties shooting in galleries licensed by the city come
            within the meaning of the preceding article. § 3. If any person shall discharge any gun, pistol or
            fire arm of any description as alarm for fire, or upon the discovery of any fire, or during the
            progress of any fire, he shall be fined in any sum not to exceed twenty-five dollars.

            1919 Tex. Gen. Laws 297-98, An Act to Preserve, Propagate, Distribute, and Protect the Wild
            Game, Wild Birds, Wild Fowl of the State ... , ch. 157, § 42.
            It shall be unlawful for any citizen of this State to hunt outside of the county of his residence
            with a gun without first having procured from the Game, Fish and Oyster Commissioner or one
            of his deputies or from the County Clerk of the County in which he resides a license to hunt, and
(153 of 300), Page 153 of 300
                            Case: 24-565, 04/17/20E4RD11@0tTy: 10.7, Page 153 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 322 of 347


            for which he shall pay to the officer from whom he secures such license the sum of two ($2.00)
            dollars... Any person hunting any game or birds protected by the laws of the State, and who
            shall refuse to show his license herein provided for to any sheriff ... on demand shall be deemed
            guilty of a violation of the provisions of this law, and any person violating any of the provisions
            of this Section shall be deemed guilty of a misdemeanor, and upon conviction shall be fined in a
            sum of not less than ten (10.00) dollars nor more than one hundred (100.00) dollars.

             UTAH

            An Ordinance Prohibiting the Sale of Arms, Ammunition, or Spiritous Liquors to the Indians, in
            Acts, Resolutions and Memorials Passed at the Several Annual Sessions of the Legislative
            Assembly of the Territory of Utah 63 (Henry McEwan 1866). 1850
            "Sec. l. Be it ordained by the General Assembly of the State of Deseret: That if any person shall
            hereafter trade or give any guns, rifles, pistols or any other deadly weapons, ammunition or
            spirituous liquors to any Indian, without having a license, he shall, on conviction thereof before
            any Justice of the Peace, he fined in a sum not exceeding one hundred dollars for each offense,
            and also forfeit all the property received from the Indian, which shall be sold and the proceeds
            thereof paid into the public treasury."

            Revised Ordinances and Resolutions of the City Council of Salt Lake City, in the Territory of
            Utah, with Congressional and Territorial Laws on Townsites and Great Salt Lake City Charter,
            and Amendments Page 161-162, Image 196-197 (1875) available at The Making of Modern
            Law: Primary Sources. 1875
            Ordinances of Salt Lake City, Relating to Gunpowder, Gun Cotton and Nitro-Glycerine, § 1. Be
            it ordained, by the City Council of Salt Lake City, that it shall not be lawful for any person or
            persons to keep, sell or give away, gunpowder, gun-cotton, or nitro-glycerine, in any quantity
            without permission of the City Council, Provided, any person may keep, for his own use, not
            exceeding five pounds of gun powder, one pound of gun cotton, or one ounce of nitro-glycerine.
            § 2. All permits , when issued , shall be registered by the Recorder, and shall state the name and
            place of business, and date of permit, and the same shall not be granted for a longer time than
            one year, and no person to whom any permits may be issued, shall have or keep, at his place of
            business or elsewhere, within the city, (except in such places as may be approved by the City
            Council), a greater quantity of gunpowder or guncotton than twenty-five pounds, and the same
            shall be kept in tin canisters or cases, and nitro-glycerine not to exceed five ounces, and in a
            situation remote from fires lighted lamps or candles. Nor shall any person sell or weigh
            gunpowder, gun cotton, or nitro-glycerine, after the lighting of lamps or gas in the evening ,
            unless in sealed canisters or cases. It shall be the duty of every person to whom a permit shall be
            given to keep a sign at the front door of his place of business, with the word gunpowder painted
            or printed thereon in large letters. § 3. No person shall convey or carry any gunpowder exceeding
            one pound in quantity through any street or alley in the city, unless the said gunpowder is
            secured in tight cans, kegs or cases, sufficient to prevent the same from being spilled or scattered
            , and in no quantity exceeding one hundred pounds, except under the direction of a police officer.
            § 4. A violation of any clause of this ordinance shall subject the offender to a fine, for each
            offence, in any sum not exceeding one hundred dollars.
(154 of 300), Page 154 of 300
                           Case: 24-565, 04/17/20E4RD11@()8/: 10.7, Page 154 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 323 of 347


            The Revised Ordinances of Salt Lake City, Utah, Chapter XXVI, Misdemeanors, p. 283 Sec. 14
            (1888)
            Dangerous and Concealed Weapons.
            SEC. 14. Any person who shall carry any slingshot, or any concealed deadly weapon , without
            the permission of the mayor first had and obtained, shall, upon conviction, be liable to a fine not
            exceeding fifty dollars.

            1905 Utah Laws 197, An Act for the Protection offish, Game, and Birds ... , ch. 118, § 30.
            It shall be unlawful for any non-resident person or for resident who is not a citizen of the United
            States to kill any game, animals, birds or fish in this State, without first having procured the
            license to do so hereinafter provided for. Any non-resident person or any resident who is not a
            citizen of the United States, upon the payment to the State Commissioner, of the sum of twenty-
            five dollars, shall be entitled to receive a license, from said commissioner, which will entitle him
            to hunt and kill game, animals, birds and fish, for the period of one year subject to all the laws of
            this State for the protection of fish and game.

            VERMONT

            Act of Incorporation and By-Laws of the Village of Bradford Page 14, Image 15 (1890 )
            available at The Making of Modem Law: Primary Sources. 1890
            [Ordinances of the Village of Bradford] By-laws, Miscellaneous, § 6. Any person who shall fire
            any cannon, swivel gun, pistol, torpedo, squib, cracker, or throw any fire ball, in any street, alley
            or lane, except by permission of the trustees, shall be fined five dollars.

            Act of lncorporation and By-Laws of the Village of Bradford. 1890 Page 12-13, Image 13-14
            (1891) available at The Making of Modern Law: Primary Sources.
            Ordinances of the Village of Bradford, § 11. The Trustees may grant licenses, for one year or
            less, to keep gun powder or gun cotton or other explosives for sale, if in their opinion the public
            safety is not endangered thereby. Said gun powder or gun cotton or other explosive shall be kept
            in close tin canisters which shall only be opened in the day time. § 12. The license shall specify
            the quantity allowed and the place where such gun powder or gun cotton and other explosives
            shall be kept, and on every building in which such gunpowder or gun cotton or other explosives
            is kept for sale shall be placed in a conspicuous position a sign with the words, "Licensed to sell
            Powder," printed or painted thereon. § 13. The Trustees may also grant licenses to store gun
            powder and other explosives in larger quantities in places used for no other purpose which they
            consider at a safe distance from other buildings. § 14. The Trustees may at any time inspect the
            premises where gun powder, gun cotton and other explosives are kept, in order to satisfy
            themselves that the regulations are complied with. § 15. Any person who shall without license
            keep in any building in the Village any nitro-glycerine, or more than half a pound of gun powder
            or two ounces of gun cotton, which shall be only for his own use, shall be fined five dollars for
            every day so offending. § 16. All licenses granted by the Trustees by virtue of these by-laws
            shall be signed by a majority of the Trustees and recorded in the office of the Clerk of the
            Corporation at the expense of the person licensed and shall not become valid until so recorded. §
            17. The Trustees are authorized to revoke any license mentioned in these by-laws, whether
            granted by themselves or their predecessors in office, whenever in their opinion the public good
            requires it. Such revocation shall be recorded in the Clerk's office, and shall become operative
(155 of 300), Page 155 of 300
                            Case: 24-565, 04/17/20E4RD11@0@/: 10.7, Page 155 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 324 of 347


            whenever the Trustees shall deliver a written notice thereof to the person whose license is
            revoked.

            Act of Incorporation and By-Laws of the Village of Northfield Page 19-20, Image 19-20 (1894)
            available at The Making of Modem Law: Primary Sources. 1894
            Regulations for Handling Explosives, Artcle XV., § 1. No person shall at any time keep within
            the limits of said Village, any powder, or guncotton, without a written license, signed by a
            majority of the trustees, who shall have discretionary power to grant the same for retailing
            purposes , not, however, exceeding twenty pounds shall be kept in any one building at a time,
            and that to be kept in close metal cans, or flasks, which are not to be opened except in the day
            time, Said license specify the building, or place where said powder or guncotton shall or may be
            kept, the quantity such person may keep, and shall be conditional that any Trustee may at any
            time make inspection of the quantity of powder or gun-cotton kept, and the manner of keeping
            the same, said license to be in force until revoked by a majority of the Trustees. And it shall be
            the duty of the person or persons so licensed to procure said license to be recorded in the records
            of said Village, and to put up, in some conspicuous place on every building within the limits of
            the Village in which he has powder or guncotton stored, a sign with the words "LICENSED TO
            SELL GUNPOWDER." Provided, that a majority of the Trustees may grant license for storing or
            keeping larger quantities, and that any person may keep not over two pounds which shall be kept
            in a metallic flask or a powder hom. Article XVI. PENALTY FOR VIOLATION OF ABOVE
            ARTICLE. § 1. If any person shall keep, without a license therefore, or as provided in the Xvth
            article, any powder, or gun cotton, or either of said articles, or shall keep either of said articles in
            any buildings or places except those mentioned in his license, he shall forfeit and pay to the
            treasurer of said Village Five dollars for each day said powder or guncotton shall be suffered to
            remain within the limits of said village.

            Quoted in Brief of Amicus Curiae Patrick J. Charles at App. 13, N.Y. State Rifle & Pistol Ass'n,
            V. City of New York (Ordinances of the City of Barre, Vermont). 1895
            CHAPTER 16, SEC. 18. No person, except on his own premises, or by the consent and
            permission of the owner or occupant of the premises, and except in the performance of some
            duty required by law, shall discharge any gun, pistol, or other fire arm loaded with ball or shot,
            or with powder only, or firecrackers, serpent, or other preparation whereof gunpowder or other
            explosive substance is an ingredient, or which consists wholly of the same, nor shall make any
            bonfire in or upon any street, lane, common or public place within the city, except by authority
            of the city council.
            CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass knuckles, pistol,
            slung shot, stilletto, or weapon of similar character, nor carry any weapon concealed on his
            person without permission of the mayor or chief of police in writing.

            1908 Vermont Session Laws 132, § 1.
            No person shall at any time hunt, shoot, pursue, take or kill any of the wild animals, wild fowl or
            birds of this state, nor use a gun for hunting the same, without having first procured a license
            therefor as hereinafter provided, and then only during the respective periods of the year when it
            shall be lawful, and subject to all the provisions of chapter 220 of the Public Statutes...

            VIRGINIA
(156 of 300), Page 156 of 300
                            Case: 24-565, 04/17/20E4RD11@rl@/: 10.7, Page 156 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 325 of 347



            Collection of All Such Acts of the General Assembly of Virginia, of a Public and Permanent
            Nature, as Are Now in Force, with a New and Complete Index. To Which are Prefixed the
            Declaration of Rights, and Constitution, or Form of Government Page 187, Image 195 (1803)
            available at The Making of Modem Law: Primary Sources. 1792
            [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes, and Mulattoes
            (1792),] § 8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot, club, or
            other weapon whatsoever, offensive or defensive, but all and every gun, weapon, and
            ammunition found in the possession or custody of any negro or mulatto, may be seized by any
            person, and upon due proof thereof made before any Justice of the Peace of the County or
            Corporation where such seizure shall be, shall by his order be forfeited to the seizor for his own
            use , and moreover, every such offender shall have and receive by order of such Justice, any
            number of lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every such
            offense. § 9. Provided, nevertheless, That every free negro or mulatto, being a house-keeper, may
            be permitted to keep one gun, powder and shot, and all negroes and mulattoes, bond or free,
            living at any frontier plantation, may be permitted to keep and use guns, powder, shot, and
            weapons offensive or defensive, by license from a Justice of Peace of the County wherein such
            plantation lies, to be obtained upon the application of free negroes or mulattoes, or of the owners
            of such as are slaves.

            1805 Va. Acts 51, An Act Concerning Free Negroes and Mulatoes
            That no free negro or mulato shall be suffered to keep or carry any firelock of any kind.
            without first obtaining a license from the court...

            1806 Va. Acts 51, ch. 94
            Required every "free negro or mulatto" to first obtain a license before carrying or keeping "any
            fire-lock of any kind, any military weapon, or any powder or lead."

            The Charters and Ordinances of the City of Richmond, with the Declaration of Rights, and
            Constitution of Virginia Page 227, Image 274 (1859) available at The Making of Modem Law:
            Primary Sources. 1859
            [Ordinances of Richmond,] Nuisances Not in Streets, § II. If any person shall sell, or expose for
            sale in this city, any torpedos, popcrackers, squibs, or other fire-works, of any kind whatever,
            except in packages containing each at least one hundred, or shall without permission in writing
            from the mayor, discharge, or set off, in any street or alley of the city, any balloon, rocket,
            torpedo, popcracker, fireworks or any combination of gunpowder, or any other combustible or
            dangerous material, or if any person shall, except under the fortieth section of the ordinance
            concerning streets, without necessity fire or discharge in this city any cannon, gun, pistol, or
            other fire-arms of any kind, or shall make therein any unusual noise, whereby the inhabitants
            thereof may be alarmed, or raise or fly a kite in this city, or if any auctioneer shall use any bell or
            herald to notify the public of any sale, except of real property, every such person herein
            offending, shall pay a fine of not less than one nor more than twenty dollars.

            1908 Va. Laws 381, An Act To Amend And Re-Enact Section 3780 Of The Code In Relation To
            Carrying Concealed Weapons, § 3780
(157 of 300), Page 157 of 300
                            Case: 24-565, 04/17/20E4RD11@rll11y: 10.7, Page 157 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 326 of 347


             If any person carry about his person, hid from common observation, any pistol, dirk, bowie
             knife, razor, slungshot, or any weapon of like kind he shall be fined not less than twenty dollars
             nor more than one hundred dollars, or be committed to jail not more than thirty days, or both, in
             the discretion of the court, or jury, trying the case: and such pistol, dirk, bowie knife, razor,
             slungshot, or any weapon of like kind, shall be forfeited to the Commonwealth and may be
             seized by an officer as forfeited. Upon conviction of the offender the said weapon shall be sold
             by the officer and the proceeds accounted for and paid over as provided in section twenty-one
             hundred and ninety, provided, that this section shall not apply to any police officer, town or city
             sergeant, constable, sheriff, conservator of the peace, collecting officer while in the discharge of
             his official duty: provided the judge of any circuit or hustings court in term time, upon a written
             application and satisfactory proof of the good character and necessity of the applicant to carry
             concealed weapon may grant such permission for one year, the order making same shall be
             entered in the order book of such court.

             1926 Va. Acts. 285-87, CHAP. 158-An ACT to improve a license tax on pistols and revolvers, to
             regulate the sale thereof and of ammunition therefor, and to provide that the proceeds of such tax
             shall be used for the establishment of a diseased and crippled children's hospital, §§ 1-9.
             l. Be it enacted by the general assembly of Virginia, That it shall be the duty of every person
             residing in this State and owning a pistol or revolver therein, to pay on or before the first day of
             January of each year a license tax of one dollar on each pistol or revolver so owned, or in the
             event that such pistol or revolver shall be acquired by any such person on or after the first day of
             February, such license tax shall be forthwith paid thereon. The application for the license shall
             give the name of the owner, and the number, make and calibre [sic] of such pistol or revolver,
             which shall be set forth in the license. All pistol or revolver licenses shall run from the first day
             of January to the first day of the following January. Such license taxes shall be paid to the
             treasurer of the city or county whrein the said owner resides, and the said treasurer shall not
             receive more for handling the funds arising from the tax imposed by this act than he receives for
             handling other State funds. The treasurers shall not receive compensation for their services in
             issuing the license cards herein provided for. Upon payment of the tax provided for in this
             section the person paying the same shall be entitled to a license card therefor, showing the year
             for which the license is paid, the county or city issuing the card, the serial number of the license,
             and the number, calibre [sic], make and owner of the pistol or revolver. When the license card is
             issued the treasurer shall record the name of the owner of the pistol or revolver, and the number,
             calibre [sic] and make thereof with the number of the license, in a book prepared for the purpose.
             The license cards and book shall be furnished by the boards herein provided and shall be paid out
             of the funds derived from the pistol and revolver licenses. If any such card should be lost the
             owner of the card shall pay to the treasurer twenty-five cents for a duplicate card.
             2. It shall be the duty of every retailer selling a pistol or revolver in this State, at the time of such
             sale, to keep a record of the name and address of the purchaser and the number, make and calibre
             [sic] of the pistol or revolver, and to report once a month to the treasurer of his county or city the
             names of such purchasers, if any, together with the number, make and calibre [sic] of each pistol
             or revolver purchased, and all persons receiving or having in their possession a pistol or revolver
             for the purpose of repairing the same shall report to the treasurer of his county or city once a
             month giving the name and address of the owner and the calibre [sic], make and serial number of
             such pistol or revolver.
(158 of 300), Page 158 of 300
                           Case: 24-565, 04/17/20E4RD11@rl@: 10.7, Page 158 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 327 of 347


            3. It shall be unlawful for any retailer in this State to sell ammunition for any pistol or revolver to
            any person unless the person desiring to make such purchase displays the license card for the
            current year provided for in this act.
            4. Any person violating any provision of this act or using a license card not issued to him, for the
            purpose of purchasing ammunition, or using a license card for the purchase of pistol or revolver
            ammunition unless the ammunition is intended to be used for the weapon mentioned in the
            license card shall be guilty of a misdemeanor, and upon conviction shall be fined not less than
            twenty-five nor more than fifty dollars, or sentenced to the State convict road force for not less
            than thirty or not more than sixty days, or both, in the discretion of the tribunal trying the case.
            5. The provisions of this act shall not apply to any officer authorized by law to carry a pistol or
            revolver nor to the pistol or revolver of such officer when such pistol or revolver is carried in
            discharge of his official duty, except that every officer shall list his pistol or revolver with the
            treasurer of his county or city annually by January first, nor to a pistol of an obsolete type kept as
            a souvenir, memento or relic, such as cap and ball type, etcetera, or souvenir used or captured by
            any person or relative in any war. But such pistol shall be registered as herein provided, upon
            satisfactory proof to the officer issuing such license that the pistol in question comes properly
            within this exception, in which case, no license tax shall be charged.
            6. The tax hereby imposed shall be in lieu of all other taxes on such pistols and revolvers, but
            nothing in this act shall be construed to apply to such weapons in the stocks of licensed
            wholesaler or retailers.
            7. All funds arising from pistol and revolver licenses, except as hereinbefore provided, shall be
            kept separate from other funds and shall be paid into the State treasury to establish a fund known
            as the diseased and crippled children's hospital fund, which shall be used for the purpose of
            establishing and maintaining within the State at such place or places as may be selected by the
            board hereinafter provided for, a hospital or hospitals for the care, treatment and vocational
            training of diseased and crippled children resident in Virginia, or for any such rehabilitation
            work that the board may deem wise.
            Each treasurer shall between the first and fifteenth of July and between the first and fifteenth of
            January report to the auditor of public accounts collections, which he is required to make by this
            act, and shall at the same time pay into the State treasury the amount collected less the
            commissions which he is authorized to retain for collecting same as provided for in this act, and
            the auditor of public accounts shall keep said funds separate from other funds to be designated
            and known as "the diseased and cripple children's hospital fund."
            8. The adminsitration of the aid fund shall be under the direction of a board of seven physicians
            to be appointed by the governor.... [Description of board and its functions].
            9. The State treasurer shall make payments from the fund hereinabove created on warrants from
            the auditor of pulic accounts, issued on vouchers certified by the chairman of the board
            hereinabove created on authority of the board.

            WASHINGTON STATE

            1881 Wash. Sess. Laws 76, An Act to Confer a City Govt. on New Tacoma, ch. 6, § 34, pt. 15.
            [T]o regulate the transportation, storage and sale of gunpowder, giant powder, dynamite, nitro-
            glycerine, or other combustibles, and to provide or license magazines for the same, and to
            prevent by all possible and proper means, danger or risk of injury or damages by fire arising
            from carelessness, negligence or otherwise ... to regulate and prohibit the carrying of deadly
(159 of 300), Page 159 of 300
                            Case: 24-565, 04/17/20E4RD11@rl(3y: 10.7, Page 159 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 328 of 347


             weapons in a concealed manner, to regulate and prohibit the use of guns, pistols and firearms,
             firecrackers, and detonation works of all descriptions[.]

             1881 Wash. Sess. Laws 93, An Act to Incorporate the City of Dayton, chap. 2, § 20.
             The city of Dayton shall have power to prevent injury or annoyance from anything dangerous,
             offensive, or unhealthy, and ... to regulate the transportation, storing and keeping of gunpowder
             and other combustibles and to provide or license magazines for the same[.]

             1881 Wash. Sess. Laws 121-22, An Act to Incorporate the City of Port Townsend, ch. 2, § 21.
             The City of Port Townsend has power to prevent injury or annoyance from anything dangerous,
             offensive, or unhealthy, and ... to regulate the transportation and keeping of gunpowder, or
             other combustibles, and to provide or license magazines for the same[.]

             1883 Wash. Sess. Laws 161, An Act to Incorporate the City of Ellensburgh, ch. 2, § 20.
             The city of Ellensburg shall have power to prevent injury or annoyance from anything
             dangerous, offensive, or unhealthy ... to regulate the transportation storing and keeping of
             gunpowder and other combustibles and to provide or license magazines for the same[.]

             Del Cary Smith, Ordinances of the City of Port Townsend, Washington, Comprising the General
             Ordinances of the City, Together with the Private Ordinances Now in Force Page 27, Image 28
             (1890) available at The Making of Modem Law: Primary Sources. 1890
             [Ordinances of Port Townsend, WA,] Division III, Offenses Against Public Safety, Convenience
             and Health, § 15. Whoever shall fire or discharge any cannon, gun, pistol revolver or any firearm
             of any description, or shall fire, or explode or set off any squib, firecracker, torpedo or other
             thing containing powder or other explosive material, without permission from the Mayor or
             common council so to do, within the city limits, shall, on conviction, be punished by a fine of not
             less than five nor more than twenty dollars, provided that such permission, when given, shall
             definitely limit the time of such firing, and may at any time be revoked. But nothing in this
             section shall prevent the ordinary and usual fireworks demonstration on National holidays,
             subject, however, to such regulation, control and orders as the City Marshal may deem proper to
             make for the protection of property from fire.

             Albert R Heilig, Ordinances of the City of Tacoma, Washington Page 334, Image 335 (1892)
             available at The Making of Modern Law: Primary Sources. 1892
             Ordinances of Tacoma, Defining Disorderly persons and Prescribing the Punishment for
             disorderly conduct within the city of Tacoma, § l.... All persons (except police officers as
             aforesaid) who shall draw, exhibit or attempt to use any deadly weapon upon, to or against
             another person, in said city with intent to do bodily injury to such person, and All persons
             (except peace officers as aforesaid and persons practicing at target shooting in a shooting gallery
             duly licensed) who shall, within the city limits, fire off or discharge any gun, pistol or fire arm of
             any kind, or bomb, shall be deemed and are disorderly persons, and guilty of a misdemeanor.

             Rose M. Denny, ed., The Municipal Code of the City of Spokane, Washington (Spokane, WA,
             W.D. Knight, 1896), p. 309-10, Ordinance No. A544, Sec. 1. 1895
             ORDINANCE No. A544. AN ORDINANCE TO PUNISH THE CARRYING OF
             CONCEALED WEAPONS WITHIN THE CITY OF SPOKANE.
(160 of 300), Page 160 of 300
                            Case: 24-565, 04/17/20E4RD11@rlt4y: 10.7, Page 160 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 329 of 347


             The City of Spokane does ordain as follows:
             SECTION I. If any person within the City of Spokane shall carry upon his person any concealed
             weapon, consisting of either a revolver, pistol or other fire-arms, or any knife (other than an
             ordinary pocket knife ), or any dirk or dagger, sling-shot or metal knuckles, or any instrument by
             the use of which injury could be inflicted upon the person or property of any other person, shall
             be deemed guilty of a misdemeanor, and upon conviction thereof shall be fined not less than
             twenty dollars, nor more than one hundred dollars and costs of prosecution, and be imprisoned
             until such fine and costs are paid, provided, that this section shall not apply to police officers and
             other persons whose duty it is to execute process or warrants or make arrests, or persons having a
             special written permit from the Superior Court to carry weapons.
             SECTION 2. This ordinance shall take effect and be in force ten days after its passage.
             Passed the City Council January 2, 1895 .

             Rose M. Denny, The Municipal Code of the City of Spokane, Washington. Comprising the
             Ordinances of the City (Excepting Ordinances Establishing Street Grades) Revised to October
             22, 1896 Page 309-310, Image 315-316 (1896) available at The Making of Modern Law:
             Primary Sources. 1896
             Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed Weapons within the
             City of Spokane, § 1. If any person within the City of Spokane shall carry upon his person any
             concealed weapon, consisting of either a revolver, pistol or other fire-arms, or any knife (other
             than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal knuckles, or any
             instrument by the use of which injury could be inflicted upon the person or property of any other
             person, shall be deemed guilty of a misdemeanor, and upon conviction thereof shall be fined not
             less than twenty dollars, nor more than one hundred dollars and costs of prosecution, and be
             imprisoned until such fine and costs are paid, provided, that this section shall not apply to police
             officers and other persons whose duty is to execute process or warrants or make arrests, or
             persons having a special written permit from the Superior Court to carry weapons.

             1911 Wash. Sess. Laws 303, An Act Relating to the Carrying of Firearms, Requiring Licenses of
             Certain Persons, and Fixing a Penalty for the Violation Thereof, ch. 52, § 1.
             It shall be unlawful for any person who is not a citizen of the United States, or who has not
             declared his intention to become a citizen of the United States, to carry or have in his possession
             at any time any shot gun, rifle or other firearm, without first having obtained a license from the
             state auditor, and said license is not to be issued by said state auditor except upon the certificate
             of the consul domiciled in the State of Washington and representing the country of such alien,
             that he is a responsible person and upon the payment for said license of the sum of fifteen dollars
             ($15.00)[.]

             WEST VIRGINIA

             J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg: Berkeley Co.,
             West Virginia, Including the Act of Incorporation and All Other Acts of a Special or General
             Nature Page 25, Image 25 (1875) available at The Making of Modern Law: Primary Sources.
             1875
             [Ordinances of Martinsburg, An Ordinance to Prevent Certain Improper Practices Therein
             Specified,] § 3. If any person shall fire or discharge within such parts of the town which are or
(161 of 300), Page 161 of 300
                            Case: 24-565, 04/17/20E4RD11@rll5y: 10.7, Page 161 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 330 of 347


             shall be laid out into lots, or within two hundred yards of said limits, any cannon, gun, pistol or
             fire-arms, or any cracker, squib, rocket or fire-works, except it be in case of necessity, or in the
             discharge of some public duty, or at a military parade by order of the officer in command, or
             with the permission of the Mayor or Council of the town, such person for every such offence
             shall forfeit any pay to the town not less than one nor more than five dollars.

             J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg: Berkeley Co.,
             West Virginia, Including the Act of Incorporation and All Other Acts of a Special or General
             Nature Page 76, Image 76 (1875) available at The Making of Modern Law: Primary Sources.
             1876
             [Ordinances of Martinsburg,] An Ordinance in Relation to Pistol Galleries, § l. Be it ordained by
             the Council of the Corporation of Martinsburg, That no pistol gallery, in which air guns or
             pistols, or guns or pistols in which are fired powder, is used, shall be established or carried on
             within the limits of the Corporation of Martinsburg by any person or persons, until the person or
             persons desiring to establish or carry on the same shall first obtain from the Mayor, attested by
             the Clerk of the Corporation, a permit authorizing the person or persons therein named to
             prosecute said business, and designating the place at which the same is to be carried on. § 2. That
             the Mayor shall not issue the permit authorized by the first section of this ordinance, unless the
             building to be used for said pistol gallery, is so detached from adjacent or surrounding private
             dwellings, that the noise incident to the carrying on of said business, shall not render the said
             gallery a nuisance to the surrounding or adjacent dwellings. § 3. Any person or persons violating
             the provisions of this ordinance, shall be fined for the first offense, not less than two nor more
             than ten dollars, at the discretion of the Mayor, and for any subsequent offence, not less than two
             or more than thirty dollars, and commitment in the county jail not exceeding thirty days, either or
             both of said punishment, at the discretion of the Mayor.

             Laws and Ordinances for the Government of the City of Wheeling, West Virginia (Wheeling,
             WV: W. Va. Printing 1891), p.206. 1881
             An Ordinance in relation to offenses ...
             SEC. 14. It shall be unlawful for any person to carry any slung shot, colt, or knucklers of lead,
             brass or other metal or material, or to carry about his person, hid from common observation, any
             pistol, dirk , bowie knife, or weapon of the like kind, without a permit in writing from the mayor
             so to do. It shall also be unlawful for any person or persons to sell or give away to a person not
             of age, any slung shot, colt, or knuckler or knucklers of lead, brass or other metal or material, or
             any pistol, dirk, bowie krlife or weapon of the like kind.

             1909 W.Va. Acts 479-80, An Act to Amend and Re-Enact Sections ... Relating to the Protection
             and Preservation of Certain Animals, Birds, and Fishes and of Forests and Streams, ch. 60, § 19.
             The carrying of any uncased gun in any of the fields or woods of this state, by any person not
             having the lawful right to hunt, pursue or kill game, birds or animals in such fields or woods
             shall, as to such person, other than the bona fide owner, or owners of such fields or woods, his or
             their child or children, tenant or tenants, lessee or lessees, be deemed prima facie evidence of a
             violation of this section, and any person claiming to hold a license to hunt in this state, having in
             his possession any gun or other hunting paraphernalia in such woods, or fields, shall, on failure
             to produce such license for inspection to any warden of this state or owner or agent of the owner
             of such woods and fields on demand, be deemed guilty of a misdemeanor and shall be punished
(162 of 300), Page 162 of 300
                            Case: 24-565, 04/17/20E4RD11@rl@/: 10.7, Page 162 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 331 of 347


            on conviction, as provided later in this section. Provided, however, that any resident owner, or
            owners, of farm lands, their resident child or children, or bona fide tenants, shall have the right to
            hunt, kill and pursue birds or game on such farm lands of which he, or they, are the bona fide
            owners or tenants, during the season when it is lawful to kill, catch or pursue birds or game,
            without securing such resident license, and provided, further, that the owners of adjoining lands
            may each have the privilege of reciprocating the non-licensed privilege, by giving each other
            written privilege to exchange hunting rights only, on land immediately joining each other, and
            upon which each party resides.

            1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
            ... Relating to Offenses Against the Peace, Providing for the Granting and Revoking of Licenses
            and Permits Respecting the Use, Transportation and Possession of Weapons and Fire Arms... ,
            ch. 3, § 7, pt. a.
            Section 7 (a). If any person, without a state license therefor, carry about his person any revolver
            or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other false knuckles, or any
            other dangerous or deadly weapon of like kind or character, he shall be guilty of a misdemeanor
            and upon conviction thereof be confined in the county jail for a period of not less than six nor
            more than twelve months for the first offense, but upon conviction of the same person for the
            second offense in this state, he shall be guilty of a felony and be confined in the penitentiary not
            less than one or more than five years, and in either case fined not less than fifty nor more than
            two hundred dollars, in the discretion of the court, and it shall be the duty of the prosecuting
            attorney in all cases to ascertain whether or not the charge made by the grand jury is the first or
            second offense, and if it shall be the second offense, it shall be so stated in the indictment
            returned, and the prosecuting attorney shall introduce the record evidence before the trial court of
            said second offense, and shall not be permitted to use his discretion in charging said second
            offense nor in introducing evidence to prove the same on the trial, provided, that boys or girls
            under the age of eighteen years, upon the second conviction, may, at the discretion of the court,
            be sent to the industrial homes for boys and girls, respectively, of the state. Any person desiring
            to obtain a state license to carry any such weapon within one or more counties in this state shall
            first publish a notice in some newspaper, published in the county in which he resides, setting
            forth his name, residence and occupation, and that on a certain day he will apply to the circuit
            court of his county for such state license, and after the publication of such notice for at least ten
            days before said application is made and at the time stated in said notice upon application to said
            court, it may grant such person a license in the following manner, to-wit: The applicant shall file
            with said court his application in writing, duly verified, which said application shall show: First:
            That said applicant is a citizen of the United States of America. Second: That such applicant has
            been a bona fide resident of this state for at least one year next prior to the date of such
            application, and of the county sixty days next prior thereto. Third: That such applicant is over
            twenty-one years of age, that he is a person of good moral character, of temperate habits, not
            addicted to intoxication, and has not been convicted of a felony nor of any offense involving the
            use on his part of such weapon in an unlawful manner. Fourth: The purpose or purposes for
            which the applicant desires to carry such weapon and the necessity therefor and the county or
            counties in which said license is desired to be effective. Upon the hearing of such application the
            court shall hear evidence upon all matters stated in such application and upon any other matter
            deemed pertinent by the court, and if such court be satisfied from the proof that there is good
            reason and cause for such person to carry such weapon, and all of the other conditions of this act
(163 of 300), Page 163 of 300
                            Case: 24-565, 04/17/20E4RD11@rltTy: 10.7, Page 163 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 332 of 347


             be complied with, said circuit court or the judge thereof in vacation, may grant said license for
             such purposes, and no other, as said a circuit court may set out in the said license (and the word
             "court" as used in this act shall include the circuit judge thereof, acting in vacation), but before
             the said license shall be effective such person shall pay to the sheriff, and the court shall so
             certify in its order granting the license, the sum of twenty dollars, and shall also file a bond with
             the clerk of said court, in the penalty of three thousand five hundred dollars, with good security,
             signed by a responsible person or persons, or by some surety company, authorized to do business
             in this state, conditioned that such applicant will not carry such weapon except in accordance
             with his said application and as authorized by the court, and that he will pay all costs and
             damages accruing to any person by the accidental discharge or improper, negligent or illegal use
             of said weapon or weapons. Any such license granted after this act becomes effective shall be
             good for one year, unless sooner revoked, as hereinafter provided, and be co-extensive with the
             county in which granted, and such other county or counties as the court shall designate in the
             order granting such license, except that regularly appointed deputy sheriffs having license shall
             be permitted to carry such revolver or other weapons at any place, within the state, while in the
             performance of their duties as such deputy sheriffs and except that any such license granted to
             regularly appointed railway police shall be co-extensive with the state, and all license fees
             collected hereunder shall be paid by the sheriff and accounted for to the auditor as other license
             taxes are collected and paid, and the state tax commissioner shall prepare all suitable forms for
             licenses and bonds and certificates showing that such license has been granted and to do
             anything else in the premises to protect the state and see to the enforcement of this act. The clerk
             of the court shall immediately after license is granted as aforesaid, furnish the superintendent of
             the department of public safety a certified copy of the order of the court granting such license,
             for which service the clerk shall be paid a fee of two dollars which shall be taxed as cost in the
             proceeding, within thirty days after this act becomes effective it shall be the duty of the clerks of
             each court in this state having jurisdiction to issue pistol licenses to certify to the superintendent
             of the department of public safety a list of all such licenses issued in his county. Provided, that
             nothing herein shall prevent any person from carrying any such weapon, in good faith and not for
             a felonious purpose, upon his own premises, nor shall anything herein prevent a person from
             carrying any such weapon (unloaded) from the place of purchase to his home or place of
             residence, or to a place of repair and back to his home or residence, but nothing herein shall be
             construed to authorize any employee of any person, firm or corporation doing business in this
             state to carry on or about the premises of such employer any such pistol, or other weapon
             mentioned in this act for which a license is herein required, without having first obtained the
             license and given the bond as herein provided, and, provided, further, that nothing herein shall
             prevent agents, messengers and other employees of express companies doing business as
             common carriers, whose duties require such agents, messengers and other employees to have the
             care, custody or protection of money, valuables and other property for such express companies,
             from carrying any such weapon while actually engaged in such duties, or in doing anything
             reasonably incident to such duties, provided, such express company shall execute a continuing
             bond in the penalty of thirty thousand dollars, payable unto the state of West Virginia, and with
             security to be approved by the secretary of state of the state of West Virginia, conditioned that
             said express company will pay all damages, accruing to anyone by the accidental discharge or
             improper, negligent or illegal discharge or use of such weapon or weapons by such agent,
             messenger or other employee while actually engaged in such duties for such express company, in
             doing anything that is reasonably incident to such duties, but the amount which may be
(164 of 300), Page 164 of 300
                           Case: 24-565, 04/17/20E4RD11@rl8/: 10.7, Page 164 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 333 of 347


            recovered for breach of such condition shall not exceed the sum of three thousand five hundred
            dollars in any one case, and such bond shall be filed with and held by the said secretary of state,
            for the purpose aforesaid, but upon the trial of any cause for the recovery of damages upon said
            bond, the burden of proof shall be upon such express company to establish that such agent,
            messenger or other employee was not actually employed in such duties for such express
            company nor in doing anything that was reasonably incident to such duties at the time such
            damages were sustained, and, provided further, that nothing herein shall prevent railroad police
            officers duly appointed and qualified under authority of section thirty-one of chapter one
            hundred forty-five of Barnes' code or duly qualified under the laws of any other state, from
            carrying any such weapon while actually engaged in their duties or in doing anything reasonably
            incident to such duties, provided, such railroad company shall execute a continuing bond in the
            penalty of ten thousand dollars payable unto the state of West Virginia and with security to be
            approved by the secretary of state of the state of West Virginia conditioned that said railroad
            company will pay all damages accruing to anyone by the accidental discharge or improper,
            negligent or illegal discharge or use of such weapon or weapons by such railroad special police
            officer whether appointed in this or some other state while actually engaged in such duties for
            such railroad company, in doing anything that is reasonably incident to such duties, but the
            amount which may be recovered for breach of such condition shall not exceed the sum of three
            thousand five hundred dollars in any one case, and such bond shall be filed with and held by the
            said secretary of state for the purpose aforesaid but upon the trial of any cause for the recovery of
            damages upon said bond, the burden of proof shall be upon such railroad company to establish
            that such railroad police officer was not actually employed in such duties for such railroad
            company nor in doing anything that was reasonably incident to such duties at the time such
            damages were sustained, and provided, further, that in case of riot, public danger and emergency,
            a justice of the peace, or other person issuing a warrant, may authorize a special constable and
            his posse whose names shall be set forth in said warrant, to carry weapons for the purpose of
            executing a process, and a sheriff in such cases may authorize a deputy or posse to carry
            weapons, but the justice shall write in his docket the cause and reasons for such authority and the
            name of the person, or persons, so authorized, and index the same, and the sheriff or other officer
            shall write out and file with the clerk of the county court the reasons and causes for such
            authority and the name, or names of the persons so authorized, and the same shall always be
            open to public inspection, and such authority shall authorize such special constable, deputies and
            posses to carry weapons in good faith only for the specific purposes and times named in such
            authority, and upon the trial of every indictment the jury shall inquire into the good faith of the
            person attempting to defend such indictment under the authority granted by any such justice,
            sheriff or other officer, and any such person or persons so authorized shall be personally liable
            for the injury caused to any person by the negligent or unlawful use of any such weapon or
            weapons. It shall be the duty of all ministerial officers, consisting of the justices of the peace,
            notaries public and other conservators of the peace of this state, to report to the prosecuting
            attorney of the county the names of all persons guilty of violating this section, and any person
            willfully failing so to do, shall be guilty of a misdemeanor and shall be fined not exceeding two
            hundred dollars, and shall, moreover, be liable to removal from office for such willful failure,
            and it shall likewise be the duty of every person having knowledge of the violation of this act, to
            report the same to the prosecuting attorney, and to freely and fully give evidence concerning the
            same, and any one failing so to do, shall be guilty of a misdemeanor and upon conviction thereof
            shall be fined not exceeding one hundred dollars, provided, further, that nothing herein contained
(165 of 300), Page 165 of 300
                            Case: 24-565, 04/17/20E4RD11@rl@/: 10.7, Page 165 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 334 of 347


            shall be so construed as to prohibit sheriffs, their regularly appointed deputies, who actually
            collect taxes in each county, and all constables in their respective counties and districts, and all
            regularly appointed police officers of their respective cities, towns or villages, all jailors and
            game protectors who have been duly appointed as such, and members of the department of
            public safety of this state, from carrying such weapons as they are now authorized by law to
            carry, who shall have given bond in the penalty of not less than three thousand five hundred
            dollars, conditioned for the faithful performance of their respective duties, which said officers
            shall be liable upon their said official bond, for the damages done by the unlawful or careless use
            of any such weapon or weapons, whether such bond is so conditioned or not. It shall be unlawful
            for any person armed with a pistol, gun, or other dangerous or deadly weapon, whether licensed
            to carry same or not, to carry, expose, brandish, or use, such weapon in a way or manner to
            cause, or threaten, a breach of the peace. Any person violating this provision of this act shall be
            guilty of a misdemeanor, and upon conviction, shall be fined not less than fifty nor more than
            three hundred dollars or imprisoned in the county jail not less than thirty nor more than ninety
            days, or be punished by both fine and imprisonment in the discretion of the court. Any circuit
            court granting any such license to carry any of the weapons mentioned in this act, the governor,
            or the superintendent of the department of public safety, with the consent of the governor, may,
            for any cause deemed sufficient by said court, or by the governor or by the superintendent of the
            department of public safety with the approval of the governor aforesaid, as the case may be,
            revoke any such license to carry a pistol or other weapon mentioned in this act for which a
            license is required, and immediate notice of such revocation shall be given such licensee in
            person, by registered mail or in the same manner as provided by law for the service of other
            notices, and no person whose license has been so revoked shall be re-licensed within one year
            thereafter, provided, that the authority so revoking such license may, after a hearing, sooner
            reinstate such licensee.

            1925 W.Va. Acts 30-31, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
            ... Relating to Offenses Against the Peace, Providing for the Granting and Revoking of Licenses
            and Permits Respecting the Use, Transportation and Possession of Weapons and Fire Arms ... ,
            ch. 3, § 7, pt. b.
            (b) It shall be unlawful for any person to carry, transport, or have in his possession any machine
            gun, sub-machine gun, and what is commonly known as a high powered rifle, or any gun of a
            similar kind or character, or any ammunition therefor, except on his own premises or premises
            leased to him for a fixed term, until such person shall have first obtained a permit from the
            superintendent of the department of public safety of this state, and approved by the governor, or
            until a license therefore shall have been obtained from the circuit court as in the case of pistols
            and all such licenses together with the numbers identifying such rifle shall be certified to the
            superintendent of the department of public safety. Provided, further, that nothing herein shall
            prevent the use of rifles by bona fide rifle club members who are freeholders or tenants for a
            fixed term in this state at their usual or customary place of practice, or licensed hunters in the
            actual hunting of game animals. No such permit shall be granted by such superintendent except
            in cases of riot, public danger, and emergency, until such applicant shall have filed his written
            application with said superintendent of the department of public safety, in accordance with such
            rules and regulations as may from time to time be prescribed by such department of public safety
            relative thereto, which application shall be accompanied by a fee of two dollars to be used in
            defraying the expense of issuing such permit and said application shall contain the same
(166 of 300), Page 166 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@/: 10.7, Page 166 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 335 of 347


            provisions as are required to be shown under the provisions of this act by applicants for pistol
            licenses, and shall be duly verified by such applicant, and at least one other reputable citizen of
            this state. Any such permit as granted under the provisions of this act may be revoked by the
            governor at his pleasure upon the revocation of any such permit the department of public safety
            shall immediately seize and take possession of any such machine gun, sub-machine gun, high
            powered rifle, or gun of similar kind and character, held by reason of said permit, and any and all
            ammunition therefor, and the said department of public safety shall also confiscate any such
            machine gun, sub-machine gun and what is commonly known as a high powered rifle, or any gun
            of similar kind and character and any and all ammunition therefor so owned, carried, transported
            or possessed contrary to the provisions of this act, and shall safely store and keep the same,
            subject to the order of the governor.

            1925 W.Va. Acts 31-32, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
            ... Relating to Offenses Against the Peace ... , ch. 3, § 7, pt. b.
            It shall be unlawful for any person, firm or corporation to place or keep on public display to
            passersby on the streets, for rent or sale, any revolver, pistol, dirk, bowie knife, slung shot or
            other dangerous weapon of like kind or character or any machine gun, sub-machine gun or high
            powered rifle or any gun of similar kind or character, or any ammunition for the same. All
            dealers licensed to sell any of the forgoing arms or weapons shall take the name, address, age
            and general appearance of the purchaser, as well as the maker of the gun, manufacturer's serial
            number and caliber, and report the same at once in writing to the superintendent of the
            department of public safety. It shall be unlawful for any person to sell, rent, give or lend any of
            the above mentioned arms to an unnaturalized person.

            WISCONSIN

            Charter and Ordinances of the City of La Crosse [WI], with the Rules of the Common Council
            Page 202, Image 205 (1888) available at The Making of Modern Law: Primary Sources. 1888
            An Ordinance in Relation to the Discharge of Firearms and firecrackers and to the use and
            exhibition of fireworks, § l. No person shall fire or discharge any cannon, gun, fowling piece,
            pistol or firearms of any description, or fire, explode or set off any squib, cracker or other thing
            containing powder or other combustible or explosive material, or set off or exhibit any fireworks
            within the limits of the city of La Crosse, without having first obtained written permission from
            the mayor, which permission shall limit the time and fix the place of such firing, and shall be
            subject to be revoked at any time after the same may have been granted. Any violation of this
            ordinance shall subject the person or persons so violating the same to a fine of not less than one
            dollar nor exceeding twenty-five dollars, but this ordinance shall not be construed to prohibit the
            discharge of firearms by the chief of police or any of his subordinates or any peace officer when
            required or made necessary in the performance of any duty imposed by law.

            Charter and Ordinances of the City of La Crosse, with the Rules of the Common Council Page
            239-242, Image 242-245 (1888) available at The Making of Modem Law: Primary Sources.
            1888
            Ordinances of La Crosse, An Ordinance to Provide for Licensing Vendors of Gunpowder and
            Other Explosive Substances and to Regulate the Storing, Keeping and Conveying of all
            Dangerous and Explosive Materials and Substances within the City of La Crosse, and in relation
(167 of 300), Page 167 of 300
                            Case: 24-565, 04/17/20E4RD11@Ql11y: 10.7, Page 167 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 336 of 347


             to the Storage and Sale of Lime Therein, § 1. It shall be unlawful for any person to keep for sale,
             sell or give away any gunpowder, giant powder, nitro-glycerine, gun-cotton, dynamite or any
             other explosive substance of like nature or use without having first obtained a license therefor
             from the city of La Crosse in the manner hereinafter provided. Any person convicted of a
             violation of this section shall be punished by a fine of twenty-five dollars for each offense... § 3.
             It shall be unlawful for any person licensed pursuant to the foregoing sections of this ordinance
             to have or keep at his or her place of business an amount of gunpowder or other explosive
             material greater in the aggregate than fifty pounds at any one time, or to keep the same in any
             other than cases or canisters made of tin, or other metal holding not to exceed ten pounds each.
             Such gunpowder or other explosive materials shall be kept in places remote from fires and
             lighted lamps or candles, and where the same may be easily accessible so as to be removed in
             case of fire. No person shall sell any gunpowder or other explosive material after the lighting of
             lamps in the evening unless in sealed canisters or cases, and all places where business is carried
             on under any such license shall have a sign put up in a conspicuous place at or near the front
             door thereof with the word "gunpowder" painted thereon in large letters. Any person violating
             any provision of this section shall, upon conviction, be punished by a fine of not less than five
             dollars nor more than fifty dollars for each offense, and upon any such conviction the common
             council may at its discretion by resolution duly passed revoke the license of the person so
             convicted. This ordinance shall not be construed as to prevent persons who are not vendors of the
             articles mentioned in the title thereof from keeping gunpowder in quantities not exceeding one
             pound for their own use.

             Charles H. Hamilton, ed., The General Ordinances of the City of Milwaukee to January l, 1896:
             With Amendments Thereto and an Appendix (Milwaukee, WI: E. Keough, 1896), pp.692-93,
             Sec.25.l896
             Chapter XX. Misdemeanors.
             Section 25. It shall be unlawful for any person except policemen, regular or special, or any
             officer authorized to serve process, to carry or wear concealed about his person, any pistol or
             colt, slung-shot, cross-krluckles, knuckles of lead, brass or other metal, or bowie -knife, dirk
             knife, or dirk or dagger, or any other dangerous or deadly weapon, within the limits of the city of
             Milwaukee, provided, however, that the chief of police of said city may upon any written
             application to him made, issue and give a written permit to any person residing within the city of
             Milwaukee, to carry within the said city a pistol or revolver when it is made to appear to said
             chief of police that it is necessary for the personal safety of such person or for the safety of his
             property or of the property with which he may be entrusted, to carry such weapon, and the
             holding of such permit by such person shall be a bar to prosecution under this ordinance. Said
             chief of police shall keep the names and residences of all persons to whom he may grant such
             permits, in a book to be kept for that purpose, and he shall have power to revoke such permit at
             any time.
             Said chief of police shall, upon granting each and every such permit, collect from the person to
             whom the same is granted, the sum of three ( 3 ) dollars, and he shall pay all moneys so collected
             by him upon granting such permits, into the city treasury.
             Any person who shall wear or carry any such pistol , slung-shot, cross-krluckles, knuckles of
             brass, lead or other metal, knife, dirk or dagger, or any other dangerous or deadly weapon, within
             the limits of the city of Milwaukee, contrary to the provisions of this chapter, shall be liable to a
             penalty of not less than ten nor more than one hundred dollars for each and every offense.
(168 of 300), Page 168 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@: 10.7, Page 168 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 337 of 347




            WYOMING

            A. McMicken, The Revised Ordinances of the City of Rawlins, Carbon County, Wyoming Page
            115-116, Image 116-117 (1893) available at The Making of Modern Law: Primary Sources.
            1893
            [Ordinances of the] City of Rawlins, Article II, Protection of Persons and Property, § 1. If any
            person shall within this city fire or discharge any cannon, gun, fowling piece, pistol or firearms
            of any description, or fire, explode, or set off any squib, cracker, or anything containing powder
            or other combustible or explosive material, without permission of the Board of Trustees, or the
            written permission of the mayor (which permission shall limit the time of the firing and shall be
            subject to be revoked by the mayor or Board of Trustees at any time after the same has been
            granted) every such person shall, on conviction, be fined in a sum of not less than five dollars
            and not exceeding one hundred dollars.

            1899 Wyo. Sess. Laws 32-33, An Act for the Better Protection of the Game and Fish of this State
            ...,ch. l9,§ 14.
            Any person who is a bona fide citizen of the State of Wyoming shall, upon payment of one dollar
            to any Justice of the Peace of the county in which he resides, be entitled to receive from said
            Justice of the Peace, a gun license, which license shall permit such person to pursue, hunt and
            kill any of the animals mentioned in this Section, during the time allowed therefor.... Any
            person who is not a resident of the State of Wyoming, shall upon payment to any Justice of the
            Peace of this State of the sum of forty dollars to be entitled to receive from such Justice of the
            Peace a license, which license shall permit such person to pursue, hunt and kill any of the
            animals mentioned in this Section, during the time allowed therefor of the current year.

            1913 Wyo. Sess. Laws 165, An Act ... Relating to the Duties of the State Game Warden,
            Assistant and Deputy Game Wardens, and the Preservation of the Game Animals and Game
            Birds and Fish of the State of Wyoming ... , ch. 121, § 38.
            That Section 20 ... be ... amended ... § 20. Any person who is not a bona fide elector of this
            state, or the child or legal ward of a bona fide elector of this state, or a soldier or sailor who is a
            bona fide elector of the United States, and has been stationed at a government post within this
            state for one year past, or non-residents having property in this state on which they pay taxes to
            the amount of $100.00 or over annually, but who shall be a citizen of the United States or a free-
            holder in this state, shall upon payment of five dollars to any Justice of the Peace ... be entitled
            to receive from such officer a gunner's license, which license shall permit such person to kill any
            of the game birds of this state during the current season under the restrictions heretofore and
            hereinafter imposed.

            1915 Wyo. Sess. Laws 91, An Act Relating to the Preservation of the Game Animals, Game
            Birds, and Fish of the State of Wyoming ... , ch. 91, § 13.
            There is hereby created a special gun and fish license for aliens. No person, not a bona fide
            citizen of the United States, shall own or have in his possession, in the State of Wyoming, any
            gun, pistol or other firearm, or any fishing tackle, without first having obtained the specified
(169 of 300), Page 169 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@y: 10.7, Page 169 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 338 of 347


            license therefor, which such special gun and fish license shall cost the owner the sum of Twenty-
            five Dollars[.]

            1933 Wyo. Sess. Laws 117, An Act Relating to the Registering and Recording of Certain Facts
            Concerning the Possession and Sale of Firearms by all Wholesalers, Retailers, Pawn Brokers,
            Dealers and Purchasers, Providing for the Inspection of Such Register, Making the Violation of
            the Provisions Hereof a Misdemeanor, and Providing a Penalty Therefor, ch. 101, §§ 1-4.
            § 1. All wholesalers, retailers, dealers and pawn brokers are hereby required to keep a record of
            all firearms which may come into their possession, whether new or second hand, which record
            shall be known as the Firearms Register. Such register shall contain the following information, to
            wit: the name of the manufacturer, person, persons, firm or corporation from whom the firearm
            was obtained, the date of its acquisition, its manufacturer's number, its color, its caliber, whether
            the same is new or second hand, whether it is automatic, a revolver, a single shot pistol, a rifle, a
            shot gun or a machine gun, the name of the party to whom said firearm is sold in such purchasers
            handwriting and the date of such sale. § 2. Every person who purchases any firearm from any
            retailer, pawn broker or dealer, shall sign his name or make his mark properly witnessed, if he
            cannot write, on said Firearm Register, at the time of the delivery to him of any firearm so
            purchased. § 3. The firearm register, herein required to be kept, shall be prepared by every
            wholesaler, retailer, pawn broker and dealer in firearms in the state of Wyoming within 30 days
            after this Act shall become effective and shall thereafter be continued as herein provided. It shall
            be kept at the place of business of said wholesaler, retailer, pawn broker or dealer, and shall be
            subject to inspection by any peace officer at all reasonable times. § 4. Any person, firm or
            corporation who shall fail or refuse to comply with the provisions of this Act shall be deemed
            guilty of a misdemeanor and upon conviction thereof shall be fined in a sum not to exceed
            $100.00, or imprisoned in the County Jail for a period of not to exceed six months, or by both
            such fine and imprisonment.


            Source: https://firearmslaw.duke.edu/repository/search-the-repository/
(170 of 300), Page 170 of 300
                            Case: 24-565, 04/17/20E4RD11@Qt4y: 10.7, Page 170 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 339 of 347




                                          Exhibit G
(171 of 300), Page 171 of 300
                           Case: 24-565, 04/17/2039043391 10.7, Page 171 of 300




                                <                is
                                                 oo
                               89%
                               »-1        5      in        oo                                                        lm"         n
                                                                                                                                     m                  oo
                        uhE2§<n                  o         m                                                         (mm
                                                                                                                               v-4
                                                                                                                               <1- <1-                  is
                        £24               »-1    oo        oo                                                               oo oo oo
                        D-<U              IDC/J v-4        v-4                                                                                          v-4



    r\                  Q in
    q-
    to                  333
    ~4-
                               O                                                                         in
                                                                                                         is
                                                                                                                      cm
                                                                                                                      o                           <1-
     O                  < DO                                                                             iv-4
                                                                                                           s          cm                          oo
    0
    q-
                        z QD                                                                                          v-4                         v-4

    oo
                               DO
     GJ                                                                      in"
     m                  DO
                               L7-I DO
                                     Lu
                                                                             (\l
                                                                             cm
     CG
    D.            -:<   LL1    in >                                          v-4
                                                                                .
                        :3 QD                                                [ \ v-4
                  m
                                                                             v-4 m
    to            2
                           Lu M                                              cm cm                 cm                 cm
    (\l           <4
                        ET DO in                                             v-4 v-4
    OO
    al            4
                        Lu in
    o
    OO            CD    8  >z
                                     L7-I QD

                  z                                                          cm                          1
                                                                                                         (\l O
                                                                                                                -J
    'G            4                                                          oo
     GJ           m     O            87)
                                       z
                                                                             oo
                                                                             v-4
                                                                                                         oo cm
                                                                                                         v-4 v-4
    Lt      LD    z     D-4 4                                                                            d" cm
            H                                                                m
                                          L7-I
                  4
                        4 Q-»-1
                              U                                              oo                              O
    9
    o       1-1   U
                  4
                           ><
                        QDMU-J»-I
                                                                             oo
                                                                             v-4
                                                                                                                oo cm cm

    m       an    4
    4-1
    C
            E     m
                        S
     GJ
     E      ><
                  z
                        uz O              DO
                                                                                                                                                  in
     3
     O      4
                  O
                  D-1
                        DO
                          38
                        E< £
                                                 oo
                                                 cm
                                                 oo
                                                 v-4
                                                                                                                                                  cm
                                                                                                                                                  oo
                                                                                                                                                  v-4
     O            <4                             (\|"
    a                      a                                           (\l <1-                           m                                        I ;   (\l
    O
                  4

                  2
                        o3<§
                        L)»-1r/J
                                                 cm
                                                 oo
                                                                       oo ln
                                                                       oo oo
                                                                       v-lv-I
                                                                                                         (\l
                                                                                                         cm
                                                                                                         v-4
                                                                                                                      cm
                                                                                                                                                  oo
                                                                                                                                                  oo
                                                                                                                                                  v-4
                                                                                                                                                        o
                                                                                                                                                        cm
                                                                                                                                                        v-4
    <F            m

    E             O     H
    *J
    ¥             4     88
    r\
    al
                  4
                  an
                        i<5
    o
    LO            <4
                  H            QD
    9>                    945                                                                            d
                                                                                                         q-
     9                  »4<
                        o ;                                                                              oo oo
                                                                                                         v-4 v-4
    m
    al                  L7-ll)l_;_l              cm                    v-4 cm                      in m
                                                                                                      188
                        94:/)                                              is                           o
    N                   >-l - Q *
                        LLQLLI
                                                 oo
                                                 v-4
                                                                       oo oo
                                                                       v-lv-I
                                                                                                   oo oo oo
                                                                                                   v-4 v-4 v-4
     GJ
     w
    CES
    O
                        88<><                                                6  v-4 o   m
                                                                             cm Q Q v-4 (\l
                                                                             oo oo oo Q Q
                                                                                                         do
                                                                                                         cm (\l
                                                                                                         oo cm
                                                                                                                                         N N in" o
                                                                                                                                         cm m cm m
                                                                                                                                         oo cm oo cm cm
                        u>M                                                  v-4 v-4 v-4 v-4 v-4


                                                                                                         4-»

                                                                       m     cos                          3           G)
                                                                                                                                         4+-4
                                                                                                                                         o."5
                                                                  3 88                             8 'JS
                                                     cos                                                              S-4
                                                                                                                                         4-».-9          cos
                                                                                                                                          28"o
                                                                 cos   cos                                            cos
                        L7-I                                                                                                                       as   -v-4
                        H
                                                     E     cos
                                                           .M   O
                                                                 CO                                cos 8
                                                                                                   S-4                3                                  DD
                                                            r/J N 3 3                              O Q Q                                 is : - Q        S-4
                        <
                        H
                                                 . 3
                                                 2         cvs 'C      S-4   cos
                                                                                                   ~_4
                                                                                                   O O
                                                                                                                      cos
                                                                                                                      o
                                                                                                                      1_4
                                                                                                                                         . 8 -O o 1_4
                                                                                                                                                         O
                                                                                                                                                         o
                        in                       <         < < < u                                 u U                Q                  QQLI-.         LD
(172 of 300), Page 172 of 300
                            Case: 24-565, 04/17/205¢RDq@Q/@y: 10.7, Page 172 of 300




                                                                                                                               is
                                                                                                                               oo




                                                                             oo            is                                  <1-   oo <1-
                                                                             <1-
                                                                             oo
                                                                                           o
                                                                                           oo
                                                                                                                               o
                                                                                                                               oo
                                                                                                                                     v-4 in
                                                                                                                                     oo oo
                                                                                           v-4                                 v-4   v-4 v-4


                                                                                                   <1-
                                                                                                   oo
     r\
     q-                                                                                            oo
     to
     ~4-
                                                     in
                                                     (\l
                                                                                           (\l
                                                                                           oo
                                                                                                   do
                                                                                                   is (\l                            <1-
                                                                                                                                     <1-
                                                                                                                                                 m
                                                                                                                                                 v-4
     O                                               cm                                    oo             cm                         oo          cm
    rl
    q-
                                                                                                                                                 v-4

     to
     GJ      m                                                                                                 or?
     m       m
             cm
                                                                                                               (\l
                                                                                                               cm
     CG
             v-4                                                                                               v-4
     D.
                 m               in                                                                            #T                                oo
     to      (\l m               oo                                                                            v-4 (\l               (\l         v-4
             cm cm               oo                                                                            cm cm                 cm          cm
     (\l     v-4 v-4             v-4                                                                           v-4 v-4                           v-4
     OO
     al
     o
     OO
                                 cm                                   <1-          of?             or?                   cm
     'G                          is
                                 oo                                   oo           oo
                                                                                                   cm
                                                                                                   oo
                                                                                                                         oo
                                                                                                                         oo
     GJ
                                 v-4                                                               v-4                   v-4
    Lt                           v-4
                                    n
                                                           m
                                                                      q-"
                                                                                   <>6<r           v-< OO                oo          cm                cm
                                 in                  <1-              is           q-              in cm                 in          cm                is
     9
     o
                                 oo
                                 v-4
                                                     oo oo            oo           oo oo           iv-4
                                                                                                     s v-4
                                                                                                        oo               oo
                                                                                                                         v-4
                                                                                                                                     oo                oo

     m
     4-1
     C
     GJ
     E       m                   <1-                 in                                                                              v-4
     3       m                   v-4                 (\l                                                                             (\l
     O       cm                  cm                  cm                                                                              cm
             v-4                 v-4                 v-4                                                                             v-4
     O
     a       I(\l;               q-"
                                 v-4
                                                     in"
                                                     cm oo                   in
                                                                                                                               is
                                                                                                                               o     QUO
                                                                                                                                     oo
             cm                  oo                  oo oo                   oo                                                cm    oo
     O       v-4                 v-4                 v-4 v-4                 v-4                                               v-4   v-4

     <F
     E
     *J      Om
              m
                                                                                           dooo
     ¥
     r\
             oo cm
             v-4 v-4
                                                                                           oo oo
     al
     oLO                                                   o
     9>                          cm
                                 is                        oo
                                                                                                               in
                                                                                                               cm
                                                                                                                                     <1-
                                                                                                                                     cm
                                 oo                        oo                                                  oo                    oo
     9
     m                              n
                                                           v-4                                                 v-4                   v-4

     al                                              in m
                                                     in in
                                                                             O                                 QUO       oo
                                                                                                                         in
                                                                                                                                     m
    N                            <1-
                                 oo
                                 v-4
                                                     oo oo
                                                     v-4 v-4
                                                                             oo
                                                                             v-4
                                                                                                               <1-
                                                                                                               oo
                                                                                                               v-4
                                                                                                                         oo
                                                                                                                         v-4
                                                                                                                                     <1-
                                                                                                                                     oo
                                                                                                                                     v-4
     GJ
      w
     CES
     O
             ~r?l<m
             (\l (\l m
                                 6 in" <1-" 14 v-4 in
                                     Q v-4 v-4 m (\l                                               6           or?
                                                                                                   O (\l (\l (\l oo
                                                                                                                         (\l               do"   in in
                                                                                                                                        oo cm (\l cm cm
             Q   QQ
             v-4 v-4 v-4
                                 oo oo Q Q cm cm
                                 v-4 v-4 v-4 v-4 v-4 v-4
                                                                                                   Q Q Q Q oo                        oo oo oo cm oo oo

                                                                                                    3o
                                                                       >~.                 'U        3
                                                                                                   .<:'                  5383*
                                                                    -3 3 o
                                                                                                                CO                                CO   cos
                                                                                           CO                                        'C
                                  m
                                 -v-4                3           4°    -~ Q
                                                                             cos
                                                                                           2         O          cos
                                                                                                                DD       8-9
                                                                                                                         0 m   E/)
                                                                                                                                      :
                                                                                                                                      O
                                                                                                                                                  Q .M
                                                                                                                                                  CO
                                                                                                                                                     m   cos
                                                                                                                                                     <6 'U
                                                                 3E    .8                           cos
                           O O                                                             >~.     m           .Si           m
                                                                                                                         C1-.-4       m          4-»
                                                                                                                                                  Q    $-4   cos

             E
                           .Si
                             as .Q                   3
                                                       3
                                                     .ms
                                                           cos       Q :s -8
                                                                     o
                                                                                           S-4     m                            m
                                                                                                                               '-4   .2                >
                                                                                                                                                  o "8 o
                                 =                                s          O             cos

                                                                                           2       gm
                                                                                                               . 2

                                                                                                                                     2           2zz
             m             '>-1
                             U >-1                   >-1   3 M M »-1 2                                         2
                                                                                                                         22
(173 of 300), Page 173 of 300
                           Case: 24-565, 04/17/205¢RD4@Qt7y; 10.7, Page 173 of 300




                                                      o
                                                      cm
                                                                                                                                     (\l
                                                                                                                                     cm
                                                      v-4G                                                                           -<m


                                                      o
                                                      <1-
                                                                                                                                     o
                                                                                                                                     <1-
                                                      oo
                                                                                                                                     v-4

                                        <1- v-4                                                                m
                                        oo v-4                                                                 o
    r\
    q-                                  oo Q                                                                   cm
                                                                                                               v-4
    to       14 m <1-" o
                                        *O"L  m
                                           in (\l                                                              m
    ~4-      v-4 (\I v-4 v-4            oo oo Q                                                                is
    O        Q   QQQ
             v-4 v-4 v-4 v-4
                                        o oo v-4
                                        v-4 v-4                                                                v-4
    (\l                                           n
    q-
    oo
    GJ
    m                                                                                          v-4
    CG                                                                                         cm
                                                                                               v-4
    D.
                                                      cm       m                               m
    to
                                                      v-4      (\l                             v-4
                                        cm            cm       cm                              cm
    (\l                                               v-4                                      v-4
    OO
    al
    OO
    o                                   O                                                                                     (\l
    'G                                  cm                                 oo Q (\l                                           o
                                        oo                                     oo O                                           cm
     GJ                                 v-4                                oo oo Q                                            v-4
                                                                           v-4 v-4 v-4
    Lt       O                          in m                               in q- o             (\l
                                                                                                                                n
                                                                                                                              v-4
             (\l                        oo O                               m oo o                                             (\l
             oo                         oo cm                              oo oo Q             oo                             oo
    9        v-4                        v-4 v-4                            v-4 v-4 v-4
    o
    m
    4-1
    C
    GJ
    E                                                                                                                                m             5" oo6
    3                                                                                                                                cm
    O                                                                                                                                oo            oo
                                                                                                                                                   v_4 oo
    O                                                                                                                                v-4
    a                                                 cm
                                                      v-4
                                                                                         o
                                                                                         cm
                                                                                                                                     O
                                                                                                                                     cm
                                                                                                                                                   mol
                                                                                                                                                   o
                                                      cm                                 oo                                          oo            oooo
     O                                                v-4                                v-4                                         v-4           v-lv-I
     <F
     E
    *J                  (\l        in  m
    ¥                   o
                        cm
                                   v-4
                                   cm cm
                                        (\l                                                                                   o
                                                                                                                              cm
                                                                                                                                             cm
                                                                                                                                             cm
                                                                                                                                             oo
                                                                                                                                                      cm
                                                                                                                                                      v-4
                                                                                                                                                      cm
    r\                  v-4        v-lv-I                                                                                     v-4                     v-4
     al
    oLO

             O
                                          n
    9>                                  v-4
                                        oo
                                                                           in
                                                                           in
                                                                                               cm                n
                                                                                                               v-4
                                                                                                               (\l mm
                                                                                                                      6<r
             oo                         oo                                 oo                  oo
     9
     m
             v-4                        v-4                                v-4                 v-4                       oo
                                                                                                               v-4 v-4 v-4
     al      m
             (\l
                        v-4             <1-<x)
                                        mo                                 m o
                                                                           man
                                                                                               QUO
                                                                                               is
                                                                                                               m v-4 O
                                                                                                               v-4 (\l in
                                                                                                                                     (\l
                                                                                                                                     O
                                                                                                                                                      oo
                                                                                                                                                      cm
    N        oo
             v-4
                        oo
                        v-4
                                        oooo
                                        v-lv-4
                                                                           oooo
                                                                           v-lv-4
                                                                                               oo
                                                                                               v-4             v-4 v-4 v-4
                                                                                                                                     oo
                                                                                                                                     v-4
                                                                                                                                                      oo
                                                                                                                                                      v-4
     GJ
      w
     CES
     O                                                                                           4
             14 m of? or? 14 <1-        v-4 L/3 v-4   Q        1r?m"~r v-4 m                   oo m        in Q v-4                  <1-
             v-4 (\l   O (\l m          oo oo G »-<            v-4 (\l (\l m m                 Q v-4 v-4 (\l (\l m            (\l m
             Q Q oo Q Q Q               oo oo oo Q
                                        v-4 v-4 v-4 v
                                                               cm cm cm cm cmI                 oo Q Q Q Q cm
                                                                                               v-4 v-4 v-4 v-4 v-4 v-4
                                                                                                                              cm cm
                                                                                                                              v-lv-I

                                                               53                                               cos           -o             cos
                                                                                                                                             4-»
                                   8                                                                                                         3"ao
              85                   'Q
                                   o    O
                                                               .3
                                                            cvs cos
                                                                                         3                     z
                                                                                                                CO
                                                                                                                cos           =
                                                                                                                              m
                                                                                                                               cos
                                                                                                                              1_4
                                                                                                                              >-1          Q
                                                                                                                                           cos Q

                                   2>~                   .E Q                            8s DD
                                                                                            8                   >~.            o                 m
              Q.                                      .S ~-4  .S                                               m
                                                                                                                              "o--I 0 n o
             333                   3 3
                                   o f
                                                       4G O
                                                          S-4 4G
                                                       O cos O
                                                                            O
                                                                           .Si           .M 8
                                                                                                                CO
                                                                                                                CO            8393 f  o
                                                                                                                                        CO in
                                                                                                                                        4 o
                                                                                                                                           cos
                                                                                                                                           ><
             zmz
             (w    as   G)
                                   zz                 z u z                O             O O
                                                                                                                o
                                                                                                               D-4
                                                                                                                                 O
                                                                                                                              MW DW HH
(174 of 300), Page 174 of 300
                           Case: 24-565, 04/17/205¢RDq@Q/9: 10.7, Page 174 of 300




                              (\l
                              cm
                              »-<©                                                 in    in


                              o1"~r?©
                              cm     O  o
                                     oo oo cm                                      (\l   oo
                                                                                   v-4   v-4

                  in
                  o
    r\            c
                  vm
                   -4
    q-
    to            o                                                       in
    ~4-           in                                                      v-4
     O            oo
                  v-4                                                     cm       <1-   <1-
    oo
                                                                          v-4      v-4   (\l
     q-
     to
     GJ
     m
     CG
    D.
                              is
                              (\l
                                                       in
                                                       (\l
                                                                          m
                                                                          m
     to                       cm                       cm                 cm       in    (\l
    (\l                                                                            v-4   (\l
    OO
    al
    oOO

                        <1-
                                             n
                                           v-4
    'G                  cm                 oo
     GJ                 oo                 oo
                        v-4               v-4
    Lt            in v-4
                          n
                                          v-4 m                     oo
                        cm                 oo oo                    oo
    9
    o
                  oo oo
                  v-lv-I
                                           oo oo
                                           v-4 v-4
                                                                    oo
                                                                    v-4
                                                                                   v-4
                                                                                   (\l
                                                                                         <1-
                                                                                         <1-
    m                                                                                          \
    4-1                                                                                            a»
    C                                                                                           O
     GJ                                                                                        -4-Zi
                                                                                                m
     E                                                                                          O
     3
     O                                                                                          Q*
                                                                                                (D
     O                                                                                          s7'
    a        cm                           (\l          we                                       (D
                                                                                               .Si
             cm                            cm
             oo                            oo          oo                          v-4   v-4     '
    O                                                                              (\l   m     .S
                                                                                                o
    <F                                                                                          $-4
                                                                                                cos
    E                                                                                           0
                                                                                               \m
    *J             w e                                 cm                 QUO m
     ¥             o f
                  (v-lv-I
                    mo
                                                       o
                                                       cm
                                                                          Q  v-4
                                                                          oo Q (\l       in
                                                                                                 >~.
                                                                                                 $-4
    r\                                                 v-4                v-4 v-4 v-4    v-4    O
                                                                                                4-»
    al                                                                                         -»-4
                                                                                                m
                                                                                                O
    oLO                                                                                         Q*
                                                                                                o
    9>                  in
                        cm                                                                     Q
                                                                                                :
                        oo
     9
     m
                        v-4                                                                    'U
                                                                                                (D_
    al                  6 cm
                        cm in
                                           O           in           oo m
                                                                    oo cm
                                           cm                                                  3
    N                   oo oo
                        v-4 v-4
                                           oo
                                           v-4
                                                       oo           oo oo
                                                                    v-lv-I         is
                                                                                   (\l
                                                                                         in
                                                                                         <1-
                                                                                                :
                                                                                               'U
     GJ

                                                                                               28
      w
     CES
     O
                  oo          o6©         in                                                       3
                  oo
                  oo
                              o (\l
                              cm cm
                                           cm
                                           oo                                      cm    (\l
                                                                                                   $-4

                  v-4         v-4 v-4      v-4                                     N     is        o
                                                                                                   cos


                                                                                               83
                                                                                               \
                                                                                                   l0
                                           CO                                                      m
                        E -v-4
                                           8                        .a m
                                                                       c!
                                                                                               8*
                                                                                               4-»
                               cos          DD                cos
                                                                                   QW          .S
                        O
                        -v-4
                  .Q g s-4
                               CO
                                            CO

                                          .Si
                                           m     (D 4-»
                                                    m
                                                             Eun°o
                                                                89                 <n8<»:"'
                                                                                     4 3           85
                                                                                                   O
                        o
                         DD                      4-»
                                                                     m
                                                                    .-4    x       O F             $-4

                                          3 i53n 3>?3
                                           cos         QJ     S-4


                  D>>                                        -»-4
                                                                                   Hr/2 H»-l    3
                                                                                               in
(175 of 300), Page 175 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@/: 10.7, Page 175 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 344 of 347




                                          Exhibit H
(176 of 300), Page 176 of 300
                           Case: 24-565, 04/17/20E4RD 18@/: 10.7, Page 176 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 345 of 347


                                              EXHIBIT H

                              TYPES OF CARRY RESTRICTION LAWS
             STATE            NO CONCEALED            NO OPEN/ANY          NO CARRY
                              CARRY LAWS              CARRY LAWS           LONG GUNS
             Alabama          1839, 1841
             Alaska           1896
             Arizona          1889                    1889,1901, 1901       1901
             Arkansas         1820,1837               1875,1881
             California       1850, 1864              1878,1917             1878,1917
             Colorado         1862
             Connecticut      1890, 1923              1890                  1890
             Delaware         1852
             District of      1857, 1871              1858                  1858
             Columbia
             Florida          1887                    1838,1868             1868
             Georgia          1837                    1837,1873             1873
             Hawaii           1913                    1852,1913             1852,1913
             Idaho            1909
             Illinois         1881
             Indiana          1820
             Iowa             1882,1887,
                              1897, 1929
             Kansas           1901                    1868,1881, 1899       1868,1881,
                                                                            1899
             Kentucky         1812, 1813
             Louisiana        1813                    1870                  1870
             Maine            1840
             Maryland         1872                    1874,1886             1874,1886
             Massachusetts    1751                    1891,1903, 1927       1891,1903,
                                                                            1927
             Michigan         1887                    1927,1929             1929
             Minnesota        1881
             Mississippi      1878                    1878
             Missouri         1873                    1923                  1923
             Montana          1864, 1865
             Nebraska         1881                    1872                  1872
             Nevada           1881, 1925
             New Hampshire
             New Jersey       1686                    1871,1873             1871,1873
             New Mexico       1852, 1853
             New York         1891
             North Carolina   1792
             North Dakota     1895                    1895
(177 of 300), Page 177 of 300
                           Case: 24-565, 04/17/20E4RD 18111y: 10.7, Page 177 of 300
               Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 346 of 347


             Ohio                1859
             Oklahoma            1890                        1890,1890               1890,1891
             Oregon              1853                        1898,1917
             Pennsylvania        1851                        1851                    1851
             Rhode Island        1893
             South Carolina      1880                        1901
             South Dakota        1877                        1877
             Tennessee           1821                        1867,1869, 1879,1881,   1869,1881,
                                                             1893                    1893
             Texas               1870                        1871,1879, 1879         1871,1879
             Utah                1877, 1888                  1877                    1877
             Vermont             1895, 1897                  1895
             Virginia            1794, 1838
             Washington          1881
             West Virginia       1870                        1882,1891, 1925         1882,1891,
                                                                                     1925
             Wisconsin           1858
             Wyoming             1876                        1893                    1893
             TOTAL               50                          29                      22
             STATES
             TOTAL LAWS          65                          53                      36


            Source: https://firearmslaw.duke.edu/repository/search-the-repository/
(178 of 300), Page 178 of 300
                           Case: 24-565, 04/17/20E4RD 18@: 10.7, Page 178 of 300
                Case 2:19-CV-00617-KJM-AC Document 90-6 Filed 08/18/23 Page 347 of 347



                                          CERTIFICATE OF SERVICE
            Case Name:       Baird, Mark v. Rob Bonita               No.     2:19-cv-00617-KJM-AC

            I hereby certify that on August 18, 2023, I electronically filed the following documents with the
            Clerk of the Court by using the CM/ECF system:
            EXPERT REPORT AND DECLARATION OF ROBERT J. SPITZER
            I certify that all participants in the case are registered CM/ECF users and that service will be
            accomplished by the CM/ECF system.
            I declare under penalty of perjury under the laws of the State of California and the United States
            of America the foregoing is true and correct and that this declaration was executed on August 18,
            2023, at Los Angeles, California.


                            Lara Haddad                                    Lm/               4o¢
                             Declarant                                           Signature


            sA2019101934
            66167983.docx
(179 of 300), Page 179 of 300
                           Case: 24-565, 04/17/20E4RD 18(3y: 10.7, Page 179 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 1 of 47


              1   ROB BONTA
                  Attorney General of California
              2   MARK R. BECKiNGTON
                  Supervising Deputy Attorney General
              3   R. MATTHEW WISE, State Bar No. 238485
                  Deputy Attorney General
              4    1300 I Street, Suite 125
                   P.O. Box 944255
              5    Sacramento, CA 94244-2550
                   Telephone: (916) 210-6046
              6    Fax: (916) 324-8835
                   E-mail: Matthew.Wise@doj.ca.gov
              7   Attorneys for Defendant Attorney General Rob Banta

              8
              9                          IN THE UNITED STATES DISTRICT COURT
             10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
             11
             12
             13
                  MARK BAIRD and RICHARD                                Case No. 2: 19-cv-00617-KJM-AC
             14   GALLARDO,
                                                                    EXPERT DECLARATION AND
             15                                         Plaintiffs, REPORT OF PROFESSOR SAUL
                                                                    CORNELL, PH.D.
             16                 v.

             17                                                         Dept:         3
                  ROB BONTA, in his official capacity as                Judge:        Hon. Kimberly J. Mueller
             18   Attorney General of the State of California,
                  and DOES 1-10,                                        Trial Date:   None set
             19                                                         Action Filed: April 9, 2019
                                                     Defendants .
             20
             21
             22
             23
             24
             25
             26
             27
             28
                                                                    1
                                             Expert Declaration and Report of Professor Saul Cornell (2: l9-cv-00617-KJM-AC)
(180 of 300), Page 180 of 300
                           Case: 24-565, 04/17/20E4RD 18t4y: 10.7, Page 180 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 2 of 47


              1         I, Dr. Saul Cornell, declare as follows:
              2         1.    I am the Paul and Diane Guenther Chair in American History at Fordham University

              3   in New York City. Counsel of record for Defendant California Attorney General Rob Bonita asked
              4   me to offer an expert opinion in the above-entitled case. I have personal knowledge of the matters

              5   set forth herein and would so testify.

              6   I.    OPINIONS AND THE BASES FOR EACH OPINION

              7         2.    Counsel for Defendant has previously asked me to express opinions about the history

              8   of open carry restrictions in England and America. Attached hereto is my updated expert report,

              9   in which I provide my opinions and the bases of those opinions, including taking into account
             10   recent U.S. Supreme Court precedent.
             11         3.    In my report, I cite to the scholarly articles, laws, and related materials on which I
             12   based my opinions.
             13   II.   BACKGROUND AND QUALIFICATIONS

             14         4.    My scholarship on the regulation of firearms has appeared in leading law reviews and
             15   top peer-reviewed legal history journals. I authored the chapter on the right to bear arms in the
             16   Oxford Companion to the U.S. Constitution and co-authored the chapter in The Cambridge
             17   History fLaw in America on the Founding Era and the Marshall Court, the period that includes
             18   the adoption of the Constitution and the Second Amendment.1 In addition to teaching
             19   constitutional history at Fordham College, I teach constitutional law at Fordham Law School. I
             20   have been a Senior Visiting research scholar on the faculty of Yale Law School, the University of
             21   Connecticut Law School, and Benjamin Cardozo Law School. I have given invited lectures,
             22   presented papers at faculty workshops, and participated in conferences on this topic at Yale Law
             23
                         1 Saul Cornell, "The Right to Bear Arms," THE OXFORD HANDBOOK OF THE US
             24   CONSTITUTION, eds., Mark Tush ret, Sanford Levinson, and Mark Graber (2015): 739-759,
                  Saul Cornell and Gerald Leonard, "Consolidation of the Early Federal System," Chapter 10 of the
             25   Cambridge History of American Law (Cambridge University Press, 2008). See also Saul Cornell,
                  History, Text, Tradition, and the Future of Second Amendment Jurisprudence: Limits on Armed
             26   Travel under Anglo-American Law, 1688-1868, 83 LAW & CONTEMP. PROBS 73 (2020), Saul
                  Cornell and Nathan DeDino, A Well Regulated Right: The Early American Origins of Gun
             27   Control, 73 FORDHAM L. REV. 487 (2004).
             28
                                                                     2
                                               Expert Declaration and Report of Professor Saul Cornell (2: l9-cv-00617-KJM-AC)
(181 of 300), Page 181 of 300
                           Case: 24-565, 04/17/20E4RD 18l5y: 10.7, Page 181 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 3 of 47


              1   School, Harvard Law School, Stanford Law School, UCLA Law School, the University of
              2   Pennsylvania Law School, Columbia Law School, Duke Law School, Pembroke College Oxford,

              3   Robinson College, Cambridge, Leiden University, and McGill University.2
              4   III. COMPENSATION
              5         6.    I am being compensated for services performed in the above-entitled case at an

              6   hourly rate of $500 for reviewing materials, participating in meetings, and preparing reports, $750

              7   an hour for testimony and depositions, and $l00 an hour for travel time. My compensation is not
              8   in any way dependent on the outcome of this or any related proceeding, or on the substance of my

              9   opinion.

             10   Iv.   MATERIALS REVIEWED

             11         7.    Counsel for Defendant provided me with the complaint in this matter, the order
             12   denying Plaintiffs' first preliminary injunction motion, briefing in support of and in opposition to
             13   Plaintiffs' second preliminary injunction motion, and the declaration of Clayton Cramer in
             14   support of Plaintiff' s second preliminary injunction motion. Otherwise, my report is based on my
             15   independent research. Counsel for Defendant did not provide me with any assumptions to be
             16   made in preparing my report.
             17         I declare under penalty of perjury under the laws of the United States of America that the
             18   foregoing is true and correct, to the best of my knowledge, and that this Declaration was executed
             19   on June 8, 2023, in Maui, HI.
             20

             21

             22

             23
                                                  Saul Cornell, Ph.D.
             24

             25

             26

             27
                         2 A full list of invited presentations and scholarly presentations is included in an updated
             28   CV attached to my expert report.
                                                                     3
                                              Expert Declaration and Report of Professor Saul Cornell (2: l9-cv-00617-KJM-AC)
(182 of 300), Page 182 of 300
                           Case: 24-565, 04/17/20E4RD 18@/: 10.7, Page 182 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 4 of 47




                                        Exhibit A
(183 of 300), Page 183 of 300
                            Case: 24-565, 04/17/20E4RD11@8tTy: 10.7, Page 183 of 300
                  Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 5 of 47
                                                        Baird v. Eonta
                                                 No. 2: 19-cv-00617-KJM-AC

                                Expert Witness Report of Professor Saul Cornell, Ph.D

                                                        June 9, 2023

            Introduction

                 I have been asked to provide an expert opinion on the history of firearms regulation in the
            Anglo-American legal tradition, with a particular emphasis on the regulation of public (also
            referred to as "open") carry of arms at the national and state levels, with specific attention to
            California's regulatory history. I have previously provided an expert report on this subject in this
            matter, this report is a shorter version of that previous report, and is updated in light of the U.S.
            Supreme Court's decision last year. This updated report does not contradict any of my previous
             writings. My writings on the Second Amendment and gun regulation have been widely cited by
            state and federal courts.1 My scholarship on this topic has appeared in leading law reviews and
             top peer-reviewed legal history journals. I authored the chapter on the right to bear arms in the
            Oxford Companion to the U.S. Constitution and co-authored the chapter in The Cambridge
             History outLaw in America on the Founding era and the Marshall Court, the period that includes
             the adoption of the Constitution and the Second Amendment.2 In addition to teaching
            constitutional history at Fordham College, I teach constitutional law at Fordham Law School. I
            have been a Senior Visiting research scholar on the faculty of Yale Law School, the University
            of Connecticut Law School, and Benjamin Cardozo Law School. have given invited lectures,
            presented papers at faculty workshops, and participated in conferences on this topic at Yale Law
            School, Harvard Law School, Stanford Law School, UCLA Law School, the University of
             Pennsylvania Law School, Columbia Law School, Duke Law School, Pembroke College Oxford,
             Robinson College, Cambridge, Leiden University, and McGill University. Thus, my expertise

            1 For a list of scholarship activity and court citations, see Attachment A.

            2 Saul Cornell, "The Right to Bear Arms," THE OXFORD HANDBOOK OF THE U.S. CONSTITUTION,
            eds., Mark Tush ret, Sanford Levinson, and Mark Graber (2015) at739-759, Saul Cornell and
            Gerald Leonard, "Consolidation of the Early Federal System," Chapter 10 of the CAMBRIDGE
            HISTORY OF AMERICAN LAW (Cambridge University Press, 2008), see also Saul Cornell, History,
            Text, Tradition, and the Future of Second Amendment Jurisprudence: Limits on Armed Travel
            under Anglo-American Law, 1688-1868, 83 LAW & CONTEMP. PROBS 73 (2020), Saul
            Cornell and Nathan DeDino, A Well Regulated Right: The Early American Origins of Gun
            Control, 73 FORDHAM L. REV. 487 (2004). For a full list of relevant publications over the last
            decade, see Attachment A.

                                                                                                                    1
(184 of 300), Page 184 of 300
                           Case: 24-565, 04/17/20E4RD 188/: 10.7, Page 184 of 300
                  Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 6 of 47
                                                       Baird v. Eonta
                                                No. 2: 19-cv-00617-KJM-AC

            not only includes the history of gun regulation and the right to keep and bear arms, but also
            extends to American legal and constitutional history broadly defined.
                I have provided expert witness testimony (either written or oral) previously in this matter, as
            well as in the following cases: Rocky Mountain Gun Owners, Nonprofit Corp. v. Hickenlooper,
            No. 14-cv-02850 (D. Colo.), Chambers, v. City of 8oulder, No. 2018 CV 30581 (Colo. D. Ct.,
            Boulder Cty.), Zeleny v. Newsom, No. 14-cv-02850 (N.D. Cal.), and Miller v. Smith, No. 2018-
            cv-3085 (C.D. Ill.), Jones v. 8onta, 3:19-cv-01226-L-AHG (S.D. Cal), Worth v. Harrington,
            No. 21-cv-1348 (D. Minn.), Miller v. 8onta, No. 3:19-cv-01537-BEN-JLB (S.D. Cal), Duncan
            v. 8onta, No. 3:17-cv-01017-BEN-JLB (S.D. Cal), Wiese v. 8onta, No. 2:17-cv-00903-WBS-
            KJN (E.D. Cal), B&L Productions, Inc. d/b/a Crossroads of the West v. Newsom, No. 8:22-cv-
            01518-JWH (C.D. Cal.), Renna v. 8onta, No. 17-cv-00746-JSL-JDE (S.D. Cal), Boland v.
            8onta, No. 8:22-cv-01421-CIC-ADS (C.D. Cal), and Rupp v. 8onta, 8:17-cv-00746-JLS-JDE
            (C.D. Cal.).
                   In New York State Ry'le & Pistol Ass 'n Inc. v. 8ruen, the U.S. Supreme Court
            underscored that text, history, and tradition are the foundation of modern Second Amendment
            jurisprudence. This modality of constitutional analysis requires that courts analyze history and
            evaluate the connections between modem gun laws and earlier approaches to firearms regulation
            in the American past. This report explores these issues in some detail. Finally, I have been
            asked to evaluate the statutes at issue in this case concerning the regulation and restriction of
            open-carry, particularly regarding their connection to the tradition of firearms regulation in
            American legal history.
            Summary of Opinions
                  Understanding text, history, and tradition require a sophisticated grasp of historical context.
            One must canvass the relevant primary sources, secondary literature, and jurisprudence to arrive
            at an understanding of the scope of permissible regulation consistent with the Second
            Amendment's original understanding.
                  It is impossible to understand the meaning and scope of Second Amendment protections
            without understanding the way Americans in the Founding era approached legal questions and
            rights claims. In contrast to most modern lawyers, the members of the First Congress who wrote
            the words of the Second Amendment and the American people who enacted the text into law
            were well schooled in English common law ideas. Not every feature of English common law

                                                                                                                2
(185 of 300), Page 185 of 300
                           Case: 24-565, 04/17/20E4RD 18@/: 10.7, Page 185 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 7 of 47
                                                       Baird v. Eonta
                                                No. 2: 19-cv-00617-KJM-AC

            survived the American Revolution, but there were important continuities between English law
            and the common law in America.3 Each of the new states, either by statute or judicial decision,
            adopted multiple aspects of the common law, focusing primarily on those features of English law
            that had been in effect in the English colonies for generations.4 No legal principle was more
            important to the common law than the concept of the peace.5 As one early American justice of
            the peace manual noted: "the term peace, denotes the condition of the body politic in which no
            person suffers, or has just cause to fear any injury.796 Blackstone, a leading source of early
            American views about English law, opined that the common law "hath ever had a special care
            and regard for the conservation of the peace, for peace is the very end and foundation of civil
            society.797
                  In Eruen, Justice Kavanaugh reiterated Heller's invocation of Blackstone's authority as a
            guide to how early Americans understood their inheritance from England. Specifically, Justice
            Kavanaugh stated in unambiguous terms that there was a "well established historical tradition
            of prohibiting the carrying of dangerous and unusual weapons.798 The dominant



            3 William B. Stoebuck, Reception of English Common Law in the American Colonies, 10 WM. &
            MARY L. REV. 393 (1968), MD. CONST. OF 1776, DECLARATION OF RIGHTS, art. III, § 1, Lauren
            Benton & Kathryn Walker, Law for the Empire: The Common Law in Colonial America and the
            Problem of Legal Diversity, 89 CHI.-KENT L. REV. 937 (2014).
            4 9 STATUTES AT LARGE OF PENNSYLVANIA 29-30 (Mitchell & Flanders eds. 1903), FRANCOIS
            XAVIER MARTIN, A COLLECTION OF STATUTES OF THE PARLIAMENT OF ENGLAND IN FORCE IN
            THE STATE OF NORTH-CAROLINA 60-61 (Newbern, 1792), Commonwealth v. Leach, 1 Mass. 59
            (1804) .
            5 LAURA F. EDWARDS, THE PEOPLE AND THEIR PEACE: LEGAL CULTURE AND THE
            TRANSFORMATION OF INEQUALITY IN THE POST-REVOLUTIONARY SOUTH (University of North
            Carolina Press, 2009).
            6 JOSEPH BACKUS, THE JUSTICE oF THE PEACE 23 (1816).
            7 1 WILLIAM BLACRSTONE, COMMENTARIES *349.
            8 District of Colambia v. Heller, 554 U.S. 570, 626-627 (2008), and n. 26. Blackstone and
            Hawkins, two of the most influential English legal writers consulted by the Founding generation,
            described these types of limits in slightly different terms. The two different formulations related
            to weapons described as dangerous and unusual in one case and sometimes as dangerous or
            unusual in the other instance, see Saul Cornell, The Right to Carry Firearms Outside of the
            Home: Separating Historical Myths from Historical Realities, 39 FORDHAM URB. L.J. 1695134
            (2012). It is also possible that the phrase was an example of an archaic grammatical and

                                                                                                              3
(186 of 300), Page 186 of 300
                           Case: 24-565, 04/17/20E4RD 14@/: 10.7, Page 186 of 300
                  Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 8 of 47
                                                        Baird v. Eonta
                                                 No. 2: 19-cv-00617-KJM-AC

            understanding of the Second Amendment and its state constitutional analogues at the time of
            their adoption in the Founding period forged an indissoluble link between the right to keep and
            bear arms with the goal of preserving the peace.9
                  The right of the people to pass laws to promote public health and safety is one of the most
            fundamental rights in the pantheon of American rights. The idea of popular sovereignty, a core
            belief of the Founding generation, included a right of legislatures to enact laws to promote the
            common good. Although modem lawyers and jurists are accustomed to thinking of this concept
            under the rubric of state police power, the Founding generation viewed it as a right, not a
            power.10 The first state constitutions clearly articulated such a right - including it alongside
            more familiar rights such as the right to bear arms.11 Pennsylvania's Constitution framed this
            estimable right succinctly: "That the people of this State have the sole, exclusive and inherent
            right of governing and regulating the internal police of the same." "Constitutional rights," Justice
            Scalia wrote in Heller, "are enshrined with the scope they were thought to have when the people
            adopted them.7912 Included in this right was the most basic right of all: the right of the people to



            rhetorical form hendiadys, see Samuel Bray, 'Necessary AND Proper ' and 'Cruel AND
            Unusual Hendiadys in the Constitution, 102 VIRGINIA L. REV. 687 (2016).
            9 On Founding-era conceptions of liberty, see JOHN J. ZUBLY, THE LAW oF LIBERTY (1775). The
            modern terminology to describe this concept is "ordered liberty." See Palko v. Connecticut, 302
            U.S, 319, 325 (1937). For a more recent elaboration of the concept, see generally JAMES E.
            FLEMHVG & LINDA C. MCCLAIN, ORDERED LIBERTY: RIGHTS, RESPONSIBILITIES, AND VIRTUES
            (Harvard University Press, 2013). On Justice Cardozo and the ideal of ordered liberty, see Palko
            v. Connecticut, 302 U.S, 319, 325 (1937), John T. Noonan, Jr., Ordered Liberty: Cardozo and the
            Constitution, 1 CARDOZO L. REV. 257 (1979), Jud Campbell, Judicial Review, and the
            Enumeration of Rights, 15 GEO. J.L. & PUB. POL'Y 569 (2017).
            10 On the transformation of the Founding era's ideas about a "police right" into the more familiar
            concept of "police power," See generally Aaron T. Knapp, The Judicialization of Police, 2
            CRITICAL ANALYSIS 01= L. 64 (2015), see also MARKUS DIRK DUBBER, THE POLICE POWER:
            PATRIARCHY AND THE FOUNDATIONS oF AMERICAN GOVERNMENT (2005), Christopher Tomlin,
            Necessities of State.' Police, Sovereignty, and the Constitution, 20 J. OF POL'Y HIST. 47 (2008).
            11 PA. CONST. of 1776, ch. I, art. III, MD. DECLARATION OF RIGHTS, art. Iv (1776), NC.
            DECLARATION or RIGHTS, art. I, § 3 (1776), and VT. DECLARATION OF RIGHTS, art. V (1777).

            12 Heller, 554 U.S. at 634-35, William J. Novak, Common Regulation: Legal Origins of State
            Power in America, 45 HASTINGS L.J. 1061, 1081-83 (1994), Christopher Tomlins, Necessities of
            State: Police, Sovereignty, and the Constitution, 20 J. POL'Y HIST. 47 (2008).


                                                                                                                   4
(187 of 300), Page 187 of 300
                           Case: 24-565, 04/17/20E4RD 14111y: 10.7, Page 187 of 300
                  Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 9 of 47
                                                        Baird v. Eonta
                                                 No. 2: 19-cv-00617-KJM-AC

            regulate their own internal police. Thus, if Justice Scalia's rule applies to the scope of the right to
            bear arms, it must also apply to the scope of the right of the people to regulate their internal
            police, a point that Chief Justice Roberts and Justice Kavanaugh have each asserted in their
            interpretations of Heller and subsequent jurisprudence. The history of gun regulation in the
            decades after the right to bear arms was codified in both the first state constitutions and the
            federal bill of rights underscores this important point.
                  In the years following the adoption of the Second Amendment and its state analogues,
            firearm regulation increased. Indeed, the individual states exercised their police powers to
            address longstanding issues and novel problems created by firearms in American society. Over
            the eighteenth and nineteenth centuries, American regulation increased as states grappled with
            advances in firearm technology and changes in American society. Regulation touched every
            aspect of guns from the manufacturing, storage, and sale of gunpowder, to regulating where
            firearms and other dangerous weapons might be carried in public .
            The Historical Inquiry Required by Bruen, McDonald, and Heller

                  The United States Supreme Court's decisions in Heller, McDonald,13 and Breen have
            directed courts to look to text, history, and tradition when evaluating the scope of permissible
            firearms regulation under the Second Amendment. In another case involving historical
            determinations, Justice Thomas, the author of the majority opinion in Breen, has noted that
            judges must avoid approaching history, text, and tradition with an "ahistorical literalism."14
            Legal texts must not be read in a decontextualized fashion detached from the web of historical
            meaning that made them comprehensible to Americans living in the past. Similarly, a
            mechanistic strategy of digital searching for historical gun laws would be incapable of answering
            the historical inquiries required under Breen. Instead, understanding the public meaning of
            constitutional texts requires a solid grasp of the relevant historical contexts-how firearms
            technology has changed, how consumer demand has waxed and waned, and how the people,




            13 McDonald v. Cizy of Chicago, 561 U.s. 742 (2010).
            14 Franchise Tax Board of Calzfornia v. Hyatt, 139 S. Ct. 1485, 1498 (2019) (Thomas, J.)
            (criticizing "historical literalism").


                                                                                                                 5
(188 of 300), Page 188 of 300
                           Case: 24-565, 04/17/20E4RD 14@: 10.7, Page 188 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 10 of 47
                                                         Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

            acting through their representatives, respond to societal ills created by those changes. 15
                  Moreover, as Breen makes clear, history neither imposes "a regulatory straightjacket nor a
            regulatory blank check.7916 The Court acknowledged that when novel problems created by
            firearms are at issue, "a more nuanced approach" is appropriate.17 Breen differentiates between
            cases in which contested regulations are responses to long standing problems and situations in
            which modem regulations address novel problems with no clear historical analogues from the
            Founding era or the era of the Fourteenth Amendment.
                  In the years between Heller and Breen, historical scholarship has expanded our
            understanding of the history of arms regulation in the Anglo-American legal tradition, but much
            more work needs to be done to fill out this picture.     Indeed, such research is still ongoing: new
            materials continue to emerge, and since Breen was decided, additional evidence about the history
            of regulation has surfaced and new scholarship interpreting it has appeared in leading law
            reviews and other scholarly venues.19
                  As Justice Scalia noted in Heller, and Justice Thomas reiterated in Breen, the original
            Second Amendment was a result of interest balancing undertaken by the people themselves in
            framing the federal Constitution and the Bill of Rights." Although "free-standing balancing" by
            judges is precluded by Heller, the plain meaning of the Second Amendment's text recognizes a
            role for regulation explicitly and further asserts that actions inimical to a free state fall outside of
            the scope of the right instantiated in the text.21 The Second Amendment states: "A well



            15 See Jonathan Gienapp, Historicism and Holism: Failures of Originalist Translation, 84
            FORDHAM L. REV. 935 (2015).
            16 8ruen, 142 s. Cr. 2111, 2133.
            17 id. at 2132.
            18 Eric M. Ruben & Darrell A. H. Miller, Preface: The Second Generation of Second Amendment
            Law & Policy, 80 L. & CONTEMP. PROES. 1 (2017).
            19 Symposium - The 2nd Amendment at the Supreme Court: "700 Years Of !-Iistory" and the
            Modern Effects of Guns in Public, 55 U.C. DAV1S L. REV. 2495 (2022), NEW HISTORIES OF GUN
            RIGHTS AND REGULAT1ON: ESSAYS ON THE PLACE OF GUNS 1N AMER1CAN LAW AND SOCIETY
            (Joseph Bloc fer, Jacob D. Charles & Darrell A.H. Miller eds., forthcoming 2023).
            20 8ruen, 142 s. co. at 2131, Heller, 554 U.s. at 635.
            21 Heller, 554 U.s. at 635.



                                                                                                                   6
(189 of 300), Page 189 of 300
                           Case: 24-565, 04/17/20E4RD 14(3y: 10.7, Page 189 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 11 of 47
                                                       Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            regulated Militia, being necessary to the security of a free State, the right of the people to keep
            and bear Arms, shall not be infringed." U.S. Const. amend. II. Thus, from its outset, the Second
            Amendment recognizes both the right to keep and bear arms and the right of the people to
            regulate arms to promote the goals of preserving a free state. Although rights and regulation are
            often cast as antithetical in the modern gun debate, the Founding generation saw the two goals as
            complimentary. Comparing the language of the Constitution's first two amendments and their
            different structures and word choice makes this point crystal clear. The First Amendment
            prohibits "abridging" the rights it protects. In standard American English in the Founding era, to
            "abridge" meant to "reduce." Thus, the First Amendment prohibits a diminishment of the rights it
            protects. The Second Amendment's language employs a very different term, requiring that the
            right to bear arms not be "infringed.7922 In Founding-era American English, the word
            "infringement" meant to "violate" or "destroy." In short, when read with the Founding era's
            interpretive assumptions and legal definitions in mind, the two Amendments set up radically
            different frameworks for evaluating the rights they enshrined in constitutional text. Members of
            the Founding generation would have understood that the legislature could regulate the conduct
            protected by the Second Amendment and comparable state arms bearing provisions as long as
            such regulations did not destroy the underlying right. An exclusive focus on rights and a
            disparagement of regulation is thus antithetical to the plain meaning of the text of the Second
            Amendment.
                  John Burn, author of an influential eighteenth-century legal dictionary, illustrated the
            concept of infringement in the context of his discussion of violations of rights protected by the
            common law. Liberty, according to Bums, was not identical to that "wild and savage liberty" of
            the state of nature. True liberty, by contrast, only existed when individuals created civil society
            and enacted laws and regulations that promoted ordered liberty. Regulation was the




            22 The distinction emerges clearly in a discussion of natural law and the law of nations in an
            influential treatise on international law much esteemed by the Founding generation: "Princes
            who infringe the law of nations, commit as great a crime as private people, who violate the law
            of nature," J.J. BURLAMAQU1, THE PRnVC1PLES oF NATURAL LAW (Thomas Nugent trans., 1753)
            at 201. This book was among those included in the list of important texts Congress needed to
            procure, see Report on Books for Congress, [23 January] 1783," Founders Online, National
            Archives, https://founders.archives.gov/documents/Madison/0 l -06-02-003 l .

                                                                                                                  7
(190 of 300), Page 190 of 300
                           Case: 24-565, 04/17/20E4RD 14t4y: 10.7, Page 190 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 12 of 47
                                                       Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            indispensable correlate of rights in Founding era constitutionalism.23
                  Burn's conception of the close connection between liberty and regulation was widely
            shared by others in the Anglo-American world. Similarly, Nathan Bailey's Dictionarium
            Britannica (1730) defined "abridge" as to "shorten," while "infringe" was defined as to "break
            a law.7924 And his 1763 New Universal Dictionary repeats the definition of "abridge" as
            "shorten" and "infringe" as "to break a law, custom, or privilege.7925 Samuel Johnson's
            Dictionary of the English Language (1755) defines "infringe" as "to violate, to break laws or
            contracts" or "to destroy, to hinder.7926 Johnson's definition of "abridge" was "to shorten" and "to
            diminish" or "to deprive of.7927 And Noah Webster's An American Dictionary of the English
            Language (1828) largely repeats Johnson's definitions of "infringe" and "abridge.7928
                  For the framers, ratifiers, and other relevant legal actors in the Founding era, regulation,
            including robust laws, was not understood to be an "infringement" of the right to bear arms, but
            rather the necessary foundation for the proper exercise of that right as required by the concept of
            ordered liberty.29 As one patriotic revolutionary era orator observed, almost a decade after the
            adoption of the Constitution: "True liberty consists, not in having no government, not in a
            destitution ofall law, but in our having an equal voice in the formation and execution of the




            23 Liberty, A NEW LAW DICTIONARY (1792), See also, Jud Campbell, Natural Rights,
            Positive Rights, and the Right to Keep and Bear Arms, 83 LAW & CONTEMP. PROBS. 31, 32-33
            (2020)
            24 Abridge, DICTIONARIUM BRITANNICUM (1730).
            25 Abridge, NEW UNIVERSAL DICTIONARY (1763).
            26 infringe, DICTIONARY OF THE ENGLISH LANGUAGE (1755).
            27 Abridge, DICTIONARY OF THE ENGLISH LANGUAGE (1755).
            28 Abridge, Infringe, An AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828).
            29 Dan Edelstein, Early-Modern Rights Regimes: A Genealogy of Revolutionary Rights, 3
            CRITICAL ANALYSIS L. 221, 233-34 (2016). See generally GERALD LEONARD & SAUL CORNELL,
            THE PARTISAN REPUBLIC: DEMOCRACY, EXCLUSION, AND THE FALL OF THE FOUNDERS '
            CONSTITUTION, 1780s-1830s, at 2, Victoria Kahn, Early Modern Rights Talk, 13 YALE J.L. &
            HUMAN. 391 (2001) (discussing how the early modern language of rights incorporated aspects of
            natural rights and other philosophical traditions), Joseph Postell, Regulation During the
            American Founding: Achieving Liberalism and Republicanism, 5 AM. POL. THOUGHT 80 (2016)
            (examining the importance of regulation to Founding political and constitutional thought) .


                                                                                                                 8
(191 of 300), Page 191 of 300
                           Case: 24-565, 04/17/20E4RD 14t5y: 10.7, Page 191 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 13 of 47
                                                       Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            laws, according as they effect [sic] our persons and property.7930 By allowing individuals to
            participate in politics and enact laws aimed at promoting the health, safety, and well-being of the
            people, liberty flourished.31
                  The key insight derived from taking the Founding era conception of rights seriously and
            applying the original understanding of the Founding era's conception of liberty is the recognition
            that regulation and liberty are both hard wired into the Amendment's text. The inclusion of rights
            guarantees in constitutional texts was not meant to place them beyond the scope of legislative
            control. "The point of retaining natural rights," originalist scholar Jud Campbell reminds us "was
            not to make certain aspects of natural liberty immune from governmental regulation. Rather,
            retained natural rights were aspects of natural liberty that could be restricted only with just cause
            and only with consent of the body politic.7932 Rather than limit rights, regulation was the essential
            means of preserving rights, including self-defense." In fact, without robust regulation of arms, it


            30 Joseph Russell, An Oration; Pronounced in Princeton, Massachusetts, on the Anniversary of
            American Independence, July 4, I 799, at 7 (July 4, 1799), (text available in the Evans Early
            American Imprint Collection) (emphasis in original).
            31 See generally QUENTIN SKHQNER, LIBERTY BEFORE LIEERALISM (1998) (examining neo-
            Roman theories of free citizens and how it impacted the development of political theory in
            England), THE NATURE or RIGHTS AT THE AMERICAN FOUNDING AND BEYOND (Barry Alan
            Shain ed., 2007) (discussing how the Founding generation approached rights, including the
            republican model of protecting rights by representation).
            32 Jud Campbell, The Invention of First Amendment Federalism, 97 TEX. L. REV. 517, 527
            (2019) (emphasis in original). See generally Saul Cornell, HalfCocked.' The Persistence of
            Anachronism and Presentism in the Academic Debate Over the Second Amendment, 106 J. OF
            CRIM. L. AND CRIMINOLOGY 203, 206 (2016) (noting that the Second Amendment was not
            understood in terms of the simple dichotomies that have shaped modem debate over the right to
            bear arms).
            33 See Jud Campbell, Judicial Review and the Enumeration of Rights, 15 GEO. J.L. & PUB. POL'Y
            569, 576-77 (2017). Campbell's work is paradigm-shifting, and it renders Justice Scalia's
            unsubstantiated claim in Heller that the inclusion of the Second Amendment in the Bill of Rights
            placed certain forms of regulation out of bounds totally anachronistic. This claim has no
            foundation in Founding-era constitutional thought, but reflects the contentious modern debate
            between Justice Black and Justice Frankfurter over judicial balancing, on Scalia's debt to this
            modern debate, see generally SAUL CORNELL, THE POLICE POWER AND THE AUTHORITY To
            REGULATE FIREARMS IN EARLY AMERICA 1-2 (2021),
            https://www.brennancenter. org/sites/default/files/2021 -06/Comell_final.pdf
            [https://perma.cc/J6QD-4YXG] and Joseph Bloc fer, Response: Rights as Trumps of What?, 132
            HARV. L. REV. 120, 123 (2019).


                                                                                                                9
(192 of 300), Page 192 of 300
                           Case: 24-565, 04/17/20E4RD 14@/: 10.7, Page 192 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 14 of 47
                                                       Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

            would have been impossible to implement the Second Amendment and its state analogues.
            Mustering the militia required keeping track of who had weapons and included the authority to
            inspect those weapons and fine individuals who failed to store them safely and keep them in
            good working order.34 The individual states also imposed loyalty oaths, disarming those who
            refused to take such oaths. No state imposed a similar oath as pre-requisite to the exercise of
            First Amendment-type liberties. Thus, some forms of prior restraint, impermissible in the case of
            expressive freedoms protected by the First Amendment or comparable state provisions, were
            understood by the Founding generation to be perfectly consistent with the constitutional right to
            keep and bear arms.35
                     In keeping with the clear public meaning of the Second Amendment's text and comparable
            state provisions, early American governments enacted laws to preserve the rights of law-abiding
            citizens to keep and bear arms and promote the equally vital goals of promoting public safety.
            The proper metric for deciding if such laws were constitutional was and remains the same today:
            whether a regulation infringes on the right protected by the Second Amendment.36

            From Muskets to Pistols: Change and Continuity in Early American Firearms Regulation

                     Guns have been regulated from the dawn of American history.37 At the time Heller was
            decided, there was little scholarship on the history of gun regulation and a paucity of quality
            scholarship on early American gun culture.38 Fortunately, a burgeoning body of scholarship has
            illuminated both topics, deepening scholarly understanding of the relevant contexts needed to
            implement 8ruen's framework."


            34 H. RICHARD UVILLER & WILLIAM G. MERKEL, THE MILITIA AND THE RIGHT To ARMS, OR,
            How THE SECOND AMENDMENT FELL SILENT 150 (2002).
            35 Saul Cornell, Commonplace or AnacNronism: The Standard Model, the Second Amendment,
            and the Problem of Hi5tory in Contemporary Constitutional Theory 16 CONSTITUTIONAL
            COMMENTARY 988 (1999).

            36 Saul Cornell and Nathan DeDino, A Well Regulated Right: The Early American Origins of
            Gun Control, 73 FORDHAM L. REV. 487 (2004).
            37 Robert J. Spitzer, Gun Law History in the United States and Second Amen¢iment Rights, 80 L.
            & CONTEMP. PROBS. 55 (2017).
            38 id.

            39 Ruben & Miller, supra note 19, at 1.


                                                                                                              10
(193 of 300), Page 193 of 300
                            Case: 24-565, 04/17/20E4RD11@4tTy: 10.7, Page 193 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 15 of 47
                                                      Baird v. Bonita
                                               No. 2: 19-cv-00617-KJM-AC

                  The common law that Americans inherited from England always acknowledged that the
            right of self-defense was not unlimited but existed within a well-delineated jurisprudential
            framework. The entire body of the common law was designed to preserve the peace and the right
            of self-defense existed within this larger framework.40 Statutory law, both in England and
            America functioned to further secure the peace and public safety. Given these indisputable facts,
             the Supreme Court correctly noted, the right to keep and bear arms was never understood to
            prevent government from enacting a broad range of regulations to promote the peace and
            maintain public safety.41 In keeping with this principle, the Second Amendment and its state
            analogues were understood to enhance the concept of ordered liberty, not undermine it.42
                  8ruen's methodology requires judges to distinguish between the relevant history necessary
            to understand early American constitutional texts and a series of myths about guns and regulation
            that were created by later generations to sell novels, movies, and guns themselves.43
            Unfortunately, many of these myths continue to cloud legal discussions of American gun policy
            and Second Amendment jurisprudence.44
                  Although it is hard for many modem Americans to grasp, there was no comparable societal
             ill to the modern gun violence problem for Americans to solve in the era of the Second
            Amendment. A combination of factors, including the nature of firearms technology and the
            realities of living life in small, face-to-face, and mostly homogenous rural communities that
            typified many parts of early America, militated against the development of such a problem. In
            contrast to modern America, homicide was not the problem that government firearm policy



            40 Saul Cornell, The Right to Keep and Carry Arms in Anglo-American Law: Preserving Liberty
            and Keeping the Peace, 80 L. & CONTEMP. PROBS. 11 (2017).
            41 McDonald, 561 U.S. at 785 (noting "'[s]tate and local experimentation with reasonable
            firearms regulations will continue under the Second Amendment"') .
            42 See generally Saul Cornell, The Long Arc OfArms Regulation In Public: From Surety To
            Permitting, 1328-1928, 55 U.C. DAVIS L. REV. 2547 (2022)
            43 PAMELA HAAG, THE GUNNING OF AMERICAN BUSINESS AND THE MAKING OF AMERICAN GUN
            CULTURE (2016).
            44 RICHARD SLOTKN\1, GUNFIGHTER NATION: THE MYTH OF THE FRONTIER In TWENTIETH-
            CENTURY AMERICA (1993), JOAN BURBICK, GUN SHow NATION: GUN CULTURE AND AMERICAN
            DEMOCRACY (2006).


                                                                                                            11
(194 of 300), Page 194 of 300
                           Case: 24-565, 04/17/20E4RD 148/: 10.7, Page 194 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 16 of 47
                                                       Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

            needed to address at the time of the Second Amendment.45
                  The surviving data from New England is particularly rich and has allowed scholars to
            formulate a much better understanding of the dynamics of early American gun policy and relate
            it to early American gun culture.46 Levels of gun violence among those of white European
            ancestry in the era of the Second Amendment were relatively low compared to modern America.
            These low levels of violence among persons of European ancestry contrasted with the high levels
            of violence involving the tribal populations of the region. The data presented in Figure l is
            based on the pioneering research of Ohio State historian Randolph Roth. It captures one of the
            essential facts necessary to understand what fears motivated American gun policy in the era of
            the Second Amendment. The pressing problem Americans faced at the time of the Second
            Amendment was that citizens were reluctant to purchase military style weapons which were
            relatively expensive and had little utility in a rural society. Americans were far better armed than
            their British ancestors, but the guns most Americans owned and desired were those most useful
            for life in an agrarian society: fowling pieces and light hunting muskets.47 Killing pests and
            hunting birds were the main concern of farmers, and their choice of firearm reflected these basic
            facts of life. Nobody bayoneted turkeys, and pistols were of limited utility for anyone outside of
            a small elite group of wealthy, powerful, and influential men who needed these weapons if they
            were forced to face an opponent on the field of honor in a duel, as the tragic fate of Alexander
            Hamilton so vividly illustrates.48
                  Limits in Founding-era firearms technology also militated against the use of guns as
            effective tools of interpersonal violence in this period. Eighteenth-century muzzle-loading


            45 RANDOLPH ROTH, AMERICAN HOMICIDE 56, 315 (2009).
            46 It is important to recognize that there were profound regional differences in early America.
            See JACK P. GREENE, PURSUITS oF HAPPINESS: THE SOCIAL DEVELOPMENT oF EARLY MODERN
            BRITISH COLONIES AND THE FORMATION oF AMERICAN CULTURE (1988). These differences also
            had important consequences for the evolution of American law. See generally David Thomas
            Konig, Regionalism in Early American Law, in 1 THE CAMBRIDGE HISTORY oF LAW no AMERICA
            144 (Michael Grossberg & Christopher Tomlin eds., 2008).
            47 Kevin M. Sweeney, Firearms Ownership and Militias in Seventeenth and Eighteenth Century
            England and America, in A RIGHT To BEAR ARMS?: THE CONTESTED ROLE oF HISTORY IN
            CONTEMPORARY DEBATES on THE SECOND AMENDMENT (Jennifer Tucker et al. eds., 2019).
            48 Joanne B. Freeman, AEEAIRS OE HONOR: NATIONAL POLITICS IN THE NEW REPUBLIC (2001).



                                                                                                               12
(195 of 300), Page 195 of 300
                           Case: 24-565, 04/17/20E4RD 14@/: 10.7, Page 195 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 17 of 47
                                                                          Baird v. Bonita
                                                         No. 2: 19-cv-00617-KJM-AC

            weapons, especially muskets, took too long to load and were therefore seldom used to commit
            crimes. Nor was keeping guns loaded a viable option because the black powder used in these
            weapons was not only corrosive, but it attracted moisture like a sponge. Indeed, the iconic image
            of rifles and muskets hung over the mantle place in early American homes was not primarily a
            function of aesthetics or the potent symbolism of the hearth, as many today assume. As historian
            Roth notes: "black powder's hygroscopic, it absorbs water, it corrodes your barrel, you can't
            keep it loaded. Why do they always show the gun over the fireplace? Because that's the
            warmest, driest place in the house.7949 Similar problems also limited the utility of muzzle-loading
            pistols as practical tools for self-defense or criminal offenses. Indeed, at the time of the Second
            Amendment, over 90% of the weapons owned by Americans were long guns, not pistols.5°




                                                                                                                            \
                            25-

                            20-                                                           /
                                                                          ,v
                        8e 15-                                  I


                        8E          ................¢,.'Q9
                        1? 1o-                               'Q.Q
                                                                    ••
                                                                         *•
                                                                              'u¢.Q
                             5.                                                       l   'o'Q .Q
                                   1l»,`_* 4
                                                                                              Q
                                                                                                    • •Q . . *10011\1..........................
                                               __ - -
                             O-                         *-191-Qit1--1---                          ----------Q-III-1-----------                ;
                                               1 -/00                                                                                             1aoo
                                        Native AmerlaF'ls
                                        African Amen<:alu
                                        Eulupe~an Amaneans

                        Figure 2.3 L°nrcl;\lcd-:adult homicide nncs in New England by race. 1677-
                        1797 (per lOl).(1)0 p¢'rsolls per year) .


                  As Roth's data makes clear, there was not a serious homicide problem looming over
            debates about the Second Amendment. Nor were guns the primary weapon of choice for those
            with evil intent during this period.5 l The skill and time required to load and fire flintlock muzzle
            loading black powder weapons meant that these types of firearms were less likely to be used in



            49 Randolph Roth, Transcript: Why is the United States the Most Homicidal in the Ajfuent
            World, NATIONAL INSTITUTE OF JUSTICE (Dec. 1, 2013),
            https://nij.ojp.gov/media/video/24061#transcript--0.
            50 Sweeney, supra note 48.
            51 HAAG, supra note 44.

                                                                                                                                                         13
(196 of 300), Page 196 of 300
                           Case: 24-565, 04/17/20E4RD 15@/: 10.7, Page 196 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 18 of 47
                                                      Baird v. Bonita
                                               No. 2: 19-cv-00617-KJM-AC

            crimes of passion. The preference for storing them unloaded also meant they posed fewer
            dangers to children from accidental discharge.
                  In short, the Founding generation did not confront a gun violence problem similar in nature
            or scope to the ills that plague modem America.
            Gun Regulation in the North and South in Antebellum America
                   The genius of the common law was its adaptability, and its absorption in America proved
            no exception to this general pattern. Following the Founding era, early American firearms law
            evolved differently in each of the newly independent states, but important regional patterns also
            emerged." Southern slavery was an important contributing factor to this process of regional
            differentiation. Indeed, many gun-rights advocates focus primarily on a string of Southern cases
            decided by slave-holding judges to ascertain the public meaning of the right to bear arms. Yet
            there is broad agreement among historians of early American law that generalizing from a single
            region's experiences ignores the diversity of early American law.53
                   The Southern tradition has figured prominently in post-Heller scholarship and law, but
            despite this fact, there remains considerable confusion about what this tradition embodied. The
            distortion of Southern jurisprudence remains one of the most pervasive problems in post-Heller
            jurisprudence.54 In the slave South a more expansive view of open carry developed, while
            prohibitions on concealed carry, a dastardly and cowardly practice to most Americans in
            antebellum America, posed no constitutional problems. In Massachusetts, a different model
            emerged and gained judicial notice. This model also expanded the scope of self-defense and gun
            rights beyond the narrow confines of English common law, but it did so in a more narrowly


            52 Saul Cornell and Nathan DeDino, A Well Regulated Right: The Early American Origins of
            Gun Control, 73 FORDHAM L. REV. 487 (2004).
            53 On the importance of early American regional differences in the evolution of the common law,
            see Ellen Holmes Pearson, REMAKN\IG CUSTOM: LAW AND IDENTITY TN THE EARLY AMERICAN
            REPUBLIC (201 l) (arguing that the American colonists adapted English common law to their
            local conditions and that to understand the evolution of common law in America we must
            recognize that it evolved among multiple paths of development) and Lauren Benton & Kathryn
            Walker, Law for the Empire: The Common Law in Colonial America and the Problem of Legal
            Diversity, 89 CHI.-KENT L. REV. 937 (2014).

            54 Michael O'Shea, Modeling the Second Amendment Right to Carry Arms (I): Judicial Tradition
            and the Scope of "Bearing Arms"for SeIj9Defense, 61 AM. U. L. REV. 585 (2012).


                                                                                                              14
(197 of 300), Page 197 of 300
                           Case: 24-565, 04/17/20E4RD 15111y: 10.7, Page 197 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 19 of 47
                                                       Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

            tailored fashion than the Southern model. Thus, pre-Civil War American firearms law did not
            speak with a single voice on firearms, rather, antebellum American law spoke with a different
            and distinctive regional accent.55
                   Although the concept of a police right did not disappear from American law in the years
            before the Civil War, this legal concept was slowly overshadowed by an evolving jurisprudence
            focused on police power.56 Antebellum jurists developed this body of law to address the complex
            issues that regulation posed for a rapidly changing society-and no issue was more vexing than
            firearms regulation. Indeed, the application of the police power to regulating firearms and
            ammunition was singled out as the locus classics of state police power by Chief Justice John
            Marshall in Brown v. Maryland, in which the Court observed that "[t]he power to direct the
            removal of gunpowder is a branch of the police power.7957 The scope of the police power was
            later analyzed by the Supreme Court in the License Cases, where Justice John McClean
            formulated this guiding principle: "It is not susceptible of an exact limitation but must be
            exercised under the changing exigencies of society. In the progress of population, of wealth, and
            of civilization, new and vicious indulgences spring up, which require restraints that can only be
            imposed by new legislative power. When this power shall be exerted, how far it shall be carried,
            and where it shall cease, must mainly depend upon the evil to be remedied.7958 The police
            power-in particular, the right of the people to regulate themselves in the interest of public
            safety-was thus dynamic, adaptable to the changing needs of American society.




            55 Young V. Hawaii: Ninth Circuit Panel Holds Open-Carry Law Infringes Core Right to Bear
            Arms in Public, 132 HARV. L. REV. 2066, 2070-71 (2019) (discussing the emerging scholarly
            consensus that history supports "restrictions on concealed and open carry that enjoyed
            "widespread acceptance" in many states.), James E. Fleming & Linda C. McClain, Ordered Gun
            Liberty: Rights with Responsibilities and Regulation 94 BOSTON UNIV. L. REV. 849 (2014).

            56 See generally Aaron T. Knapp, The Judicialization of Police, 2 CRITICAL ANALYSIS L. 64
            (2015), Christopher Tomlin, Necessities of State.' Police, Sovereignty, and the Constitution, 20
            J. OF POL'Y HIST. 47 (2008), Cornell and Leonard, supra note 2.

            57 25 U.S. (12 Wheat.) 419, 442-43 (1827), see generally Thurlow v. Massachusetts (The License
            Cases), 46 U.S. (5 How.) 504 (1847).
            58 License Cases, 46 U.S. (5 How.) at 592.


                                                                                                            15
(198 of 300), Page 198 of 300
                           Case: 24-565, 04/17/20E4RD 15@: 10.7, Page 198 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 20 of 47
                                                        Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

                     One case featured in Heller, State v. Reid offers an excellent illustration of the way police
            power jurisprudence was used by antebellum judges to adjudicate claims about gun rights and
            the right of the people to regulate.59 The Reid Court observed that the state's concealed carry
            prohibition was a legitimate exercise of police power authority. "The terms in which this
            provision is phrased," the court noted, "leave with the Legislature the authority to adopt such
            regulations of police, as may be dictated by the safety of the people and the advancement of
            public morals.7960
                     Reid, it is worth recalling, was a case in which a sheriff carried a concealed pistol in
            violation of Alabama's prohibition on public carry of arms. The fact that a peace officer was
            prosecuted for carrying a weapon might seem odd given that police in modern America are
            typically armed with guns. This was not the case for the first half century after the adoption of
            the Second Amendment and its state analogues. It is also vital to read Reid against the
            background of an inherited common law tradition. "If the emergency is pressing," the Reid Court
            declared, "there can be no necessity of concealing the weapon, and if the threatened violence will
            allow of it, the individual may be arrested and constrained to find sureties to keep the peace, or
            committed to jail.7961 But the Reid Court rejected the idea of permissive public carry.62 Reid
            acknowledged a fact that many modern gun rights activists and some judges have ignored-the
            imposition of a peace bond was central to the powers of justices of the peace, constables, and
            sheriffs, who all continued to function as conservators of the peace under American law. The
            appropriate legal response to the danger posed by someone traveling armed in public was to
            impose a peace bond, a surety of the peace. Only if circumstances precluded following this
            course of action would a sheriff be justified in arming-and in that case, the correct decision was
            not to carry the weapon concealed but in the open.



            59 See generally State v. Reid, 1 Ala. 612 (1840).
            60 ld. at 616.
            61 Reid, 1 Ala. at 621.

            62 Id. (noting that the state constitutional right to bear arms "neither expressly nor by implication,
            denied to the Legislature, the right to enact laws in regard to the manner in which arms shall be
            borne. The right guaranteed to the citizen, is not to bear arms upon all occasions and in all places
                79




                                                                                                                 16
(199 of 300), Page 199 of 300
                           Case: 24-565, 04/17/20E4RD 15(3y: 10.7, Page 199 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 21 of 47
                                                        Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

            Reconstruction, the Progressive Era, and the Rise of the Modern Regulatory State

                     The Civil War and post-War developments had a profound impact on gun culture in
            American and the legal response to the proliferation of arms. Rather than mark an end to robust
            regulation of public carry, Reconstruction witnessed an intensification of such efforts.
            Republicans sought to protect the rights of African Americans to bear arms, but were equally
            insistent on enacting strong racially neutral regulations aimed at public safety.63 Indeed, the
            necessity of racially neutral gun regulations of this sort eventually was recognized by both
            Republicans and Democrats in Texas, a state in which paramilitary violence threatened public
            order and post-war stability.64 In English v. State, the Texas Supreme Court confidently affirmed
            that restrictions on public carry were "not peculiar to our own State.7965 Indeed, it concluded that
            "it [was] safe to say that almost, if not every one of the States of this union [had] a similar law
            upon their statute books, and, indeed, so far as we [had] been able to examine them, they [were]
            more rigorous than the act under consideration.7966 Even after the adoption of the Fourteenth
            Amendment, the court reasoned that good cause laws were entirely consistent with protections
            for the right to bear arms.67
                     The most important regulations on public carry were bans on concealed carry. An
            Evanston, Illinois ordinance was typical: "It shall be unlawful for any person within the limits of
            the city of Evanston to carry or wear under his clothes or concealed about his person, any pistol,




            63 For a discussion of the importance of such broad racially neutral laws aimed at demilitarizing
            the public sphere, see Darrell A. H. Miller, Peruta, The Home-Bound Second Amendment,
            and Fractal Originalism, 127 HARV. L. REV. F. 238 (2014).
            64 Mark Anthony Frassetto, The Law and Politics of Firearms Regulation in Reconstruction
            Texas, 4 TEX. A&M L. REV. 95, 113-17 (2016), Brennan G. Rivas, An Unequal Right to Bear
            Arms: State Weapons Laws and White Supremacy in Texas, 1836-1900 121 SOUTHWESTERN
            HISTORICAL QUARTERLY 284 (2020).
            65 English v. State 35 Tex. 473, 479 (1871).
            66 la.

            67 For a discussion of this case in the context of Reconstruction, see Frassetto, supra note 50 at
            113-17 (2016).


                                                                                                                  17
(200 of 300), Page 200 of 300
                           Case: 24-565, 04/17/20E4RD 15t4y: 10.7, Page 200 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 22 of 47
                                                       Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            colt or slung shot.7968 States in every region of the nation adopted similar bans.69 Some localities
            enacted more stringent bans on public carry.70 Nashville, Tennessee passed a comprehensive ban
            on public carry in 18731
                   Section 1: That every person found carrying a pistol, bowie-knife, dirk-knife, slung-
                   shot, brass knocks or other deadly weapon, shall be deemed guilty of a misdemeanor,
                   and, upon conviction of such first offense, shall be fined from ten to fifty dollars,
                   at the discretion of the court, but upon conviction of every such subsequent offense,
                   shall be fined fifty dollars, Provided, however, That no ordinary pocket knife and
                   common walking-canes shall be construed to be deadly weapons.71
            By the end of the century, Americans residing in urban areas, particularly those dwelling in the
            nation's most populous cities, were likely to be living under some form of restrictive public carry
            legal regime: bans on concealed carry, good cause permit schemes, or broad restrictions on
            public carry with good cause and affirmative self-defense exceptions."
                   The rise of permit schemes reflected profound changes in both the law and the nature of
            law enforcement.73 The traditional surety model of enforcing the peace was rooted in common


            68 George W. Hess, Revised Ordinances of the City of Evanston.' Also Special Laws and
            Ordinances of General Interest, at 131-132 (1893).
            69 1871 Ky. Acts 89, An Act to Prohibit the Carrying of Concealed Deadly Weapons, ch. 1888,
            §§ 1-2, 5, 1887 Mich. Pub. Acts 144, An Act to Prevent The Carrying Of Concealed Weapons,
            And To Provide Punishment Therefor, § 1, 1885 Or. Laws 33, An Act to Prevent Persons from
            Carrying Concealed Weapons and to Provide for the Punishment of the Same, §§ 1-2.
            70 Ordinance No. 9: Carrying Deadly Weapons, Jan. 28, 1873, reprinted in ARIZONA
            CITIZEN, Feb. 8, 1873, at 2 (Tucson, Arizona), An Ordinance to Prevent the Carrying of
            Concealed Weapons, Feb. 4, 1882, reprinted in THE WORTHINGTON ADVANCE, Feb. 9,
            1882, at 3 (Worthington, Minnesota), An Ordinance Prohibiting the Unlawful Carrying of Arms,
            May 4, 1880, reprinted in DAILY DEMOCRATIC STATESMAN, May 9, 1880, at 2 (Austin,
            TX).
            71 Chapter 108: Carrying Pistols, Bowie-Knives, Etc., Dec. 26, 1873, reprinted in
            ORDINANCES OF THE CITY OF NASHVILLE 340-41 (William K. McAlister, Jr. ed., 1881).
            72 See John Forrest Dillion, The Right to Keep and Bear Arms for Publie and Private
            Defense, 1 CENT. L.J. 259 (1874), 3 THE AMERICAN AND ENGL1SH ENCYCLOPEDiA oF LAW 408
            (1887). For modern confirmation of these assessments, see Robert J. Spitzer, Gun Law History in
            the United States and Second Amendment Rights 80 Law and Contemporary Problems 55, 68
            (2017).
            73 On the transformation of American law and the rise of the modern regulatory state, see
            William J. Novak, Common Regulation: Legal Origins of State Power in America, 45 HASTINGS
            L..I. 1061 (1994), Jed H. Shugerman, The Legitimacy of Administrative Law, 50 TULSA L. REV.

                                                                                                               18
(201 of 300), Page 201 of 300
                           Case: 24-565, 04/17/20E4RD 15l5y: 10.7, Page 201 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 23 of 47
                                                        Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            law and reflected the realities of life in the early modem Anglo-American world. This approach
            was well suited to a pre-industrial society in which members of the local gentry elite could count
            on the mechanisms of deference and a web of patron-client relationships to help them maintain
            social order.74 Slowly over the course of the nineteenth century, as America modernized,
            urbanized, and became a more diverse and highly mobile society, traditional community-based
            mechanisms of law enforcement eroded. Sureties were less effective at securing the peace in
            America's growing metropolitan cities. New institutions and processes were necessary to police
            large, heterogeneous cities. Professional police forces, special police courts, and new
            administrative agencies were better suited to maintaining social order and the peace in the urban
            world of nineteenth-century America.75 Thus, by end of the nineteenth century, permit schemes
            that took advantage of these new institutions and practices had largely supplanted the traditional
            common law mechanisms of sureties or peace bonds as the dominant method for dealing with the
            dangers posed by gun violence.
                   The culmination of this process of enforcing the peace in modem America occurred in
            the Progressive era with the enactment of New York's Sullivan Law, a comprehensive gun
            control measure that imposed limits on both the sale and ability to carry arms in public.76 The
            adoption of this law ushered in a wave of similar laws by states and localities.77 In contrast to


            301 (2015), Herbert Hovenkamp, Appraising the Progressive State 102 IOWA L. REV. 1063
            (2017).

            74 Steve Hindle, supra note 61, at 100.
            75 Eric H. Monkkonen, AMERICA BECOMES URBAN: THE DEVELOPMENT OF U.S. CITIES AND
            TOWNS, 1780-1980. at 98-108 (1995).
            76 For the historical context of the enactment of the Sullivan law, see Alexander Deconde, GUN
            VIOLENCE IN AMERICA: THE STRUGGLE FOR CONTROL (2001 ).

            77 1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale, possession, carrying,
            or use of any blackjack, slungshot, billy, sandclub, sandbag, metal knuckles, dirk, dagger or
            stiletto, and regulating the carrying and sale of certain firearms, and defining the duties of certain
            executive officers, and providing penalties for violation of the provisions of this Act, § 1, § 3-A,
            § 4, § 4-A, § 4-B, § 4-C, 917 Cal. Sess. Laws 221-225, An act relating to and regulating the
            carrying, possession, sale or other disposition of firearms capable of being concealed upon the
            person, prohibiting the possession, carrying, manufacturing and sale of certain other dangerous
            weapons and the giving, transferring and disposition thereof to other persons within this state,


                                                                                                                19
(202 of 300), Page 202 of 300
                           Case: 24-565, 04/17/20E4RD 15@/: 10.7, Page 202 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 24 of 47
                                                         Baird v. Bonita
                                                  No. 2: 19-cv-00617-KJM-AC

            earlier efforts at regulating public carry that relied on common law tools such as sureties of the
            peace and good behavior, the new modern regulatory model employed license and permitting
            schemes, an approach to regulation consistent with other reform efforts during the Progressive
            era. In addition to limits on pistols, several states enacted new laws banning dangerous and
            unusual weapons, most notably machines guns and some semi-automatic weapons.78
            Public Carry Limits in California in the Era of the Fourteenth Amendment
                      California embraced the new model of gun regulation. Although a potent mythology
            about guns in the American West has defined popular culture since the region was settled, the
            historical reality is far more complex than dime novels and Hollywood movies suggest.79 Guns
            were an important part of the western experience, but the region also enacted some of the most
            robust firearms' regulations in American history.80 California was no exception to this general
            pattern.81
                      The law adopted by Los Angeles illustrates the region's commitment to enacting broad
            gun regulations. The ordinance adopted was comprehensive in scope, and it prohibited public
            carry, "concealed or otherwise." It also gave the Mayor some discretion in prosecuting violators,
            although it did not establish a formal permit scheme.

                      [N]o persons, except peace officers, and persons actually traveling, and
                      immediately passing through Los Angeles city, shall wear or carry any dirk,
                      pistol, sword in a cane, slung-shot, or other dangerous or deadly weapon,
                      concealed or otherwise, within the corporate limits of said city, under a penalty of


            providing for the registering of the sales of firearms, prohibiting the carrying or possession of
            concealed weapons in municipal corporations, providing for the destruction of certain dangerous
            weapons as nuisances and making it a felony to use or attempt to use certain dangerous weapons
            against another, §§ 3-4, 1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the
            Possession of Firearms: § § l, 4, 5 and 6.
            78 See, et., An Act to amend the penal law, in relation to the sale and carrying of dangerous
            weapons, 1911 N.Y. LAW S Ch. 195. For a general discussion of the expansion of regulation
            after the passage of the Sullivan Act, see Spitzer, supra note 83 .
            79 Karen Jones & John Wills, THE AMERICAN WEST: COMPETING VIsIons, at 69 (2009), Richard
            Slotkin, GUNFIGHTER NATION: THE MYTH OF THE FRONTIER n TWENTIETH CENTURY AMERICA
            (1992).
            80 Adam Winkler, GUNFIGHT: THE BATTLE OVER THE RIGHT To BEAR ARMS IN AMERICA (2011).
            81 See Exhibit 1.


                                                                                                                 20
(203 of 300), Page 203 of 300
                           Case: 24-565, 04/17/205¢RD4@5t7y; 10.7, Page 203 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 25 of 47
                                                        Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

                     not more than one hundred dollars fine, and imprisonment at the discretion of the
                     Mayor, not to exceed ten days. It is hereby made the duty of each police officer of
                     this city, when any stranger shall come within said corporate limits wearing or
                     carrying weapons, to, as soon as possible, give them information and waring of
                     this ordinance, and in case they refuse or decline to obey.8z
                     Sacramento enacted a permit ordinance for public carry in 1876.83 Ordinance No. 84
            prohibited concealed carry without a permit. The punishment for violating the law was a steep
            fine. The law also made clear that the primary justification for arming was job-related travel at
            night:
                     Section 1: It shall be unlawful for any person, not being a public officer or traveler, or
                     not having a permit from the Police Commissioners of the City of Sacramento, to wear
                     or carry, concealed, any pistol, dirk, or other dangerous or deadly weapon.
                     Section 2: Any person violating the provisions of this ordinance shall be punished by a
                     fine not exceeding five hundred dollars, or by imprisonment in the city prison not
                     exceeding ten days, or by both such fine and imprisonment.
                     Section 3: The Police Commissioners of the City of Sacramento may grant written
                     permission to any peaceable person, whose profession or occupation may require him to
                     be out at late hours of the night, to carry concealed deadly weapons for his protection.
            The list of municipalities that followed the lead of Sacramento grew in the ensuing decades,
            included tiny towns such as Lompoc, and the state's largest city San Francisco. Table l lists some
            of the municipalities that adopted permit schemes between 1876-1892.84


                     Table 1: Municipal Permit Schemes in California, 1876-189285


            82 Ordinances of the City of Los Angeles, § 36, William. M. Caswell, Revised Charter and
            Compiled Ordinances and Resolutions of the City of Los Angeles 85, (1878)
            83 Ordinance No. 84: Prohibiting the Carrying of Concealed Deadly Weapons, Apr. 24, 1876,
            reprinted in CHARTER AND ORDINANCES OF THE CITY OF SACRAMENTO 173 (R.M.
            Clarken ed., 1896) (Sacramento, California).
            84 Research on this topic is still ongoing and this list is not exhaustive, but a summary of what is
            known based on existing scholarship.
            85 For the full text of these local permit ordinances, see Exhibit 1. Information on population
            statistics may be found in Population of the 100 Largest Cities and Other Urban Places in the
            United States: I 790 to 1990, Working Paper No. 27, available at
            https://www.census.gov/library/working-papers/1998/demo/POP-twps0027.html, and Twem'h
            Census of the Unites States - Population of Calzfornia by Counties and Minor Civil Divisions,


                                                                                                                21
(204 of 300), Page 204 of 300
                           Case: 24-565, 04/17/20E4RD 158/: 10.7, Page 204 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 26 of 47
                                                       Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

                    Location                          Year

                    Sacramento                                     1876
                    Napa                                           1880
                    San Francisco                                  1880
                    Santa Barbara                                  1881
                    Alameda                                        1882
                    St. Helena                                     1884
                    Fresno                                         1885
                    Lompoc                                         1888
                    Marysville                                     1889
                    Oakland                                        1890
                    Monterey                                       1892


                    The dawn of the new century did little to diminish California's interest in enacting strong
            gun regulations.86 A 1917 state law extended the limits on concealed carry in urban areas to
            include "the carrying, possession, sale or other disposition of firearms capable of being
            concealed upon the person." It also provided "for the destruction of certain dangerous weapons
            as nuisances.7987 The state enacted a comprehensive ban on machine guns in 1927.88
                    Gun regulations in California in subsequent decades of the twentieth century remained
            robust. Local and state governments responded to the problems posed by gun violence by


            Census Bulletin No. 10, Washington, D.C., October 24, 1900, available at
            https://www.census.gov/library/public ations/decennial/ 1900/bulletins/demographic/10-
            population-ca.pdf. If one calculates the number of municipalities that enacted such laws and
            compares that figure to the population of the state, more than half the state was living under a
            regulatory scheme that required permits to travel, or banned travel except for limited exceptions.
            86 Spitzer, supra note 83, at 55 .
            87 1917 Cal. Sess. Laws 221-225, §§ 3-4 ("An act relating to and regulating the carrying,
            possession, sale or other disposition of firearms capable of being concealed upon the person,
            prohibiting the possession, carrying, manufacturing and sale of certain other dangerous weapons
            and the giving, transferring and disposition thereof to other persons within this state, providing
            for the registering of the sales of firearms, prohibiting the carrying or possession of concealed
            weapons in municipal corporations, providing for the destruction of certain dangerous weapons
            as nuisances and making it a felony to use or attempt to use certain dangerous weapons against
            another.")
            88 An Act to Prohibit the Possession of Machine Rifles, Machine Guns and Submachine Guns
            Cal. Stat. 938, ch. 552, §§ 1-2 (1927), Spitzer, supra note 83.


                                                                                                             22
(205 of 300), Page 205 of 300
                           Case: 24-565, 04/17/205¢RD4@59/; 10.7, Page 205 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 27 of 47
                                                       Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            enacting new laws when necessary. Perhaps the most well-known and controversial example of
            such a regulation was the adoption of the Mulford Act shortly after the Black Panther Party
            staged a high-profile protest that included a prominent open carry display. In response to this
            action, California adopted a new more restrictive law prohibiting open carry.89 Some gun-rights
            advocates have cited this incident to argue that all gun regulation is inherently racist, a dubious
            historical claim that conflates different periods of gun regulation from different regions of the
            nation with the history of the Jim Crow South and the experience of the Black Panthers during
            the tumultuous social unrest of the l960s.90 The decision of civil rights activists to arm
            themselves in the Jim Crow South and the actions of the Panthers reflected local circumstances.
            These examples do not demonstrate the existence of a broad national consensus on the right of
            peaceful public carry, nor do they show that all efforts at gun regulation are inherently racist.
            What these examples show is that in situations where racially motivated interpersonal violence is
            common, state-sanctioned terrorism is accepted, and general lawlessness is tolerated, individuals
            and communities have responded by arming themselves. Generalizing from the facts on the
            ground in these situations is therefore both problematic and perilous. The Jim Crow South hardly
            serves as a paradigmatic example of how government and law should be structured in America.
            Gun laws in this region were notoriously lax, and enforcement of the few gun laws that did exist
            was overtly discriminatory. Local police forces were closely connected to white supremacist
            organizations such as the Ku Klux Klan and made little effort to enforce laws in neutral manner.
            Given these historical facts, claims that open-carry practices during this period in this region
            shed light on public carry in California today are misplaced and misleading.
                   The next major turning point in the debate over firearms regulation in California was the
            ban on "assault weapons" enacted after the Stockton School Massacre.91 This moment in the


            89 Adam Winkler, GUNFIGHT: THE BATTLE OVER THE RIGHT To BEAR ARMS TN AMERICA (2011),
            Katherine J. King, Heller As Popular Constitutionalism? The Overlooked Narrative of Armed
            Black Selj9Defense, 20 U. PA. J. CONST. L. 1237 (2018).
            90 Patrick J. Charles, Racist History and the Second Amendment: A Critical Commentary, 43
            CARDOZO L. REV., (2022, forthcoming).

            91 Allen Rostron, Style, Substance, and the Right to Keep and Bear Assault Weapons, 40
            CAMPBELL L. REV. 301 (2018), Jaclyn Schildkraut and Collin M. Carr , Mass Shootings,
            Legislative Responses, and Public Policy: An Endless Cycle of lnaction, 68 EMORY L.J. 1043

                                                                                                                  23
(206 of 300), Page 206 of 300
                           Case: 24-565, 04/17/20E4RD 16@/: 10.7, Page 206 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 28 of 47
                                                        Baird v. Bonita
                                                 No. 2: 19-cv-00617-KJM-AC

            struggle between gun rights and gun regulation typified a more general historical phenomenon: a
            cycle of tragedy, outrage, regulation, and backlash. The politics of modem gun regulation in
            recent years have followed this predictable cycle: sensational shootings (typically mass
            shootings) prompt new legislation, an increase in firearms sales, and a rise of gun-rights
            activism. If history is any guide to future practices and controversies, it appears likely that the
            same pattern of violence, legislation, and litigation will continue into the foreseeable future. This
            pattern continues to define much of the modern gun debate in America, including the debate
            within California.
                   One final point about history and firearms regulation is worth noting. Gun regulation and
            gun rights have been closely connected for most of American history: laws are enacted when a
            particular firearms technology achieves sufficient market penetration to create a new social
            problem requiring legislative intervention. The enactment of new laws often produces litigation,
            and courts either defer to the legislature, or in rare cases, strike down these laws as impermissible
            violations of the right to bear arms. There is usually a lag between the time when a technological
            innovation incorporated into a new type of firearm generates enough enthusiasm among gun
            owners to cause a rise in sales. Thus, until a particular gun achieves a certain level of popularity,
            it is unlikely to become associated with criminal or anti-social behavior. Legislatures and courts
            must then play catch-up to address the impact of such weapons and enact laws to address
            negative C0NS@qu@NC@S_9Z

            Conclusion
                   Limits on armed travel in public, including open carry, are of ancient vintage, stretching
            back deep into Anglo-American law. In England prior to colonization, the public carry of
            firearms was generally prohibited in populous areas, with limited exceptions for community
            defense and law enforcement, and with a legally sanctioned exception for the gentry elite. There


            (2020), Antonis Katsiyannis, Denise K. Whitford, Robin Parks Ennis, Historical Examination of
            United States Intentional Mass School Shootings in the 20th and 21st Centuries: Implications for
            Students, Schools, and Society, 27 JOURNAL OF CHILD AND FAMILY STUDIES 2562 (2018).

            92 As Robert Spitzer notes, "So, for example, fully automatic weapons, most famously the
            Tommy gun, became available for civilian purchase after World War I. But it was only when
            ownership spread in the civilian population in the mid-to-late 1920s, and the gun became a
            preferred weapon for gangsters, that states moved to restrict them. The lesson of gun regulation
            history here is that new technologies bred new laws when circumstances warranted." See supra
            note 83 at 55, 68.
                                                                                                                  24
(207 of 300), Page 207 of 300
                           Case: 24-565, 04/17/20E4RD 16111y: 10.7, Page 207 of 300
                 Case 2:19-CV-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 29 of 47
                                                        Baird v. Bonita
                                                No. 2: 19-cv-00617-KJM-AC

            is no historical evidence of an individual right for ordinary Britons to openly carry weapons
            outside of a narrow range of exceptions. In the United States, limitations on the open carry of
            weapons in populous areas were common in the Founding era and throughout the nineteenth
            century. While some states recognized an individual right to openly carry firearms for specific
            purposes, this view was largely restricted to the white citizens of slave-holding Southern states.
            In other parts of pre-Civil War America, there was a more limited right to carry for reasons of
            self-defense when a specified threat existed. During the era of the Fourteenth Amendment, the
            level of firearms regulation intensified. States and localities enacted a variety of limits on public
            carry, including bans on open carry, concealed carry, and permit schemes. Changes in law
            enforcement and the administration ofjustice, particularly in urban areas, produced greater
            convergence in the approach to firearms regulation than had been possible in antebellum
            America. By the end of the century, good cause permitting had emerged as the dominant model
            for regulating arms in public. In short, history supports robust regulation of public carry of
            firearms, including discretionary permit schemes tied to good cause requirements .
            Signed:




            Dr. Saul Cornell




                                                                                                               25
(208 of 300), Page 208 of 300
                           Case: 24-565, 04/17/20E4RD 16@: 10.7, Page 208 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 30 of 47


                                                  Saul Cornell
                              Paul and Diane Guenther Chair in American History
                                            Department of History
                                             Fordham University
           441 East Fordham Road * Bronx, NY 10458 * 203 826-6608 (c) * scorne111@fordham.edu

                                                        Education
                                                                     Dissertation: "The Political Thought
          1989      University of Pennsylvania                Ph.D. and Culture of the Anti-Federalists"
          1985    l University of Pennsylvania              l MA l History
          1982    l Amherst College                         l BA l History - Magna Cum Laude
          1980-81 l University of Sussex, Brighton, England l      i

                                              Teaching Experience
          2009-2020         Guenther Chair in American History        Fordham University
          2011-2022         Adjunct Professor of Law                  Fordham Law School
          2005-2008         Professor of History                      The Ohio State University
          1997-2005         Associate Professor, History              The Ohio State University
          1995              Thomas Jefferson Chair                    University of Leiden, The Netherlands
          1991-1997         Assistant Professor, History              The Ohio State University
          1989-1991         Assistant Professor, History              College of William and Mary

                                             Fellowships and Grants                                              I
            .   2019-2020 The Gilder Lehr ran Center for the Study of Slavery, Resistance, and Abolition, Yale
                University
            .   2018-2019 Senior Research Scholar in Residence, Floersheimer Center for Constitutional
                Democracy, Cardozo Law School
            .   2014 Senior Research Scholar in Residence, University of Connecticut Law School
            .   2011 Senior Research Scholar in Residence, Yale Law School
            •   2003-2008 Joyce Foundation, Second Amendment Center Grant, $575,000
            .   2003-2004 NEH Fellowship
            .   2002-2005 Department of Education, Teaching American History Grant, Historyworks,
                $2,000,000
            .   2002 Gilder-Lehrman Fellowship
            .   2001 -2002 Joyce Foundation Planning Grant, $40,000
            .   2001 American Council of Learned Societies (ACLS)
            .   1999-2000 Betha Grant, Batelle Memorial Endowment, Ohio Teaching Institute, $100,000
            .   1998 Thomas Jefferson Memorial Foundation, Research Fellowship
            .   1995 Thomas Jefferson Chair in American Studies, Fulbright Lecturing Award
            .   1994 Ohio State University Seed Grant
            .   1993 Ohio State University Special Research Assignment
            .   1992 Ohio State University Grant-In-Aid
            •   1989-1991 NEH Post-Doctoral Fellow, Institute of Early American History and Culture
                                                                                          1ISaul Cornell
(209 of 300), Page 209 of 300
                           Case: 24-565, 04/17/20E4RD 16(3y: 10.7, Page 209 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 31 of 47


                                                Prizes and Awards                                                I
                2006 Languor Prize in Legal History 2006
                2006 Pulitzer Nomination, History
                2006 History News Network, Book of the Month
                2006 History News Network, Top Young Historian
                2001 Society of the Cincinnati, History Book Prize, a Triennial Award for the Best Book on the
                American Revolutionary Era
                2000 Choice Outstanding Academic Book
                2000 Pulitzer Nomination History

                                                 Book Publications                                               I

         The Partisan Republic: Democracy, Exclusion, and the Fall of the Founders Constitution
         New Histories of American Law, series eds., Michael Grossberg and Christopher Tomlin (Cambridge
          University Press, 2019) [With Gerald Leonard]
         The Second Amendment On Trial: Critical Essays on District of Columbia V. Heller
         (University of Massachusetts Press, 20 13) [with Nathan Kozuskanich]
         Visions of America: A History of the United States [co-authored with Jennifer Keene and Ed O'Donnell]
          (First edition, 2009),( second edition 2013) (third edition, 2016)
         "A Well Regulated Militia": The Founding Fathers and the Origins of Gun Control (Oxford University
          Press, 2006) (paperback edition 2008)
         Whose Right to Bear Arms Did the Second Amendment Protect? (Bedford/St. Martins Press, 2000)
         (Paperback 2000)
         The Other Founders: Anti-Federalism and the Dissenting Tradition in America, 1788-1828 (Institute of
          Early American History and Culture, University of North Carolina Press, 1999) (paperback edition
          2001 )
         Editor, Retrieving the American Past: Documents and Essays on American History, (Pearson, 1994-
          2008)
                                   Scholarly Articles, Book Chapters, and Essays:

         "History and Tradition or Fantasy and Fiction: Which Version of the Past Will the Supreme
          Court Choose in NYSRPA V. Bruen?," 49 Hastings Constitutional Law Quarterly
          (2022): 145-177.
                                                                                            79
         "The Long Arc ofArms Regulation in Public: From Surety to Permitting,l328-1928,
          55 University of California, Davis Law Review (2022): 2545-2602

         "'Infants' and Arms Bearing in the Era of the Second Amendment: Making Sense of the
          Historical Record," 40 Yale Law & Policy Review Inter Alia l (2021)




                                                                                            2ISaul Cornell
(210 of 300), Page 210 of 300
                           Case: 24-565, 04/17/20E4RD 16t4y: 10.7, Page 210 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 32 of 47


         "The Right to Regulate Arms in the Era of the Fourteenth Amendment: The Emergence of Good Cause
           Permit Schemes in Post-Civil War America" 55 University of California, Davis Law Review Online
           (2021): 65-90.
         "President Madison's Living Constitution: Fixation, Liquidation, and Constitutional Politics in the
          Jeffersonian Era", 89 Fordham Law Review (2021): 176 l - 178 l .
         "History, Text, Tradition, and the Future of Second Amendment Jurisprudence: Limits on Armed Travel
           Under Anglo-American Law, 1688-1868," 83 Law and Contemporary Problems (2020): 73-95
         "Reading the Constitution, 1787-91: History, Originalism, and Constitutional Meaning." Law and
           History Review 37 (2019): 821-45
         "Constitutional Mythology and the Future of Second Amendment Jurisprudence after Heller," in
           Firearms and Freedom: The Second Amendment in the Twenty-First Century Controversies in
           American Constitutional Law Series (Routledge, 2017): 8-24
         "The Right to Keep and Carry Arms in Anglo-American Law, Preserving Liberty and
         Keeping the Peace," 80 Law and Contemporary Problems (2017): 11-54
         "Half Cocked': The Persistence of Anachronism and Presentism in the Academic Debate over the
           Second Amendment," 107 Northwestern Journal of Criminal Law 107 (2017): 203-218
         "The 1790 Naturalization Act and the Original Meaning of the Natural Born Citizen Clause: A Short
           Primer on Historical Method and the Limits of Originalism," Wisconsin Law Review Forward 92
           (2016)
         "Constitutional Meaning and Semantic Instability: Federalists and Anti-Federalists on the Nature of
           Constitutional Language," in special issue on "The Future of Legal History," American Journal of
           Legal History 56 (2016): 21-29
         "Firearm Regionalism and Public Carry: Placing Southern Antebellum Case Law in Context," Yale Law
           Journal Forum 125(2015-16):121-135 [with Eric Ruben]
         "Originalism As Thin Description: An Interdisciplinary Critique" Fordham Law Review Res Gestae 84
           (2015): 1-10
         "The Right to Bear Arms," The Oxford Handbook of the US Constitution, eds., Mark Tush ret, Sanford
           Levinson, and Mark Graber (2015): 739-759
         "Conflict, Consensus & Constitutional Meaning: The Enduring Legacy of Charles Beard" Constitutional
           Commentary 29 (2014): 383-409
         "Meaning and Understanding in the History of Constitutional Ideas: the Intellectual History Alternative
          to Originalism" Fordham Law Review 82 (2013): 721-755
         "The Right to Carry Firearms Outside of the Home: Separating Historical Myths from Historical
           Realities" Fordham Urban Law Journal 39 (2012): 1695-1726
         "Evidence, Explanation, and the Ghost of Charles Beard" William & Mary Quarterly 69 (2012): 393-4
         "Idiocy, Illiteracy, and the Forgotten Voices of Popular Constitutionalism: Ratification and the Ideology
           of Originalism" William & Mary Quarterly 69 (2012): 365-368



                                                                                              3ISaul Cornell
(211 of 300), Page 211 of 300
                           Case: 24-565, 04/17/20E4RD 16l5y: 10.7, Page 211 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 33 of 47


         "The People's Constitution V. The Lawyer's Constitution: Popular Constitutionalism and the Original
           Debate Over Originalism," Yale Journal of Law and the Humanities 23 (201 l): 295-337
         "St. George Tucker's Lecture Notes, The Second Amendment, and Originalist Methodology: A Critical
           Comment," Northwestern University Law Review 103 (2009): 406-416
         "Heller, New Originalism, and Law Office History: 'Meet the New Boss, Same as the Old Boss'" UCLA
           Law Journal 56 (2009): 1095 -1125
         "Originalism on Trial: The Use and Abuse of History in District of Columbia v. Heller" Ohio-State Law
           Journal 69 (2008): 625-640
         "Consolidation of the Early Federal System," Chapter 10 of the Cambridge History of American Law
           (Cambridge University Press, 2008) [With Gerry Leonard]
         "The Ironic Second Amendment" Albany Government Law Review 2 (2008): 292-311 .
         "The Original Meaning of Original Understanding: A Neo-Blackstonian Critique," Maryland Law
           Review (2008): 101-115
         "Mobs, Militias, and Magistrates: Popular Constitutionalism During the Whiskey Rebellion," Chicago-
          Kent Law Review (2007): 883-903
         "The Second Amendment and Early American Gun Regulation: a Closer Look at the Evidence," Law
           and History Review (2007): 197-204
         "St. George Tucker and the Second Amendment: Original Understandings and Modern
           Misunderstandings," William and Mary Law Review 47 (2006): 1123-55
         "The Early American Origins of the Modern Gun Control Debate: The Right to Bear Arms, Firearms
           Regulation, the Lessons of History," Stanford Law and Policy Review (2006): 571-596
         "Well Regulated: The Early American Origins of Gun Control," Fordham Law Review 73 (2004): 487-
          528 [With Nathan DeDino]
         "Beyond the Myth of Consensus: The Struggle to Define the Right to Bear Arms in the Early Republic,"
           in Beyond the Founders: New Essays on the Political History of the Early Republic (UNC Press, 2005)
         "A New Paradigm for the Second Amendment," Law and History Review 22 (2004): 161-7
         "Gun Laws and Policies: A Dialogue," Focus on Law Studies: Teaching about Law in the Liberal Arts
           (American Bar Association, 2003)
         "The Militia Movement," Oxford Companion to American Law (Oxford University Press, 2002)
         "Don't Know Much About History: The Current Crisis in Second Amendment Scholarship," Northern
           Kentucky Law Review (2003)
         "A Right to Bear Quills or Kill Bears? A Critical Commentary on the Linkage between the 1st and2r1d
           Amendment in Recent Constitutional Theory," in The Limits of Freedom in A Democratic Society
           (Kent State University Press, 2001)
         "The Irony of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
           Constitutional History," in American Law Ways and Folkways (Oder se University Press, Denmark
           200 l )


                                                                                           4ISaul Cornell
(212 of 300), Page 212 of 300
                           Case: 24-565, 04/17/20E4RD 16@/: 10.7, Page 212 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 34 of 47


         "Commonplace or Anachronism: The Standard Model, The Second Amendment, and the Problem of
           History in Contemporary Constitutional Theory," Constitutional Commentary (1999): 22 l -246
         "Mere Parchment Barriers? Anti-Federalists, the Bill of Rights, and the Question of Rights
          Consciousness," in Government Proscribed: The Bill of Rights (University of Virginia Press, 1998):
          175-208
         "Moving Beyond the Great Story: Post-Modern Prospects, Post-Modern Problems, A Forum on Robert
          Berkhofer, Jr. Beyond the Great Story" American Quarterly (1998): 349-357
         "The Anti-Federalists," in The Blackwell Companion to American Thought, eds., James Kloppenberg
           (London, 1995)
         "The Bill of Rights," in The Blackwell Companion to American Thought, eds., James Kloppenberg
           (London, 1995)
         "Splitting the Difference: Textualism, Contexualism, and Post-Modem History," American Studies
           (1995): 57-80
         "Canon Wars II: The Return of the Founders," Reviews in American History 22 (1994): 413-417
         "Moving Beyond the Canon of Traditional Constitutional History: Anti-Federalists, the Bill of Rights and
          the Promise of Post-Modem Historiography," Law and History Review (1994): 1-28
         "Early American History in a Post-Modern Age," William and Mary Quarterly50 (1993): 329-341
         "Liberal Republicans, Republican Liberals?: The Political Thought of the Founders Reconsidered,"
           Reviews in American History 21 (1993): 26-30
         "Politics of the Middling Sort: The Bourgeois Radicalism of Abraham Yates, Melancton Smith, and the
           New York Anti-Federalists," in New York in the Age of the Constitution (New York Historical
           Society, 1992): 151-175
         "Aristocracy Assailed: Back-Country Opposition to the Constitution and the Problem of Anti-Federalist
           Ideology," Journal of American History (1990): 1148-1172
         "The Changing Historical Fortunes of the Anti-Federalists," Northwestern University Law Review
           (1989): 39-73
         "Reflections on the 'Late Remarkable Revolution in Government,' Aedanus Burke and Samuel Bryan's
           Unpublished History of the Ratification of the Federal Constitution," The Pennsylvania Magazine of
           History and Biography (1988): 103-130
                                                     Book Reviews :
            .   Journal of American History
            .   William and Mary Quarterly
            .   American Studies Journal of the Early Republic
            .   Pennsylvania Magazine of History and Biography
            .   American Quarterly
            .   American Journal of Legal History
            .   Law and History Review
                                                 Journal Manuscript Referee:


                                                                                            5ISaul Cornell
(213 of 300), Page 213 of 300
                           Case: 24-565, 04/17/20E4RD 16t7y: 10.7, Page 213 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 35 of 47


                Journal of American History
                William and Mary Quarterly
                Diplomatic History
                Pennsylvania Magazine of History and Biography
                Law and History Review
                Harvard Law Review
                Stanford Law Review
                Yale Law Journal

                                                 Book Manuscript Reviewer:
                University Press of Virginia
                University of North Carolina Press
                Stanford University Press
                University of Massachusetts Press
                Oxford University Press
                Cambridge University Press
                University of Michigan Press
                Harvard University Press

                                                  Invited Lectures:
          Race, Regulation, and Guns: The Battleground in the Debate Over the Second Amendment,"
         Haber/Edelman Lecture: University of Vermont, Fall 202 l

          Second Amendment Myths and Realities," University of Tampa, Honors College Symposium,
           November 30, 2018.
          The Common Law and Gun Regulation: Neglected Aspects of the Second Amendment Debate," Guns
           in Law, Amherst College, Law Justice and Society (2016)
          The New Movement to End Gun Violence." UCLA Hammer Museum (2016)
          No Person May Go Armed": A Forgotten Chapter in the History of Gun Regulation" The Elizabeth
           Battelle Clark Legal History Series, Boston University College of Law, 2016
         Legacy Speaker Series: "Guns in the United States," University of Connecticut (2016) "How does the
          Second Amendment Apply to Today?"
         American Constitution Society/ Federalist Society Debate, Tulane Law School, New Orleans (2016)
          The Second Amendment and The Future of Gun Regulation: Forgotten Lessons From U.S. History,"
           Constitution Day Lecture, Goucher College, (2015)
         Keynote Lecture: "The Second Amendment and American Cultural Anxieties: From Standing Armies to
          the Zombie Apocalypse" Firearms and Freedom: The Relevance of the Second Amendment in the
          Twenty First Century, Eccles Center, British Library (Spring2015)
          Narratives of Fear and Narratives of Freedom: A Short Cultural History of the Second Amendment,"
          Comparing Civil Gun Cultures: Do Emotions Make a Difference? Max Plank Institute, Berlin (2014)

                                                                                          6ISaul Cornell
(214 of 300), Page 214 of 300
                           Case: 24-565, 04/17/20E4RD 168/: 10.7, Page 214 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 36 of 47


         "History and Mythology in the Second Amendment Debate," Kollman Memorial Lecture, Cornell
           College, Iowa (Spring, 2013)
         "Will the Real Founding Fathers Please Stand Up or Why are so few Historians Originalists"
          Constitution Day Lecture, Lehman College, Fall 201 l
         "Lawyers, Guns, and Historians: The Second Amendment Goes to Court," SHEAIWHSP Public Lecture,
           Philadelphia, July, 2008
         The Robert H. and Alma J. Wade Endowment Lecture, Kentucky Wesleyan University, "The Early
          American Origins of Gun Control" (2006)
         "Jefferson, Mason, and Beccaria: Three Visions of the Right to Bear Arms in the Founding Era," Bill of
           Rights Lecture, Gunston Hall Plantation, Fairfax, VA (2003)
         "A New Paradigm for the Second Amendment," Finlay Memorial Lecture, George Mason University,
           (2001)
         "Academic Gunsmoke: The Use and Abuse of History in the Second Amendment Debate," Cadenhead
           Memorial Lecture, University of Tulsa, (2000)
         "Why the Losers Won: The Rediscovery of Anti-Federalism in the Reagan Years," Thomas Jefferson
          Inaugural Lecture, University of Leiden, Netherlands, (1995)

                                                    Presentations:

         "From Ideology to Empiricism: Second Amendment Scholarship After Heller, " Hastings Constitutional
            Law Quarterly Symposium, Heller at Ten, January 18, 2019
         "Firearms and the Common Law Tradition," Aspen Institute, Washington, DC (2016)
         "The Original Debate over Original Meaning Revisited, " British Group in EarlyAmerican History,
           Annual Meeting, Cambridge, England (2016)
         "Second Amendment Historicism and Philosophy" The Second Generation of Second Amendment
           Scholarship" Brennan Center, NYU 2016
         "The Reception of the Statute of Northampton in Early America: Regionalism and the Evolution of
           Common Law Constitutionalism" OIEAHC and the USC/Huntington Library Early Modem Studies
           Institute May 29-30, 2015
         "The Right to Travel Armed in Early America: From English Restrictions to Southern Rights," British
           Group in Early American History, Annual Conference Edinburgh, Scotland (2014)
         "Progressives, Originalists, and Pragmatists: The New Constitutional Historicism and the Enduring
            Legacy of Charles Beard," Charles Beard, Economic Interpretation and History, Rothmere Center,
            Oxford University (2012)
         CUNY Early American Seminar, "The People's Constitution v. the Lawyer's Constitution," 2011
         Roundtable : "The Work ofJ.R. Pole," SHEAR , Philadelphia, Pennsylvania 2011)
         "The Right to Bear Arms in the Era of the Fourteenth Amendment: Gun Rights or Gun Regulation?"
           Bearing Arms, Policy, Policing, and Incorporation After Heller, Santa Clara Law School (2010)


                                                                                           7ISaul Cornell
(215 of 300), Page 215 of 300
                           Case: 24-565, 04/17/20E4RD 16@/: 10.7, Page 215 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 37 of 47


         "Re-envisioning Early American History," American Historical Association Annual Meeting, San Diego
           (20 10)
         "The Ironic Second Amendment" Firearms, the Militia, and Safe Cities: Merging History, Constitutional
           Law and Public Policy, Albany Law School ( 2007)
         "District of Columbia V. Heller and the Problem of Originalism," University of Pennsylvania
           Constitutional Law Workshop, Philadelphia ( 2007)
         "Progressives and the Gun Control Debate," American Constitution Society, Harvard Law School,
            (2006)
         "The Problem of Popular Constitutionalism in Early American Constitutional Theory," American
           Association of Law Schools, Annual Conference (2006)
         "Popular Constitutionalism and the Whiskey Rebellion," Symposium on Larry Kramer's The People
           Themselves, Chicago-Kent Law School (2005)
         Roundtable Discussion on the Second Amendment and Gun Regulation, NRA/ GMU Student's For the
           Second Amendment Symposium (2005)
         "The Early American Origins of the Modern Gun Control Debate: The Right to Bear Arms, Firearms
           Regulation, and the Lessons of History," Gun Control: Old Problems, New Problems, Joint
           Conference Sponsored by the John Glenn Institute and Stanford Law School (2005)
         "Original Rules for Originalists?" University of Minnesota Law School (2005)
         "The Fourteenth Amendment and the Origins of the Modem Gun Debate," UCLA, Legal History
           Workshop (2004)
         "Beyond Consensus, Beyond Embarrassment: The Use and Abuse of History in the Second Amendment
           Debate," American Society of Legal History, Austin, TX (2004)
         "Armed in the Holy Cause of Liberty: Guns and the American Constitution," NYU Legal History
           Colloquium (2004)
         "Digital Searches and Early American History," SHEAR Brown University (2004)
         "Well Regulated: The Early American Origins of Gun Control," The Second Amendment and the Future
           of Gun Regulation," Joint Conference Sponsored by the John Glenn Institute and Fordham Law
           School, New York (2004)
         "Minuteman, Mobs, and Murder: Forgotten Contexts of the Second Amendment," Department of
           History, University of California Berkeley (2003)
         "History VS. Originalism in the Second Amendment Debate," Federalist Society/ American Constitution
           Society, George Washington University Law School, Washington D.C. (2003)
         "Self-defense, Public Defense, and the Politics of Honor in the Early Republic," Lake Champlain Early
           American Seminar, Montreal (2003)
         "The Ironic Second Amendment" "Gun Control: Controversy, Social Values, and Policy," University of
           Delaware Legal Studies Conference, Newark, Delaware (2003)
         "Individuals, Militias, and the Right to Bear Arms: The Antebellum Debate Over Guns," Institute for
            Legal Studies, University of Wisconsin School of Law (2004)

                                                                                            8ISaul Cornell
(216 of 300), Page 216 of 300
                            Case: 24-565, 04/17/20E4RD11@?f@/: 10.7, Page 216 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 38 of 47


         "Guns in the British Atlantic World: New Research, New Directions" Society for the Historians of the
           Early American Republic, Ohio State University (2003)
         "Neither Individual nor Collective: A New Paradigm for the Second Amendment," American Bar
           Foundation, Chicago (2003)
         "The Changing Meaning of the Armed Citizen in American History," "Americanism Conference,"
           Georgetown University (2003)
         "A New Paradigm for the Second Amendment?" Supreme Court Historical Society, Washington, D.C.
           (2002)
         "Constitutional History as Cultural History: The Case of the Second Amendment" European American
           Studies Association, Bordeaux, France (2002)
         "Don't Know Much About History: The Current Crises in Second Amendment Scholarship," Salmon P.
           Chase College of Law, Symposium, "The Second Amendment Today," (2002)
         "History, Public Policy, and the Cyber-Age: Gun Control Policy after the Emerson Decision," Sanford
           Institute of Public Policy, Duke University (2002)
         "Constitutional History After the New Cultural History: The Curious Case of the Second Amendment,"
           Society of the Historians of the Early American Republic, Baltimore (2001)
         Roundtable Discussion, "The State of Second Amendment Scholarship," American Historical
           Association (200 l )
         "Armed in the Holy Cause of Liberty: Critical Reflections on the Second Amendment Debate,"
           Vanderbilt University Law School (2001)
         "Neither Individual nor Collective: A New Paradigm for the Second Amendment," Boston University
           Law School, (2000)
         "The Current State of Second Amendment Scholarship," National Press Club Washington, D.C.
           American Bar Association, (2000)
         "Taking the Hype out of Hyper-Text, Or What Should Textbook Companies Being Doing for us on the
           Web," OAH St. Louis, Missouri (1999)
         "The Ironies of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
           Constitutional Theory," European American Studies Association, Lisbon, Portugal (1998)
         "Deconstructing the Canon of American Constitutional History' American Society of Legal History,
           Seattle, Washington (1998)
         "Beyond Meta-narrative: The Promise of Hypertext," American Studies Association, Seattle,
           Washington (1998)
         "Text, Context, Hypertext," American Historical Association, Washington D.C. (1998)
         "Jefferson and Enlightenment," International Center for Jefferson Studies, Charlottesville, VA, (1998)
         "Copley's Watson and the Shark: Interpreting Visual Texts with Multi-media Technology," American
           Studies Association, Washington, D.C. (1997)
         "Multi-Media and Post-Modernism," H-Net Conference, Technology and the Future of History, East
           Lansing, Michigan (1997)

                                                                                             9ISaul Cornell
(217 of 300), Page 217 of 300
                            Case: 24-565, 04/17/20E4RD11@?fl11y: 10.7, Page 217 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 39 of 47


         Comment on Jack Rakove's Original Meanings, Society of the Historians of the Early Republic, State
           College, PA (1997)
         "Teaching with Multi-Media Technology," Indiana University, spring 1997 "Constitutional History from
           the Bottom Up: The Second Amendment as a Test Case," McGill University, Montreal, Canada
           (1996)
         "Just Because You Are Paranoid, Does Not Mean the Federalists Are Not Out to Get You: Freedom of
            the Press in Pennsylvania," University of Pennsylvania (1995)
         "Multi-Media and Post-Modernism: The Future of American Studies?" Lecture, Erasmus University,
           Rotterdam, Netherlands (1995)
         "Post-Modem American History? Ratification as a Test Case," St. Cross College, Oxford University,
           Oxford, England (1994)
         "The Other Founders," NYU Legal History Seminar," NYU Law School (1994)
         "Reading the Rhetoric of Ratification," paper presented at "Possible Pasts: Critical Encounters in Early
           America," Philadelphia Center for Early American Studies, Philadelphia, PA (1994)
         "American Historiography and Post-Modemism," Organization of American Historians, Atlanta, GA
           (1994)
         "The Anti-Federalist Origins of Jeffersonianism," Columbia Seminar on Early American History (1994)
         "American History in a Post-Modern Age?" American Historical Association, San Francisco, CA (1994)
         "Post-Modern Constitutional History?" Indiana University School of Law, Bloomington, IN (1993)
          Participant, Institute of Early American History and Culture, planning conference, "New Approaches to
            Early American History," Williamsburg, VA (1992)
         "Mere Parchment Barriers? Federalists, Anti-Federalists and the Problem of Rights Consciousness,"
           American Studies Association, Baltimore, MD (1991)
         "James Madison and the Bill of Rights: a comment on papers by Jack Rakove, Ralph Ketcham and Max
            Mintz," Organization of American Historians and Center for the Study of the Presidency Conference,
            "America's Bill of Rights at 200 Years," Richmond, VA, (1991)
         Symposium participant, "Algernon Sidney and John Locke: Brothers in Liberty?" Liberty Fund
           Conference, Houston, TX (1991 )
         "Mere Parchment Barriers? Antifederalists, the Bill of Rights and the Question of Rights
           Consciousness," Capitol Historical Society, Washington, D.C. (1991)
         "Anti-Federalism and the American Political Tradition," Institute of Early American History and Culture
         Symposium, Williamsburg, VA (1989)

                   Interviews, Editorials, Essays, Podcasts:

             .   "Clarence Thomas' Latest Guns Decision Is A historical and Anti-Originalist"
                        SLATE June 24, 2022


                                                                                            10ISaul Cornell
(218 of 300), Page 218 of 300
                            Case: 24-565, 04/17/20E4RD11@?f@: 10.7, Page 218 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 40 of 47


                Cherry-picked history and ideology-driven outcomes: Bruen's originalist
                distortions, " SCOTUSb1og (Jun. 27, 2022, 5:05 PM),

               "The Right Found a New Way to Not Talk About a School Shooting," SLATE May 25, 2022
               "The Horror in New York Shows the Madness of the Supreme Court's Looming Gun Decision,"
               Slate May 19, 2022
               "Guns, Guns Everywhere: Last week's subway Shooting was Horrifying. If the Supreme Court
               Creates a National Right to Carry, the Future will be Worse," New York Daily News Apr 17,
               2022
               "The Supreme Court's Latest Gun Case Made a Mockery of Originalism" Slate November 10,
               2021
               "'Originalism' Only Gives the Conservative Justices One Option On a Key Gun
               Case," Washington Post, November 3, 2021
               "Neither British Nor Early American History Support the Nearly Unfettered Right to Carry
               Arms," Slate November 02, 2021
               "Will the Supreme Court Create Universal Concealed Carry Based on Fantasy Originalism?"
               Slate November 1, 2021
               "Biden was Wrong About Cannons, but Right About the Second Amendment," Slate June 29,
               2021
               "Barrett and Gorsuch Have to Choose Between Originalism and Expanding Gun Rights," Slate
               April 29, 2021 Slate
               "What Today's Second Amendment Gun Activists Forget: The Right Not to Bear Arms,"
               Washington Post, January 18, 2021
               "Could America's Founders Have Imagined This?" The New Republic, December 20, 2019
               "Don't Embrace Originalism to Defend Trump's Impeachment" The New Republic, December 5,
               2019
               "The Second-Amendment Case for Gun Control" The New Republic, August 4, 2019
               "The Lessons of a School Shooting-in 1853" Politico, March 24, 2018.
               "Originalism and the Second Amendment in District of Columbia v. Heller," University of
               Chicago Law Review, Podcast, Briefly 1.9, Wed, 04/11/2018
               "Sandy Hook and the Original Meaning of the Second Amendment," Time December, 2017
               "The State of the Second Amendment," National Constitution Center, Podcast October, 2017
               "Gun Anarchy and the Unfree State: The Real History of the Second Amendment," The 8aj§'ler
               On-line October 2017
               "Five Types of Gun Laws the Founding Fathers Loved" Salon October 22, 2017
               "Half Cocked," Book Forum April 2016
               "Let's Make an Honest Man of Ted Cruz. Here's how we Resolve his "Birther" Dilemma with
               Integrity" Salon January 23, 2016
               "Guns Have Always Been Regulated," The Atlantic Online December 17, 2015
               "The Slave-State Origins of Modem Gun Rights" The Atlantic Online 30, 2015 [with Eric
               Ruben]
               PBS, "Need to Know: 'Debating the Second Amendment: Roundtable'" April 26, 2013
               "All Guns are not Created Equal" Jan 28, 2013 Chronicle of !-Iigher Education [with Kevin
               Sweeney]


                                                                                          11ISaul Cornell
(219 of 300), Page 219 of 300
                            Case: 24-565, 04/17/20E4RD11@?f(3y: 10.7, Page 219 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 41 of 47


                "What the 'Right to Bear Arms' Really Means" Salon January 15, 2011 "Elena Kagan and the
                Case for an Elitist Supreme Court," Christian Science Monitor May 20, 2010
                "Gun Points," Slate, March 8, 2010 (With Justin Florence, and Matt Shors)
                "What's Happening to Gun Control," To the Point, NPR. March 11, 2010
                "Getting History Right," National Law Journal, March 1, 2010
                "History and the Second Amendment," The Kojo Nnamdi Show , WAMU (NPR) March 17, 2008
                "The Court and the Second Amendment," On Point with Tom Ashbrook, WBUR (NPR) March
                17, 2008
                "Aim for Sensible Improvements to Gun Regulations," Detroit Free Press, April 29, 2007
                "A Well Regulated Militia," The Diane Rehm Show, WAMU (NPR) Broadcast on Book TV
                ( 2006)
                "Taking a Bite out of the Second Amendment," Histolg News network,January 30, 2005
                "Gun Control," Odyssey, Chicago NPR September 8, 2004
                "Loaded Questions," Washington Post Book World February 2, 2003
                "The Right to Bear Arms," Interview The Newshour, PBS May 8, 2002
                "Real and Imagined," New York Times, June 24, 1999


                                          Other Professional Activities                                        n

                Editorial Board, Constitutional Study, University of Wisconsin Press (20l4-present)
                Advisory Council, Society of Historians of the Early American Republic (SHEAR) (2007-2009)
                Program Committee, Annual Conference, Society of the Historians of the Early American
                Republic, Philadelphia, PA 2008
                Editorial Board, American Quarterly (2004-2007)
                Director, Second Amendment Research Center, John Glenn Institute for Public Service and
                Public Policy, 2002- 2007
                Fellow, Center for Law, Policy, and Social Science, Moritz College of Law, Ohio State
                University 200 l - 2004
                Local Arrangements Committee, Annual Conference, Society of the Historians of the Early
                American Republic, Columbus, OH 2003
                Project Gutenberg Prize Committee, American Historical Association, 2004, 2002
                Program Committee, Annual Conference, Society of the Historians of the Early Republic, 200 l
                Co-Founder Ohio Early American Studies Seminar
                NEH Fellowship Evaluator, New Media Projects, Television Projects
                Multi-media Consultant and Evaluator, National Endowment for the Humanities, Special,
                Projects, Division of Public Programs, Grants Review Committee (1999)


                        Court Citations, Amicus Briefs and Expert Witness Reports                              I

                                                 US Supreme Court:

         N.Y State Rifle & Pistol Ass'n V. Bruen, 597 U.S.   7   50 2022 U.S. Lexis 3055 (2022)


                                                                                           12ISaul Cornell
(220 of 300), Page 220 of 300
                            Case: 24-565, 04/17/20E4RD11@W4y: 10.7, Page 220 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 42 of 47


         N.Y State Rifle & Pistol Ass'n V. Bruen, 597 U.S.     7   26, 28, 45, 47 2022 U.S. Lexis 3055 (2022)
         (Breyer, J. dissenting)

         McDonald V. City of Chicago, Ill., 561 U.S. 742, 900, 901 n.44 (2010) (Stevens, J., dissenting).
         McDonald V. City of Chicago, Ill., 561 U.S. 742, 914, 933 (2010) (Breyer, J., dissenting).
         D.C. V. Heller, 554 U.S. 570, 666 n.32, 671, 685 (2008) (Stevens, J., dissenting).

                                                     Federal Courts:

         United States of America, V. Graylan Steve Johnson,United States District Court, S.D. Florida.
         February 20, 2023 Slip Copy 2023 WL 2308792

         United States V. Posey, United States District Court, N.D. Indiana, Hammond Division. February 09,
         2023 Slip Copy 2023 WL 1869095

         United States V. Combs, United States District Court, E.D. Kentucky, Central Division., (at Lexington).
         February 02, 2023 Slip Copy 2023 WL 1466614

         United States V. Barber, United States District Court, E.D. Texas, Sherman Division. January 27, 2023
         Slip Copy 2023 WL 1073667

         Range v. Att'y Gen. United States, No. 21-2835, 2022 WL 16955670 (3d Cir. Nov. 16, 2022).

         Antonyuk v. Hochul, No. 122CV0986GTSCFH, 2022 WL 16744700 (N.D.N.Y. Nov. 7, 2022).

         United States V. Bullock, No. 3:18-CR-165-CWR-FKB, 2022 WL 16649175 (S.D. Miss. Oct. 27, 2022).

         United States of Am. v. Riley, No. 1:22-CR-163 (RDA), 2022 WL 7610264 (E.D. Va. Oct. 13, 2022).

         United States V. Coon bes, No. 22-CR-00189-GKF, 2022 WL 4367056 (N.D. Okla. Sept. 21, 2022)

         United States V. Medrano, United States District Court, N.D. West Virginia, Martinsburg. January 06,
         2023 Slip Copy 2023 WL 122650

         United States V. Coleman, United States District Court, N.D. West Virginia, Martinsburg. January 06,
         2023 Slip Copy 2023 WL 122401

         United States V. Gains, United States District Court, E.D. Kentucky, Central Division., Lexington.
         December 21, 2022 --- F.Supp.3d ---- 2022 WL 17836677

         Reese V. Bureau ofAlcohol Tobacco Firearms & Explosives, United States District Court, W.D.
         Louisiana, Lafayette Division. December 21, 2022 --- F.Supp.3d ---- 2022 WL 17859138




                                                                                              13ISaul Cornell
(221 of 300), Page 221 of 300
                            Case: 24-565, 04/17/20E4RD11@W5y: 10.7, Page 221 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 43 of 47


         South Bay Rod & Gun Club, Inc. V. Bonita, United States District Court, S.D. California. December 19,
         2022 --- F.Supp.3d ---- 2022 WL 17811113

         Miller V. Banta, United States District Court, S.D. California. December 19, 2022 --- F.Supp.3d ----
         2022 WL 17811114

         Nat'l Ass'n for Gun Rts., Inc. V. City of San Jose, No. 22-CV-00501-BLF, 2022 WL 3083715 (N.D. Cal.
         Aug. 3, 2022).

         Jones V. Banta, United States Court ofAppeals, Ninth Circuit. May 11, 2022 --- F.4th ---- 2022 WL
         1485187.

         Duncan V. Banta, United States Court ofAppeals, Ninth Circuit. November 30, 2021 19 F.4th 1087
         2021

         Young V. Hawaii, 992 F.3d 765, 785-86 (9th Cir. 2021) (en banc).

         Kanter V. Barr, 919 F.3d 437, 446 n.6, 457, 462, 464 (7th Cir. 2019) (Barrett, J., dissenting).
         Medina V. Whitaker, 913 F.3d 152, 159 (D.C. Cir.), cert. denied sub nom. Medina V. Barr, 140 S. Ct.
          645 (2019).
         Young V. Hawaii, 896 F.3d 1044, 1066 (9th Cir. 2018), reh'g en banc granted, 915 F.3d 681 (9th Cir.
          2019).
         Young V. Hawaii, 896 F.3d 1044, 1077 (9th Cir. 2018) (Clifton, J., dissenting), reh'g en banc granted,
          915 F.3d 681 (9th Cir. 2019).
         Teixeira v. Cty. ofAlameda, 873 F.3d 670, 684-85 (9th Cir. 2017).

           Kolbe V. Hogan, 813 F.3d 160, 175 (4th Cir. 2016), on reh'g en bane. 849 F.3d 114 (4th Cir. 2017).
         Binderup V. Attorney Gen. United States of Am., 836 F.3d 336, 348 (3d Cir. 2016).

         Binderup V. Attorney Gen. United States of Am., 836 F.3d 336, 370-71, 371 n.17, 372 n.19 (3d Cir.
          2016) (Hardiman, J., concurring) .

           Binderup V. Attorney Gen. United States of Am., 836 F.3d 336, 389 n.85, 405 n.187 (3d Cir. 2016)
           (Fuentes, J., concurring).
         Peruta V. Cty. of San Diego, 824 F.3d 919, 935 (9th Cir. 2016).

         Peruta V. Cty. of San Diego, 742 F.3d 1144, 1185, 1188 (9th Cir. 2014) (Thomas, J., dissenting).

         Nat'l Rifle Ass'n, Inc. V. Bureau ofAlcohol, Tobacco, Firearms, & Explosives, 714 F.3d 334, 342 n. 19,
          343 n.23 (5th Cir. 2013) (Jones, J., dissenting).




                                                                                              14ISaul Cornell
(222 of 300), Page 222 of 300
                            Case: 24-565, 04/17/20E4RD11@?f@/: 10.7, Page 222 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 44 of 47


         Kachalsky V. Cty. of Westchester, 701 F.3d 81, 95 & n.21 (2d Cir. 2012).

         Moore V. Madigan, 702 F.3d 933, 935 (7th Cir. 2012).
         Nat'l Rifle Ass'n of Am.. Inc. V. Bureau of Alcohol. Tobacco, Firearms, & Explosives, 700 F.3d 185,
          200, 202-03 (5th Cir. 2012).
         United States V. Carpio-Leon, 701 F.3d 974, 980 (4th Cir. 2012).
         United States V. Greeno, 679 F.3d 510, 519 (6th Cir. 2012).
         United States V. Yancey, 621 F.3d 681, 684 (7th Cir. 2010).
         United States V. Rene E., 583 F.3d 8, 12, 15-16 (1st Cir. 2009).
         Miller V. Sessions, 356 F. Supp. 3d 472, 481 (E.D. Pa. 2019).
         Grace v. D.C., 187 F. Supp. 3d 124, 138 n.11 (D.D.C. 2016).
         Powell V. Tompkins, 926 F. Supp. 2d 367, 386 (D. Mass. 2013), affd. 783 F.3d 332 (1st Cir. 2015).
         United States V. Tooley, 717 F. Supp. 2d 580, 589-591 (S.D.W. Va. 2010), affd, 468 F. App'x 357 (4th
          Cir. 2012).
         United States v. Boffil-Rivera, No. 08-20437-CR, 2008 WL 8853354, 6 (S.D. Fla. Aug. 12, 2008),
          report and recommendation adopted sub nom.
         United States V. Gonzales-Rodriguez, No. 08-20437-CR, 2008 WL 11409410 (S.D. Fla. Sept. 22, 2008),
          affd sub nom.
         United States v. Boffil-Rivera, 607 F.3d 736 (nth Cir. 2010).

                                                      State Courts:

         Norman V. State, 215 So. 3d 18, 30 & nn.11-12 (Fla. 2017).
         Posey v. Com., 185 S.W.3d 170, 179-180 (Ky. 2006).
         Posey V. Com., 185 S.W.3d 170, 185 n.3 (Ky. 2006) (Scott, J., concurring).
         State v. Craig, 826 N.W.2d 789, 796 (Minn. 2013).
         People V. Handsome, 846 N.Y.S.2d 852, 858 (N.Y. Crim. Ct. 2007).
         Zaatari v. City of Austin, No. 03-17-00812-CV, 2019 WL 6336186, 22 (Tex. App. NOV. 27, 2019)
          (Kelly, J., dissenting).
         State v. Roundtree, 2021 WI 1, 395 Wis. 2d 94, 952 N.W.2d 765
         State V. Christen, 2021 WI 39, 958 N.W.2d 746


                                                      Amicus Briefs :
          Amicus Brief, Harper V. Moore, No. 21-1271 (U.S. Supreme Court, 2022) [ISLT and
          Gerrymandering]

                                                                                          15ISaul Cornell
(223 of 300), Page 223 of 300
                            Case: 24-565, 04/17/20E4RD11@?ft7y: 10.7, Page 223 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 45 of 47


          Amicus Brief KOX v. STATE OF GEORGIA, SUPREME COURT STATE OF GEORGIA Case
          No. S23A0167 [Second Amendment and Campus Carry]

          Amicus Brief, NYSRPA v. Breen,No. 20-843 (U.S. Supreme Court, 2021) [2nd Amendment]

          Amicus Brief, Young v. State of !-Iawaii N O . 12-17808 (9th Cir. 2020) [2nd Amendment]

          Amicus Brief Gould v. Morgan, No. 17-2202 (1st Cir. 2018) [2nd Amendment]

          Amicus Brief, Flanagan vs. Becerra, Central District of California Case (2018) [Znd Amendment]

          Amicus Brief, Gill V. W71izford (US Supreme Court, 2017) [Partisan Gerrymandering]

          Amicus Brief Woollard v Gallagher, (4th Cir. 2013) [Second Amendment]

          Amicus Brief Heller v. District of Columbia [Heller II] (US Court of Appeals for D.C.) (2010) [2nd
          Amendment]

          Amicus Brief, McDonald V. City of Chicago (US Supreme Court,2010) [14th Amendment]

          Amicus Brief, District of Columbia V. Heller (US Supreme Court 2008) [2nd Amendment]
                                                             h
          Amicus Brief, Silvera V. Lockyer, case on appeal( it Circuit 2003) [2nd Amendment]
                                                        h
          Amicus Brief, Emerson V. U.S. case on appeal (St Circuit 1999) [2nd Amendment]

          Pro-bono Historical Consultant State of Ohio, Mcintyre V. Ohio, (U.S. Supreme Court, 1995) [1st
          Amendment]



                                                    Expert Witness Reports

         Rocky Mountain Gun Owners, Nonprofit Corp. v. Hickenlooper, 14-cv-02850 (D. Colo.).
         Chambers, et al., v. City of 8oulder, 2018 CV 30581 (Colo. D. Ct. City of Boulder, filed June 14, 2018).
         Zeleny V Newsom, 14-cv-02850 (N.D. Ca1.).
         Miller et al V Smith, et al., 2018 CV 3085 (C.D. 111.).
         Jones v. 8onta United States Court ofAppeals, --- F.4th ---- , 2022 WL 1485187 (9th Cir., May 11,
         2022).
         Baird v. 8onta, No. 2:19-cv-00617 (E.D. Ca1.).
         Worth v. Harrington, 21-cv-1348 (D. Minn.).




                                           Law Review Symposia Organized

                                                                                            16ISaul Cornell
(224 of 300), Page 224 of 300
                            Case: 24-565, 04/17/20E4RD11@?f8/: 10.7, Page 224 of 300
                   Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 46 of 47


              Second Amendment:
          "The Second Amendment and the Future of Gun Regulation: Historical, Legal, Policy, and Cultural Perspectives," 73
         Fordham L. Rev. 487 (2004).
         "Gun Control: Old Problems, New Paradigms" 17 Stan. L. & Pol'y Rev. 671 (2006).
         "A Symposium on Firearms, the Militia and Safe Cities: Merging History, Constitutional Law and Public Policy," 1 Alb.
         Gov 't L. Rev. 292 (2008).
         "The 2nd Amendment at the Supreme Court: "700 Years of History" and the Modern Effects of Guns in Public," 55 U C .
         Davis L. Rev. 2545 (2022).
                 New Originalism:
         "The New Originalism" 82 Fordham L. Rev. 721 (2013).
         "Historians and the New Originalism: Contextualism, Historicism, and Constitutional Meaning"84 Fordham L. Rev. 915
         (2015).




                                                                                                         17ISaul Cornell
(225 of 300), Page 225 of 300
                            Case: 24-565, 04/17/20E4RD11@?f@/: 10.7, Page 225 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-7 Filed 08/18/23 Page 47 of 47



                                          CERTIFICATE OF SERVICE
            Case Name:       Baird, Mark v. Rob Bonita               No.     2:19-cv-00617-KJM-AC

            I hereby certify that on August 18, 2023, I electronically filed the following documents with the
            Clerk of the Court by using the CM/ECF system:

            EXPERT DECLARATION AND REPORT OF PROFESSOR SAUL
            CORNELL, PH.D.
            I certify that all participants in the case are registered CM/ECF users and that service will be
            accomplished by the CM/ECF system.
            I declare under penalty of perjury under the laws of the State of California and the United States
            of America the foregoing is true and correct and that this declaration was executed on August 18,
            2023, at Los Angeles, California.


                            Lara Haddad                                  4m@y§/444244
                             Declarant                                           Signature


            sA2019101934
            66168201 .doc
(226 of 300), Page 226 of 300
                           Case: 24-565, 04/17/20E4RD 18@/: 10.7, Page 226 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 1 of 16


             1    ROB BONTA              .    .
                  Attornef General of Calrfornra
             2    MARK ... BECKH GTON
                  Supervrsrng Deputy Attorney General
             3    LARA HADDAD
                  Deput Attorne/ General
             4    State ar No. 3. 9630         .
                   300 South Spur Street Sulte 1702
             5     Los Angeles, C 90013-1230
                   Telephone: (313) 269-6250
             6     Fax: 916)7 1- 124         .
                   E-1na1 : Lara.Haddad@do].ca.gov
             7    Attorneys for Defendant Attorney General Rob
                  Bonita
             8
                                    IN THE UNITED STATES DISTRICT COURT
             9
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
            10
            11
            12
            13    MARK BAIRD and RICHARD                     2: 19-CV-00617-KJM-AC
                  GALLARDO,
            14                                               EXPERT REPORT AND
                                                  Plaintiff, DECLARATION OF FORMER COVINA
            15                                               CHIEF OF POLICE KIM RANEY
                              v.
            16
            17    ROB BONTA, in his official capacity
                  as Attorney General of the State of
            18    California, and DOES 1-10,
            19                                Defendants.
            20

            21
            22

            23

            24

            25

            26

            27

            28

                                                         1
(227 of 300), Page 227 of 300
                           Case: 24-565, 04/17/20E4RD 18111y: 10.7, Page 227 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 2 of 16


              1              EXPERT REPORT AND DECLARATION OF KIM RANEY
              2        I am a retired Chief of Police of the Covina (California) Police Department.
              3   Counsel for Defendant Attorney General of California Rob Bonita has asked me to
              4   offer an expert opinion in the above-entitled case. I have previously submitted an
              5   expert report in this matter, this report contains the same substance as the
              6   previously-submitted report, and contains non-substantive edits.
              7   I.   BACKGROUND AND QUALIFICATIONS

              8        In October 2016, I retired as the Chief of Police for the Covina Police
              9   Department (Department), after 39 years of law-enforcement service. I served as
            10    Chief of Police for 15 years, as a Captain for one year, as a Lieutenant for 10 years,
            11    as a Sergeant for seven years, and as a police officer for six years. I also served as
            12    interim city manager of the City of Covina for four months.
            13         As Chief of Police, I was responsible for the delivery of public-safety services
            14    to a community of 50,000 residents, and the leadership of 100 employees of the
            15    Department. This work included compliance with all local, state, and federal
            16    mandates, and enforcement and implementation of existing and new policies, as
            17    well as ensuring that the Department was a leader in engaging with emerging issues
            18    or trends in the criminal-justice system. I was Chief of Police on December 24,
            19    2008, when nine family members in my community were shot and killed at a family
            20    holiday celebration, and I provided leadership to the community during this
            21    tragedy.
            22         As a Captain, I was responsible for the Department's Administrative Division,
            23    which included oversight of detectives, the 9-1-1 communications center, custody
            24    of suspects, and property/evidence.
            25         As a Lieutenant, I served as a watch commander overseeing patrols on a daily
            26    basis, as well as the auditing, training, and compliance for Department employees.
            27    I also supervised the Detective Division, which was accountable for investigating
            28    all crimes reported to the Department. I also helped to create and supervise a

                                                            2
(228 of 300), Page 228 of 300
                           Case: 24-565, 04/17/20E4RD 18@: 10.7, Page 228 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 3 of 18


             1   regional mutual-aid platoon comprised of 56 officers from 15 area police
             2   departments, responsible for activation and deployment in response to any regional
             3   emergency or disaster. This work included the creation of a policy manual and
             4   activation protocols, and coordination of the training for over 100 police officers in
             5   topics such as riot response, crowd control, and command-and-control for team
             6   leaders.
             7        As a Sergeant, I was responsible for the first-line supervision of police officers
             8   and detectives, including tactical leadership on critical service calls, daily training,
             9   evaluation of employees, and supervision of the field training program.
            10        As a police officer, I was a first responder to all public-safety calls for service.
            11   When assigned as a detective, I worked narcotics investigations, regional
            12   surveillance, and undercover operations.
            13        I am Past President of the California Police Chiefs Association. In my role
            14   with the California Police Chiefs Association, I spent five years on the Executive
            15   Board of Directors, culminating in my service as President in 2013. I was involved
            16   in discussions with state and local elected officials on all major legislative or ballot
            17   propositions involving law enforcement, including meetings with the Governor and
            18   Attorney General on major public-safety issues, legislation, and initiatives. I am
            19   also Past President of the Los Angeles County Police Chiefs Association. I was
            20   one of two California police chiefs to serve on the Stanford Executive Session on
            21   Public Safety Realignment, which refers to legislation passed in 2011, and
            22   sometimes known as Assembly Bill 109, that shifted responsibility for monitoring,
            23   tracking, and incarcerating non-serious, non-violent, DOH-S€X offenders from
            24   California state to the counties. A report based on the Executive Session's work
            25   was submitted to the California State Legislature and the Governor, and is available
            26   on the Internet at the following link: https://law.stanford.edu/wp-
            27   content/uploads/2015/10/ES-Consensus-Report-final-report.pdf.
            28

                                                            3
(229 of 300), Page 229 of 300
                           Case: 24-565, 04/17/20E4RD 18(3y: 10.7, Page 229 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 4 of 16


             1         From 2013-2015, I served on the Executive Steering Committee for the
             2    California Board of State and Community Corrections, which committee was
             3    tasked with creating a new definition of the term "recidivism" for statewide use,
             4    pursuant to Assembly Bill 1050.
             5         More generally, I have lectured to law-enforcement leaders and elected
             6    officials throughout California and the United States on issues such as leading a
             7    community in dealing with a mass shooting, the decriminalization of marijuana and
             8    its impact on communities, and public-safety realignment (Assembly Bill 109) in
             9    California.
            10         I have received numerous awards throughout my career, including the Joe
            11    Malloy Award, the most prestigious award that the California Police Chiefs
            12    Association presents. This award is presented to one California police chief every
            13    year, and is bestowed based upon the recipient's professionalism, leadership, and
            14    contributions to and impacts on the profession of law enforcement.
            15         I have a Bachelor of Science Degree in Organizational Leadership from Azusa
            16    Pacific University. I have a certificate for completing an eight-month law-
            17    enforcement-oriented program at the University of Southern California School of
            18    Public Policy, as well as a certificate for completing 40 hours of training at the FBI
            19    Southwest Command College.
            20         A copy of my current resume is attached to this declaration as Exhibit A. This
            21    lists all publications, including those publications authored by me within the last ten
            22    years. This includes an article that I wrote for the International Association of
            23    Chiefs of Police, titled "Proposition 19: California's Marijuana Legalization
            24    Debate," which appeared in the October 2010 issue of The Police Chief Magazine.
            25    A portion of this publication is available on the Internet at the following link:
            26    http://www.policechiefmagazine.org/proposition-19-califomias-marijuana-
            27    legalization-debate.
            28

                                                            4
(230 of 300), Page 230 of 300
                           Case: 24-565, 04/17/20E4RD 18t4y: 10.7, Page 230 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 5 of 16


             1         I have testified as an expert in depositions or at trial in the following cases:
             2    Flanagan V. Beeerra (C.D. Cal. No. 2:16-cv-06164-JAK-AS), Forsyth, Holliday,
             3    ana' Shea V. City of Buena Park Police Department (Orange County Super. Ct.
             4    BUOl0-037), Moreno, et al. v. City of Beverly Hills (Los Angeles Super. Ct.
             5    BC687003), and in this matter, Baird V. Bonita (E.D. Cal. No. 2: 19-00617-KJM-
             6    AC). I have also provided a written expert report in Nichols V. Newsom (C.D. Cal.
             7    No. ll-cv-09916-SJO-SS).
             8         I am being compensated for services performed in the above-entitled case at
             9    an hourly rate of $250 for reviewing materials, participating in meetings, and
            10    preparing reports, and $350 for depositions and court appearances (including travel
            11    time). My compensation is not in any way dependent on the outcome of this or any
            12    related proceeding, or on the substance of my opinion.
            13         Materials Reviewed
            14         Counsel for Defendant has provided me, and I have reviewed, the relevant
            15    pleadings in the above-entitled case.
            16         I prepared an expert report in Flanagan V. Becerra (ECF No. 45-13) that is
            17    substantially similar to this declaration. In the course of preparing that report, I
            18    reviewed the following materials:
            19         .   Papers filed in Flanagan V. Becerra (CD. Cal. No. 2: l6-cv-06l64-JAK-
            20             AS): Complaint for Declaratory and Injunctive Relief (ECF No. l), Notice
            21             of Motion and Motion to Dismiss Complaint for Declaratory and Injunctive
            22             Relief (ECF No. 24).
            23         .   Papers filed in this matter, Nichols V. Brown (9th Cir. No. 14-55873):
            24             Appellees' Brief (ECF No. 36-1), Brady Center to Prevent Gun Violence's
            25             Motion for Leave to File Amicus Brief in Support of Defendants-Appellees
            26             (ECF No. 41-1), Motion for Leave to File Brief of Amicus Curiae Law
            27             Center to Prevent Gun Violence in Support of Appellees and Affirmance
            28             (ECF No. 44-1).
                                                             5
(231 of 300), Page 231 of 300
                           Case: 24-565, 04/17/20E4RD 188/: 10.7, Page 231 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 6 of 16


             1              Manny Fernandez, Alan Blinder, and David Montgomery, "Texas Open-
             2              Carry Laws Blurred Lines Between Suspects and Marchers," N Y Times,
             3              July 10, 2016.
             4              California Penal Code sections 25400, 25600, 25605, 25655, 25850,
             5              26150, 26155, 26160, 26165, 26170, 26350, 26361, 26362, 26364, 26366,
             6              26377, 26378, 26383, 26389, 26400, and 26405.
             7              Analyses of Assembly Bill 144 (2011-2012 Reg. Sess.): Assembly Public
             8              Safety Committee Analysis (Apr. 12, 2011), Senate Public Safety
             9              Committee Analysis (Jun. 7, 2011), Senate Floor Analysis (Jun. 28, 2011).1
            10              Analyses of Assembly Bill 1527 (2011-2012 Reg. Sess.): Assembly Public
            11              Safety Committee Analysis (Mar. 27, 2012), Assembly Appropriations
            12              Committee Analysis (Apr. 18, 2012), Senate Public Safety Committee
            13              Analysis (June 26, 2012), Senate Floor Analysis (Aug. 23, 2012).2
            14              San Mateo County Sheriff' s Office, "Unloaded Open Carry" (Jan. 14,
            15              2010) .
            16         Other than these materials, the materials that I have relied upon are cited in the
            17    notes accompanying the text of this report.
            18         Opinions
            19         Counsel for Defendant has asked me to express opinions on how restrictions
            20    on the open cany of firearms affect public safety. My overall opinion on this
            21    question is that restrictions on the open cany of firearms greatly enhance public
            22    safety.
            23         From a law-enforcement perspective, the restrictions on the open carry of
            24    firearms in California have been critical to the safety of law-enforcement officers,
            25
                  1 Available at      .                      .
            26    htgs ://leginfo.leglslature.ca. gov/faces/b1llAnalysisClient.xhtml?bil1_id=201120120
                  A 144 Q
            27    2 Available at
                  ht8)s ://leglnfo.leg1slature.ca.gov/faces/billAnalysisClient.xhtml?bill id=201120120
                                                                                        _
            28    A 1527.
                                                            6
(232 of 300), Page 232 of 300
                           Case: 24-565, 04/17/20E4RD 18@/: 10.7, Page 232 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 7 of 16


             1    our communities, and those people who would want to openly carry firearms in
             2    public. Law-enforcement officers are taught that guns can be a dangerous and
             3    deadly threat to their safety and the safety of the public they serve. Throughout a
             4    police officer's career, his or her training emphasizes officer-safety tactics that
             5    place the officer in positions of advantage when dealing with incidents involving
             6    firearms. Police officers understand that any encounter involving a firearm can be
             7    both dangerous and grave. When police respond to a "man with a gun" call,
             8    officers typically are responding to a situation about which they have few details,
             9    other than that a person is at a location, the person is armed, and perhaps a
            10    description of the person. At least two police officers will be dispatched to each of
            11    these types of calls, which are of the highest priority. Upon arrival, the officers
            12    must rapidly assess the armed person's behavior in regards to the public's safety,
            13    the armed person's safety, and the officers' own safety. The officers may have no
            14    idea about the armed person's motives, intent, mental condition, or emotional
            15    stability. The armed person's behavior and ability or failure to comply with law
            16    enforcement's instructions will have great bearing on the outcome of the contact.
            17    Should the armed person fail to comply with an officer's instructions or move in a
            18    way that could be construed as threatening, the results could be deadly.
            19         In the event of a call for service regarding a violent crime involving a firearm,
            20    an environment that allows the open carry of firearms complicates the police
            21    response, and could unnecessarily divert critical police resources from the primary
            22    event. On a call about an armed robbery, officers will be given the location of the
            23    event as well as a description of the suspect, if that information is obtainable from
            24    any witnesses. Any person in, around, or leaving the area of the crime who
            25    matches the description provided has a high likelihood of being detained by
            26    responding law-enforcement personnel. The current restrictions on open carry in
            27    California help ensure that law-enforcement resources are not unnecessarily
            28

                                                             7
(233 of 300), Page 233 of 300
                            Case: 24-565, 04/17/20E4RD11@8tTy: 10.7, Page 233 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 8 of 16


              1   diverted or distracted by people who are in the vicinity and carrying firearms, and
              2   may generally match the description provided by witnesses.
              3        When police officers encounter a person with a firearm, even one that may be
              4   legally possessed, officers usually have few details to help them quickly determine
              5   the armed person's intent or whether that person is a threat to the officer, the public,
              6   or the armed person. Split-second decisions sometimes have to be made, and
              7   unintended consequences can and do occur. The split-second decision police
              8   officers have to make may be judged by other people who have the luxury of time,
              9   additional information, and a controlled environment that the police officers did not
             10   have.
            11         In the event of an active shooter, the presence of civilians openly carrying
            12    firearms has the potential to create deadly scenarios, as well as delaying first
            13    responders from the primary mission, to stop the shooter and save lives. As
             14   appropriately stated by Dallas Chief of Police David Brown in the aftermath of an
             15   active shooter in Dallas at a community protest that included the presence of openly
             16   carrying civilians where the shooter caused the deaths of five police officers and
             17   the wounding of nine officers and two civilians "We don't know who the good
            18    guy is versus the bad guy when everyone starts shooting.973
             19         The criminal-justice system in California is currently recalibrating itself, and
             20   law-enforcement resources are both limited and at a premium. After years of
            21    declining crime rates, violent crime in California has ticked upward in recent
            22    years.4 This trend requires law-enforcement resources to be reevaluated and
            23    deployed for maximum effectiveness in their communities, to slow or stop this
             24   troubling trend. In addition, law-enforcement officers have increasingly become
             25
             26   3 Molly.Hennessy-Fiske, "Dallas Police Chief: Open can? Makes Things
                  Confusing During Mass Shootings," Los Angeles Times ( ul. 11, 2016) .
             27   4 Public Policy Institute of California, "Crime .Trends in California" (Aug. 2016),
                  This study de Ines "violent
                                        `        .
                                               crimes "as "homlclde, rape, robbery and aggravated
            28    assault." See https://www.ppic.org/data-set/crime-rates-in-california/.
                                                             8
(234 of 300), Page 234 of 300
                           Case: 24-565, 04/17/20E4RD 188/: 10.7, Page 234 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 9 of 16


             1    the safety net and first responders for a myriad of social issues, including
             2    homelessness and mental-health calls for service. The restrictions currently in
             3    place on the open carry of firearms ensure that critical law-enforcement resources
             4    are not being diverted for unnecessary calls for service at incidents of the public
             5    display of firearms, which incidents, again, would receive a priority response
             6    involving multiple officers.
             7         As law-enforcement executives, police chiefs and sheriffs across California
             8    are constantly working to improve and enhance the relationship between law
             9    enforcement and the communities we serve. The restrictions on open carry in
            10    California help ensure that law-enforcement personnel are not unnecessarily
            11    spending time on public contacts involving the open carrying of firearms. Police
            12    are very sensitive to seeing a gun in public or on open display, even if allowed by
            13    law. In an era where law enforcement is spending considerable time and resources
            14    to improve mutual trust and respect with our communities, an open-carry
            15    environment would lead to increased tensions.
            16         From a community-safety perspective, California's restrictions on the open
            17    carry of firearms is critical to a healthy, vibrant, and safe environment for our
            18    residents to live, shop, dine, worship, and enjoy recreational opportunities.
            19    Inserting firearms carried openly into a community setting, especially in urban or
            20    suburban communities, would create a highly stressful and unsafe environment for
            21    everyone, including the person in possession of the firearm. Unfortunately, in
            22    today's society, shootings, including mass shootings, have become fairly
            23    commonplace. The presence of a firearm carried openly, or (sometimes) concealed,
            24    in places visited by the public, including parks, open retail or entertainment venues,
            25    theaters, restaurants, or community or political events, has the high potential to
            26    create panic and chaos, and would result in an immediate law-enforcement
            27    response.
            28

                                                            9
(235 of 300), Page 235 of 300
                           Case: 24-565, 04/17/20E4RD 18@/: 10.7, Page 235 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 10 of 16


             1         People including families want to feel safe, whether at home or in a public
             2    setting. Parents want safe parks for their children, and the presence of an unknown
             3    (or maybe even known) person in possession of a firearm will have a chilling effect.
             4    In a community setting where a person openly carries a firearm, the likelihood is
             5    that no one else in that setting knows the armed person's intention, mental
             6    condition, or emotional state or stability, creating an environment of extreme
             7    uneasiness or fear.
             8         Regarding the person with the firearm, what are his or her qualifications,
             9    training, marksmanship, mental state, emotional maturity, decision-making process
            10    under stress all the components and more that come with making a decision to use
            11    a firearm? Is there an intoxicant involved? If so, the ability to make sound
            12    decisions is sometimes greatly compromised. If put in a situation where the armed
            13    person feels the need to deploy the firearm, what is his or her ability to de-escalate
            14    the situation? A person in legal possession of a firearm may perceive a threat in a
            15    situation where a threat is non-existent, the presence of a firearm serves only to
            16    escalate the situation. A person armed with a firearm may decide to use deadly
            17    force where it is not clearly required, creating a deadly situation that did not exist
            18    before. People in our communities will demand answers to these questions.
            19         I declare under penalty of perjury that the foregoing is true and correct.
            20         Executed on June 6, 2023, at Kailua-Kona, Hawaii.
            21
            22
            23
                    14            o
                                  |,   .
                                           4   II   °\




            24              4          Chief of          Covina, CA

            25
            26
            27
            28
                                                                      10
(236 of 300), Page 236 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@/: 10.7, Page 236 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 11 of 16




                                          Exhibit A
(237 of 300), Page 237 of 300
                            Case: 24-565, 04/17/20E4RD11@9t11y: 10.7, Page 237 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 12 of 16



             Qualifications

                     In October 2016, I retired as the Chief of Police for the Covina (California) Police
             Department (the "Department"), after 39 years of law-enforcement service. I served as Chief of
             Police for 15 years, as a Captain for one year, as a Lieutenant for 10 years, as a Sergeant for
             seven years, and as a police officer for six years. I also served as interim City Manager of the
             City of Covina for four months.

                     As Chief of Police, I was responsible for the delivery of public-safety services to a
             community of 50,000 residents, and the leadership of 100 employees of the Department. This
             work included compliance with all local, state, and federal mandates, and enforcement and
             implementation of existing and new policies, as well as ensuring that the Department was a
             leader in engaging with emerging issues or trends in the criminal-justice system. I was Chief of
             Police on December 24, 2008, when nine family members in my community were shot and killed
             at a family holiday celebration, and I provided leadership to the community during this tragedy.

                    As a Captain, I was responsible for the Department's Administrative Division, which
             included oversight of detectives, the 9-1-1 communications center, custody of suspects, and
             property/evidence.

                      As a Lieutenant, I served as a watch commander overseeing patrols on a daily basis, as
             well as the auditing, training, and compliance for Department employees. I also supervised the
             Detective Division, which was accountable for investigating all crimes reported to the
             Department. I also helped to create and supervise a regional mutual-aid platoon comprised of 56
             officers from 15 area police departments, responsible for activation and deployment in response
             to any regional emergency or disaster. This work included the creation of a policy manual and
             activation protocols, and coordination of the training for over 100 police officers in topics such
             as riot response, crowd control, and command-and-control for team leaders.

                     As a Sergeant, I was responsible for the first-line supervision of police officers and
             detectives, including tactical leadership on critical service calls, daily training, evaluation of
             employees, and supervision of the field training program.

                    As a police officer, I was a first responder to all public-safety calls for service. When
             assigned as a detective, I worked narcotics investigations, regional surveillance, and undercover
             operations.

                     I am Past President of the California Police Chiefs Association. In my role with the
             California Police Chiefs Association, I spent five years on the Executive Board of Directors,
             culminating in my service as President in 2013. I was involved in discussions with state and local
             elected officials on all major legislative or ballot propositions involving law enforcement,
(238 of 300), Page 238 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@: 10.7, Page 238 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 13 of 16


            including meetings with the Governor and Attorney General on major public-safety issues,
            legislation, and initiatives.

                   I am Past President of the Los Angeles County Police Chiefs Association, serving as
            President in 2008.

                    I was one of two California police chiefs to serve on the Stanford Executive Session on
            Public Safety Realignment, which refers to legislation passed in 2011, and sometimes known as
            Assembly Bill 109, that shifted responsibility for monitoring, tracking, and incarcerating non-
            serious, non-violent, non-sex offenders from California state to the counties. A report based on
            the Executive Session's work was submitted to the California State Legislature and the
            Governor, and is available on the Internet at the following link: https://www-
            cdn. law.stanford. edu/wp-content/uploads/2015/10/ES-Consensus-Report-final-report.pdf.
            10. I served on the Executive Steering Committee for the California Board of State and
            Community Corrections, which committee was tasked with creating a new definition of the term
            "recidivism" for statewide use, pursuant to Assembly Bill 1050. A description of this work is
            available on the Internet at the following link: http://www.bscc.ca.gov/downloads/
            Recidivism%20Defintion%20Press%20Release.pdf.

                   I have lectured to law-enforcement leaders and elected officials throughout California and
            the United States on issues such as leading a community in dealing with a mass shooting, the
            decriminalization of marijuana and its impact on communities, and public-safety realignment
            (Assembly Bill 109) in California. I have been a speaker for both the California Police Chiefs
            Association and the Los Angeles County Police Chiefs Association for their courses on Role of
            the Police Chief

                   I have received numerous awards throughout my career, including the Joe Malloy Award,
            the most prestigious award that the California Police Chiefs Association presents. This award is
            presented to one California police chief every year, and is bestowed based upon the recipient's
            professionalism, leadership, and contributions to and impacts on the profession of law
            enforcement.

                    I have a Bachelor of Science Degree in Organizational Leadership from Azusa Pacific
            University. I have a certificate for completing an eight-month law-enforcement-oriented program
            at the University of Southern California School of Public Policy, as well as a certificate for
            completing 40 hours of training at the FBI Southwest Command College.

                   Past Publications - International Association of Chiefs of Police, The Police Chief
            Magazine, "Proposition 19: California's Marijuana Legalization Debate," October 2010. A
            portion of this publication is available on the Internet at the following link: http://
            wwwpolicechiefmagazine.org/proposition- l 9-californias-marijuana-legalization-debate.
(239 of 300), Page 239 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@y: 10.7, Page 239 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 14 of 16




            Kim Raney



              Summary of            Accomplished and experienced Chief of Police - skilled at leading,
                                    directing, and managing sworn and civilian personnel
              qualifications
                                    Approachable, forthright, and fair - adept at establishing an environment
                                    that facilitates individual and organizational success and requires
                                    accountability
                                    Provide excellent law enforcement services with limited fiscal resources
                                    Possess the confidence and experience to make sound policy decisions
                                    and resolve problems
                                    Effective communication, presentation and public speaking skills
                                    Respected Law Enforcement Leader at the local, regional, and state level



              Prorfessional       City of Covina Police Department
              Experience             Chief of Police (2001-2016)
                                        -   Provide excellent, proactive law enforcement service to a
                                            community of 50,000
                                            Leadership of a Police Department with 60 sworn personnel, 50
                                            civilian employees, and 40 volunteers
                                            Effectively manage a $20 million budget
                                            Led a cultural change within the organization
                                            Led an internal reorganization of department structure
                                            Established excellent relationships with all community
                                            stakeholders, including business, education, and residential
                                            constituents
                                        -  Work with other Department Heads in a team environment
                                        -  Past President - California Police Chiefs Association
                                        -  Past President - Los Angeles County Police Chiefs Association
                                    Police Captain (2000-2001 )
                                    Police Lieutenant (1990-2000)
                                    Police Sergeant (1984-2000)
                                    Police Officer (1977-1984)

              Education/
                                  Azusa Pacific University -Azusa, CA
              Certificates           Bachelor of Science, Organizational Leadership
                                  POST Certificates - Executive, Management, Supervisory, Advanced, Basic
                                  FBI Southwest Command College
                                  USC School of Public Policy
(240 of 300), Page 240 of 300
                            Case: 24-565, 04/17/20E4RD11@Qt4y: 10.7, Page 240 of 300
                 Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 15 of 16



              Prorfessional       California Police Chiefs Association - President 2013-14
              memberships         Los Angeles County Police Chiefs Association - President 2008-09
                                  San Gabriel Valley Police Chiefs Association - President 2005
                                  International Association of Chiefs of Police
                                  Stanford University Law School - Steering Committee on AB 109
                                  Board of State and Community Corrections - Executive Steering Committee
                                  Los Angeles Regional interoperable Communications System (LA-RICS)
                                  Board of Directors




              Community           Coving Chamber of Commerce
              activities          Covina Sunrise Rotary Club
                                  San Gabriel Valley YMCA Board of Directors
                                  Citrus Valley Health Partners - Ethics Committee
(241 of 300), Page 241 of 300
                            Case: 24-565, 04/17/20E4RD11@Q'@/: 10.7, Page 241 of 300
                  Case 2:19-cv-00617-KJM-AC Document 90-8 Filed 08/18/23 Page 16 of 16



                                          CERTIFICATE OF SERVICE
            Case Name:       Baird, Mark v. Rob Bonita               No.     2:19-cv-00617-KJM-AC

            I hereby certify that on August 18, 2023, I electronically filed the following documents with the
            Clerk of the Court by using the CM/ECF system:

            EXPERT REPORT AND DECLARATION OF FORMER COVINA CHIEF OF POLICE
            KIM RANEY

            I certify that all participants in the case are registered CM/ECF users and that service will be
            accomplished by the CM/ECF system.
            I declare under penalty of perjury under the laws of the State of California and the United States
            of America the foregoing is true and correct and that this declaration was executed on August 18,
            2023, at Los Angeles, California.


                            Lara Haddad                                 L         /          4o¢
                             Declarant                                           Signature


            sA2019101934
            66167952.docx
(242 of 300), Page 242 of 300
                            Case: 24-565, 04/17/205¢RDq@g@y: 10.7, Page 242 of 300

                                                                                             1




              1                           UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF CALIFORNIA
              2                                      --oOo--

              3     MARK BAIRD and RICHARD               )   Case No. 2:19-cv-00617-KJM-AC
                    GALLARDO,                            )
              4                                          )   Sacramento, California
                                                         )   November 4, 2022
              5                PI at nti ff l            )   10:53 a.m.
                                                         )
              6          vs.                             )   Re: Plaintiffs' Third Motion
                                                         )   for Preliminary Injunction
              7     ROB BONTA, 'in his official  )
                    capacity as Attorney General )
              8     of the State of California, )
                    and DOES 1-10,               )
              g                                          )
                               Defendants.               )
             10

             11                            TRANSCRIPT OF PROCEEDINGS
                                  BEFORE THE HONORABLE KIMBERLY J . NUELLER
             12                       UNITED STATES CHIEF DISTRICT JUDGE

             13     FOR THE PLAINTIFF:          THE BELLANTONI LAW FIRM I PLLC
                                                Amy Bellantoni, Esq.
             14                                 2 0verhi11 Road, Suite 400
                                                Scarsdale, New York 10583
             15
                    FOR THE DEFENDANT:          CALIFORNIA DEPARTMENT OF JUSTICE
             16                                 GOVERNMENT LAW SECTION
                                                Ryan Richard Davis, Esq.
             17                                 1300 I Street
                                                Sacramento, California 94814
             18

             19                            MARYANN VALENOTI, RMR, CRR
                                            official Court Reporter
             20                             501 I Street, Suite 4-200
                                             Sacramento, CA 95814
             21                            MVa1enotiRMRCRR@gmai1.com
                                                 (916)930-4275
             22

             23     Proceedings reported via mechanical steno - transcript produced

             24                         via computer-aided transcription

             25


                         MARYANN VALENOTI - U.S. DISTRICT COURT -            (916)930-4275
(243 of 300), Page 243 of 300
                            Case: 24-565, 04/17/205¢RD4@gt7y; 10.7, Page 243 of 300

                                                                                                  2



              1              SACRAMENTO, CALIFORNIA, FRIDAY, NOVEMBER 4, 2022

              2                                        --oOo--

              3           (In open venire.)

              4                THE CLERK:     Come to order.      Court is back in session.

              5     You may be seated.       Calling CiviT Case 19-617 Baird, et aT.,

              6     versus Bonita.     This is on for PTaintiffs' Third Motion for

              7     PreTiminary Injunction.

              8                THE COURT:     A11 right.     Good morning.      Appearances   I




              9     pTease, for pTaintiffs.

             10                MS. BELLANTONI:      Good morning, Your Honor.         Amy

             11     Bellantoni for the pTaintiffs.

             12                THE COURT:     Good morning, Ms. BeTTantoni.

             13                For the Government, for the Attorney General?

             14                MR. DAVIS:     Good morning, Your Honor.         Deputy Attorney

             15     GeneraT Ryan Davis.       Here with me is Supervising Attorney

             16     GeneraT Matthew Wise.

             17                 THE COURT:    ATT right, good morning to you each.

             18                So this is PTaintiffs' Third Motion for Preliminary

             19     Injunction.     Does it supersede the prior motion such that that

             20     is no Tonger pending before the Court?

             21                MS. BELLANTONI:      So I beT ieve at the teleconference

             22     during the summer, we had -- there had been no decision on

             23     PTaintiffs' Second Motion for PreTiminary Injunction, so we had

             24     withdrawn that.

             25                 THE COURT:    I wanted to make certain that was


                         MARYANN VALENOTI - U.S. DISTRICT COURT 1            (916)930-4275
(244 of 300), Page 244 of 300
                            Case: 24-565, 04/17/205¢RDq@g@~ 10.7, Page 244 of 300

                                                                                            3


              1     perfectly clear.

              2                MS. BELLANTONI:     Yes.

              3                THE COURT:    So that's what I understood as weTl.

              4                And the pending Motion for Preliminary Injunction, do

              5     I have this right, was riTed before the operative Comp Taint,

              6     but the operative Complaint defines the parameters of the case?

              7                MS. BELLANTONI:     Yes, ma'am.     Yes, Your Honor.

              8                THE COURT:    That's a11 understood, Mr. Davis?

              9                MR. DAVIS:    Yes, Your Honor.

             10                THE COURT:    So just cTarifying some of the basics,

             11     including some jurisdictional questions, Messrs. Baird and

             12     GaTTardo are not asserting claims about conceaTed firearms?

             13                MS. BELLANTONI:     Correct.

             14                THE COURT:    It's only open and exposed?

             15                MS. BELLANTONI:     Yes.

             16                THE COURT:    And Timited to handguns?

             17                MS. BELLANTONI:     Yes.

             18                THE COURT:    And so can I conclude they are asserting

             19     an as-appTied chaTTenge?

            20                 MS. BELLANTONI:     This would be a faciaT chaTTenge as

            21      we11 as as-applied, but from predominantly a facial challenge

            22      to the two criminal statutes in the context of applying them to

            23      individuals who open carry.

             24                THE COURT:    So to the extent there is an as-appTied

            25      chaTTenge in there, the plaintiffs are alTeging there's no


                         MARYANN VALENOTI - U .S. DISTRICT COURT        -




                                                                            (916)930-4275
(245 of 300), Page 245 of 300
                            Case: 24-565, 04/17/203904499/: 10.7, Page 245 of 300

                                                                                            4



              1     application process for open carry Ticenses; is that right?

              2                MS. BELLANTONI:      We11, the Complaint has been

              3     narrowed, Your Honor, to challenges to PenaT Code Sections

              4     25850 and 26350, which are the two criminal statutes that would

              5     be appTicable and are being app Tied to the open carriage of

              6     handguns, both Toaded and unloaded, which constitutes the ban

              7     on open carry.

              8                THE COURT:    A11 right.     So I heard you say primarily

              9     facial chaTTenge, but I didn't see you take "as applied" off

             10     the table.     So if there is an "as applied" there, how is there

             11     standing for such a chaTlenge?

             12                MS. BELLANTONI:      It wouTd be as applied to individuals

             13     who open carry.      So in other words, the Penal Code itself were

             14     chalTenging facially in the context of a criminaT statute for

             15     the open carriage of handguns, but in the context of an

             16     as-app1ied challenge, just being as-app1ied to the plaintiffs

             17     in open carriage of a handgun.

             18                THE COURT:    How is this defendant, the right defendant

             19     for an as-app1ied challenge?

             20                MS. BELLANTONI:     Because this defendant is the

             21     individual who is the head Taw enforcement officer of Taw

             22     enforcement throughout the state and wouTd be the individual to

             23     enjoin with regard to enforcement.         So this defendant and a11

             24     those acting in concert and at the direction of his

             25     jurisdiction.


                         MARYANN VALENOTI       U.S. DISTRICT COURT         (916)930-4275
(246 of 300), Page 246 of 300
                            Case: 24-565, 04/17/205¢RDm4l)@/; 10.7, Page 246 of 300

                                                                                              5


               1                THE COURT:     So it's not that the Attorney General --

               2     you're not saying he has the authority to create a Ticensing or

               3     administrative process?

               4                MS. BELLANTONI:      No, we're asking for the two criminal

               5     statutes to be enjoined so that individuals who open carry wiTh

               6     not be subject to criminal enforcement.

               7                THE COURT:     Just accepting the facial chaTTenge, I

               8     understand the facial chalTenge part of it.              I'm not certain I

               9     understand to the extent there is an as-app1ied chalTenge

             10      there.    Do you want to say anything on that, Mr. Davis?

              11                MR. DAVIS:     I do want to say that my understanding, my

             12      reading of the Second Amended Complaint, is that it is entirely

             13      facial.    I think what my coTleague is referring to are the

              14     reasons for the facial challenge, which is that the Taw as

             15      written prohibits either the normal Taw-abiding citizens from

             16      open -- from carrying open and exposed without a Ticense, and

             17      their contention is that that's unTawful under the Second

             18      Amendment, but it's a chalTenge to the Taw on its face as

             19      written not as applied to any particular individual.

             20                 THE COURT:     So accepting the facial chaTlenge, is the

             21      aTTegation that the Second Amendment does not allow California

             22      to place any restrictions on the right to carry handguns openly

             23      in public?

             24                 MS. BELLANTONI:      So if we Took to the Bruen test, in

             25      the second part of that test, which is Tooking to the text in


                          MARYANN VALENOTI - U .S. DISTRICT COURT         _   (916)930-4275
(247 of 300), Page 247 of 300
                            Case: 24-565, 04/17/205¢RDm4@n1y; 10.7, Page 247 of 300

                                                                                              6



               1     history and tradition of the Second Amendment at the time of

               2     the enactment, there were no criminal statutes to be enforced

               3     against an individual who open carried.            In fact, the plain

               4     text of the Second Amendment to keep and bear arms shall not be

               5     infringed, would necessarily bear out the f act that open carry

               6     and carrying in public for se1f-defense were not crimes, they

               7     were specifically protected rights.           So having a criminal

               8     statute enforced against people who are just exercising those

               9     rights violates the Second Amendment.

             10                 THE COURT:     So it's not that the Second Amendment

             11      doesn't aT Tow the placement of any restrictions on the right to

             1 2     carry handguns openly, is that what plaintiffs are alleging?

             1 3                MS. BELLANTONI:      We're alTeging that the criminal

             1 4     statute should not be applied to individuals who open carry.

             1 5                THE COURT:     So on the preliminary injunction, you

             16      agree that the Court applies the Winter test?

             1 7                MS. BELLANTONI:      I believe that the submissions -- I

             1 8     have the legal standard in my submissions, Your Honor, so I

             1 9     would rest on the standard that's set forth therein.

             2 0                THE COURT:     We11, assuming it's the Winter test, and

             21      you agree with that, Mr. Davis?

             2 2                MR. DAVIS:     Yes, Your Honor.

             2 3                THE COURT:     Noting it Tooks Tike an amendatory

             2 4     injunction here, so I have some questions about that in just a

             2 5     bit, but the Winter test has four parts.            I have to decide if


                          MARYANN VALENOTI - U.S. DISTRICT COURT          -




                                                                              (916)930-4275
(248 of 300), Page 248 of 300
                            Case: 24-565, 04/17/205¢RDm4@@y; 10.7, Page 248 of 300

                                                                                             7



              1      the balance of the equities tips in the plaintiffs' favor and

              2      an injunction is in the public interest, two of the factors.

              3                So I just want to make perfectly clear what plaintiffs

               4     are saying the harm is they will face absent an injunction

              5      given that the law is currently in effect.

              6                 So right now the law provides for persons being able

               7     to keep guns at home and in their places of business.           And the

              8      plaintiffs can carry concealed handguns in public, correct?

              9      You agree with both of those points?

             10                 MS. BELLANTONI:     If individuals have a conceal carry

             11      license, then they are allowed to conceal carry, yes.

             12                 THE COURT:    And California moved promptly, the

             13      Attorney General moved promptly once Bruen issued to make clear

             14      the State was no longer enforcing the good cause requirements

             15      in the California regime; agreed?

             16                 ms. BELLANTONI:     Yes.

             17                 THE COURT:    So did that not conform California's

             18      framework to Bruen?

             19                 MS. BELLANTONI:     With respect to open carry it did not

             20      because there are still two criminal statutes that effectively

             21      ban open carry, and while there is language in the licensing

             22      statute that purportedly allows for open carry permits to be

             23      issued, there is -- no license has been issued since 2012.

             24      There's no application for an open carry.           There is no process

             25      or procedure to apply for an open carry license.


                          MARYANN VALENOTI - U .S. DISTRICT COURT            (916)930-4275
(249 of 300), Page 249 of 300
                            Case: 24-565, 04/17/205¢RDm4@(3y; 10.7, Page 249 of 300

                                                                                                8



               1                 But moreover, in 1791 there was no permission required

               2      to open carry.     There was no Ticensing scheme.           There were no

               3      criminal statutes to be enforced against people who were

               4      exercising the right that is codified in the Second Amendment.

               5     So a11 of those, the Ticensing scheme and the criminal

               6      statutes, are inconsistent with the Second Amendment.

               7                 THE COURT:    So thinking about the harms, the way I

               8      need to think about it in consideration of a Motion for

               9      Preliminary Injunction, so one of the harms is that the

              10      plaintiffs would have to conceal any handguns they choose to

              11      carry in public, right, that's one of the harms?

              12                 MS. BELLANTONI:      If they had a Ticense to carry

              13      concealed, they would be required to conceal their handguns,

              14      that's correct, but the carry concealed Ticensing scheme is

              15      still a may-issue scheme.        So it's still -- Peruta II clearly

              16      held the en banc Ninth Circuit opinion that conceal carry is

              17      merely a privilege.       So I would find that not to be

              18      analogous --

              19                 THE COURT:     To the harm is twofold:        The need to apply

              20      for a Ticense and the need to conceal any handguns carried in

              21      public.    Those are the harms.

              22                 MS. BELLANTONI:      The harm is the ban on the ability to

              23      open carry.     The harm is the complete violation and inability

              24      at a11 to exercise the right to open carry.              It's been

              25      terminated.     So that would be the harm.


                           MARYANN VALENOTI - U.S. DISTRICT COURT          -




                                                                                (916)930-4275
(250 of 300), Page 250 of 300
                            Case: 24-565, 04/17/205¢RDqn4@r4y; 10.7, Page 250 of 300

                                                                                              9



              1                 And for those who go forward to open carry, they're

              2      subject to arrest and incarceration and potentialTy the

              3      permanent Toss of Second Amendment rights.

              4                 THE COURT:     So in terms of the public interest

              5      specificalTy, you are making clear, as cTear from your

              6      briefing, the plaintiffs are asking the Court to enjoin the

              7      Attorney General from enforcing the Penal Code sections while

              8      this case is pending, right?

              9                 ms. BELLANTONI:      Yes.

             10                 THE COURT:     So that wouTd mean the state would not be

             11      able to prosecute persons who carry Toaded or unloaded handguns

             12      in public; right?

             13                 MS, BELLANTONI:      They would not be able to prosecute

             14      individuals who mere Ty open carry, whether Toaded or unToaded.

             15                 I say "merely" as a qualification because that's

             16      specific to self defense.        An individual who has a handgun

             17      holstered on their person, you know, open and exposed in that

             18      regard, merely carrying for se1f-defense, yes, they would not

             19      be able to prosecute that individual .           If there was a crime

             20      being committed, certainly, you know, there are Penal Code

             21      statutes to address any criminaT activity.

             22                 THE COURT:     HeTp me understand.       Suppose a person had

             23      attempted and failed to obtain a Ticense to carry a concealed

             24      handgun based on the history of vlolent crime or a refusal to

             25      complete a training course, so that person could carry a


                          MARYANN VALENOTI _ U.S. DISTRICT COURT 4            (916)930-4275
(251 of 300), Page 251 of 300
                            Case: 24-565, 04/17/205¢RDm4@15y; 10.7, Page 251 of 300

                                                                                         10




              1     handgun openly in public if I grant the motion?

              2                MS. BELLANTONI:      The way the law is written now is

              3     that it's very broad-based, so anyone, even nor prohibited

              4     individuals like my clients who have no disqualifiers under

              5     state or federal law to possessing firearms, those individuals

              6     are criminalized for exercising their rights under the Second

              7     Amendment.

              8                If there was a felon, convicted felon, which is a

              9     recognized, at this point, disqualifier to firearm possession

             10     at all, who is carrying openly, there should be -- there is a

             11     federal statute they could be arrested under for possessing a

             12     firearm if they're a disqualified person under

             13     18 U.S.C. 922 (g), and if California has other penal codes that

             14     address prohibited people and punish them for possessing a

             15     firearm when they're disqualified, they could certainly be

             16     prosecuted under those statutes.          But if they have a broad

             17     statute that criminalizes law-abiding, nor prohibited, you know,

             18     people from exercising a constitutionally protected right, it

             19     violates the constitution.

             20                THE COURT:     Do you identify all those other penal

             21     codes in your briefing?

             22                ms. BELLANTONI:      I do not.

             23                THE COURT:     But you're saying if I grant the

             24     injunction, the State is not prevented from carrying out some

             25     restriction on open carry that do recognize the possibility


                         MARYANN VALENOTI 9 U .S. DISTRICT COURT 1           (916)930-4275
(252 of 300), Page 252 of 300
                            Case: 24-565, 04/17/205¢RDqn4g@y; 10.7, Page 252 of 300

                                                                                               11




              1     that someone has a history of violent crime or refuses to

              2     complete basic training.

              3                 MS. BELLANTONI:      I don't know that refusing to or

              4     being unable to complete basic training is a recognized

              5     disqualifier to the possession of firearms.             But if an

              6     individual is disqualified from possessing firearm and fails

              7     under criminal statute, then certainly, or is committing a

              8     crime and not just carrying for se1f-defense like a law abiding

              9     person, then certainly they would be exposed to being

             10     prosecuted under the relevant criminal codes, and if California

             11     doesn't have codes that addresses disqualified individuals,

             12     then I'm sure they could swiftly enact such codes, most states

             13     do.

             14                 THE COURT:    You are agreeing Bruen did not eliminate

             15     ability to regulate open carry in the interest of public

             16     safety?

             17                 MS. BELLANTONI:     Oh, no, I think public safety is

             18     completely off the table, as does the Court in Bruen and

             19     Caetano and McDona7d and in He77er clearly have taken public

             20     safety off the table, but with respect to individuals who are,

             21     from a State's perspective, disqualified in the first instance

             22     from possessing firearms, certainly those statutes could be

             23     written and passed if they're not already in place.               I know

             24     various other states and certainly the federal government has

             25     such laws, but even those are open to constitutional challenge.


                          MARYANN VALENOTI - U .S. DISTRICT COURT            (916)930-4275
(253 of 300), Page 253 of 300
                            Case: 24-565, 04/17/205¢RDm4@t7y; 10.7, Page 253 of 300

                                                                                           12




              1                 THE COURT:    Mr. Davis, can you assist the Court, what

              2     other tools does the State have to keep handguns, open carry in

              3     particuTar, out of the hands of those who wouTd put others in

              4     danger in pubic?

              5                 MR. DAVIS:    There are no tooTs other than the

              6     prohibitions on possessing a firearm at aT               that would continue

              7     to exist.     The convicted feTor, certain convictions for

              8     domestic violence for a period of years, so there are the Taws

              g     both under federaT and state Taw that prohibit some categories

             10     of people from even possessing weapons, so those would continue

             11     to exist.     But what the State uses, and Tike many other

             12     jurisdictions, to reguTate public carry in particular as

             13     opposed to just possession, is the Ticensing scheme.

             14                 So pTaintiffs' position, and what they're asking for

             15     with this injunction, is to do away with the Ticensing scheme

             16     entireTy so that there is no Ticensing scheme in effect, and

             17     anyone who wants to, whether it sought previously or they

             18     h a v e n ' t ever sought a public carry license, is -- would then be

             19     permitted to carry open and exposed throughout the State of

             20     California.

            21                  THE COURT:    A11 right.     Thank you, that's helpful.

             22                 For you, Ms. Bellantoni, I mentioned the possibility

             23     of a mandatory injunction.         It appears you are seeking a

            24      mandatory injunction because it's not seeking to preserve the

            25      status quo.     So the bar is raised when a party seeks a


                         MARYANN VALENOTI - U.S. DISTRICT COURT          -




                                                                               (916)930-4275
(254 of 300), Page 254 of 300
                            Case: 24-565, 04/17/205¢RDm4l)@; 10.7, Page 254 of 300

                                                                                         13




              1     mandatory injunction such that the plaintiffs need to

              2     demonstrate that they wi11 suffer extreme or very serious

              3     damage.    Do you agree that that's the way to think about this

              4     as a mandatory injunction?

              5                MS. BELLANTONI:      I could see how the Court would view

              6     this as a mandatory injunction with respect to the status quo,

              7     but the status quo only came into effect in 1967, which is

              8     relatively during the modern times, and only by virtue of the

              g     fact that those modern regulations are in direct conflict with

             10     of the Second Amendment as it was understood when it was passed

             11     in 1791.     And as we've learned now from He17er and Bruen, that

             12     the relevant time period to look at with regard to these

             13     challenges is 1791, not to the modern day regulation.

             14                So I would submit that the Mulford Act that was passed

             15     in 1967 and then the 2012 amendments -- excuse me, statute with

             16     regard to an unloaded handgun, carriage of a unloaded handgun

             17     in public are the status quo to the extent that they are in

             18     existence since then, but really should never have been.            So

             19     plaintiffs shouldn't suffer an increased burden in that respect

             20     because the State chose the wrong path and an unconstitutional

             21     path .

             22                And with regard to balancing, Bruen made clear that

             23     balancing the interests in the context of a Second Amendment

             24     challenge is off the table.

             25                THE COURT:     That's on the ultimate merits of the case.


                         MARYANN VALENOTI - U .S. DISTRICT COURT         -




                                                                             (916)930-4275
(255 of 300), Page 255 of 300
                            Case: 24-565, 04/17/205¢RDm4@@/; 10.7, Page 255 of 300

                                                                                         14




              1                 MS. BELLANTONI:     Yes, yes, Your Honor.

              2                 THE COURT:     On the question of what's the status quo,

              3     does   Bruen alter -- I hesitate to even use the word

              4     "traditional" -- does it alter what the courts should

              5     understand what qualifies as the status quo such as something

              6     as recent as 1967 is not the status quo anymore?

              7                 MR. DAVIS:    No, Your Honor.      If anything, I mean Bruen

              8     speaks to the standards that courts should use in analyzing

              9     Second Amendment claims, and it speaks specifically to the good

             10     cause requirement.        It certainly does not undermine otherwise

             11     States' abilities to regulate public carry, to use Ticenses

             12     schemes to do that, etc.        Those things are in place, have been

             13     in place for a Tong while.         Undoing them would be upsetting the

             14     status quo.

             15                 THE COURT:     ATso for you, Mr. Davis, on the burdens,

             16     moving on to the burden at this stage.           Thinking about 8ruen,

             17     the Court there did Took to the burden of proof in First

             18     Amendment cases, and say there is an analogy in Second

             19     Amendment cases, there is, of course, a significant burden on

             20     the Government to justify restrictions with First Amendment.

             21     So you do acknowledge in your briefing ultimately the need to

             22     meet that burden.        Why is not the burden imposed at this stage

             23     of the case?

             24                MR. DAVIS:     Because at this stage it is the

             25     plai ntiff's motion and under the Winter f actors, it is the


                           MARYANN VALENOTI - U.S. DISTRICT COURT            (916)930-4275
(256 of 300), Page 256 of 300
                            Case: 24-565, 04/17/205¢RDqn440),~ 10.7, Page 256 of 300

                                                                                           15




               1     plaintiffs who must show a substantial 1 ikelihood of success on

               2     the merits.

               3                So in a world where 8ruen was recently decided,

               4     upsetting what had been the law and the framework the courts

               5     used to analyze Second Amendment claims, the plaintiffs have a

               6     tough road rode to hoe because they need to establish that

               7     under this brand new framework, the State wi11 not be able to

               8     establish that the historical record, and on Bruen itself,

               9     allows for regulating open carry and allows for licensing to be

              10     a part of that, because again, under the Second Amended

              11     Complaint, and they make this perfectly clear too in the papers

              12     on the motion, the licensing scheme is now what they are

              13     arguing is entirely out the window, that anyone who wants to ,

              14     with or without Ticense, needs to be permitted to carry open

              15     and exposed.     So they have to establish -- it is their burden

              16     now, and I do think that gets lost somewhat in the papers,

              17     particularly in the reply brief filed by the plaintiffs, that

              18     they fault the Government for having failed at this stage in

              19     the proceedings to establish what the historical record shows.

             20      It is their burden, though, to establish a substantial

             21      likelihood of success.

              22                THE COURT:     Why is that not the case, Ms. Bellantoni,

              23     at this early stage of the case, particularly if it's a

             24      mandatory injunction?

             25                 MS. BELLANTONI:      Sure, within the framework of


                          MARYANN VALENOTI - U.S- DISTRICT COURT           4   (916)930-4275
(257 of 300), Page 257 of 300
                            Case: 24-565, 04/17/205¢RDm4rln1y; 10.7, Page 257 of 300

                                                                                           16




               1     establishing likelihood of success on the merits, is the burden

               2     that we would have under the Second Amendment challenge itself,

               3     which is we've shown that the open carriage, which is the

               4     conduct that my clients are seeking to engage in, fails

               5     directly and squarely within the plain text of the Second

               6     Amendment.     And at that point, the burden shifts entirely to

               7     the Government to show that their regulations are consistent

               8     with the text, history and tradition of firearm regulation.                So

               9     their burden is still within that framework of the likelihood

              10     of success on the merits.         Plaintiffs will succeed on the

              11     merits of this case.

              12                THE COURT:     But you reject the suggestion that what

              13     you have to show to satisfy likelihood of success is the

              14     defense cannot meet its burden, that's what Mr. Wise --

              15     Mr. Davis said.      I'll just say you disagree with that

              16     characterization of that burden at this stage?

              17                MS. BELLANTONI:       I do, because within the framework of

              18     the plaintiffs' burden is the likelihood of success on the

              19     merits, and to be successful on the merits of the case, we

              20     would need to -- we would need to engage in the two-step Bruen

              21     test, which is plaintiff showed that the conduct f alls within

             22      the plain text of the Second Amendment, which it does.

              23                Then the burden shifts entirely to the Government to

              24     show that their regulation is consistent with the text, history

              25     and tradition of the Second Amendment          I   which it's not.


                          MARYANN VALENOTI - U.S. DISTRICT COURT               (916)930-4275
(258 of 300), Page 258 of 300
                            Case: 24-565, 04/17/205¢RDm4rl@y; 10.7, Page 258 of 300

                                                                                           17




               1                THE COURT:     To the extent -- if I bought that

              2      argument, then the State effectiveTy has said we don't have

              3      that at this point.       We're prepared to assembTe it.         It's going

              4      to take time.     It's complicated, right?

              5                 MR. DAVIS:     That's true, Your Honor, with respect

              6      to -- wefT, two things:        It's true with respect to open carry

              7      itself.    But the Second Amended Comp Taint, as Your Honor

              8      pointed out, was riTed after the initiaT preTiminary injunction

              9      motion that's at issue here.         It actualiTy cTarified things in

             10      this Tawsuit.     It cTarified that the pTaintiffs are seeking to

             11      both open carry and without a Ticense.

             12                 So, actualTy, on that second point, I think they have

             13      an even harder time showing they have a substantiaT TikeTihood

             14      of success on the merits.

             15                 In Bruen itseTf, Justice Kavanaugh, joined by Justice

             16      Roberts, so two justices needed to count to five, said, quote,

             17      "The Court's decision does not prohibit states from imposing

             18      Ticensing requirements for carrying a handgun for

             19      seTt-defense."

             20                 THE COURT:     Understood.

             21                 MS. BELLANTONI:      May I, Your Honor?

             22                 THE COURT:     Hold that thought, and you wiT         have a

             23      chance to wrap up the argument.

             24                 In the pubic interest, I'm not seeing in the record

             25      current Ty before me on this preTiminary motion, any information


                          MARYANN VALENOTI - U .S. DISTRICT COURT             (916)930-4275
(259 of 300), Page 259 of 300
                            Case: 24-565, 04/17/205¢RDm4rl(3y; 10.7, Page 259 of 300

                                                                                             18




               1     about how often persons are charged with violating the penal

               2     codes that plaintiffs challenge, is that right, there's nothing

               3     there for me to evaluate?

               4                 MR. DAVIS:    There is nothing there to evaluate.

               5                 THE COURT:    And you've already reviewed the other

               6     tooTs the State has.

               7                Just so I am a clear, under the current                the current

               8     statutes, you mentioned prior felony, fe1ony-in-possession

               9     statute is out there.        Domestic violence can be a disqualifier,

              10     at Teast for a period of time.

              11                So, let's say that a person had previously attempted

              12     and failed to obtain a Ticense to carry a concealed handgun

              13     based on either violent crime or failure to participate in

              14     training.     If I granted the motion, would a person Tike that

              15     now be able to carry a handgun openly in public?

              16                 MR. DAVIS:    Yes, Your Honor, unless they are

              17     prohibited from possessing a firearm anywhere, then they would

              18     be permitted to carry openly if the injunction that's been

              19     requested is granted.

             20                  THE COURT:    So a felon, is that a permanent -- under

             21      state law, that's a permanent disqualifier?

             22                 MR. DAVIS:     That is, Your Honor.

             23                  THE COURT:    As in federal law.

             24                 MR. DAVIS:     Yes, Your Honor.

             25                 THE COURT:     A11 right.     1'11 allow brief wrap-up


                          MARYANN VALENOTI - U.S. DISTRICT COURT           -




                                                                               (916)930-4275
(260 of 300), Page 260 of 300
                            Case: 24-565, 04/17/205¢RDm4rlr4y; 10.7, Page 260 of 300

                                                                                           19




               1     argument, and then I want to talk a bit more about the pending

               2     summary judgment motion and scheduling going forward.

               3                So any wrap-up argument, Ms. Bellantoni?

               4                MS. BELLANTONI:      Yes, Your Honor, thank you.

              5                 So, just briefly, with regard to the status quo, I

               6     believe the Bruen case speaks to the deference that is

               7     generally afforded to the legislatures and the lawmakers when

               8     reviewing certain challenges to various statutes, but it makes

               9     clear that in Second Amendment challenges, no deference is due

             10      because specifically for this reason, we have modern-day

             11      regulations, such as California's ban on open carry, which are

             12      similar to New York's regulations that were constructed in the

             13      modern day and should have no deference because they were built

             14      on and passed under the false belief that the Second Amendment

             15      only applied to the collective and it didn't apply to the

             16      states .

             17                 THE COURT:     With a focus on probable cause, good

             18      cause .

             19                 MS. BELLANTONI:      No, generally.

             20                 THE COURT:     That part of the requirement.

             21                 MS. BELLANTONI:      No, generally.       Generally, that these

             22      are modern-day statutes, and the only focus under a Second

             23      Amendment challenge is what was understood at the time that the

             24      founding fathers enacted the Bi11 of Rights and so that focus

             25      is squarely upon 1791.        And at that period of time people


                          MARYANN VALENOTI - U.S. DISTRICT COURT               (916)930-4275
(261 of 300), Page 261 of 300
                            Case: 24-565, 04/17/205¢RDqn4rn5y; 10.7, Page 261 of 300

                                                                                              20




               1     were -- which is the plain text of the Second Amendment - - free

              2      to keep and bear arms, weapons, not just handguns, but weapons,

              3      which shall not be infringed.          So open carry certainly falls

               4     squarely within the text and history there.

              5                 There is no license available, so open carry is not an

              6      option through any licensing scheme in California.                And despite

               7     Bruen, California still remains a may-issue state with regard

              8      to licensing, which the Justices did address.              They talked

               9     about the shall-issue states can continue on, but even in the

             10      shall-issue states where there are lengthy wait times or other

             11      manipulations that are infringing or violating the Second

             12      Amendment right and the exercise of that right, even the

             13      shall-issue states may come under constitutional scrutiny, but

             14      certainly they also said that the may-issue states may continue

             15      as long as their criteria is objective, and nothing in

             16      California has changed to make their licensing scheme

             17      objective.

             18                 THE COURT:     I'm thinking more about what you said

             19      earlier about the goal here is to vindicate the rights of

             20      persons who merely carry handguns in public.

             21                 Just so I understand the difference between open carry

             22      and concealed carry, I mean, I see your references in the

             23      briefing that concealed carry is cowardly.             Is it that there's

             24      a deterrent effect associated by otherwise someone, you know,

             25      with no prior felonies, no history of violence, there is a


                          MARYANN VALENOTI - U.S. DISTRICT COURT               (916)930-4275
(262 of 300), Page 262 of 300
                            Case: 24-565, 04/17/205¢RDqn4rl@; 10.7, Page 262 of 300

                                                                                            21




              1      deterrent effect to the open carry that has a greater

              2      se1f-defense value?

              3                 MS. BELLANTONI:      Your Honor, there are many different

              4     reasons why an individual would choose to open carry:             One

              5     would be the deterrent effect.          Another being the access to

              6     your firearm under duress in sp1it-second decision making,

              7      whereas, a concealed carry, it may be more difficult to draw

              8      your weapon in that respect, Your Honor.

              9                 When I use the term "cowardly," certainly they're not

             10      my terms.    That is the view that society took back in the 17

             11      and 1800s when concealed carry started to come about, and there

             12     were a few laws in the Antebellum period that were passed to

             13      prevent conceal carry because it was at the time viewed as, you

             14      know, $1 inky or cowardly, or, you know, more at ong the 1 Ines of

             15      something that a criminal would do.          Whereas, a gentleman would

             16      open carry so the adversary would know that he was armed, a

             17      criminal might not do that because they don't want -- they're

             18      predatory in nature, a11 right, so they want to have the upper

             19      hand when it comes to victimization.          So they're going to

             20      conceal their firearm so that they have the best advantage over

             21     the person that they're trying to victimize, and that was the

             22     general view on concealed carry at the time.

             23                  THE COURT:    A11 right.    Mr. Davis, just checking,

             24      anything further?

             25                  MR. DAVIS:    I do have a couple


                          MARYANN VALENOTI       U.S. DISTRICT COURT Q        (916)930-4275
(263 of 300), Page 263 of 300
                            Case: 24-565, 04/17/205¢RDm4rlt7y; 10.7, Page 263 of 300

                                                                                             22



               1                THE COURT:     PTaintiff as the movant -- pTaintiffs, as

               2     the movant, I would sti 11 give the finaT word, but anything

               3     else you want to say?

               4                MR. DAVIS:     Yes, pTease, Your Honor.         Thank you.

               5                So the Second Amended CompTaint, again, I've said this

               6     part, makes it very cTear that what pTaintiffs are seeking is

               7     to, one, carry handguns open and exposed throughout the state,

               8     and, two, to do so without a Ticense.            So I don't know, you

               9     know, why it's continuing -- why plaintiffs' counseT continues

             10      to press points about the Ticensing scheme, but pTaintiffs'

             11      repTy brief on the motion says that the Ticensing scheme is

             12      irrelevant.     Their position now, that's in the Comp Taint, is

              13     that no Ticensing scheme -- that the Ticensing scheme can

             14      simply be ignored, that it does not matter.             It violates the

              15     Second Amendment to prohibit anyone from open carry, and it

             16      vioTates the Second Amendment to require peopTe to seek a

             17      Ticense before they carry openly and in pubic.

             18                 So because that's their cTaim, they need to show that

             19      they're TikeTy to succeed in establishing that the Second

             20      Amendment both demands that states cannot estabTish the manner

             21      of carry and that states can't require those who carry in

             22      public to get a Ticense to do so.

             23                 The point about the Second Amendment not prohibiting

             24      states from reguTating the manner of carry and how the Bruen

             25      decision is consistent with our view, I think is laid out in


                          MARYANN VALENOTI - U.S. DISTRICT COURT               (916)930-4275
(264 of 300), Page 264 of 300
                            Case: 24-565, 04/17/205¢RDqn4rl@; 10.7, Page 264 of 300

                                                                                          23
                                                        1




              1     the briefs .

              2                 The point I wanted to emphasize here, and maybe I'd

              3     done so already, but the point is that the Second Amendment

              4     allows -- the point is that the Second Amendment allows states

              5     to require those who carry in public to obtain and follow the

              6     conditions of a license is entirely clear from Bruen itself.

              7     Again, Justice Kavanaugh says it explicitly in his concurrent

              8     opinion.

              9                 My last point is just that because there's some sort

             10     of confusion of the standards as to the ultimate merits as

             11     opposed to this early stage in the proceedings, plaintiffs take

             12     a view that this Court should not even consider public safety

             13      in reaching its decision on the injunction and that is just

             14     entirely false.

             15                 At this stage, it's true that public safety may not

             16     belong in the ultimate merits question anymore, and so as to

             17     whether they could establish a substantial likelihood of

             18      success on the merits, that's not where it belongs, but it

             19     absolutely belongs in this Court's analysis in balancing the

             20     harms to the public interest versus the plaintiffs.

             21                 One final point in regards to the harm of the

             22     plaintiffs, I think when asked about it, plaintiffs' counsel, I

             23     think there was some blurring between the plaintiffs' harms

             24     that would emerge out of the plaintiffs as opposed to the

             25     public interest more generally.          Both plaintiffs in this case


                         MARYANN VALENOTI - U.S. DISTRICT COURT           -




                                                                              (916)930-4275
(265 of 300), Page 265 of 300
                            Case: 24-565, 04/17/205¢RD4r44@/; 10.7, Page 265 of 300

                                                                                          24



              1      do have ability to carry and do carry concealed, so they

              2     already have what Bruen ultimately requires, which is the

              3     ability to carry for se1f-defense.

              4                 THE COURT:     A11 right.    I understand those arguments.

              5                 Any final word on the motion itself, Ms. Bellantoni?

              6                 MS. BELLANTONI:      0n1y to the extent that the licensing

              7     scheme wasn't at issue in Bruen, that was brought up in a

              8     concurrence opinion.        And that in looking to 1791, there

              g     weren't no licensing schemes, nor was there any permission

             10     required, which is why the language of the Second Amendment is

             11     what it is, but nothing further, Your Honor.

             12                 I would just reiterate that with regard to the public

             13     safety issue, it's a conflation of the standards required, and

             14      it just goes directly in conflict with the whole purpose of the

             15     He17er decision and the Bruen decision, that public safety is
             16      never balanced against the individual rights of 1aw-abiding

             17      individuals to be able to protect themselves in public, and

             18      it's the public and the people for whom the Constitution and

             19     the Bi11 of Rights was passed.          They're being harmed, and the

             20     State has a conflict of interest here in seeking to preserve

             21     the control that they have over the People, and the People's

             22     right to freely exercise their constitutionally protected

             23     rights C

             24                 THE COURT:    A11 right.     I understand those arguments.

             25                Just a couple of questions.          The State had filed a


                         MARYANN VALENOTI - U.S. DISTRICT COURT               (916)930-4275
(266 of 300), Page 266 of 300
                            Case: 24-565, 04/17/205¢RDm48@/; 10.7, Page 266 of 300

                                                                                               25



              1     Motion for Summary Judgment that the Court stayed.                Is the

              2     State withdrawing that motion, or does it seek to supplement

              3     it, can that get set for hearing now?

              4                 MR. DAVIS:    Your Honor, could I take one moment?

              5                 THE COURT:    You may.

              6                 MR. DAVIS:    In Tight of Bruen, Your Honor, that motion

              7     is withdrawn because it's based on the standards that no one

              8     would apply.

              g                 THE COURT:    A11 right.    Then the Court notes that

             10     Motion for Summary Judgment at Docket Number 56 is withdrawn.

             11                 I'm prepared to give you a schedule to move the case

             12     forward .    I'11 resolve the motions before me as promptly as I

             13     can.

             14                 One question I've had, I believe I surfaced it at the

             15     last hearing, should the Court, given the decision in Bruen,

             16     look to appoint its own neutral expert to evaluate the relevant

             17     historical evidence under Federal Rule of Evidence 706?

             18                 MS. BELLANTONI:     No, Your Honor, it should not

             19     because, you know, Bruen was a carry case.                It was a11 about

             20     public carry.     Bruen and He71er have extensively discussed the

             21     history throughout, you know, from the time of England up

             22     until , you know, the more recent time period and have

             23     pinpointed 1791 as the date to look to with regard to Second

             24     Amendment challenges.

             25                 This is an open carry case.        It's a public carry case


                           MARYANN VALENOTI - U.S. DISTRICT COURT        II
                                                                               (916)930-4275
(267 of 300), Page 267 of 300
                            Case: 24-565, 04/17/205¢RDm4Qn1y; 10.7, Page 267 of 300

                                                                                          26




              1     to an extent.      Bruen was also a public carry case in that

              2     respect, and so the Court itself, the Supreme Court has already

              3     gone through the anaTysis and the scope and history and

              4     tradition of public carry, and it clearly shows that the only

              5     type of public carry that was constrained was conceal carry,

              6     and even at that, only during the antebellum period, not

              7     directly around the point in time of the founding era.

              8                 THE COURT:    So Bruen, even though it wasn't considered

              9     in the California Taws at issue here, has everything the Court

             10     needs to reach the conclusions that it needs to as the trial

             11     court of record?

             12                 MS. BELLANTONI z     Yes, it does.     And if the Court had

             13     doubts on that, the Court itself said that judges Tike yourself

             14     have the -- in your judicial role you do not need an expert.

             15     This doesn't have to be reinventing history here, that you can

             16      Took to the statutes and the history itself and come to a

             17     determination of whether the challenged regulations are

             18     consistent with the Second Amendment.            But I would say that

             19     Bruen itself speaks to the claims and the challenges here.

             20                 THE COURT:    It's not reinventing history, it's trying

             21     to determine what the relevant history is.

             22                 MS. BELLANTONI:      Which they've done.

             23                 THE COURT:    what does the Attorney General say on

             24     whether or not the Court, in trying to do its job properly,

             25     should it be Tooking for its own neutral expert or rely on the


                         MARYANN VALENOTI - U.S. DISTRICT COURT 1             (916)930-4275
(268 of 300), Page 268 of 300
                            Case: 24-565, 04/17/205¢RDm48Qy; 10.7, Page 268 of 300

                                                                                         27




              1     parties to develop any record, that more is needed than what

              2     Bruen says.

              3                 MR. DAVIS:    We11, Your Honor, certainly more is needed

              4     than what Bruen says, because Bruen was about the good cause

              5     requirement in particular.         It did not decide the question.

              6     We're very open about this in our briefs, we think it supports

              7     our view that the State can regulate the manner of carrying and

              8     so, therefore, regulate open carry, but the case was not about

              9     that.    The case -- the Bruen decision does not answer it, and

             10     it does not answer the question it wasn't before whether

             11     licensing schemes themselves are unconstitutional as a way of

             12     regulating public carry.        So Bruen does not contain a11 of the

             13     answers .

             14                 As to whether the Court should apply its own neutral

             15     expert, that may we11 be wise.          I would appreciate the

             16     opportunity to answer the Court's question in a supplemental

             17     short brief, if the Court would deem that appropriate.

             18                 Of course -- we11, I think that's the answer, that's

             19     my answer to that question.         Either way, I think, the

             20     Government needs some time here to continue the historical

             21     analysis that Bruen does require.          And I would disagree that

             22     the Court said in Bruen that the Courts do not need to consult

             23     expert historians.

             24                 What it said is that Courts are equipped to make

             25     ultimate decisions that rest on, you know, findings about


                         MARYANN VALENOTI - U.S. DISTRICT COURT          W   (916)930-4275
(269 of 300), Page 269 of 300
                            Case: 24-565, 04/17/205¢RDqn4Q/@y; 10.7, Page 269 of 300

                                                                                             28




               1     historical traditions, but certainly it's required to assess,

               2     to do the fact finding necessary before those decisions are

               3     made.

               4                 THE COURT:    A11 right.      I'11 Tet you know if I need

               5     supplemental briefing on that, and 1'11 give equal opportunity.

               6                 On Rule 16 going forward, here's what I'd Tike to set

               7     in terms of deadlines:        A fact discovery cut off of

               8     May 12, 2023.

               9                 Expert reports by June 9.

              10                 Rebuttal July 14.

              11                 Expert discovery closed August 4.

              12                 Dispositive motions heard by September 15, 2023.

              13                 I'1] put those dates on the docket.           Any initial

              14     concern with those, Ms. Bellantoni?

              15                 MS. BELLANTONI:      Yes, Your Honor, fact discovery is

              16     c1 used .   There have been no new factual allegations or

              17     occurrences that have taken place.

              18                 Expert discovery is closed.         We've had an expert

              19     They've been deposed.

             20                  Defense counsel had chosen an expert.           They've put

             21      their expert declaration or information in their Motion for

             22      Summary Judgment.

             23                  There have been -- there's no new -- there's no new

             24      what is it -- "framework" I guess is the word that was used,

             25      there's no need for any additional expert discovery here.


                          MARYANN VALENOTI - U.S. DISTRICT COURT               (916)930-4275
(270 of 300), Page 270 of 300
                            Case: 24-565, 04/17/205¢RDm4Qr4y; 10.7, Page 270 of 300

                                                                                              29




              1                  THE COURT:    Do you agree with that?

              2                  MR. DAVIS:    No, Your Honor.      I think the notion there

              3      is 8ruen changed everything and nothing at once.                 It changed,

              4      it absoTutely changed the analytic framework the courts need to

              5      for Tow in Second Amendment cases .

              6                  Everything that came prior to Bruen was based on very,

              7      at the time, clearly established Taw under the Ninth Circuit

              8      precedent and other circuits of how these questions are to be

              9      approached and answered.        And Bruen did absoluteTy dramaticaTly

             10     change that.

             11                  MS. BELLANTONI:     May I be heard, Your Honor?

             12                  THE COURT:    Agreed.

             13                  MS. BELLANTONI:     I do not agree with that at a11 , no.

             14                 Heller was very clear in going through the historical

             15      analysis.     To go now, Tike as in -- respectfuTTy -- in the

             16     Young case and put forth a whole new historical perspective
             17      which was aggregated and reversed by the Bruen case is

             18      improper.

             19                  To hire experts that are going to attempt to make

             20      arguments that go opposite of what the Supreme Court now has

             21      said twice both in He17er and in Bruen, and they've clearly

             22      delineated the relevant time period and whatever regulations

             23      existed, which there were none until the Antebellum period at

             24      the time with regard to Second Amendment claims.                 This is not

             25     that kind of case.


                          MARYANN VALENOTI - U .S. DISTRICT COURT         -




                                                                              (916)930-4275
(271 of 300), Page 271 of 300
                            Case: 24-565, 04/17/205¢RDm4Q5y; 10.7, Page 271 of 300

                                                                                         30




              1                  By way of analogy, Your Honor, respectfully --

              2                  THE COURT:   Well, set's do this, I'm going to set the

              3     schedul e.    You may fi 1e objections and I'1T ru1 e on the

              4     objections.

              5                  I'm going to put that schedule on the docket in Tight

              6     of what the Court believes are changed circumstances, but I'1I

              7     aT Tow you to fiTe objections, as is aways the case with the

              8     scheduTe, 14 days, and then I'1I muTe on those objections.               But

              g     for now I thought it prudent to provide some sense of how the

             10     case wiT     move forward.

             11                  MS. BELLANTONI:    But, Your Honor, the fact discovery,

             12     the fact discovery, there's no -- there's no argument that you

             13     wi11 need additional fact discovery, it's a 2019 case .

             14                  THE COURT:   What I said, ma'am, is that you may file

             15     written objections now, and I wiT          rule on those objections.

             16     So your record wilT be made, and I may sustain the objections.

             17                So with that, the matter is submitted.           We're taking

             18     another short break to get set up for virtual proceedings in

             19     the Tast matter.

             20                  MR. DAVIS:   Thank you, Your Honor.

             21            (Adjourned at 11:37 a.m.)

             22


             23


             24


             25



                         MARYANN VALENOTI - U .S. DISTRICT COURT             (916)930-4275
(272 of 300), Page 272 of 300
                            Case: 24-565, 04/17/205¢RDm48@y; 10.7, Page 272 of 300

                                                                                         31




              1                               CERTIFICATE
              2

              3          I certify that the foregoing is a true and correct

              4     transcript of the proceedings in the above-entit1ed matter.

              5

              6
                                                                   11 /_12/202_2
              7     FIARYAN&'VALEIN0T1, RMR, CRR                      DATE
                    Official Court Reporter
              8     CA CSR #11266

              9

             10

             11

             12

             13

             14

             15

             16

             17

             18

             19

             20

             21

             22

             23

             24

             25


                         MARYANN VALENOTI - U.S. DISTRICT COURT -            (916)930-4275
(273 of 300), Page 273 of 300
                            Case: 24-565, 04/17/20E4RD11t4EQt7y: 10.7, Page 273 of 300
                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 1 of 14


              1    ROB BONTA, State Bar No. 202668
                   Attorney General of California
              2    R. MATTHEW WISE, State Bar No. 238485
                   Supervising Deputy Attorney General
              3    RYAN DAVIS, State Bar No. 266330
                   Deputy Attorney General
              4     1300 I Street, Suite 125
                    P.O. BOX 944255
              5     Sacramento, CA 94244-2550
                    Telephone: (916) 210-6050
              6     Fax: (916) 324-8835
                    E-mail: Ryan.Davis@doj.ca.gov
              7    Attorneys for Defendant Attorney General Rob
                   Banta
              8

              9
                                            IN THE UNITED STATES DISTRICT COURT
             10
                                         FOR THE EASTERN DISTRICT OF CALIFORNIA
             11

             12

             13

             14    MARK BAIRD and RICHARD                                    Case No. 2: 19-cv-00617-KJM-AC
                   GALLARDO,
             15                                                              DEFENDANT ATTORNEY GENERAL
                                                           Plaintiffs,       ROB BONTA'S ANSWER TO
             16                                                              PLAINTIFFS' SECOND AMENDED
                                  v.                                         COMPLAINT
             17
                                                                             Courtroom:    3
             18    ROB BONTA, in his official capacity as                    Judge:        Kimberly J. Mueller
                   Attorney General of the State of California,
             19    and DOES 1-10,                                            Action Filed: April 10, 2019

             20                                         Defendants .

             21

             22          Defendant Attorney General Rob Bonita hereby answers the Second Amended Complaint

             23    filed by Plaintiffs Mark Baird and Richard Gallardo as follows:

             24          l.    Paragraph No. l consists of allegations that contain argument and legal contentions.

             25    To the extent that a response to the allegations in this paragraph is required, Defendant denies

             26    each and every allegation.

             27

             28
                                                                         1
                                       Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                        (Z: 19-cv-00617-KJM-AC)
(274 of 300), Page 274 of 300
                            Case: 24-565, 04/17/20E4RD11t4EQ8/: 10.7, Page 274 of 300
                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 2 of 14


              1          2.    Paragraph No. 2 contains allegations that cite case law, which speaks for itself.
              2    Defendant denies any allegations that misstate the law. To the extent that a further response is

              3    required, Defendant denies each and every allegation.
              4          3.    Paragraph No. 3 consists of allegations that contain argument and legal contentions.

              5   To the extent that a response to the allegations in this paragraph is required, Defendant denies

              6    each and every allegation.
              7          4.    Paragraph No. 4 contains allegations that cite case law, which speaks for itself.

              8    Defendant denies any allegations that misstate the law. To the extent that a further response is

              9    required, Defendant denies each and every allegation.
             10          5.    Defendant lacks sufficient information or belief to respond to the historical
             11    allegations in Paragraph No. 4, and on that basis denies each and every allegation. Paragraph No.
             12   4 also contains allegations that cite case law, which speaks for itself. Defendant denies any
             13    allegations that misstate the law. To the extent that a further response is required, Defendant
             14   denies each and every allegation.
             15          6.    Paragraph No. 6 contains allegations that cite case law, which speaks for itself.
             16    Defendant denies any allegations that misstate the law. To the extent that a further response is
             17    required, Defendant denies each and every allegation.
             18          7.    Paragraph No. 7 contains allegations that cite case law, which speaks for itself.
             19    Defendant denies any allegations that misstate the law. To the extent that a further response is
             20    required, Defendant denies each and every allegation.
             21          8.    Paragraph No. 8 consists of allegations that contain argument and legal contentions.
             22   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             23    each and every allegation.
             24          9.    Paragraph No. 9 consists of allegations that contain argument and legal contentions.
             25   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             26    each and every allegation.
             27

             28
                                                                      2
                                       Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                        (Z: 19-cv-00617-KJM-AC)
(275 of 300), Page 275 of 300
                            Case: 24-565, 04/17/20E4RD11t4EQ'@/: 10.7, Page 275 of 300

                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 3 of 14


              1          10.   Paragraph No. 10 consists of allegations that contain argument and legal contentions.
              2    To the extent that a response to the allegations in this paragraph is required, Defendant denies

              3    each and every allegation.
              4          II.   Paragraph No. II contains allegations that cite statutory provisions, which speak for
              5    themselves. Defendant denies any allegations that misstate the law. To the extent that a further
              6    response is required, Defendant denies each and every allegation.

              7          12.   Paragraph No. 12 contains allegations that cite statutory provisions, which speak for

              8    themselves. Defendant denies any allegations that misstate the law. To the extent that a further
              9    response is required, Defendant denies each and every allegation.
             10          13.   Defendant lacks sufficient information or belief to respond to the allegations in
             11    Paragraph No. 13, and on that basis denies each and every allegation.

             12          14.   Defendant lacks sufficient information or belief to respond to the allegations in
             13    Paragraph No. 14, and on that basis denies each and every allegation.

             14          15.   In answer to Paragraph No. 15, Defendant admits that he is the Attorney General of
             15    the State of California and that he is sued in his official capacity only. Paragraph No. 15 contains
             16    allegations that cite the California Constitution, which speaks for itself. Defendant denies any
             17    allegations that misstate the law. To the extent that a further response is required, Defendant
             18    denies each and every allegation.
             19          16.   Paragraph No. 16 consists of allegations that contain argument and legal contentions.
             20    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             21    each and every allegation.
             22          17.   Paragraph No. 17 consists of allegations that contain argument and legal contentions.
             23    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             24    each and every allegation.
             25          18.   Defendant lacks sufficient information or belief to respond to the allegations in
             26    Paragraph No. 18, and on that basis denies each and every allegation.

             27          19.   Defendant lacks sufficient information or belief to respond to the allegations in
             28    Paragraph No. 19, and on that basis denies each and every allegation.
                                                                  3
                                       Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                        (Z: 19-cv-00617-KJM-AC)
(276 of 300), Page 276 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8@/: 10.7, Page 276 of 300
                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 4 of 14


              1          20.       Defendant lacks sufficient information or belief to respond to the allegations in
              2    Paragraph No. 20, and on that basis denies each and every allegation.

              3          21.       Defendant lacks sufficient information or belief to respond to the allegations in
              4    Paragraph No. 21, and on that basis denies each and every allegation.

              5          22.       Defendant lacks sufficient information or belief to respond to the allegations in

              6    Paragraph No. 22, and on that basis denies each and every allegation.

              7          23 ,      Paragraph 23 consists of allegations that contain argument and legal contentions. To

              8    the extent that a response to the allegations in this paragraph is required, Defendant denies each

              9   and every allegation.
             10          24.       In answer to Paragraph 24, Defendant admits that the California Department of
             11   Justice does not provide a separate application for a permit to carry a handgun in an exposed (i.e.,
             12   open) manner, but denies that the application it provides cannot be used in counties with
             13   populations of less than 200,000 persons to apply for a permit to carry a handgun in an exposed
             14   manner. Defendant lacks sufficient information or belief to respond to the remaining allegations
             15    in Paragraph No. 24, and on that basis denies each and every allegation.
             16          25.       In answer to Paragraph No. 25, Defendant admits that according to the 2020 census,
             17   Siskiyou County had a population of less than 200,000 people. Paragraph No. 25 includes
             18    allegations that contain argument and legal contentions. To the extent that a response to the
             19    allegations in this paragraph is required, Defendant denies each and every allegation.
             20          26.       Defendant denies the allegation in Paragraph No. 26.
             21          27.       Paragraph No. 27 includes allegations that contain argument and legal contentions.
             22   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             23    each and every allegation. Regarding the allegations as to what Mr. Baird has been informed,
             24    Defendant lacks sufficient information or belief to respond, and on that basis denies the
             25    allegations .
             26          28 ,      Paragraph No. 28 consists of allegations that contain argument and legal contentions.
             27   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             28    each and every allegation.
                                                                          4
                                           Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                            (Z: 19-cv-00617-KJM-AC)
(277 of 300), Page 277 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8l11y: 10.7, Page 277 of 300

                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 5 of 14


               1         29.    Defendant lacks sufficient information or belief to respond to the allegations in
              2    Paragraph No. 29, and on that basis denies each and every allegation.

              3          30.    Defendant lacks sufficient information or belief to respond to the allegations in
              4    Paragraph No. 30, and on that basis denies each and every allegation.

              5          3 l.   Defendant lacks sufficient information or belief to respond to the allegations in

               6   Paragraph No. 31, and on that basis denies each and every allegation.

              7          32.    Defendant lacks sufficient information or belief to respond to the allegations in

               8   Paragraph No. 32, and on that basis denies each and every allegation.

              9          33.    Defendant lacks sufficient information or belief to respond to the allegations in
             10    Paragraph No. 33, and on that basis denies each and every allegation.
             11          34.    Defendant lacks sufficient information or belief to respond to the allegations in
             12    Paragraph No. 34, and on that basis denies each and every allegation.
             13          35.    Paragraph 35 consists of allegations that contain argument and legal contentions. To
             14    the extent that a response to the allegations in this paragraph is required, Defendant denies each
             15    and every allegation.
             16          36.    In answer to Paragraph 36, Defendant admits that the California Department of
             17    Justice does not provide a separate application for a permit to carry a handgun in an exposed (i.e.,
             18    open) manner, but denies that the application it provides cannot be used in counties with
             19    populations of less than 200,000 persons to apply for a permit to carry a handgun in an exposed
             20    manner. Defendant lacks sufficient information or belief to respond to the remaining allegations
             21    in Paragraph No. 36, and on that basis denies each and every allegation.

             22          37.    In answer to Paragraph No. 36, Defendant admits that according to the 2020 census,
             23    Siskiyou County had a population of less than 200,000 people. Paragraph No. 36 includes
             24    allegations that contain argument and legal contentions. To the extent that a response to the
             25    allegations in this paragraph is required, Defendant denies each and every allegation.
             26          38.    Defendant denies the allegation in Paragraph No. 38.
             27          39.    Paragraph No. 39 includes allegations that contain argument and legal contentions.
             28    To the extent that a response to the allegations in this paragraph is required, Defendant denies
                                                                     5
                                        Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                         (Z: 19-cv-00617-KJM-AC)
(278 of 300), Page 278 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8@: 10.7, Page 278 of 300
                  Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 6 of 14


              1   each and every allegation. Regarding the allegations as to what Mr. Gallardo has been informed,
              2   Defendant lacks sufficient information or belief to respond, and on that basis denies the

              3   allegations .

              4         40.       Paragraph No. 40 consists of allegations that contain argument and legal contentions.

              5   To the extent that a response to the allegations in this paragraph is required, Defendant denies

              6   each and every allegation.

              7         41.       Paragraph No. 41 contains allegations that cite a constitutional provision, which

              8   speaks for itself. Defendant denies any allegations that misstate the law. To the extent that a
              9   further response is required, Defendant denies each and every allegation.
             10         42.       Paragraph No. 42 contains allegations that cite case law, which speaks for itself.
             11   Defendant denies any allegations that misstate the law. To the extent that a further response is
             12   required, Defendant denies each and every allegation.
             13         43.       Paragraph No. 43 contains allegations that cite case law, which speaks for itself.
             14   Defendant denies any allegations that misstate the law. To the extent that a further response is
             15   required, Defendant denies each and every allegation.
             16         44.       Paragraph No. 44 contains allegations that cite case law, which speaks for itself
             17   Defendant denies any allegations that misstate the law. To the extent that a further response is
             18   required, Defendant denies each and every allegation.
             19         45.       Paragraph No. 45 contains allegations that cite case law, which speaks for itself
             20   Defendant denies any allegations that misstate the law. To the extent that a further response is
             21   required, Defendant denies each and every allegation.
             22         46.       Paragraph No. 46 contains allegations that cite case law, which speaks for itself
             23   Defendant denies any allegations that misstate the law. To the extent that a further response is
             24   required, Defendant denies each and every allegation.
             25         47.       Paragraph No. 47 contains allegations that cite case law, which speaks for itself.
             26   Defendant denies any allegations that misstate the law. To the extent that a further response is
             27   required, Defendant denies each and every allegation.
             28
                                                                          6
                                          Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                           (Z: 19-cv-00617-KJM-AC)
(279 of 300), Page 279 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8(3y: 10.7, Page 279 of 300
                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 7 of 14


              1          48.     Defendant lacks sufficient information or belief to respond to the allegations in
              2    Paragraph No. 48, and on that basis denies each and every allegation.

              3          49.     Paragraph No. 49 contains allegations that cite case law, which speaks for itself
              4    Defendant denies any allegations that misstate the law. To the extent that a further response is

              5    required, Defendant denies each and every allegation.
              6          50.     Paragraph No. 50 contains allegations that cite case law, which speaks for itself

              7    Defendant denies any allegations that misstate the law. To the extent that a further response is

              8    required, Defendant denies each and every allegation.
              9          5 l.    Paragraph No. 51 contains allegations that cite case law, which speaks for itself
             10    Defendant denies any allegations that misstate the law. To the extent that a further response is
             11    required, Defendant denies each and every allegation.
             12          52.     Paragraph No. 52 contains allegations that cite case law, which speaks for itself
             13    Defendant denies any allegations that misstate the law. To the extent that a further response is
             14    required, Defendant denies each and every allegation.
             15          53.     Paragraph No. 40 consists of allegations that contain argument and legal contentions.
             16    To the extent that a response to this paragraph is required, Defendant denies each and every
             17    allegation.
             18          54.     Paragraph No. 52 contains allegations that cite case law, which speaks for itself.
             19    Defendant denies any allegations that misstate the law. To the extent that a further response is
             20    required, Defendant denies each and every allegation.
             21          55.     Paragraph No. 55 consists of allegations that contain argument and legal contentions.
             22    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             23    each and every allegation.
             24          56.     Paragraph No. 56 contains allegations that cite California law, which speaks for itself.
             25    Defendant denies any allegations that misstate the law. To the extent that a further response is
             26    required, Defendant denies each and every allegation.
             27

             28
                                                                         7
                                         Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                          (Z: 19-cv-00617-KJM-AC)
(280 of 300), Page 280 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8t4y: 10.7, Page 280 of 300
                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 8 of 14


              1          57.    Paragraph No. 57 contains allegations that cite statutory provisions, which speak for
              2    themselves. Defendant denies any allegations that misstate the law. To the extent that a further
              3    response is required, Defendant denies each and every allegation.
              4          58.    Paragraph No. 58 contains allegations that cite statutory provisions, which speak for

              5    themselves. Defendant denies any allegations that misstate the law. To the extent that a further
              6    response is required, Defendant denies each and every allegation.

              7          59.    Paragraph No. 59 contains allegations that cite statutory provisions, which speak for

              8    themselves. Defendant denies any allegations that misstate the law. To the extent that a further
              9    response is required, Defendant denies each and every allegation.
             10          60.    Paragraph No. 60 contains allegations that cite statutory provisions, which speak for
             11    themselves. Defendant denies any allegations that misstate the law. To the extent that a further
             12    response is required, Defendant denies each and every allegation.
             13          61.    Paragraph No. 61 contains allegations that cite case law, which speaks for itself
             14    Defendant denies any allegations that misstate the law. To the extent that a further response is
             15    required, Defendant denies each and every allegation.
             16          62.    Paragraph No. 62 contains allegations that cite case law, which speaks for itself
             17    Defendant denies any allegations that misstate the law. To the extent that a further response is
             18    required, Defendant denies each and every allegation.
             19          63 .   Defendant lacks sufficient information or belief to respond to the allegations in
             20    Paragraph No. 63, and on that basis denies each and every allegation.
             21          64.    Paragraph No. 64 contains allegations that cite case law, which speaks for itself.
             22    Defendant denies any allegations that misstate the law. To the extent that a further response is
             23    required, Defendant denies each and every allegation.
             24          65 ,   Paragraph No. 65 contains allegations that cite case law, which speaks for itself.
             25    Defendant denies any allegations that misstate the law. To the extent that a further response is
             26    required, Defendant denies each and every allegation.
             27

             28
                                                                        8
                                        Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                         (Z: 19-cv-00617-KJM-AC)
(281 of 300), Page 281 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8l5y: 10.7, Page 281 of 300
                   Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 9 of 14


              1          66.   Paragraph No. 66 contains allegations that cite case law, which speaks for itself.
              2    Defendant denies any allegations that misstate the law. To the extent that a further response is

              3    required, Defendant denies each and every allegation.
              4          67.   Paragraph No. 67 consists of allegations that contain argument and legal contentions.

              5    To the extent that a response to the allegations in this paragraph is required, Defendant denies

              6    each and every allegation.
              7          68.   Paragraph No. 68 consists of allegations that contain argument and legal contentions.

              8    To the extent that a response to the allegations in this paragraph is required, Defendant denies

              9    each and every allegation.
             10          69.   Paragraph No. 69 contains allegations that cite case law, which speaks for itself
             11    Defendant denies any allegations that misstate the law. To the extent that a further response is
             12    required, Defendant denies each and every allegation.
             13          70.   Paragraph No. 70 consists of allegations that contain argument and legal contentions.
             14    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             15    each and every allegation.
             16          71.   Paragraph No. 71 consists of allegations that contain argument and legal contentions.
             17    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             18    each and every allegation.
             19          72.   Paragraph No. 72 contains allegations that cite case law, which speaks for itself
             20    Defendant denies any allegations that misstate the law. To the extent that a further response is
             21    required, Defendant denies each and every allegation.
             22          73.   Paragraph No. 73 contains allegations that cite case law, which speaks for itself
             23    Defendant denies any allegations that misstate the law. To the extent that a further response is
             24    required, Defendant denies each and every allegation.
             25          74.   Paragraph No. 74 consists of allegations that contain argument and legal contentions.
             26    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             27    each and every allegation.
             28
                                                                       9
                                       Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                        (Z: 19-cv-00617-KJM-AC)
(282 of 300), Page 282 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8@/: 10.7, Page 282 of 300
                  Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 10 of 14


              1         75.   Paragraph No. 75 consists of allegations that contain argument and legal contentions.
              2   To the extent that a response to the allegations in this paragraph is required, Defendant denies

              3    each and every allegation.
              4         76.   Paragraph No. 76 consists of allegations that contain argument and legal contentions.

              5   To the extent that a response to the allegations in this paragraph is required, Defendant denies

              6    each and every allegation.
              7         77.   Paragraph No. 77 consists of allegations that contain argument and legal contentions.

              8   To the extent that a response to the allegations in this paragraph is required, Defendant denies

              9    each and every allegation.
             10         78.   Paragraph No. 78 consists of allegations that contain argument and legal contentions.
             11   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             12    each and every allegation.
             13         79.   Defendant lacks sufficient information or belief to respond to the allegations in
             14    Paragraph No. 79, and on that basis denies each and every allegation.
             15         80.   Defendant lacks sufficient information or belief to respond to the allegations in
             16    Paragraph No. 80, and on that basis denies each and every allegation.
             17         81.   Defendant lacks sufficient information or belief to respond to the allegations in
             18    Paragraph No. 81, and on that basis denies each and every allegation.
             19         82.   Paragraph No. 82 consists of allegations that contain argument and legal contentions.
             20   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             21    each and every allegation.
             22         83.   Paragraph No. 83 consists of allegations that contain argument and legal contentions.
             23   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             24    each and every allegation.
             25         84.   Paragraph No. 84 consists of allegations that contain argument and legal contentions.
             26   To the extent that a response to the allegations in this paragraph is required, Defendant denies
             27    each and every allegation.
             28
                                                                     10
                                      Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                       (Z: 19-cv-00617-KJM-AC)
(283 of 300), Page 283 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8tTy: 10.7, Page 283 of 300
                  Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 11 of 14


              1          85.   Paragraph No. 85 consists of allegations that contain argument and legal contentions.
              2    To the extent that a response to the allegations in this paragraph is required, Defendant denies

              3    each and every allegation.
              4          86.   Paragraph No. 86 consists of allegations that contain argument and legal contentions.

              5    To the extent that a response to the allegations in this paragraph is required, Defendant denies

              6    each and every allegation.
              7          87.   Paragraph No. 87 consists of allegations that contain argument and legal contentions.

              8    To the extent that a response to the allegations in this paragraph is required, Defendant denies

              9    each and every allegation.
             10          88.   Defendant incorporates by reference the answers in Paragraphs l through 87 above.
             11          89.   Paragraph No. 89 consists of allegations that contain argument and legal contentions.
             12    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             13    each and every allegation.
             14          90.   Defendant incorporates by reference the answers in Paragraphs l through 89 above.
             15          91.   Paragraph No. 91 consists of allegations that contain argument and legal contentions.
             16    To the extent that a response to the allegations in this paragraph is required, Defendant denies
             17    each and every allegation.
             18                                        AFFIRMATIVE DEFENSES
             19          In addition, without admitting any allegations contained in the Second Amended
             20    Complaint, Defendant asserts the following defenses based on information and belief:
             21                                    FIRST AFFIRMATIVE DEFENSE
             22          The Second Amended Complaint, and the claims for relief alleged therein, fails to state
             23    facts sufficient to constitute a cause of action.
             24                                  SECOND AFFIRMATIVE DEFENSE
             25          Plaintiffs' claims in this action are barred in that they do not have standing to bring them.
             26                                   THIRD AFFIRMATIVE DEFENSE
             27          The Second Amended Complaint, and each cause of action therein, is improper because
             28    Plaintiffs have an adequate remedy at law.
                                                                       11
                                        Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                         (Z: 19-cv-00617-KJM-AC)
(284 of 300), Page 284 of 300
                            Case: 24-565, 04/17/20E4RD11t4E88/: 10.7, Page 284 of 300
                  Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 12 of 14


              1                                 FOURTH AFFIRMATIVE DEFENSE
              2          The Second Amended Complaint, and each cause of action therein, is barred by the
              3   equitable doctrines of estoppel, laches, unclean hands, and/or waiver.
              4                                   FIFTH AFFIRMATIVE DEFENSE
              5          To the extent Defendant has undertaken any conduct with respect to the subj ects and events

              6   underlying the Second Amended Complaint, such conduct was, at all times material thereto,

              7   undertaken in good faith and in reasonable reliance on existing law.

              8                                   SIXTH AFFIRMATIVE DEFENSE
              9          Defendant has not knowingly or intentionally waived any applicable affirmative defense.
             10    Defendant reserves the right to assert and rely upon additional affirmative defenses as may
             11   become available or apparent during discovery proceedings or as may be raised or asserted by
             12    others in this case, and to amend the Answer and/or affirmative defenses accordingly. Defendant
             13    further reserves the right to amend the Answer to delete affirmative defenses that they determine
             14   are not applicable after subsequent discovery.
             15          WHEREFORE, Defendant prays that:
             16          l.    This Court deny Plaintiffs' Second Amended Complaint in its entirety and dismiss
             17    this case with prejudice.
             18          2.    Plaintiffs take nothing by the Second Amended Complaint.
             19          3.    Defendant be awarded his costs incurred in defending this action.
             20          4.    The Court grant such other and further relief in favor of Defendant and adverse to
             21    Plaintiffs that the Court deems just and proper.
             22

             23

             24

             25

             26

             27

             28
                                                                      12
                                       Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                        (Z: 19-cv-00617-KJM-AC)
(285 of 300), Page 285 of 300
                            Case: 24-565, 04/17/20E4RD11t4E8@/: 10.7, Page 285 of 300
                  Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 13 of 14


              1   Dated: October 31, 2022                               Respectfully submitted,
              2                                                         ROB BONTA
                                                                        Attorney General of California
              3                                                         R. MATTHEW WISE
                                                                        Supervising Deputy Attorney General
              4
                                                                        /s/ Ryan R. Davis
              5
                                                                        RYAN R. DAvis
              6                                                         Deputy Attorney General
                                                                        Attorneys for Defendant Attorney General
              7                                                         Rob Banta

              8
              9
             10
             11
             12
             13
             14
             15
             16
             17
             18
             19
             20
             21
             22
             23
             24
             25
             26
             27
             28
                                                                   13
                                    Defendant Attorney General Rob Bonita's Answer to Plaintiffs' Second Amended Complaint
                                                                                                     (Z: 19-cv-00617-KJM-AC)
(286 of 300), Page 286 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4@/: 10.7, Page 286 of 300
                    Case 2:19-cv-00617-KJM-AC Document 76 Filed 10/31/22 Page 14 of 14



                                               CERTIFICATE OF SERVICE
             Case Name:       Baird, Mark v. Rob Bonita               No.     2: 19-cv-00617-KJM-AC

             I hereby certify that on October 31, 2022, I electronically filed the following documents with the
             Clerk of the Court by using the CM/ECF system:
               DEFENDANT ATTORNEY GENERAL ROB BONTA'S ANSWER TO PLAINTIFFS'
                               SECOND AMENDED COMPLAINT
             I certify that all participants in the case are registered CM/ECF users and that service will be
             accomplished by the CM/ECF system.
             I declare under penalty of perjury under the laws of the State of California and the United States
             of America the foregoing is true and correct and that this declaration was executed on October
             31, 2022, at Sacramento, California.


                             Ritter Mashriqi                                 Is/Ritta Mas hriqi
                               Declarant                                         Signature

             SA2019101934
             36683598.docx
(287 of 300), Page 287 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4l11y: 10.7, Page 287 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 1 of 18


              1    COSCA LAW CORPORATION
                   CHRIS COSCA SBN 144546
              2    1007 7th Street, Suite 210
              3    Sacramento, CA 95814
                   916-440-1010
              4
                   AMY L. BELLANTONI
              5    THE BELLANTONI LAW FIRM, PLLC
                   2 Overkill Road, Suite 400
              6    Scarsdale, NY 10583
              7    Telephone: 914-367-0090
                   Facsimile: 888-763-9761
              8    Pro I-Iac Vice

              9    Attorneys for Plaintiffs
             10                               IN THE UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF CALIFORNIA
             11
                                                                 -X

             12    MARK BAIRD and
                   RICHARD GALLARDO,
             13
                                                  Plaintiffs,             Case No.: 2:19-cv-00617-KJM-AC
             14
                                    v.                                    SECOND AMENDED COMPLAINT
             15                                                           FOR DECLARATORY AND
                   ROB BONTA, in his official capacity                    INJUNCTIVE RELIEF
             16
                   as Attorney General of the State of California,
             17
                                                  Defendant.
             18
                                                                 -X
             19
             20           NOW COME Plaintiffs, MARK BAIRD and RICHARD GALLARDO, by and through
             21    their counsel, and allege against Defendant California Attorney General Rob Bonita as follows:
             22                                      NATURE OF THE ACTION

             23           1. This is an action for declaratory and injunctive relief proximately caused by the actions

             24    of the defendant for violations of the plaintiffs' Second and Fourteenth Amendments to the United

             25    States Constitution pursuant to 42 U.S.C. § 1983. This action seeks to tum back the hands of time

             26    to pre-Mulford Act California and the free exercise of the Right to open carry a handgun for self-

             27    defense, consistent with this Nation's history and Second Amendment traditions .

             28
                                                                      1

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(288 of 300), Page 288 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4@: 10.7, Page 288 of 300
                  Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 2 of 18


              1             2.     In New York State Ry'le & Pistol Ass 'n, Inc. v. Breen, the Supreme Court declared,
              2   "In keeping with Heller, we hold that when the Second Amendment's plain text covers an
              3   individual's conduct, the Constitution presumptively protects that conduct." 142 S. Ct. 21 l l, 2126
              4   (2022).

              5           3.       Plaintiffs' right to carry a handgun open and exposed throughout the State of
              6   California, loaded or unloaded, is conduct covered by the plain text of the Second Amendment and

              7   presumptively protected by the U.S. Constitution.
              8             4.     The Breen Court continued, "To justify its regulation, the government may not

              9   simply posit that the regulation promotes an important interest. Rather, the government must
             10   demonstrate that the regulation is consistent with this Nation's historical tradition of firearm
             11   regulation. Only if a firearm regulation is consistent with this Nation's historical tradition may a
             12   court conclude that the individual's conduct falls outside the Second Amendment's "unqualified
             13   command." Id. citing, Konigsberg v. State Bar ofCal., 366 U.S. 36, 50, n. 10 (1961).l
             14           5.       Firearms have been part of this Nation's history since the colonists arrived.2 The
             15   colonists would not have been able to defeat the English military in the Revolutionary War had the
             16   colonists not possessed and had access to firearms and ammunition - the colonists had no 'military'
             17   and, as Heller confirmed, the right to keep and bear arms is an individual right, not the collective
             18   right of some type of militia or otherwise. D.C. v. Heller, 554 U.S. 570, 591 (2008) ("...even if
             19   'keep and bear Arms' were a unitary phrase, we find no evidence that it bore a military
             20   meaning...Putting all of these textual elements together, we find that they guarantee the individual
             21   right to possess and carry weapons in case of confrontation.").
             22

             23   1 "Rather than begin with its view of the governing legal framework, the dissent chronicles, in painstaking detail,
                  evidence of crimes committed by individuals with firearms. See post, at 2163 - 2168 (opinion of BREYER, J.). The
             24   dissent invokes all of these statistics presumably to justify granting States greater leeway in restricting firearm
                  ownership and use. But, as Members of the Court have already explained, "[t]he right to keep and bear arms is not
                  the only constitutional right that has controversial public safety implications." McDonald v. Chicago, 561 U.S. 742,
             25
                  783, 130 S.Ct. 3020, 177 L.Ed.2d 894 (2010) (plurality opinion)." Bruen, 142 s. Ct. at 2126, n. 3.
             26   2 https://www.guns.com/news/2011/07/06/who-were-the-colonists-and-what-were-they-firingguns-of-the-americam
                  revolution,
             27   http ://www.revolutionarywarjournal.com/rifles-in-the-revolutionary
                  war/#:~:text=Sett1ers%20who%20moved%20west%20of'/>20the%20Cumber1and%20Mountains,making%20it%20th
             28   e%20rifle-making%20center%20of%20the%20colonies.
                                                                           2


                    SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(289 of 300), Page 289 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4(3y: 10.7, Page 289 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 3 of 18


              1            6.       To be sure, "when the able-bodied men of a nation are trained in arms and organized,

              2    they are better able to resist tyranny." Heller, at 598 .

              3            7.       Handguns are weapons in common use for lawful purposes and are therefore
              4    covered by the plain text of the Second Amendment. Heller, at 629 ("It is enough to note, as we

              5    have observed, that the American people have considered the handgun to be the quintessential self-

              6    defense weapon.").

              7            8.       No permission from the government, licensing, registration, or any other action was

              8    required (or even imagined) for people to exercise the God-bestowed, preexisting right that was
              9    later codified in the Second Amendment. The very purpose of codifying the right to keep and bear
             10    arms and declaring that it "shall not be infringed"3 was to prevent any encroachment of that right
             11    by the government. Yet, here we are.

             12            9.       Plaintiffs seek a judicial declaration that California Penal Code sections 25850 and
             13    26350 violate the Second and Fourteenth Amendments to the U.S. Constitution and request an
             14    Order temporarily and permanently enjoining their enforcement.
             15            10.      The conduct being regulated under California Penal Code sections 25850 and 26350
             16    is protected by the Second Amendment and the regulations are wholly inconsistent with this
             17    Nation's historical traditions of firearm regulation.
             18                                         JURISDICTION AND VENUE

             19            11.      The Court's jurisdiction over Plaintiffs' federal claims is authorized pursuant to 28

             20    U.S.C. § 1331 and § 1343. The Court's jurisdiction over Plaintiffs' claims for injunctive and

             21    declaratory relief is authorized by 28 U.S.C. § 2201 and § 2202. The Court's jurisdiction over

             22    Plaintiffs' federal claims and for statutory attorney's fees is authorized pursuant to 42 U.S.C. §

             23    1983 and 42 U.S.C. § 1988.

             24            12.      Venue in this judicial district is proper under 28 U.S.C. § l39l(b)(2) because a
             25    substantial part of the events or omissions giving rise to Plaintiffs' claims occurred in this district.

             26
                   3 Infringe: encroach, limit, offend. https://www.merriam-webster.com/thesaurus/infringe
             27    While, for example, the Fourth Amendment protects against "unreasonable" searches and seizures, the Second
                   Amendment prohibits any measure of intrusion.
             28
                                                                          3

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(290 of 300), Page 290 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4t4y: 10.7, Page 290 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 4 of 18


              1                                                THE PARTIES
              2            13.     Plaintiff, MARK BAIRD ("Plaintiff' or "Mr. Baird") is a United States citizen and
              3    a resident of Siskiyou County, California which, according to the most recent census, has a
              4    population under 200,000.
              5            14.     Plaintiff, RICHARD GALLARDO ("Plaintiff' of "Mr. Gallardo") is a United States

              6    citizen and a resident of Shasta County, California which, according to the most recent census, has

              7    a population under 200,000.
              8            15.     Defendant ROB BONTA ("Defendant" or "Defendant Bonita") is the Attorney
              9    General of the State of California. Defendant Bonita is sued herein in his official capacity only.
             10    Pursuant to California State Constitution Article V, Section 13, as the Attorney General for the
             11    State of California, Defendant is the chief law enforcement officer of the State whose duty it is to
             12    ensure that the laws of the State are uniformly and adequately enforced.
             13             16.    Defendant Bonita has direct supervision over every district attorney and sheriff and
             14    over such other law enforcement officers as may be designated by law, in all matters pertaining to
             15    the duties of their respective offices and may require any of said officers to make reports concerning
             16    the investigation, detection, prosecution, and punishment of crime in their respective jurisdictions
             17    as to Defendant may seem advisable.
             18            17.     Whenever in the opinion of the Defendant any law of the State is not being
             19    adequately enforced in any county, it shall be Defendant's duty to prosecute any violations of law
             20    of which the superior court shall have jurisdiction. In such cases Defendant shall have all the powers
             21    of a district attorney. When required by the public interest or directed by the Governor, Defendant
             22    shall assist any district attorney in the discharge of the duties of that office.
             23                                         STATEMENT OF FACTS
             24    PlaintwMark Baird
             25            18.     Mark Baird is an individual of unquestionably good moral character, a law-abiding
             26    citizen, and has never been charged with, summoned, or arrested for any violation of the California
             27    Penal Code or any other criminal offense.
             28
                                                                       4

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(291 of 300), Page 291 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4l5y: 10.7, Page 291 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 5 of 18


              1            19.    Mr. Baird is not prohibited by state or federal law from possessing, receiving,
              2    owning, or purchasing a firearm. Mr. Baird lawfully possesses firearms (handguns and long guns)

              3    in his home for self-defense.
              4            20.    Mr. Baird does not hold a California firearm license and does not fall within any of

              5    the exemptions to California Penal Code sections 25850 and 26350 criminalizing the possession of

              6    firearms ,

              7            21.    Mr. Baird has a present intention to carry a handgun open and exposed for self-
              8    defense, loaded or unloaded, throughout the State of California, today and every day for the
              9    remainder of his natural life.
             10            22.    Mr. Baird intends to exercise the rights protected by the Second and Fourteenth
             11    Amendments without seeking permission from the government, including applying for and
             12    obtaining a license under California's licensing scheme, Penal Code sections 26150 and 26155.
             13            23.    Mr. Baird presently faces imminent arrest, prosecution, fines, and other criminal
             14    penalties for carrying a handgun in public without a license under Penal Code sections 25850 and
             15    26350, as well as other civil penalties including loss of property.
             16            24.    On more than one occasion, Mr. Baird has tried to apply for an open carry license
             17    in Siskiyou County, but there is no Open Carry license application available from the DOJ and,
             18    even if there were, no open carry licenses are issued anywhere in California, and he has been
             19    advised by the licensing authority in his county that no open carry licenses will be issued.
             20            25.    The County of Siskiyou, California, according to the most recent federal census, has
             21    a population of less than 200,000 people. As a resident of the County of Siskiyou, Mr. Baird is
             22    prohibited from applying for a handgun carry license in any other county in California. Even if
             23    issued an open carry license, such license would be invalid outside of Siskiyou County under Penal
             24    Code sections 26150 (b)(2) and 26l55(b)(2). IfMr. Baird were to carry open and exposed outside
             25    of Siskiyou County with or without a license, he would be arrested, prosecuted, and subject to other
             26    criminal and civil penalties.
             27            26.    Upon information and belief, the licensing authorities' described conduct is
             28    performed at the direction of and/or with the knowledge and approval of Defendant Bonita.
                                                                    5

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(292 of 300), Page 292 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4@/: 10.7, Page 292 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 6 of 18


              1             27.    There is no administrative appeal process available for challenging the denial of an
              2   application for an open carry license. Even if there were an available administrative appeal process

              3    to challenge the denial of Mr. Baird's application for an open carry license, such 'process' would
              4   have been futile because Mr. Baird has been informed that no open carry licenses will be issued.

              5             28.    More importantly, there is no historical tradition in this Nation of requiring a license

              6   or other permission to open carry a handgun outside of one's home for self-defense. Requiring any

              7   such license violates the Second and Fourteenth Amendments.
              8    Plaint     Richard Gallardo

              9             29.    Richard Gallardo is an individual of unquestionably good moral character, a law-
             10    abiding citizen, and has never been charged with, summoned, or arrested for any violation of the
             11   California Penal Code or any other criminal offense.
             12             30.    Mr. Gallardo is not prohibited by state or federal law from possessing, receiving,
             13   owning, or purchasing a firearm.
             14             31 .   Mr. Gallardo does not hold a California firearm license and does not fall within any
             15    of the exemptions to the California Penal Code sections criminalizing the open carriage of a
             16    handgun firearms, whether loaded or unloaded.
             17             32.    Mr. Gallardo lawfully possesses firearms (handguns and long guns) in his home for
             18   self-defense.
             19             33.    Mr. Gallardo has a present intention to carry a handgun open and exposed for self-
             20   defense, loaded or unloaded, throughout the State of California, today and every day for the
             21   remainder of his natural life.
             22             34.    Mr. Gallardo intends to exercise the rights protected by the Second and Fourteenth
             23   Amendments without seeking permission from the government, including applying for and
             24   obtaining a license under Penal Code sections 26150 and 26155.
             25             35.    Mr. Gallardo presently faces imminent arrest, prosecution, fines, and other criminal
             26   penalties for carrying a handgun in public without a license under Penal Code sections 25850 and
             27   26350, as well as other civil penalties including loss of property.
             28
                                                                      6

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(293 of 300), Page 293 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4tTy: 10.7, Page 293 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 7 of 18


              1           36.     On more than one occasion, Mr. Gallardo tried to apply for an open carry license in
              2    Shasta County, but there is no Open Carry application available from the DOJ and, even if there
              3    were, no open carry licenses are issued anywhere in California, and he has been advised by the
              4    licensing authority in his county that no open carry licenses will be issued.
              5            37.    The County of Shasta, California, according to the most recent federal census, has
              6    a population of less than 200,000 people. As a resident of Shasta County, Mr. Gallardo is prohibited

              7    from applying for a handgun carry license in any other county in California. Even if issued an open

              8    carry license, such license would be invalid outside of Shasta County under Penal Code sections
              9    26150 (b)(2) and 26l55(b)(2). If Mr. Gallardo were to carry open and exposed outside of Shasta
             10    County, with or without a license, he would be arrested, prosecuted, and subject to other criminal
             11    and civil penalties.
             12           38.     Upon information and belief, the licensing authorities' described conduct is
             13    performed at the direction of and/or with the knowledge and approval of Defendant Bonita.
             14           39.     There is no administrative appeal process available for challenging the denial of an
             15    application for an open carry license. Even if there were an available administrative appeal process
             16    to challenge the denial offer. Gallardo's application for an open carry license, such 'process' would
             17    have been futile because Mr. Gallardo has been informed that no open carry licenses will be issued.
             18           40.     More importantly, there is no historical tradition in this Nation of requiring a license
             19    or other permission to open carry a handgun outside of one's home for self-defense. Requiring a
             20    license to open carry violates the Second and Fourteenth Amendments.
             21                                         STATEMENT OF LAW

             22    The Second Amendment

             23           41.     The Second Amendment to the United States Constitution provides: "A well
             24    regulated Militia being necessary to the security of a free State, the right of the people to keep and
             25    bear Arms shall not be infringed."
             26           42.     The Second Amendment does not bestow any rights to the individual to possess and
             27    carry weapons to protect himself, it prohibits the government from infringing upon the basic,
             28    fundamental right of the individual to keep and bear weapons in common use for self-defense in
                                                                   7

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(294 of 300), Page 294 of 300
                            Case: 24-565, 04/17/20E4RD11t4E48/: 10.7, Page 294 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 8 of 18


              1    the event of a violent confrontation. Heller, supra, McDonald, supra, Caetano v. Massachusetts,
              2   577 U.S. (2016).
              3           43.    "Individual self-defense is the central component of the Second Amendment right."
              4    McDonald, 561 U.S. at 767, citing, Heller, 554 U.S. at 599 (internal quotations omitted). The
              5   Second Amendment protects the core right of the individual to self-protection. Heller, 554 U.S. at
              6   595-599,628.

              7           44.    The Second Amendment is "deeply rooted in this Nation's history and tradition"
              8   and fundamental to our scheme of ordered liberty". McDonald, 561 U.S at 768. The Second
              9   Amendment's protections are fully applicable to the states through the Fourteenth Amendment.
             10   McDonald, 130 S. Ct. at 3026.
             11           45.    The "Second Amendment extends, prima facie, to all instruments that constitute
             12   bearable arms, even those that were not in existence at the time of the founding      79
                                                                                                             Caetano v.

             13    Massachusetts, 577 U.S. at 411 .
             14           46.    Handguns are 'bearable arms' in common use for self-defense and therefore are
             15   presumptively protected by the Second Amendment. Heller, 554 U.S. at 629, Caetano, supra.
             16                              The "People" Protected By the Constitution
             17           47.    Heller explained, "in all six other provisions of the Constitution that mention 'the
             18   people,' the term unambiguously refers to all members of the political community, not an
             19   unspecified subset." Heller, at 580. "[T]he people'   refers to a class of persons who are part of a
             20    national community or who have otherwise developed sufficient connection with this country to be
             21   considered part of that community." Id. (citation omitted).
             22           48.    Plaintiffs are members of the national community with no prohibitors to the
             23   possession of firearms and are entitled to the full and unabridged protections of the Second and
             24    Fourteenth Amendments .
             25

             26

             27

             28
                                                                   8

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(295 of 300), Page 295 of 300
                            Case: 24-565, 04/17/20E4RD11t4E4@/: 10.7, Page 295 of 300
                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 9 of 18


              1                              The Bruen Test for Second Amendment Challenges

              2            49.      The Second Amendment "guarantee[s] the individual right to possess and carry
              3    weapons in case of confrontation." Heller, at 592.
              4

              5                    "Putting all of these textual elements together, we find that they
                                   guarantee the individual right to possess and carry weapons in case
              6                     of confrontation. This meaning is strongly confirmed by the
                                   historical background of the Second Amendment. We look to this
              7                    because it has always been widely understood that the Second
                                   Amendment, like the First and Fourth Amendments, codified a pre-
              8                    existing right. The very text of the Second Amendment implicitly
                                   recognizes the pre-existence of the right and declares only that it
              9                    'shall not be infringed.' As we said in United States v. Cruikshank,
                                   92 U.S. 542, 553, 23 L.Ed. 588 (1876), '[t]his is not a right granted
             10                    by the Constitution. Neither is it in any manner dependent upon that
                                   instrument for its existence. The second amendment declares that it
             11                    shall not be infringed ...."'
             12
             13   Id. (emphasis added).

             14            50.      In Breen, the Supreme Court flatly rejected the tripartite, intermediate scrutiny,

             15    'means-end' public safety balancing test4 improperly created and applied by the Ninth Circuit5 and
             16
                   others. Rather, the test that must be applied to Second Amendment challenges is as follows:
             17
             18                    "we hold that when the Second Amendment's plain text covers an
                                   individual's conduct, the Constitution presumptively protects that
             19                    conduct.

             20                     To justify its regulation, the government may not simply posit that
                                    the regulation promotes an important interest.
             21
                                    Rather, the government must demonstrate that the regulation is
             22                     consistent with this Nation's historical tradition of firearm regulation.

             23

             24   4 Core Second Amendment rights, like the right to possess firearms in the home for self-defense, are not subject to
                  'interest balancing'. Heller, 554 U.S. at 634 ("We know of no other enumerated constitutional right whose core
                  protection has been subjected to a freestanding 'interest-balancing' approach. The very enumeration of the right takes
             25
                  out of the hands of government--even the Third Branch of Government--the power to decide on a case-by-case basis
                  whether the right is really worth insisting upon.").
             26   5 "Despite the popularity of this two-step approach, it is one step too many. Step one of the predominant framework
                  is broadly consistent with Heller, which demands a test rooted in the Second Amendment's text, as informed by
             27   history. But Heller and McDonald do not support applying means-end scrutiny in the Second Amendment context.
                  Instead, the government must affirmatively prove that its firearms regulation is part of the historical tradition that
             28   delimits the outer bounds of the right to keep and bear arms." Bruen, at 2127.
                                                                            9

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(296 of 300), Page 296 of 300
                            Case: 24-565, 04/17/20E4RD11t4E5@/: 10.7, Page 296 of 300
                  Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 10 of 18


              1                   Only if a firearm regulation is consistent with this Nation's historical
                                  tradition may a court conclude that the individual's conduct falls
              2                   outside the Second Amendment's "unqualified command."

              3
                  Breen, at 2126 (emphasis added) citing, Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n. 10
              4
                  (1961).
              5

              6                     Bruen Defined and Limited the Relevant Historical Time Period

              7             51.   Because "not all history is created equal," the Breen Court held that, when deciding
              8    whether the government's regulation is consistent with this Nation's historical tradition,
              9

             10                   the only appropriate inquiry is what the public understanding of the
                                  right to keep and bear arms was during the ratification of the Second
             11                   Amendment in 1791, and perhaps during ratification of the
                                  Fourteenth Amendment in 1868.
             12

             13   Breen, at 2138.

             14             52.   "Post-ratification adoption or acceptance of laws that are inconsistent with the
             15
                   original meaning of the constitutional text obviously cannot overcome or alter that text." Breen, at
             16
                   2137 (emphasis supplied) citing, Heller, 670 F.3d at 1274, n. 6 (Kavanaugh, J., dissenting),
             17
                  Espinoza v. Montana Dept. of Revenue, 591 U.S.           7      7
                                                                                      140 S.Ct. 2246, 2258-2259 (2020).
             18
                             The Challenged Regulations Wolate the Second and Fourteenth Amendments
             19

             20             53.   The plain text of the Second Amendment presumptively protects Plaintiffs' conduct:

             21    the open carriage of a handgun in public for self-defense.
             22             54.   Defendants "must demonstrate that their regulations are consistent with this
             23
                  Nation's historical tradition of firearm regulation. Breen, at 2126. Only if a firearm regulation is
             24
                  consistent with this Nation's historical tradition may a court conclude that the individual's conduct
             25
                   falls outside the Second Amendment's 'unqualified command'." Breen, at 2126.
             26

             27             55.   Defendants cannot meet that burden.

             28
                                                                    10

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(297 of 300), Page 297 of 300
                            Case: 24-565, 04/17/20E4RD11t4E5l11y: 10.7, Page 297 of 300

                   Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 11 of 18


               1                                  CALIFORNIA'S REGULATIONS
              2        Penal Code Sections 25850 and 26350 Wolate the Second and Fourteenth Amendments
              3           56.     In California, the possession of a handgun in one's home is lawful and requires no
              4    license or permission from the government. But the 'mere possession' of a handgun in public is a
              5    crime. An average citizen who steps outside of his home armed with a handgun for self-defense
               6   risks arrest, incarceration, prosecution, fines, and other criminal and civil penalties, including
              7    permanent loss of Second Amendment rights and loss of property (firearms).
              8                                             Penal Code § 25850
              9           57.     Under California Penal Code section 25850, a person is guilty of carrying a loaded
             10    firearm when he carries a loaded firearm on his person or in a vehicle while in any public place or
             11    on any public street in an incorporated city or in a prohibited area of unincorporated territory.
             12    (emphasis added).
             13           58.     Section 25850 allows the police the unfettered ability to stop an individual to inspect
             14    their firearm to determine whether the firearm is or is not loaded, refusal to allow a peace officer
             15    to inspect a firearm constitutes probable cause for arrest.
             16                                             Penal Code § 26350
             17           59.     Under California Penal Code section 26350, a person is guilty of openly carrying an
             18    unloaded handgun for carrying upon his person an exposed and unloaded handgun outside a vehicle
             19    while in a public place or public street in an incorporated city or city and county, a public street in
             20    a prohibited area of an unincorporated area of a county or city and county, or a public place in a
             21    prohibited area of a county or city and county. (emphasis added).
             22           60.     Penal Code sections 25850 and 26350 criminalize the mere possession of a handgun
             23    for self-defense - a right protected by the Second Amendment and enforced against the states
             24    through the Fourteenth Amendment.
             25           61.     In Breen, the Supreme Court reaffirmed that the right to carry firearms outside of
             26    the home is protected by the Second and Fourteenth Amendments. Breen, supra.
             27

             28
                                                                     11

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(298 of 300), Page 298 of 300
                            Case: 24-565, 04/17/20E4RD11t4E5@: 10.7, Page 298 of 300
                  Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 12 of 18


              1                     "In this case, petitioners and respondents agree that ordinary, law-
                                    abiding citizens have a similar right to carry handguns publicly for
              2                     their self-defense. We too agree, and now hold, consistent with
                                    Heller and McDonald, that the Second and Fourteenth Amendments
              3                     protect an individual's right to carry a handgun for self-defense
                                    outside the home."
              4
                           Breen, 142 S. Ct. at 2122.
              5

              6
                           62.      There is no American historical tradition of banning open carry, criminalizing the
              7
                  exercise thereof, or requiring a license or permission from the government exists. Indeed, while
              8
                  licensing schemes popped up in few areas of the country in the early 1900s, "post-ratification
              9
                  adoption or acceptance of laws that are inconsistent with the original meaning of the constitutional
             10
                  text obviously cannot overcome or alter that text." Breen, at 2137.
             11
                           63.      Until 1967 open carry was a widely accepted, and largely unremarkable, practice
             12
                  right here in California until the racially motivated Mulford Act outlawed possessing a loaded
             13
                  handgun in public, followed by banning the open carriage of an unloaded handgun in 2012.6
             14
                           64.      In 2016, an en banc panel of the Ninth Circuit proclaimed that the "uncontradicted
             15
                  historical evidence overwhelmingly shows, the Second Amendment does not protect, in any degree,
             16
                  the right of a member of the general public to carry a concealed weapon in public. The Second
             17
                  Amendment may or may not protect to some degree a right of a member of the general public to
             18
                  carry a firearm in public.797 The en banc Court continued,
             19
             20
                        "If there is such a right, it is only a right to carry a firearm openly."
             21
             22
                  Peruta IL at 942.
             23
                           65.      Well, there is such a Right. Heller put that issue to bed in 20081
             24
                                     "Putting all of these textual elements together, we find that they
             25
                                 guarantee the individual right to possess and carry weapons.. .                 79




             26
                  6 Even if open carry licenses were issued (and constitutional), which they are not, under a "may issue" licensing scheme,
             27   they can only be applied for and issued in counties with a population under 200,000 and are invalid outside of the
                  county of issuance. Penal Code sections 26150, 26155.
             28   7 Peruta v. County of San Diego, 824 F.3d 919, 942 (9th Cir. 2016) (emphasis added).
                                                                            12

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(299 of 300), Page 299 of 300
                            Case: 24-565, 04/17/20E4RD11t4E5(3y: 10.7, Page 299 of 300
                  Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 13 of 18


              1    Heller, at 592.

              2           66.        In Peruta II, a Declaration "submitted by the County of San Diego indicates that the

              3    point of the concealed weapons licensing policy was to make concealed carry 'a very rare

              4    privilege."' Id. at n. 9 (emphasis added).
              5           67.        After the Breen decision was published, California rushed to create even more
              6    restrictions on what is deemed the 'privilege' to carry concealed, "good cause" having been found
              7    unconstitutional by Breen, Defendant and others pushed a massive bundle of restrictions in SB9l8
              8    to further restrict and prevent 'the People' - even those with a concealed carry license - from
              9    carrying a handgun in public for self-defense.
             10           68.        Lest there be any doubt, California's zealous anti-Second Amendment agenda was
             11    revealed in the 7+ page preamble to SB9l8 railing public policy and 'means end' lamentations that
             12    the Supreme Court has repeatedly re ected since Heller in 2008 .
             13                      "After an exhaustive discussion of the arguments for and against gun
                                     control, Justice BREYER arrives at his interest-balanced answer:
             14                      Because handgun violence is a problem, because the law is limited
                                     to an urban area, and because there were somewhat similar
             15                      restrictions in the founding period (a false proposition that we have
                                     already discussed), the interest-balancing inquiry results in the
             16                      constitutionality of the handgun ban. QED.
             17    To which the majority responded,
             18                      "We know of no other enumerated constitutional right whose core
                                     protection has been subjected to a freestanding "interest-balancing"
             19                      approach. The very enumeration of the right takes out of the hands
                                     of government-even the Third Branch of Government-the power
             20                      to decide on a case-by-case basis whether the right is really worth
                                     insisting upon. A constitutional guarantee subject to future judges'
             21                      assessments of its usefulness is no constitutional guarantee at all.
             22                      Constitutional rights are enshrined with the scope they were
                                     understood to have when the people adopted them, whether or not
             23                      future legislatures or (yes) even future judges think that scope too
                                     broad."
             24

             25
                   Heller, at 634-35 (emphasis supplied).
             26
                          69.        Breen confirmed the unconditional rejection of balancing emotions related to
             27
                   criminal acts against individual rights.
             28
                                                                      13

                     SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
(300 of 300), Page 300 of 300
                           Case: 24-565, 04/17/205¢RDm45r4y; 10.7, Page 300 of 300
                  Case 2:19-cv-00617-KJM-AC Document 68 Filed 09/27/22 Page 14 of 18


              1                  "Like that dissent in Heller, the real thrust of today's dissent is that
                                 guns are bad and that States and local jurisdictions should be free to
              2                  restrict them essentially as they see fit. That argument was rejected
                                 in Heller,and while the dissent protests that it is not rearguing Heller,
              3                  it proceeds to do just that. See post, at 2176 - 2178."
              4   Breen, at 2160-61.

              5          70.     Under this Nation's historical traditions - and this State's historical traditions - open

              6   carry is a Right covered by the Second Amendment and it shall not be infringed.

              7          71.     Exercising the right to carry handguns publicly for self-defense cannot, therefore,

              8   be punished by criminal penalties, including Penal Code sections 25850 and26350. Non-prohibited

              9   individuals can no longer be punished for the 'mere possession' of a handgun for self-defense.

             10          72.     It is well-settled by a long line of decisions of the Supreme Court that an ordinance

             11   which, like this one, makes the peaceful enjoyment of freedoms which the Constitution guarantees

             12   contingent upon the uncontrolled will of an official-as by requiring a permit or license which may

             13   be granted or withheld in the discretion of such official-is an unconstitutional censorship or prior

             14   restraint upon the enjoyment of those freedoms. Shuttlesworth v. City of 8irmingham, Ala., 394

             15   U.S. 147, 151 (1969) quoting, Staub v. City of 8axley, 355 U.S. 313, 322.

             16                  "And our decisions have made clear that a person faced with such an
                                 unconstitutional licensing law may ignore it and engage with
             17                  impunity in the exercise of the right of free expression for which the
                                 law purports to require a license."
             18
                         Id. see also, People v. Tony Diaz, (Case No. 21FE019850, Sup. Ct. Sacramento) (sustaining
             19
                  demurrer of felony charges post-Bruen holding § 25850, which "subjects anyone in a public place
             20
                  carrying a loaded firearm on the person or in a vehicle to criminal prosecution... amounts to a total
             21
                  ban on public carry...cannot survive 8ruen's holding that public carry is presumptively legal." "As
             22
                  Breen stated: The constitutional right to bear arms in public for self-defense is not a 'second-class
             23
                  right, subject to an entirely different body of rules than other Bill of Rights Guarantees'." (citation
             24
                  omitted).
             25
                         73.     An individual cannot be prosecuted for exercising a constitutionally protected right.
             26
                  Id.
             27

             28
                                                                    14

                    SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
